  Case: 23-50885    Document: 144      Page: 1    Date Filed: 06/19/2024




                              No. 23-50885
      _______________________________________________________________

          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                     ________________________

 UNITED STATES OF AMERICA; OCA-GREATER HOUSTON, LEAGUE OF
           WOMEN VOTERS OF TEXAS; REVUP-TEXAS,
                                     Plaintiffs-Appellees,
                             v.
KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS; JANE NELSON, IN
 HER OFFICIAL CAPACITY AS TEXAS SECRETARY OF STATE; STATE OF
   TEXAS; REPUBLICAN NATIONAL COMMITTEE; DALLAS COUNTY
REPUBLICAN PARTY; HARRIS COUNTY REPUBLICAN PARTY; NATIONAL
  REPUBLICAN SENATORIAL COMMITTEE; NATIONAL REPUBLICAN
                 CONGRESSIONAL COMMITTEE,
                                   Defendants-Appellants.
                     ________________________

On Appeal from the United States District Court for the Western
            District of Texas, San Antonio Division
                      ________________________

      RECORD EXCERPTS FOR INTERVENOR-APPELLANTS
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           Case: 23-50885              Document: 144              Page: 2        Date Filed: 06/19/2024


                                            TABLE OF CONTENTS

Docket Sheet (ROA.1-276) .............................................................................................. Tab 1
Notice of Appeal (ROA.33297-33299) ....................................................................... Tab 2
Challenged Order (ROA.33215-33267).................................................................... Tab 3




                                                              i
Case: 23-50885   Document: 144   Page: 3   Date Filed: 06/19/2024




       Tab 1: Docket Sheet (ROA.1-276)
            Case: 23-50885   Document: 144   Page: 4   Date Filed: 06/19/2024


 CM/ECF

                                     APPEAL,CONSOLIDATED,ESC,INTAPP,LEAD_CASE

                      U.S. District Court [LIVE]
                Western District of Texas (San Antonio)
             CIVIL DOCKET FOR CASE #: 5:21-cv-00844-XR
                          Internal Use Only


La Union Del Pueblo Entero, et al v. Gregory W.    Date Filed: 09/03/2021
Abbott, et al                                      Jury Demand: Both
Assigned to: Judge Xavier Rodriguez                Nature of Suit: 441 Civil Rights:
Case in other court: 5CCCA, 21-51145 (Doc. 123)    Voting
                    5CCA, 22-50435 (Doc. 426)      Jurisdiction: Federal Question
                    5CCA, 22-50732 (Doc. 451)
                    5CCA, 22-50775 (Doc. 457)
                    5CCA, 22-50777 (Doc. 458)
                    5CCA, 22-50778 (Doc. 459)
                    5CCA, 23-50201 (Doc. 567)
                    5CCA, 23-50885 (Doc. 823)
                    5CCA, 23-50887 (Doc. 827)
Cause: 42:1973 Voting Rights Act
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Case: 23-50885   Document: 144   Page: 5   Date Filed: 06/19/2024



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Case: 23-50885   Document: 144   Page: 6   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 7   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 8   Date Filed: 06/19/2024

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                                                                    23-50885.5
            Case: 23-50885   Document: 144   Page: 9   Date Filed: 06/19/2024

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                                                                                23-50885.6
            Case: 23-50885   Document: 144   Page: 10   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 11   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 12   Date Filed: 06/19/2024

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                                                                     23-50885.9
            Case: 23-50885   Document: 144   Page: 13   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 14   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 15   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 16   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 17   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 18   Date Filed: 06/19/2024

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                                                                                 23-50885.15
            Case: 23-50885   Document: 144   Page: 19   Date Filed: 06/19/2024



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Case: 23-50885   Document: 144   Page: 20   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 21   Date Filed: 06/19/2024

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            Case: 23-50885   Document: 144   Page: 22   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 23   Date Filed: 06/19/2024

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                                                                     23-50885.20
            Case: 23-50885   Document: 144   Page: 24   Date Filed: 06/19/2024



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            Case: 23-50885   Document: 144   Page: 25   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 26   Date Filed: 06/19/2024



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          Case: 23-50885   Document: 144   Page: 27   Date Filed: 06/19/2024



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                                                                               23-50885.34
Case: 23-50885   Document: 144   Page: 38   Date Filed: 06/19/2024

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          Case: 23-50885   Document: 144   Page: 39   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 44   Date Filed: 06/19/2024

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          Case: 23-50885   Document: 144   Page: 45   Date Filed: 06/19/2024



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Case: 23-50885   Document: 144   Page: 46   Date Filed: 06/19/2024

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                                                                     23-50885.43
          Case: 23-50885   Document: 144   Page: 47   Date Filed: 06/19/2024



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Case: 23-50885   Document: 144   Page: 48   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 55   Date Filed: 06/19/2024

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          Case: 23-50885   Document: 144   Page: 56   Date Filed: 06/19/2024

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Case: 23-50885   Document: 144   Page: 57   Date Filed: 06/19/2024



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          Case: 23-50885   Document: 144   Page: 58   Date Filed: 06/19/2024

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                                             Peter Hofer
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Consol Plaintiff


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        Case: 23-50885   Document: 144   Page: 59   Date Filed: 06/19/2024

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                                           Lia Sifuentes Davis
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                                           Lucia Romano
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                                           Mimi M.D. Marziani
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Case: 23-50885   Document: 144   Page: 60   Date Filed: 06/19/2024

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                                   LEAD ATTORNEY
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                                   Adriana Cecilia Pinon
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                                   Ashley Alcantara Harris
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                                   ATTORNEY TO BE NOTICED

                                   Christopher McGreal
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                                   Peter Hofer



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          Case: 23-50885   Document: 144   Page: 61   Date Filed: 06/19/2024

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                                             Ari Savitzky
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                                             Hani Mirza
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                                             Lia Sifuentes Davis
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                                             Lucia Romano
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                                             Mimi M.D. Marziani
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                                                                               23-50885.58
          Case: 23-50885   Document: 144   Page: 62   Date Filed: 06/19/2024

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                                             Savannah Kumar
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                                             Sophia Lin Lakin
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                                                                               23-50885.59
Case: 23-50885   Document: 144   Page: 63   Date Filed: 06/19/2024

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                                                                     23-50885.60
          Case: 23-50885   Document: 144   Page: 64   Date Filed: 06/19/2024

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Defendant
Jose A. Esparza                 represented by Eric A. Hudson
in his official capacity as                    (See above for address)
Deputy Secretary of the                        ATTORNEY TO BE NOTICED
State of Texas
                                                Jeffrey Michael White
                                                (See above for address)
                                                TERMINATED: 04/29/2022
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           Case: 23-50885     Document: 144   Page: 70   Date Filed: 06/19/2024

                                                Patrick K. Sweeten
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                                                William D. Wassdorf
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Defendant
Warren K. Paxton                represented by Christopher D. Hilton
in his official capacity as                    (See above for address)
Attorney General of Texas                      TERMINATED: 01/30/2024
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                                               ATTORNEY TO BE NOTICED

                                                Amy Snow Hilton
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Eric A. Hudson
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ethan Quinn Szumanski
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                J. Aaron Barnes
                                                (See above for address)
                                                TERMINATED: 04/14/2023
                                                ATTORNEY TO BE NOTICED

                                                Jack Buckley Disorbo
                                                (See above for address)
                                                TERMINATED: 08/26/2022
                                                ATTORNEY TO BE NOTICED

                                                Jameson C Joyce
                                                (See above for address)
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                                                Jeffrey Michael White
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                                                Johnathan Stone



                                                                                  23-50885.67
           Case: 23-50885     Document: 144   Page: 71   Date Filed: 06/19/2024

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                                                ATTORNEY TO BE NOTICED

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                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Patrick K. Sweeten
                                                (See above for address)
                                                TERMINATED: 12/05/2022
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                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                William Thomas Thompson
                                                (See above for address)
                                                TERMINATED: 02/13/2023
                                                ATTORNEY TO BE NOTICED

                                                William D. Wassdorf
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Lupe C. Torres                  represented by Chad Ennis
in her official capacity as                    Texas Secretary of State
Medina County Elections                        1019 Brazos Street
Administrator                                  Austin, TX 78701
                                               512-472-2700
                                               Fax: 512-472-2728
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                                                                                  23-50885.68
          Case: 23-50885       Document: 144   Page: 72   Date Filed: 06/19/2024

                                                 LEAD ATTORNEY
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Defendant
Lisa Wise                        represented by Angelica Lien Leo
in her Official Capacity as                     Cooley LLP
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                                                 David Louk



                                                                                   23-50885.69
Case: 23-50885   Document: 144   Page: 73   Date Filed: 06/19/2024

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                                                                     23-50885.70
Case: 23-50885   Document: 144   Page: 74   Date Filed: 06/19/2024

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                                   Zack Goldberg
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                                                                     23-50885.71
         Case: 23-50885   Document: 144   Page: 75   Date Filed: 06/19/2024

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Defendant
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Party                                      Jones Day
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                                            Washington, DC 20001
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                                            Email: jmgore@jonesday.com
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED




                                                                              23-50885.72
         Case: 23-50885   Document: 144   Page: 76   Date Filed: 06/19/2024

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                                            Jones Day
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                                            ATTORNEY TO BE NOTICED

Defendant
Dallas County Republican    represented by E. Stewart Crosland
Party                                      (See above for address)
                                           LEAD ATTORNEY
                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

                                            John M. Gore
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Stephen J. Kenny
                                            (See above for address)
                                            TERMINATED: 07/19/2023
                                            LEAD ATTORNEY
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED

                                            Charles E.T. Roberts
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

Defendant
National Republican         represented by E. Stewart Crosland
Senatorial Committee                       (See above for address)
                                           LEAD ATTORNEY


                                                                              23-50885.73
           Case: 23-50885   Document: 144   Page: 77   Date Filed: 06/19/2024

                                              PRO HAC VICE
                                              ATTORNEY TO BE NOTICED

                                              John M. Gore
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                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Stephen J. Kenny
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                                              TERMINATED: 07/19/2023
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                                              Charles E.T. Roberts
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Defendant
National Republican           represented by E. Stewart Crosland
Congressional                                (See above for address)
Committee                                    LEAD ATTORNEY
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                                              John M. Gore
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                                              Stephen J. Kenny
                                              (See above for address)
                                              TERMINATED: 07/19/2023
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                                              PRO HAC VICE
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                                              Charles E.T. Roberts
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Defendant
Kim Ogg                       represented by Eric J.R. Nichols
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          Case: 23-50885   Document: 144   Page: 78   Date Filed: 06/19/2024

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Defendant
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                                             Lisa V. Cubriel
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                                                                               23-50885.75
           Case: 23-50885   Document: 144   Page: 79   Date Filed: 06/19/2024

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Defendant
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                                                                                23-50885.76
           Case: 23-50885   Document: 144   Page: 80   Date Filed: 06/19/2024

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Defendant
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Dallas County District                       Assistant District Attorney
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                                              Dallas, TX 75202
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Defendant
Ricardo Rodriguez, Jr.        represented by Jacqueline Lysette Villarreal
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                                                                                23-50885.77
           Case: 23-50885        Document: 144   Page: 81   Date Filed: 06/19/2024

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                                                   Ricky Rod Law Group
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                                                   TERMINATED: 08/18/2023
                                                   ATTORNEY TO BE NOTICED

Defendant
Yvonne Rosales                     represented by Ian Russell Kaplan
in her official capacity as El                    El Paso County Attorney's Office
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                                                   ATTORNEY TO BE NOTICED

Defendant
Rebecca Guerrero                   represented by Anthony J. Nelson
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
Teneshia Hudspeth                  represented by Sameer Singh Birring
Harris County Clerk, In her                       Harris County Attorney's Office
Official Capacity                                 1019 Congress
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          Case: 23-50885   Document: 144   Page: 82   Date Filed: 06/19/2024

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Defendant
Dyana Limon-Mercado          represented by Anthony J. Nelson
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                                             Amy Stoeckl Ybarra
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                                             ATTORNEY TO BE NOTICED

                                             Sameer Singh Birring
                                             (See above for address)
                                             ATTORNEY TO BE NOTICED


V.
Consol Defendant
Isabel Longoria              represented by Christina Marie Beeler
Harris County Elections                     Texas Civil Rights Project
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                                            TERMINATED: 06/06/2022
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                                                Sameer Singh Birring
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                                                ATTORNEY TO BE NOTICED

                                                Tiffany Sue Bingham
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

Consol Defendant
Jacque Callanen                 represented by Larry L. Roberson
In her Official Capacity as                    (See above for address)
Elections Administrator of                     LEAD ATTORNEY
Bexar County                                   ATTORNEY TO BE NOTICED

                                                Lisa V. Cubriel
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Robert D. Green
                                                (See above for address)
                                                TERMINATED: 02/23/2022
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Robert William Piatt , III
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Consol Defendant
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in her Official Capacity as                    Hidalgo County District Attorney's
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                                                                                  23-50885.80
           Case: 23-50885     Document: 144   Page: 84   Date Filed: 06/19/2024

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                                                ATTORNEY TO BE NOTICED

Consol Defendant
Michael Scarpello                 represented by Barbara S. Nicholas
in his Official Capacity as the                  (See above for address)
Dallas County Elections                          LEAD ATTORNEY
Administrator                                    ATTORNEY TO BE NOTICED

                                                Ben L Stool
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

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                                                                                   23-50885.81
        Case: 23-50885   Document: 144   Page: 85   Date Filed: 06/19/2024

                                           LEAD ATTORNEY
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Consol Defendant
STATE OF TEXAS             represented by Christopher D. Hilton
                                          (See above for address)
                                          TERMINATED: 01/30/2024
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                           Patrick K. Sweeten
                                           (See above for address)
                                           TERMINATED: 12/05/2022
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           William Thomas Thompson
                                           (See above for address)
                                           TERMINATED: 02/13/2023
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Amy Snow Hilton
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Eric A. Hudson
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Ethan Quinn Szumanski
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           J. Aaron Barnes
                                           (See above for address)
                                           TERMINATED: 04/14/2023
                                           ATTORNEY TO BE NOTICED

                                           Jack Buckley Disorbo
                                           (See above for address)
                                           TERMINATED: 08/26/2022
                                           ATTORNEY TO BE NOTICED

                                           Jameson C Joyce
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED




                                                                             23-50885.82
           Case: 23-50885     Document: 144   Page: 86   Date Filed: 06/19/2024

                                                Kathleen Hunker
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Monroe David Bryant , Jr
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ryan G. Kercher
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                William D. Wassdorf
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Consol Defendant
Jane Nelson                     represented by Christopher D. Hilton
in her official capacity as                    (See above for address)
Texas Secretary of State                       TERMINATED: 01/30/2024
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                                Patrick K. Sweeten
                                                (See above for address)
                                                TERMINATED: 12/05/2022
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Ryan G. Kercher
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amy Snow Hilton
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Eric A. Hudson
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ethan Quinn Szumanski
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                J. Aaron Barnes
                                                (See above for address)



                                                                                  23-50885.83
           Case: 23-50885     Document: 144   Page: 87   Date Filed: 06/19/2024

                                                TERMINATED: 04/14/2023
                                                ATTORNEY TO BE NOTICED

                                                Jack Buckley Disorbo
                                                (See above for address)
                                                TERMINATED: 08/26/2022
                                                ATTORNEY TO BE NOTICED

                                                Jameson C Joyce
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Johnathan Stone
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Kathleen Hunker
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Monroe David Bryant , Jr
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                William Thomas Thompson
                                                (See above for address)
                                                TERMINATED: 02/13/2023
                                                ATTORNEY TO BE NOTICED

                                                William D. Wassdorf
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Counter Defendant
Dana DeBeauvoir                 represented by Anthony J. Nelson
in her Official Capacity as                    (See above for address)
the Travis County Clerk                        LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

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                                                                                  23-50885.84
         Case: 23-50885   Document: 144   Page: 88   Date Filed: 06/19/2024

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                                            Austin, TX 78767
                                            512-854-9523
                                            Fax: 512-854-4808
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                                            patrick.pope@traviscountytx.gov
                                            TERMINATED: 08/07/2023
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Sherine Elizabeth Thomas
                                            Assistant County Attorney
                                            Travis County, Texas
                                            P.O. Box 1748
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                                            (512) 854-9513
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                                            TERMINATED: 02/10/2023
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

Amicus
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Government                                 PO Box 12131
Accountability                             Austin, TX 78711
                                           (512) 775-7625
                                           Fax: (877)200-6001
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                                            Chase Martin
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                                            15275 Collier Blvd., Suite 201
                                            Naples, FL 34119
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                                                                               23-50885.85
          Case: 23-50885     Document: 144   Page: 89   Date Filed: 06/19/2024

                                               Stewart Whitson
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Amicus
John R. Ashcroft
Missouri Seretary of State
TERMINATED: 01/12/2022

Amicus
Young Black Lawyers'           represented by Veronica Smith Moye
Organizing Coalition                          King & Spalding LLP
                                              1185 Avenue of the Americas
                                              34th Floor
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                                              Fax: 212-556-2222
                                              Email: vmoye@kslaw.com
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

Amicus
Lawyers Democracy Fund         represented by Eric Wang
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                                              Arlington, VA 22209
                                              202-417-3528
                                              Email: ew@gobergroup.com
                                              LEAD ATTORNEY
                                              PRO HAC VICE
                                              ATTORNEY TO BE NOTICED

Movant
Republican National            represented by John M. Gore
Committee                                     (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                               Louis J. Capozzi , III
                                               Jones Day
                                               51 Louisiana Ave., Nw
                                               Washington, DC 20001
                                               717-802-2077
                                               Email: lcapozzi@jonesday.com


                                                                                 23-50885.86
         Case: 23-50885     Document: 144    Page: 90    Date Filed: 06/19/2024

                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED


Date Filed   #      Docket Text
09/03/2021       1 COMPLAINT ( Filing fee $ 402 receipt number 0542-15188447).
                   No Summons requested at this time, filed by La Union Del
                   Pueblo Entero. (Attachments: # 1 Civil Cover Sheet)(Perales,
                   Nina) (Entered: 09/03/2021)
09/03/2021       2 REQUEST FOR ISSUANCE OF SUMMONS by Fiel Houston, Inc.,
                   Friendship-West Baptist Church, Isabel Longoria, JOLT Action,
                   James Lewin, La Union Del Pueblo Entero, Mexican American
                   Bar Association of Texas, Southwest Voter Registration Education
                   Project, Texas Hispanics Organized for Political Education, Texas
                   Impact, The Anti-Defamation League Austin, Southwest, and
                   Texoma, William C. Velasquez Institute. (Perales, Nina) (Entered:
                   09/03/2021)
09/03/2021       3 RULE 7 DISCLOSURE STATEMENT filed by Fiel Houston, Inc.,
                   Friendship-West Baptist Church, Isabel Longoria, JOLT Action,
                   James Lewin, La Union Del Pueblo Entero, Mexican American
                   Bar Association of Texas, Southwest Voter Registration Education
                   Project, Texas Hispanics Organized for Political Education, Texas
                   Impact, The Anti-Defamation League Austin, Southwest, and
                   Texoma, William C. Velasquez Institute. (Perales, Nina) (Entered:
                   09/03/2021)
09/03/2021          Case assigned to Judge Fred Biery. CM WILL NOW REFLECT THE
                    JUDGE INITIALS AS PART OF THE CASE NUMBER. PLEASE
                    APPEND THESE JUDGE INITIALS TO THE CASE NUMBER ON EACH
                    DOCUMENT THAT YOU FILE IN THIS CASE. (rg) (Entered:
                    09/03/2021)
09/03/2021          If ordered by the court, all referrals will be assigned to
                    Magistrate Judge Chestney. (rg) (Entered: 09/03/2021)
09/03/2021       4 MOTION to Appear Pro Hac Vice by Nina Perales Motion for
                   Admission PHV of Michael C. Keats ( Filing fee $ 100 receipt
                   number 0542-15191289) by on behalf of Fiel Houston, Inc., JOLT
                   Action, La Union Del Pueblo Entero, Mexican American Bar
                   Association of Texas, Southwest Voter Registration Education
                   Project, Texas Hispanics Organized for Political Education,
                   William C. Velasquez Institute. (Attachments: # 1 Proposed
                   Order)(Perales, Nina) (Entered: 09/03/2021)
09/03/2021       5 MOTION to Appear Pro Hac Vice by Nina Perales Motion for
                   Admission PHV of Christopher H. Bell ( Filing fee $ 100 receipt
                   number 0542-15191293) by on behalf of Fiel Houston, Inc., JOLT



                                                                                  23-50885.87
         Case: 23-50885   Document: 144   Page: 91   Date Filed: 06/19/2024

                  Action, La Union Del Pueblo Entero, Mexican American Bar
                  Association of Texas, Southwest Voter Registration Education
                  Project, Texas Hispanics Organized for Political Education,
                  William C. Velasquez Institute. (Attachments: # 1 Proposed
                  Order)(Perales, Nina) (Entered: 09/03/2021)
09/03/2021     6 MOTION to Appear Pro Hac Vice by Nina Perales Motion for
                 Admission PHV of Jessica M. Choi ( Filing fee $ 100 receipt
                 number 0542-15191295) by on behalf of Fiel Houston, Inc., JOLT
                 Action, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute. (Attachments: # 1 Proposed
                 Order)(Perales, Nina) (Entered: 09/03/2021)
09/07/2021     7 Summons Issued as to Gregory W. Abbott. (rg) (Entered:
                 09/07/2021)
09/07/2021     8 Summons Issued as to Jose A. Esparza. (rg) (Entered:
                 09/07/2021)
09/07/2021     9 Summons Issued as to Warren K. Paxton. (rg) (Entered:
                 09/07/2021)
09/07/2021    10 Summons Issued as to Lupe C. Torres. (rg) (Entered: 09/07/2021)
09/07/2021    11 MOTION to Appear Pro Hac Vice by Nina Perales Motion for
                 Admission PHV of Rebecca L. Martin ( Filing fee $ 100 receipt
                 number 0542-15192607) by on behalf of Fiel Houston, Inc., JOLT
                 Action, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute. (Attachments: # 1 Proposed
                 Order)(Perales, Nina) (Entered: 09/07/2021)
09/07/2021    12 ORDER GRANTING 4 5 6 Motion to Appear Pro Hac Vice for
                 Attorney(s) Christopher H. Bell, Jessica M. Choi, Michael C. Keats
                 for JOLT Action, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute, Fiel Houston, Inc. Pursuant to our
                 Administrative Policies and Procedures for Electronic Filing, the
                 attorney is hereby granted to practice pro hac vice in this case
                 must register for electronic filing with our court within 10 days
                 of this order. Administrative Policies and Procedures for
                 Electronic Filing. Signed by Judge Fred Biery. (rg) (Entered:
                 09/07/2021)
09/08/2021    13 ORDER GRANTING 11 Motion to Appear Pro Hac Vice for
                 Attorney Rebecca L. Martin for Fiel Houston, Inc.,Rebecca L.
                 Martin for JOLT Action,Rebecca L. Martin for La Union Del Pueblo
                 Entero,Rebecca L. Martin for Mexican American Bar Association


                                                                              23-50885.88
         Case: 23-50885   Document: 144   Page: 92   Date Filed: 06/19/2024

                  of Texas,Rebecca L. Martin for Southwest Voter Registration
                  Education Project,Rebecca L. Martin for Texas Hispanics
                  Organized for Political Education,Rebecca L. Martin for William
                  C. Velasquez Institute. Pursuant to our Administrative Policies
                  and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order.
                  Signed by Judge Fred Biery. (rg) (Entered: 09/08/2021)
09/08/2021    14 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Matthew Berde ( Filing fee $ 100 receipt number 0542-
                 15198666) by on behalf of Friendship-West Baptist Church,
                 Isabel Longoria, James Lewin, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma.
                 (Attachments: # 1 Proposed Order)(Ryan, Elizabeth) (Entered:
                 09/08/2021)
09/08/2021    15 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Alexander P. Cohen ( Filing fee $ 100 receipt number 0542-
                 15199697) by on behalf of Friendship-West Baptist Church,
                 Isabel Longoria, James Lewin, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma.
                 (Attachments: # 1 Proposed Order)(Ryan, Elizabeth) (Entered:
                 09/08/2021)
09/08/2021    16 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Patrick A. Berry ( Filing fee $ 100 receipt number 0542-
                 15199756) by on behalf of Friendship-West Baptist Church,
                 Isabel Longoria, James Lewin, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma.
                 (Attachments: # 1 Proposed Order)(Ryan, Elizabeth) (Entered:
                 09/08/2021)
09/08/2021    17 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Andrew B. Garber ( Filing fee $ 100 receipt number 0542-
                 15199807) by on behalf of Friendship-West Baptist Church,
                 Isabel Longoria, James Lewin, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma.
                 (Attachments: # 1 Proposed Order)(Ryan, Elizabeth) (Entered:
                 09/08/2021)
09/08/2021    18 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Eliza Sweren-Becker ( Filing fee $ 100 receipt number 0542-
                 15199840) by on behalf of Friendship-West Baptist Church,
                 Isabel Longoria, James Lewin, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma.
                 (Attachments: # 1 Proposed Order)(Ryan, Elizabeth) (Entered:
                 09/08/2021)
09/09/2021    19 NOTICE of Attorney Appearance by Nina Perales on behalf of Fiel
                 Houston, Inc., JOLT Action, La Union Del Pueblo Entero, Mexican


                                                                              23-50885.89
         Case: 23-50885   Document: 144   Page: 93   Date Filed: 06/19/2024

                  American Bar Association of Texas, Southwest Voter Registration
                  Education Project, Texas Hispanics Organized for Political
                  Education, William C. Velasquez Institute (Perales, Nina)
                  (Entered: 09/09/2021)
09/09/2021        (Court only) ***Attorney Julia Renee Longoria for Fiel Houston,
                  Inc.,Julia Renee Longoria for JOLT Action,Julia Renee Longoria for
                  La Union Del Pueblo Entero,Julia Renee Longoria for Mexican
                  American Bar Association of Texas,Julia Renee Longoria for
                  Southwest Voter Registration Education Project,Julia Renee
                  Longoria for Texas Hispanics Organized for Political
                  Education,Julia Renee Longoria for William C. Velasquez Institute
                  added. (rg) (Entered: 09/09/2021)
09/09/2021    20 ORDER GRANTING 14 15 16 17 18 Motion to Appear Pro Hac
                 Vice for Attorney Matthew Berde,Alexander P. Cohen,Patrick A.
                 Berry,Andrew B. Garber,Eliza Sweren-Becker for Friendship-West
                 Baptist Church, Isabel Longoria, James Lewin, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma.
                 Pursuant to our Administrative Policies and Procedures for
                 Electronic Filing, the attorney hereby granted to practice pro
                 hac vice in this case must register for electronic filing with our
                 court within 10 days of this order. Signed by Judge Fred Biery.
                 (rg) (Entered: 09/09/2021)
09/14/2021    21 SUMMONS Returned Executed by James Lewin, Texas Hispanics
                 Organized for Political Education, Friendship-West Baptist
                 Church, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, The Anti-Defamation League Austin,
                 Southwest, and Texoma, William C. Velasquez Institute, Fiel
                 Houston, Inc., JOLT Action, Southwest Voter Registration
                 Education Project, Isabel Longoria, Texas Impact. Gregory W.
                 Abbott served on 9/10/2021, answer due 10/1/2021. (Perales,
                 Nina) (Entered: 09/14/2021)
09/14/2021    22 ORDER REASSIGNING CASE. Case reassigned to Judge Xavier
                 Rodriguez for all proceedings. Judge Fred Biery no longer
                 assigned to case. Signed by Judge Fred Biery. (rg) (Entered:
                 09/14/2021)
09/14/2021    23 SUMMONS Returned Executed by James Lewin, Texas Hispanics
                 Organized for Political Education, Friendship-West Baptist
                 Church, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, The Anti-Defamation League Austin,
                 Southwest, and Texoma, William C. Velasquez Institute, Fiel
                 Houston, Inc., JOLT Action, Southwest Voter Registration
                 Education Project, Isabel Longoria, Texas Impact. Warren K.
                 Paxton served on 9/10/2021, answer due 10/1/2021. (Perales,
                 Nina) (Entered: 09/14/2021)




                                                                              23-50885.90
         Case: 23-50885   Document: 144   Page: 94   Date Filed: 06/19/2024


09/14/2021    24 Opposed MOTION to Consolidate Cases by Gregory W. Abbott,
                 Jose A. Esparza, Warren K. Paxton. (Attachments: # 1 Ex. A -
                 Orig. Complaint (1:21-cv-780), # 2 Ex. B - Orig. Complaint (5:21-
                 cv-848), # 3 Ex. C - Orig. Complaint (1:21-cv-786), # 4 Proposed
                 Order)(Sweeten, Patrick) (Entered: 09/14/2021)
09/15/2021    25 SUMMONS Returned Executed by James Lewin, Texas Hispanics
                 Organized for Political Education, Friendship-West Baptist
                 Church, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, The Anti-Defamation League Austin,
                 Southwest, and Texoma, William C. Velasquez Institute, Fiel
                 Houston, Inc., JOLT Action, Southwest Voter Registration
                 Education Project, Isabel Longoria, Texas Impact. Jose A.
                 Esparza served on 9/13/2021, answer due 10/4/2021. (Perales,
                 Nina) (Entered: 09/15/2021)
09/15/2021    26 SUMMONS Returned Executed by James Lewin, Texas Hispanics
                 Organized for Political Education, Friendship-West Baptist
                 Church, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, The Anti-Defamation League Austin,
                 Southwest, and Texoma, William C. Velasquez Institute, Fiel
                 Houston, Inc., JOLT Action, Southwest Voter Registration
                 Education Project, Isabel Longoria, Texas Impact. Lupe C. Torres
                 served on 9/13/2021, answer due 10/4/2021. (Perales, Nina)
                 (Entered: 09/15/2021)
09/20/2021    27 NOTICE of Attorney Appearance by Patrick K. Sweeten on behalf
                 of Gregory W. Abbott, Jose A. Esparza, Warren K. Paxton.
                 Attorney Patrick K. Sweeten added to party Gregory W.
                 Abbott(pty:dft), Attorney Patrick K. Sweeten added to party Jose
                 A. Esparza(pty:dft), Attorney Patrick K. Sweeten added to party
                 Warren K. Paxton(pty:dft) (Sweeten, Patrick) (Entered:
                 09/20/2021)
09/21/2021    28 Unopposed MOTION for Extension of Time to File Answer re 1
                 Complaint by Gregory W. Abbott, Jose A. Esparza, Warren K.
                 Paxton. (Attachments: # 1 Proposed Order)(White, Jeffrey)
                 (Entered: 09/21/2021)
09/21/2021        Text Order GRANTING 28 Motion for Extension of Time to Answer
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (XR) (Entered: 09/21/2021)
09/21/2021    29 NOTICE Regarding Pending Motion to Consolidate by Gregory W.
                 Abbott, Jose A. Esparza, Warren K. Paxton (White, Jeffrey)
                 (Entered: 09/21/2021)
09/22/2021    30 Unopposed MOTION for Extension of Time to File Answer by
                 Lupe C. Torres. (Attachments: # 1 Proposed Order)(Henneke,
                 Robert) (Entered: 09/22/2021)


                                                                              23-50885.91
         Case: 23-50885   Document: 144   Page: 95   Date Filed: 06/19/2024


09/22/2021        (Court only) ***Attorney Robert E Henneke,Chad Ennis for Lupe
                  C. Torres added. (rg) (Entered: 09/23/2021)
09/23/2021        Text Order GRANTING 30 Motion for Extension of Time to Answer
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (XR) (Entered: 09/23/2021)
09/23/2021        Reset Deadlines: Lupe C. Torres answer due 10/25/2021. (rg)
                  (Entered: 09/23/2021)
09/30/2021    31 ORDER GRANTING 24 Motion to Consolidate Cases. SA-21-CV-
                 848, SA-21-CV-920, A-21-CV-780 and A-21-CV-786 are MEMBER
                 CASES and will be CONSOLIDATED under LEAD CASE - SA-21-CV-
                 844-XR. ALL PLEADINGS ARE TO BE FILED INTO THE LEAD
                 CASE.All served Defendants shall file an answer on or before
                 October 25, 2021. An initial pretrial conference shall be
                 conducted on November 16, 2021 at 1:30 p.m. by video
                 conference; Discovery plan and scheduling order, no later than
                 November 9, 2021. Signed by Judge Xavier Rodriguez. (rg)
                 (Entered: 09/30/2021)
10/06/2021    32 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Wendy J.
                 Olson ( Filing fee $ 100 receipt number 0542-15301531) by on
                 behalf of Mi Familia Vota, Marla Lopez, Marlon Lopez, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    33 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Marc T.
                 Rasich ( Filing fee $ 100 receipt number 0542-15301618) by on
                 behalf of Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    34 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Laura E.
                 Rosenbaum ( Filing fee $ 100 receipt number 0542-15301626)
                 by on behalf of Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    35 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Elijah M.
                 Watkins ( Filing fee $ 100 receipt number 0542-15301641) by on
                 behalf of Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    36 MOTION to Appear Pro Hac Vice by Sean Michael Lyons John C.
                 Bonifaz ( Filing fee $ 100 receipt number 0542-15301654) by on
                 behalf of Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    37 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Ben
                 Clements ( Filing fee $ 100 receipt number 0542-15301675) by
                 on behalf of Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)



                                                                              23-50885.92
         Case: 23-50885   Document: 144    Page: 96   Date Filed: 06/19/2024


10/06/2021    38 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Ronald
                 A. Fein ( Filing fee $ 100 receipt number 0542-15301682) by on
                 behalf of Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    39 MOTION to Appear Pro Hac Vice by Sean Michael Lyons
                 Courtney M. Hostetler ( Filing fee $ 100 receipt number 0542-
                 15301692) by on behalf of Marla Lopez, Marlon Lopez, Mi
                 Familia Vota, Paul Rutledge. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    40 WAIVER OF SERVICE Returned Executed by Paul Rutledge, Mi
                 Familia Vota, Marla Lopez, Marlon Lopez as to Gregory W.
                 Abbott. Waiver sent on 10/5/2021, answer due 12/6/2021; Jose
                 A. Esparza. Waiver sent on 10/5/2021, answer due 12/6/2021;
                 Warren K. Paxton. Waiver sent on 10/5/2021, answer due
                 12/6/2021. (Lyons, Sean) (Entered: 10/06/2021)
10/06/2021    41 MOTION to Appear Pro Hac Vice by Sean Morales-Doyle for
                 Jasleen K. Singh ( Filing fee $ 100 receipt number 0542-
                 15302528) by on behalf of Friendship-West Baptist Church,
                 Isabel Longoria, James Lewin, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma.
                 (Attachments: # 1 Proposed Order)(Morales-Doyle, Sean)
                 (Entered: 10/06/2021)
10/06/2021        Text Order GRANTING 32 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/06/2021)
10/06/2021        Text Order GRANTING 33 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/06/2021)
10/06/2021        Text Order GRANTING 34 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/06/2021)
10/06/2021        Text Order GRANTING 35 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative


                                                                                23-50885.93
         Case: 23-50885   Document: 144    Page: 97   Date Filed: 06/19/2024

                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/06/2021)
10/06/2021        Text Order GRANTING 36 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/06/2021)
10/06/2021        Text Order GRANTING 41 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/06/2021)
10/06/2021        (Court only) ***Attorney Wendy J. Olson for Marla Lopez,Wendy
                  J. Olson for Marlon Lopez,Wendy J. Olson for Mi Familia
                  Vota,Wendy J. Olson for Paul Rutledge added. (rg) (Entered:
                  10/07/2021)
10/06/2021        (Court only) ***Attorney Marc T. Rasich for Marla Lopez,Marc T.
                  Rasich for Marlon Lopez,Marc T. Rasich for Mi Familia Vota,Marc
                  T. Rasich for Paul Rutledge added. (rg) (Entered: 10/07/2021)
10/06/2021        (Court only) ***Attorney Laura E. Rosenbaum for Marla
                  Lopez,Laura E. Rosenbaum for Marlon Lopez,Laura E.
                  Rosenbaum for Mi Familia Vota,Laura E. Rosenbaum for Paul
                  Rutledge added. (rg) (Entered: 10/07/2021)
10/06/2021        (Court only) ***Attorney Elijah M. Watkins for Marla Lopez,Elijah
                  M. Watkins for Marlon Lopez,Elijah M. Watkins for Mi Familia
                  Vota,Elijah M. Watkins for Paul Rutledge added. (rg) (Entered:
                  10/07/2021)
10/06/2021        (Court only) ***Attorney John Bonifaz for Marla Lopez,John
                  Bonifaz for Marlon Lopez,John Bonifaz for Mi Familia Vota,John
                  Bonifaz for Paul Rutledge added. (rg) (Entered: 10/07/2021)
10/06/2021        (Court only) ***Attorney Jasleen K. Singh for Friendship-West
                  Baptist Church,Jasleen K. Singh for James Lewin,Jasleen K. Singh
                  for Isabel Longoria,Jasleen K. Singh for Texas Impact,Jasleen K.
                  Singh for The Anti-Defamation League Austin, Southwest, and
                  Texoma added. (rg) (Entered: 10/07/2021)




                                                                                23-50885.94
         Case: 23-50885   Document: 144    Page: 98   Date Filed: 06/19/2024


10/07/2021        Text Order GRANTING 37 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/07/2021)
10/07/2021        Text Order GRANTING 38 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.)(cb) (Entered: 10/07/2021)
10/07/2021        Text Order GRANTING 39 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.)(cb) (Entered: 10/07/2021)
10/07/2021    42 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. Yvonne Ramon
                 served on 9/24/2021, answer due 10/15/2021. (Hardin, John)
                 (Entered: 10/07/2021)
10/07/2021        (Court only) ***Attorney Ben Clements for Marla Lopez,Ben
                  Clements for Marlon Lopez,Ben Clements for Mi Familia
                  Vota,Ben Clements for Paul Rutledge added. (rg) (Entered:
                  10/07/2021)
10/07/2021        (Court only) ***Attorney Ronald A. Fein for Marla Lopez,Ronald
                  A. Fein for Marlon Lopez,Ronald A. Fein for Mi Familia
                  Vota,Ronald A. Fein for Paul Rutledge added. (rg) (Entered:
                  10/07/2021)
10/07/2021        (Court only) ***Attorney Courtney M. Hostetler for Marla
                  Lopez,Courtney M. Hostetler for Marlon Lopez,Courtney M.
                  Hostetler for Mi Familia Vota,Courtney M. Hostetler for Paul
                  Rutledge added. (rg) (Entered: 10/07/2021)
10/07/2021    43 MOTION by Public Interest Legal Foundation. (Attachments: # 1
                 Exhibit Proposed Answer)(Taylor, Andy) (Entered: 10/07/2021)
10/19/2021    44 MOTION to Withdraw as Attorney - Jessica Choi, by Fiel Houston,
                 Inc., JOLT Action, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,



                                                                                 23-50885.95
         Case: 23-50885   Document: 144   Page: 99   Date Filed: 06/19/2024

                  William C. Velasquez Institute. (Attachments: # 1 Proposed
                  Order)(Choi, Jessica) (Entered: 10/19/2021)
10/21/2021    45 MOTION to Appear Pro Hac Vice by John Russell Hardin for
                 Graham White ( Filing fee $ 100 receipt number 0542-
                 15359890) by on behalf of LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino. (Hardin, John)
                 (Entered: 10/21/2021)
10/21/2021    46 Memorandum in Opposition to Motion, filed by LULAC Texas,
                 Texas AFT, Texas Alliance for Retired Americans, Vote Latino, re
                 43 MOTION filed by Movant Public Interest Legal Foundation
                 (Nkwonta, Uzoma) (Entered: 10/21/2021)
10/21/2021    47 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Houston Justice, The Arc of Texas, re 43 MOTION filed
                 by Movant Public Interest Legal Foundation (Broughton,
                 Kenneth) (Entered: 10/21/2021)
10/21/2021    48 NOTICE of Joinder by Marla Lopez, Marlon Lopez, Mi Familia
                 Vota, Paul Rutledge re 47 Response in Opposition to Motion,
                 (Rasich, Marc) (Entered: 10/21/2021)
10/21/2021    49 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Houston Justice, The Arc of Texas, re 43 MOTION filed
                 by Movant Public Interest Legal Foundation (Broughton,
                 Kenneth) (Entered: 10/21/2021)
10/21/2021    50 Response in Opposition to Motion, filed by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, Isabel Longoria, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, The Anti-Defamation League Austin, Southwest, and
                 Texoma, William C. Velasquez Institute, re 43 MOTION filed by
                 Movant Public Interest Legal Foundation (Genender, Paul)
                 (Entered: 10/21/2021)
10/21/2021    51 NOTICE of Joinder in Opposition by League of Women Voters of
                 Texas, OCA-Greater Houston, REVUP-Texas, Texas Organizing
                 Project, Workers Defense Action Fund re 49 Response in
                 Opposition to Motion, 43 MOTION (Cox, Ryan) (Entered:
                 10/21/2021)
10/21/2021    52 Response in Opposition to Motion, filed by Jacque Callanen,
                 Yvonne Ramon, Michael Scarpello, Lisa Wise, re 43 MOTION filed
                 by Movant Public Interest Legal Foundation Opposition to Public
                 Interest Legal Foundation's Motion to Intervene (Armon, Orion)
                 (Entered: 10/21/2021)



                                                                               23-50885.96
        Case: 23-50885   Document: 144      Page: 100    Date Filed: 06/19/2024


10/22/2021        Text Order GRANTING 44 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of Jessica
                  M. Choi for Plaintiffs La Unin Del Pueblo Entero, Southwest Voter
                  Registration Education Project, Mexican American Bar
                  Association of Texas, Texas Hispanics Organized for Political
                  Education, JOLT Action, William C. Velasquez Institute and Fiel
                  Houston, Inc. is hereby WITHDRAWN and she shall be removed
                  from all service lists pertaining to this action. These Plaintiffs will
                  continue to be represented by Julia Longoria, who has already
                  entered her appearance in this matter, and by other attorneys
                  from Fried, Frank, Harris, Shriver & Jacobson LLP. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 10/22/2021)
10/22/2021        Text Order GRANTING 45 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 10/22/2021)
10/22/2021        (Court only) *** Attorney Jessica M. Choi terminated. (rg)
                  (Entered: 10/22/2021)
10/22/2021        (Court only) ***Attorney Graham White for LULAC Texas,Graham
                  White for Texas AFT,Graham White for Texas Alliance for Retired
                  Americans,Graham White for Vote Latino added. (rg) (Entered:
                  10/22/2021)
10/24/2021   53 MOTION to Dismiss or, in the Alternative, Strike the Complaint of
                La Union Del Pueblo Entero, et al. by Gregory W. Abbott, Jose A.
                Esparza, Warren K. Paxton. (Sweeten, Patrick) (Entered:
                10/24/2021)
10/25/2021   54 MOTION to Dismiss by Gregory W. Abbott, Jose A. Esparza,
                Warren K. Paxton. (Attachments: # 1 Affidavit, # 2 Exhibit)
                (Hudson, Eric) (Entered: 10/25/2021)
10/25/2021   55 MOTION to Dismiss the Complaint of OCA-Greater Houston, et
                al. by Jose A. Esparza, Warren K. Paxton. (Sweeten, Patrick)
                (Entered: 10/25/2021)
10/25/2021   56 ANSWER to 1 Complaint with Jury Demand . Attorney Anthony J.
                Nelson added to party Dana DeBeauvoir(pty:cd) by Dana
                DeBeauvoir.(Nelson, Anthony) (Entered: 10/25/2021)
10/25/2021   57 Opposed MOTION to Intervene by Harris County Republican
                Party, Dallas County Republican Party, National Republican
                Senatorial Committee, National Republican Congressional
                Committee. (Attachments: # 1 Proposed Answer, # 2 Proposed



                                                                                   23-50885.97
        Case: 23-50885   Document: 144   Page: 101   Date Filed: 06/19/2024

                  Answer, # 3 Proposed Answer, # 4 Proposed Answer, # 5
                  Proposed Answer)(Gore, John) (Entered: 10/25/2021)
10/25/2021   58 Original ANSWER to 1 Complaint by Isabel Longoria.(Birring,
                Sameer) (Entered: 10/25/2021)
10/25/2021   59 ANSWER to Complaint with Jury Demand by Michael Scarpello.
                (Nicholas, Barbara) (Entered: 10/25/2021)
10/25/2021   60 RULE 7 DISCLOSURE STATEMENT filed by Dallas County
                Republican Party, Harris County Republican Party, National
                Republican Congressional Committee, National Republican
                Senatorial Committee. (Gore, John) (Entered: 10/25/2021)
10/25/2021   61 Consolidated Defendant's ANSWER to 1 Complaint . Attorney
                Josephine L. Ramirez added to party Yvonne Ramon(pty:condft)
                by Yvonne Ramon.(Ramirez, Josephine) (Entered: 10/25/2021)
10/25/2021   62 ANSWER to 1 Complaint with Jury Demand by Dana DeBeauvoir.
                (Nelson, Anthony) (Entered: 10/25/2021)
10/25/2021   63 NOTICE of Attorney Appearance by John M. Gore on behalf of
                Dallas County Republican Party, Harris County Republican Party,
                National Republican Congressional Committee, National
                Republican Senatorial Committee. Attorney John M. Gore added
                to party Dallas County Republican Party(pty:mov), Attorney John
                M. Gore added to party Harris County Republican
                Party(pty:mov), Attorney John M. Gore added to party National
                Republican Congressional Committee(pty:mov), Attorney John M.
                Gore added to party National Republican Senatorial
                Committee(pty:mov) (Gore, John) (Entered: 10/25/2021)
10/25/2021   64 MOTION to Dismiss the Complaint by Houston Justice, et al. by
                Gregory W. Abbott, Jose A. Esparza, Warren K. Paxton. (Sweeten,
                Patrick) (Entered: 10/25/2021)
10/25/2021   65 Original ANSWER to 1 Complaint by Isabel Longoria.(Birring,
                Sameer) (Entered: 10/25/2021)
10/25/2021   66 Original ANSWER to 1 Complaint by Isabel Longoria.(Birring,
                Sameer) (Entered: 10/25/2021)
10/25/2021   67 MOTION to Dismiss the Complaint of Mi Familia, et al. by
                Gregory W. Abbott, Jose A. Esparza, Warren K. Paxton. (Sweeten,
                Patrick) (Entered: 10/25/2021)
10/25/2021   68 MOTION to Dismiss by Lupe C. Torres. (Attachments: # 1
                Proposed Order)(Henneke, Robert) (Entered: 10/25/2021)
10/25/2021   69 DEFENDANT'S ANSWER to 1 Complaint FOR DECLARATORY AND
                INJUNCTIVE RELIEF by Lisa Wise.(Armon, Orion) (Entered:
                10/25/2021)




                                                                              23-50885.98
        Case: 23-50885   Document: 144   Page: 102   Date Filed: 06/19/2024


10/25/2021   70 ANSWER to Complaint with Jury Demand . Attorney Robert D.
                Green added to party Jacque Callanen(pty:condft) by Jacque
                Callanen.(Green, Robert) (Entered: 10/25/2021)
10/26/2021   71 MOTION to Appear Pro Hac Vice by John M. Gore for E. Stewart
                Crosland ( Filing fee $ 100 receipt number 0542-15373559) by
                on behalf of Dallas County Republican Party, Harris County
                Republican Party, National Republican Congressional Committee,
                National Republican Senatorial Committee. (Gore, John)
                (Entered: 10/26/2021)
10/26/2021   72 MOTION to Appear Pro Hac Vice by John M. Gore for Stephen J.
                Kenny ( Filing fee $ 100 receipt number 0542-15373621) by on
                behalf of Dallas County Republican Party, Harris County
                Republican Party, National Republican Congressional Committee,
                National Republican Senatorial Committee. (Gore, John)
                (Entered: 10/26/2021)
10/27/2021   73 NOTICE of Joinder by Dana DeBeauvoir re 52 Response in
                Opposition to Motion, (Nelson, Anthony) (Entered: 10/27/2021)
10/28/2021   74 REPLY to Response to Motion, filed by Public Interest Legal
                Foundation, re 43 MOTION filed by Movant Public Interest Legal
                Foundation Joint (Taylor, Andy) (Entered: 10/28/2021)
10/29/2021   75 NOTICE of Attorney Appearance by Donna Garcia Davidson on
                behalf of Foundation for Government Accountability. Attorney
                Donna Garcia Davidson added to party Foundation for
                Government Accountability(pty:am) (Davidson, Donna) (Entered:
                10/29/2021)
10/29/2021   76 MOTION to Appear Pro Hac Vice by Donna Garcia Davidson (
                Filing fee $ 100 receipt number 0542-15389054) by on behalf of
                Foundation for Government Accountability. (Davidson, Donna)
                (Entered: 10/29/2021)
10/29/2021   77 MOTION to Appear Pro Hac Vice by Donna Garcia Davidson (
                Filing fee $ 100 receipt number 0542-15389174) by on behalf of
                Foundation for Government Accountability. (Davidson, Donna)
                (Entered: 10/29/2021)
10/29/2021   78 MOTION for Leave to File Amicus Brief by Donna G. Davidson. by
                Foundation for Government Accountability. (Attachments: # 1
                Brief)(Davidson, Donna) (Entered: 10/29/2021)
11/01/2021   79 MOTION to Appear Pro Hac Vice by Thomas Paul Buser-Clancy
                for Ari Savitzky ( Filing fee $ 100 receipt number 0542-
                15394930) by on behalf of League of Women Voters of Texas,
                OCA-Greater Houston, REVUP-Texas, Texas Organizing Project,
                Workers Defense Action Fund. (Buser-Clancy, Thomas) (Entered:
                11/01/2021)



                                                                              23-50885.99
        Case: 23-50885   Document: 144   Page: 103   Date Filed: 06/19/2024


11/01/2021   80 NOTICE of Attorney Appearance by Ashley Alcantara Harris on
                behalf of League of Women Voters of Texas, OCA-Greater
                Houston, REVUP-Texas, Texas Organizing Project, Workers
                Defense Action Fund. Attorney Ashley Alcantara Harris added to
                party League of Women Voters of Texas(pty:conpla), Attorney
                Ashley Alcantara Harris added to party OCA-Greater
                Houston(pty:conpla), Attorney Ashley Alcantara Harris added to
                party REVUP-Texas(pty:conpla), Attorney Ashley Alcantara Harris
                added to party Texas Organizing Project(pty:conpla), Attorney
                Ashley Alcantara Harris added to party Workers Defense Action
                Fund(pty:conpla) (Harris, Ashley) (Entered: 11/01/2021)
11/02/2021   81 ANSWER to Complaint with Jury Demand by Jacque Callanen.
                (Green, Robert) (Entered: 11/02/2021)
11/04/2021   82 Unopposed MOTION for Extension of Time to File Motion to
                Dismiss Briefing Deadlines by Jeffrey Lamar Clemmons, Delta
                Sigma Theta Sorority Inc., Houston Area Urban League, Houston
                Justice, The Arc of Texas. (Attachments: # 1 Proposed Order)
                (Broughton, Kenneth) (Entered: 11/04/2021)
11/04/2021        Text Order GRANTING 82 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. Responses to the pending
                  motions to dismiss must be filed no later than November 18,
                  2021. Any replies must be filed no later than December 3, 2021.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  11/04/2021)
11/04/2021   83 NOTICE of Statement of Interest by UNITED STATES OF AMERICA
                re 64 MOTION to Dismiss the Complaint by Houston Justice, et
                al., 68 MOTION to Dismiss , 53 MOTION to Dismiss or, in the
                Alternative, Strike the Complaint of La Union Del Pueblo Entero,
                et al., 54 MOTION to Dismiss , 67 MOTION to Dismiss the
                Complaint of Mi Familia, et al. (Freeman, Daniel) (Entered:
                11/04/2021)
11/05/2021   84 Pretrial Disclosures Initial Disclosures Pursuant to Rule 26(A)
                F.R.C.P by Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                Rutledge. (Lyons, Sean) (Entered: 11/05/2021)
11/05/2021   85 MOTION to Appear Pro Hac Vice by Georgina Yeomans for
                Mohammed Amir Badat ( Filing fee $ 100 receipt number 0542-
                15413223) by on behalf of Jeffrey Lamar Clemmons, Delta
                Sigma Theta Sorority Inc., Houston Area Urban League, Houston
                Justice, The Arc of Texas. (Yeomans, Georgina) (Entered:
                11/05/2021)
11/05/2021        Text Order GRANTING 79 Motion to Appear Pro Hac Vice;
                  GRANTING 85 Motion to Appear Pro Hac Vice entered by Judge
                  Xavier Rodriguez. Pursuant to our Administrative Policies and


                                                                              23-50885.100
        Case: 23-50885   Document: 144    Page: 104    Date Filed: 06/19/2024

                  Procedures for Electronic Filing, the attorneys hereby granted to
                  practice pro hac vice in this case must register for electronic
                  filing with our court within 10 days of this order. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 11/05/2021)
11/05/2021   86 NOTICE of Service of Initial Disclosures by Jeffrey Lamar
                Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                League, Houston Justice, The Arc of Texas (Broughton, Kenneth)
                (Entered: 11/05/2021)
11/05/2021        (Court only) ***Attorney Ari Savitzky for OCA-Greater Houston
                  added. (rg) (Entered: 11/08/2021)
11/05/2021   89 MOTION to Appear Pro Hac Vice by Stewart Whitson by
                Foundation for Government Accountability. (Attachments: # 1
                Proposed Order)(rg) (Entered: 11/08/2021)
11/08/2021   87 Response in Opposition to Motion, filed by LULAC Texas, Texas
                AFT, Texas Alliance for Retired Americans, Vote Latino, re 57
                Opposed MOTION to Intervene filed by Movant National
                Republican Congressional Committee, Movant Harris County
                Republican Party, Movant Dallas County Republican Party,
                Movant National Republican Senatorial Committee (Nkwonta,
                Uzoma) (Entered: 11/08/2021)
11/08/2021   88 Response in Opposition to Motion, filed by Jeffrey Lamar
                Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                League, Houston Justice, The Arc of Texas, re 57 Opposed
                MOTION to Intervene filed by Movant National Republican
                Congressional Committee, Movant Harris County Republican
                Party, Movant Dallas County Republican Party, Movant National
                Republican Senatorial Committee (Broughton, Kenneth)
                (Entered: 11/08/2021)
11/08/2021   90 NOTICE of Joinder by Marla Lopez, Marlon Lopez, Mi Familia
                Vota, Paul Rutledge re 87 Response in Opposition to Motion, 57
                Opposed MOTION to Intervene, 88 Response in Opposition to
                Motion, (Lyons, Sean) (Entered: 11/08/2021)
11/08/2021   91 Response in Opposition to Motion, filed by Fiel Houston, Inc.,
                Friendship-West Baptist Church, Isabel Longoria, JOLT Action,
                James Lewin, La Union Del Pueblo Entero, Mexican American
                Bar Association of Texas, Southwest Voter Registration Education
                Project, Texas Hispanics Organized for Political Education, Texas
                Impact, The Anti-Defamation League Austin, Southwest, and
                Texoma, William C. Velasquez Institute, re 57 Opposed MOTION
                to Intervene filed by Movant National Republican Congressional
                Committee, Movant Harris County Republican Party, Movant
                Dallas County Republican Party, Movant National Republican
                Senatorial Committee (Ryan, Elizabeth) (Entered: 11/08/2021)



                                                                                23-50885.101
        Case: 23-50885   Document: 144    Page: 105    Date Filed: 06/19/2024


11/09/2021   92 NOTICE of Joinder in Opposition to Intervention by League of
                Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                Texas Organizing Project, Workers Defense Action Fund re 88
                Response in Opposition to Motion, (Cox, Ryan) (Entered:
                11/09/2021)
11/09/2021   93 Joint MOTION for Extension of Time to File The Parties' Rule 26(f)
                Report by Gregory W. Abbott, Jose A. Esparza, Warren K. Paxton.
                (Attachments: # 1 Proposed Order)(Hudson, Eric) (Entered:
                11/09/2021)
11/10/2021        Text Order GRANTING 93 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. The deadline for the Parties
                  to file their Rule 26(f) Report is extended to Wednesday,
                  November 10, 2021. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (ldox)
                  (Entered: 11/10/2021)
11/10/2021        (Court only) ***Attorney Ari Savitzky for League of Women
                  Voters of Texas,Ari Savitzky for REVUP-Texas,Ari Savitzky for
                  Texas Organizing Project,Ari Savitzky for Workers Defense Action
                  Fund added. (tr) (Entered: 11/10/2021)
11/10/2021   94 Rule 26(f) Discovery Report/Case Management Plan by
                Friendship-West Baptist Church, James Lewin, Texas Impact, The
                Anti-Defamation League Austin, Southwest, and Texoma.
                (Attachments: # 1 Exhibit)(Garber, Andrew) (Entered:
                11/10/2021)
11/12/2021   95 MOTION to Appear Pro Hac Vice by Ryan V. Cox Stegemoeller,
                Patrick ( Filing fee $ 100 receipt number 0542-15432973) by on
                behalf of League of Women Voters of Texas, OCA-Greater
                Houston, REVUP-Texas, Texas Organizing Project, Workers
                Defense Action Fund. (Cox, Ryan) (Entered: 11/12/2021)
11/12/2021        Text Order GRANTING 95 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 11/12/2021)
11/12/2021        (Court only) ***Attorney Patrick Stegemoeller for OCA-Greater
                  Houston added. (mgr) (Entered: 11/12/2021)
11/12/2021   96 ORDER --The parties are hereby ORDERED to file their
                exchangedinitial disclosures on the public docket, no later than
                3:00 p.m. on Monday, November 15, 2021. Signed by Judge
                Xavier Rodriguez. (mgr) (Entered: 11/12/2021)




                                                                                23-50885.102
        Case: 23-50885    Document: 144   Page: 106    Date Filed: 06/19/2024


11/14/2021    97 NOTICE of Initial Disclosures by UNITED STATES OF AMERICA
                 (Attachments: # 1 Exhibit 1: Initial Disclosures)(Freeman, Daniel)
                 (Entered: 11/14/2021)
11/15/2021    98 NOTICE of Filing of Initial Disclosures by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund re 96 Order
                 (Attachments: # 1 Initial Disclosures)(Cox, Ryan) (Entered:
                 11/15/2021)
11/15/2021    99 NOTICE of Filing Defendant Callanen's Initial Disclosures by
                 Jacque Callanen (Attachments: # 1 Exhibit Defendant Callanen's
                 Initial Disclosures)(Green, Robert) (Entered: 11/15/2021)
11/15/2021   100 NOTICE of Filing Initial Disclosures by Jeffrey Lamar Clemmons,
                 Delta Sigma Theta Sorority Inc., Houston Area Urban League,
                 Houston Justice, The Arc of Texas (Attachments: # 1 Exhibit A)
                 (Broughton, Kenneth) (Entered: 11/15/2021)
11/15/2021   101 NOTICE of FILING OF INITIAL DISCLOSURES by Yvonne Ramon
                 (Ramirez, Josephine) (Entered: 11/15/2021)
11/15/2021   102 NOTICE of Filing Initial Disclosures by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, Isabel Longoria, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, The Anti-Defamation League Austin, Southwest, and
                 Texoma, William C. Velasquez Institute (Attachments: # 1 Exhibit
                 LUPE Initial Disclosures)(Perales, Nina) (Entered: 11/15/2021)
11/15/2021   103 NOTICE of Initial Disclosures by Lisa Wise (Attachments: # 1
                 Exhibit Exhibit 1 - Def. Wise Initial Disclosures)(Armon, Orion)
                 (Entered: 11/15/2021)
11/15/2021   104 NOTICE of Filing Initial Disclosures by Dana DeBeauvoir
                 (Attachments: # 1 Exhibit A - Initial Disclosures)(Nelson,
                 Anthony) (Entered: 11/15/2021)
11/15/2021   105 NOTICE of Filing Initial Disclosures by LULAC Texas, Texas AFT,
                 Texas Alliance for Retired Americans, Vote Latino (Attachments:
                 # 1 Exhibit 1 - Initial Disclosures)(Yukevich, Kathryn) (Entered:
                 11/15/2021)
11/15/2021   106 NOTICE of Filing Initial Disclosures by Michael Scarpello (Stool,
                 Ben) (Entered: 11/15/2021)
11/15/2021   107 NOTICE of Filing Initial Disclosures by Lupe C. Torres (Henneke,
                 Robert) (Entered: 11/15/2021)
11/15/2021   108 NOTICE of Filing Initial Disclosures by Isabel Longoria
                 (Attachments: # 1 Exhibit)(Birring, Sameer) (Entered:



                                                                                23-50885.103
        Case: 23-50885    Document: 144    Page: 107   Date Filed: 06/19/2024

                  11/15/2021)
11/15/2021   109 MOTION to Appear Pro Hac Vice by Nina Perales for Attorney
                 Jason S. Kanterman ( Filing fee $ 100 receipt number 0542-
                 15439435) by on behalf of Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, William C. Velasquez
                 Institute. (Perales, Nina) (Entered: 11/15/2021)
11/15/2021   110 NOTICE of Filing Initial Disclosures by Dallas County Republican
                 Party, Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee (Gore, John)
                 (Entered: 11/15/2021)
11/15/2021   111 REPLY to Response to Motion, filed by Dallas County Republican
                 Party, Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, re 57 Opposed MOTION to Intervene filed by
                 Movant National Republican Congressional Committee, Movant
                 Harris County Republican Party, Movant Dallas County
                 Republican Party, Movant National Republican Senatorial
                 Committee (Gore, John) (Entered: 11/15/2021)
11/15/2021   112 NOTICE of Filing Defendants Initial Disclosures by Gregory W.
                 Abbott, Jose A. Esparza, Warren K. Paxton (Attachments: # 1
                 Exhibit Texas Defendants Initial Disclosures)(Sweeten, Patrick)
                 (Entered: 11/15/2021)
11/15/2021   113 NOTICE of Joinder by Republican National Committee re 57
                 Opposed MOTION to Intervene (Gore, John) (Entered:
                 11/15/2021)
11/15/2021   114 RULE 7 DISCLOSURE STATEMENT filed by Republican National
                 Committee. (Gore, John) (Entered: 11/15/2021)
11/15/2021        Text Order GRANTING 109 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  11/15/2021)
11/15/2021   115 Rule 26(f) Discovery Report/Case Management Plan by United
                 States Of America. (Freeman, Daniel) (Entered: 11/15/2021)
11/15/2021   116 APPENDIX to 112 Notice of Filing by Gregory W. Abbott, Jose A.
                 Esparza, Warren K. Paxton. (Attachments: # 1 Legislative
                 History: SB 7, Legislative Session 87(R), # 2 Legislative History:



                                                                                23-50885.104
        Case: 23-50885   Document: 144    Page: 108    Date Filed: 06/19/2024

                  SB 1, Legislative Session 87, 1st Special Session, # 3 Leg.
                  History: SB 1, Legislative Session 87, Second Special Session
                  (Part I), # 4 Leg. History: SB 1, Legislative Session 87, Second
                  Special Session (Part II), # 5 Leg. History: SB 1, Legislative
                  Session 87, Second Special Session (Part III))(Sweeten, Patrick)
                  (Entered: 11/15/2021)
11/15/2021   117 APPENDIX by Gregory W. Abbott, Jose A. Esparza, Warren K.
                 Paxton. (Attachments: # 1 Leg. History: SB 1, Legislative Session
                 87, Second Special Session (Part V), # 2 Leg. History: SB 1,
                 Legislative Session 87, Second Special Session (Part VI), # 3 Leg.
                 History: SB 1, Legislative Session 87, Second Special Session
                 (Part VII), # 4 Leg. History: SB 1, Legislative Session 87, Second
                 Special Session (Part VIII))(Sweeten, Patrick) (Entered:
                 11/15/2021)
11/15/2021   118 MOTION to Appear Pro Hac Vice by Andy Taylor for attorney
                 Kaylan Phillips ( Filing fee $ 100 receipt number 0542-15441931)
                 by on behalf of Public Interest Legal Foundation. (Taylor, Andy)
                 (Entered: 11/15/2021)
11/15/2021   119 MOTION to Appear Pro Hac Vice by Andy Taylor for attorney
                 Maureen S. Riordan ( Filing fee $ 100 receipt number 0542-
                 15441938) by on behalf of Public Interest Legal Foundation.
                 (Taylor, Andy) (Entered: 11/15/2021)
11/15/2021        (Court only) ***Attorney Jason S. Kanterman for Fiel Houston,
                  Inc.,Jason S. Kanterman for JOLT Action,Jason S. Kanterman for
                  La Union Del Pueblo Entero,Jason S. Kanterman for Mexican
                  American Bar Association of Texas,Jason S. Kanterman for
                  Southwest Voter Registration Education Project,Jason S.
                  Kanterman for Texas Hispanics Organized for Political
                  Education,Jason S. Kanterman for William C. Velasquez Institute
                  added. (rg) (Entered: 11/16/2021)
11/16/2021        Text Order GRANTING 78 Motion for Leave to File Amicus Brief
                  entered by Judge Xavier Rodriguez. The amicus brief is deemed
                  to have been filed on the date of this order. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 11/16/2021)
11/16/2021        Text Order GRANTING 76 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative
                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 11/16/2021)
11/16/2021        Text Order GRANTING 77 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez. Pursuant to our Administrative



                                                                                23-50885.105
        Case: 23-50885   Document: 144    Page: 109    Date Filed: 06/19/2024

                  Policies and Procedures for Electronic Filing, the attorney hereby
                  granted to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 11/16/2021)
11/16/2021        Text Order MOOTING 89 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez in light of the Court's order granting
                  Mr. Whitson's previous motion 76 to appear pro hac vice in this
                  matter. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  11/16/2021)
11/16/2021        ***WITHDRAWN PER COURT ORDER, DOC #470 ***Text Order
                  DENYING 71 Motion to Appear Pro Hac Vice entered by Judge
                  Xavier Rodriguez in light of the Court's denial of the Republican
                  Committees' motion to intervene 57 for the reasons stated in
                  open court. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) Modified on
                  10/31/2022 (wg). (Entered: 11/16/2021)
11/16/2021        ***WITHDRAWN, PER COURT ORDER, DOC# 470 ****Text Order
                  DENYING 72 Motion to Appear Pro Hac Vice entered by Judge
                  Xavier Rodriguez in light of the Court's denial of the Republican
                  Committees' motion to intervene 57 for the reasons stated in
                  open court. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) Modified
                  on 10/31/2022 (wg). (Entered: 11/16/2021)
11/16/2021        Text Order DENYING 118 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez in light of the Court's denial of the
                  Public Interest Legal Foundation's motion to intervene 43 for the
                  reasons stated in open court. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 11/16/2021)
11/16/2021        Text Order DENYING 119 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez in light of the Court's denial of the
                  Public Interest Legal Foundation's motion to intervene 43 for the
                  reasons stated in open court. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 11/16/2021)
11/16/2021        (Court only) ***Attorney Stewart Whitson for Foundation for
                  Government Accountability added. (rg) (Entered: 11/17/2021)
11/16/2021        (Court only) ***Attorney Chase Martin for Foundation for
                  Government Accountability added. (rg) (Entered: 11/17/2021)
11/16/2021   120 AMICUS CURIAE BRIEF by Foundation for Government
                 Accountability. (rg) (Entered: 11/17/2021)



                                                                                23-50885.106
        Case: 23-50885    Document: 144    Page: 110   Date Filed: 06/19/2024


11/16/2021   121 ORDER DENYING 43 Public Interest Legal Foundation Motion to
                 Intervene. Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 11/17/2021)
11/16/2021   124 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 11/16/2021. (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(rg) (Entered: 11/19/2021)
11/18/2021   122 ORDER DENYING 57 the Committees' Motion to intervene Signed
                 by Judge Xavier Rodriguez. (rg) (Entered: 11/18/2021)
11/18/2021   123 Appeal of Order entered by District Judge 122 by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. ( Filing
                 fee $ 505 receipt number 0542-15454561). Attorney John M.
                 Gore added to party Republican National Committee(pty:mov)
                 (Gore, John) (Entered: 11/18/2021)
11/18/2021        NOTICE OF APPEAL following 123 Notice of Appeal (E-Filed), by
                  Dallas County Republican Party, Harris County Republican Party,
                  National Republican Congressional Committee, National
                  Republican Senatorial Committee, Republican National
                  Committee. Filing fee $ 505.00, receipt number 15454561. Per
                  5th Circuit rules, the appellant has 14 days, from the filing of the
                  Notice of Appeal, to order the transcript. To order a transcript,
                  the appellant should fill out a (Transcript Order) and follow the
                  instructions set out on the form. This form is available in the
                  Clerk's Office or by clicking the hyperlink above. (rg) (Entered:
                  11/18/2021)
11/18/2021   125 SCHEDULING ORDER: Bench Trial set for 7/5/2022 10:30 AM
                 before Judge Xavier Rodriguez, Pretrial Conference set for
                 6/23/2022 10:30 AM before Judge Xavier Rodriguez, Amended
                 Pleadings due by 1/22/2022, Discovery due by 5/13/2022, Joinder
                 of Parties due by 1/22/2022, Dispositive Motions due by
                 5/27/2022. Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 11/19/2021)
11/19/2021   126 Transcript filed of Proceedings held on 11-16-21, Proceedings
                 Transcribed: Status Conference. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties


                                                                                23-50885.107
        Case: 23-50885    Document: 144   Page: 111   Date Filed: 06/19/2024

                  not electronically noticed Redaction Request due 12/10/2021,
                  Redacted Transcript Deadline set for 12/20/2021, Release of
                  Transcript Restriction set for 2/17/2022, Appeal Record due by
                  12/6/2021, (gs) (Entered: 11/19/2021)
11/23/2021   127 NOTICE of Attorney Appearance by Patrick K. Sweeten on behalf
                 of STATE OF TEXAS, John Scott. Attorney Patrick K. Sweeten
                 added to party STATE OF TEXAS(pty:condft), Attorney Patrick K.
                 Sweeten added to party John Scott(pty:condft) (Sweeten,
                 Patrick) (Entered: 11/23/2021)
11/23/2021   128 Unopposed MOTION for Extension of Time to File United States
                 of America's Complaint (consolidated case 5:21-cv-1085) by
                 STATE OF TEXAS, John Scott. (Attachments: # 1 Proposed Order)
                 (Sweeten, Patrick) (Entered: 11/23/2021)
11/26/2021   129 TRANSCRIPT REQUEST by Dallas County Republican Party, Harris
                 County Republican Party, National Republican Congressional
                 Committee, National Republican Senatorial Committee,
                 Republican National Committee for dates of 11/16/2021.
                 Proceedings Transcribed: Status Conference. Court Reporter:
                 Gigi Simcox.. (Gore, John)***Modified TEXT on 12/1/2021
                 (dtg).***TRANSCRIPT IS ALREADY ON FILE IN THE CLERK'S
                 OFFICE.***SEE DOCKET ENTRY #126.***STATUS CONFERENCE
                 OF 11/16/2021.*** (Entered: 11/26/2021)
11/29/2021        Text Order GRANTING 128 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. The deadline for the State of
                  Texas and Secretary Scott to Complaint filed by the United
                  States is hereby extended to December 3, 2021. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 11/29/2021)
11/30/2021   130 MOTION to Appear Pro Hac Vice by Nina Perales for Attorney
                 Kevin Zen ( Filing fee $ 100 receipt number 0542-15484074) by
                 on behalf of Fiel Houston, Inc., JOLT Action, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, William C. Velasquez Institute. (Perales,
                 Nina) (Entered: 11/30/2021)
11/30/2021   131 AMENDED COMPLAINT against STATE OF TEXAS, John Scott
                 amending, filed by United States Of America.(Freeman, Daniel)
                 (Entered: 11/30/2021)
12/01/2021        Text Order GRANTING 130 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.



                                                                               23-50885.108
        Case: 23-50885   Document: 144    Page: 112   Date Filed: 06/19/2024

                  There is no document associated with this entry.) (cb) (Entered:
                  12/01/2021)
12/01/2021   132 NOTICE of Amended Initial Disclosures by United States Of
                 America (Attachments: # 1 Exhibit 1: US Amended Initial
                 Disclosures)(Freeman, Daniel) (Entered: 12/01/2021)
12/01/2021   133 Pretrial Disclosures Amended Initial Disclosures by Lisa Wise.
                 (Armon, Orion) (Entered: 12/01/2021)
12/01/2021   134 Pretrial Disclosures Amended Initial Disclosures by Lupe C.
                 Torres. (Henneke, Robert) (Entered: 12/01/2021)
12/01/2021   135 NOTICE of Amended Initial Disclosures by Gregory W. Abbott,
                 Jose A. Esparza, Warren K. Paxton (Attachments: # 1 Exhibit
                 State Defendants' Initial Disclosures)(Sweeten, Patrick) (Entered:
                 12/01/2021)
12/01/2021   136 AMENDED COMPLAINT against Jacque Callanen, Dana
                 DeBeauvoir, Isabel Longoria, Warren K. Paxton, Yvonne Ramon,
                 Michael Scarpello, John Scott, Lisa Wise amending 1 Complaint.,
                 filed by Vote Latino, Texas AFT, Texas Alliance for Retired
                 Americans, LULAC Texas.(Nkwonta, Uzoma) (Entered:
                 12/01/2021)
12/01/2021   137 AMENDED COMPLAINT against Dana DeBeauvoir, Isabel
                 Longoria, Warren K. Paxton, John Scott amending, filed by
                 Workers Defense Action Fund, OCA-Greater Houston, League of
                 Women Voters of Texas, REVUP-Texas, Texas Organizing Project.
                 (Cox, Ryan) (Entered: 12/01/2021)
12/01/2021   138 NOTICE of Voluntary Dismissal by Isabel Longoria (Attachments:
                 # 1 Exhibit 1)(Birring, Sameer) (Entered: 12/01/2021)
12/01/2021   139 AMENDED COMPLAINT against Gregory W. Abbott, Jacque
                 Callanen, Jose A. Esparza, Isabel Longoria, Warren K. Paxton
                 amending, filed by Paul Rutledge, Mi Familia Vota, The Arc of
                 Texas, Marlon Lopez, Jeffrey Lamar Clemmons, Houston Area
                 Urban League, Houston Justice, Delta Sigma Theta Sorority Inc.,
                 Marla Lopez.(Olson, Wendy) (Entered: 12/01/2021)
12/01/2021   140 AMENDED COMPLAINT against STATE OF TEXAS amending, filed
                 by La Union Del Pueblo Entero.(Perales, Nina) (Entered:
                 12/02/2021)
12/01/2021        (Court only) ***Attorney Kevin Zhen for Fiel Houston, Inc.,Kevin
                  Zhen for JOLT Action,Kevin Zhen for La Union Del Pueblo
                  Entero,Kevin Zhen for Mexican American Bar Association of
                  Texas,Kevin Zhen for Southwest Voter Registration Education
                  Project,Kevin Zhen for Texas Hispanics Organized for Political
                  Education,Kevin Zhen for William C. Velasquez Institute added.
                  (rg) (Entered: 12/02/2021)



                                                                               23-50885.109
        Case: 23-50885   Document: 144   Page: 113   Date Filed: 06/19/2024


12/02/2021   141 NOTICE of Filing PLAINTIFFS' JOINT AMENDED INITIAL
                 DISCLOSURES by La Union Del Pueblo Entero (Attachments: # 1
                 Exhibit AMENDED INITIAL DISCLOSURES)(Perales, Nina)
                 (Entered: 12/02/2021)
12/02/2021        Text Order DENYING 53 Motion to Dismiss entered by Judge
                  Xavier Rodriguez. In light of the amended complaint at ECF No.
                  140, this motion to dismiss is DENIED as moot. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 12/02/2021)
12/02/2021        Text Order DENYING 54 Motion to Dismiss entered by Judge
                  Xavier Rodriguez. In light of the amended complaint at ECF No.
                  136, this motion to dismiss is DENIED as moot. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 12/02/2021)
12/02/2021        Text Order DENYING 55 Motion to Dismiss entered by Judge
                  Xavier Rodriguez. In light of the amended complaint at ECF No.
                  137, this motion to dismiss is DENIED as moot. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 12/02/2021)
12/02/2021        Text Order DENYING 64 Motion to Dismiss entered by Judge
                  Xavier Rodriguez. In light of the amended complaint at ECF No.
                  139, this motion to dismiss is DENIED as moot. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 12/02/2021)
12/02/2021        Text Order DENYING 67 Motion to Dismiss entered by Judge
                  Xavier Rodriguez. In light of the amended complaint at ECF No.
                  139, this motion to dismiss is DENIED as moot. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 12/02/2021)
12/02/2021        Text Order DENYING 68 Motion to Dismiss entered by Judge
                  Xavier Rodriguez. On November 30, 2021, the United States of
                  America filed an amended complaint. ECF No. 131. On
                  December 1, 2021, the remaining plaintiffs in these consolidated
                  cases filed amended complaints. ECF Nos. 136, 137, 139. 140.
                  None of these complaints identify Lupe C. Torres as a defendant.
                  Thus, it appears that Lupe C. Torres is no longer a defendant in
                  these cases. Accordingly, this motion to dismiss is DENIED as
                  moot. (This is a text-only entry generated by the court. There is
                  no document associated with this entry.) (JA3) (Entered:
                  12/02/2021)
12/06/2021        (Court only) USCA Case Number 21-51145 (Doc. 123) for 123
                  Notice of Appeal, filed by National Republican Congressional
                  Committee, Harris County Republican Party, Dallas County




                                                                              23-50885.110
        Case: 23-50885   Document: 144   Page: 114   Date Filed: 06/19/2024

                  Republican Party, Republican National Committee, National
                  Republican Senatorial Committee. (dtg) (Entered: 12/06/2021)
12/08/2021   142 Agreed MOTION Regarding the Disclosure of Privileged
                 Information by Gregory W. Abbott, Warren K. Paxton, John Scott.
                 (Sweeten, Patrick) (Entered: 12/08/2021)
12/08/2021   143 ORDER GRANTING 142 Motion regarding the disclosure of
                 privileged information. Signed by Judge Xavier Rodriguez. (rg)
                 (Entered: 12/09/2021)
12/10/2021        Certification of the Electronic Record on Appeal in USCA #21-
                  51145 has been accepted by the 5th Circuit. re 123 Notice of
                  Appeal. Attorneys are advised that they may now download the
                  EROA from the Fifth Circuit CM/ECF site by following these
                  instructions here (dtg) (Entered: 12/10/2021)
12/14/2021   144 Unopposed MOTION for Extension of Time to File Answer re 137
                 Amended Complaint, 139 Amended Complaint, 140 Amended
                 Complaint, 136 Amended Complaint, by Gregory W. Abbott, Jose
                 A. Esparza, Warren K. Paxton, STATE OF TEXAS, John Scott.
                 (Attachments: # 1 Proposed Order)(White, Jeffrey) (Entered:
                 12/14/2021)
12/14/2021        Text Order GRANTING 144 Motion for Extension of Time to
                  Answer entered by Judge Xavier Rodriguez. The deadline for the
                  State Defendants to respond to the Amended Complaint is
                  hereby extended to January 5, 2022. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 12/14/2021)
12/14/2021   145 MOTION to Dismiss the Federal Government's Claims by STATE
                 OF TEXAS, John Scott. (Sweeten, Patrick) (Entered: 12/14/2021)
12/15/2021   146 ANSWER to 137 Amended Complaint with Jury Demand by Dana
                 DeBeauvoir.(Nelson, Anthony) (Entered: 12/15/2021)
12/15/2021   147 ANSWER to 136 Amended Complaint, with Jury Demand by
                 Yvonne Ramon.(Ramirez, Josephine) (Entered: 12/15/2021)
12/15/2021   148 ANSWER to 136 Amended Complaint, with Jury Demand by Dana
                 DeBeauvoir.(Nelson, Anthony) (Entered: 12/15/2021)
12/15/2021   149 ANSWER to 136 Amended Complaint, with Jury Demand by
                 Michael Scarpello.(Nicholas, Barbara) (Entered: 12/15/2021)
12/15/2021   150 ANSWER to 140 Amended Complaint with Jury Demand by
                 Michael Scarpello.(Nicholas, Barbara) (Entered: 12/15/2021)
12/15/2021   151 ANSWER to 136 Amended Complaint, with Jury Demand by
                 Jacque Callanen.(Green, Robert) (Entered: 12/15/2021)
12/15/2021   152 ANSWER to 139 Amended Complaint, with Jury Demand by
                 Jacque Callanen.(Green, Robert) (Entered: 12/15/2021)


                                                                              23-50885.111
        Case: 23-50885   Document: 144    Page: 115   Date Filed: 06/19/2024


12/15/2021   153 Defendant's ANSWER to 136 Amended Complaint, by Lisa Wise.
                 (Armon, Orion) (Entered: 12/15/2021)
12/15/2021   154 Defendant's ANSWER to 140 Amended Complaint by Lisa Wise.
                 (Armon, Orion) (Entered: 12/15/2021)
12/15/2021   155 ANSWER to 137 Amended Complaint by Isabel Longoria.(Birring,
                 Sameer) (Entered: 12/15/2021)
12/15/2021   156 ANSWER to 139 Amended Complaint, by Isabel Longoria.
                 (Birring, Sameer) (Entered: 12/15/2021)
12/15/2021   157 ANSWER to 136 Amended Complaint, by Isabel Longoria.
                 (Birring, Sameer) (Entered: 12/15/2021)
12/17/2021   158 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 145 MOTION to Dismiss the Federal
                 Government's Claims by United States Of America.
                 (Attachments: # 1 Proposed Order)(Stewart, Michael) (Entered:
                 12/17/2021)
12/20/2021        Text Order GRANTING 158 Motion for Extension of Time to File
                  Response/Reply entered by Judge Xavier Rodriguez. The
                  deadline for the United States to file a response to the State
                  Defendants' Motion to Dismiss 145 is hereby extended to
                  January 18, 2022. The deadline for the State Defendants' reply is
                  extended to February 1, 2022. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 12/20/2021)
12/21/2021   159 MOTION to Appear Pro Hac Vice by John Russell Hardin [Noah B.
                 Baron] ( Filing fee $ 100 receipt number 0542-15556846) by on
                 behalf of LULAC Texas, Texas AFT, Texas Alliance for Retired
                 Americans, Vote Latino. (Hardin, John) (Entered: 12/21/2021)
12/22/2021        Text Order GRANTING 159 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  12/22/2021)
12/22/2021   160 Unopposed MOTION for Protective Order Stipulated Between
                 the United States of America and Defendants the State of Texas
                 and Secretary of State John Scott by United States Of America.
                 (Attachments: # 1 Proposed Order)(Stewart, Michael) (Entered:
                 12/22/2021)
12/22/2021   161 STIPULATION Regarding Extension of Expert Discovery Deadline
                 by United States Of America. (Stewart, Michael) (Entered:



                                                                               23-50885.112
        Case: 23-50885   Document: 144    Page: 116   Date Filed: 06/19/2024

                  12/22/2021)
12/22/2021        (Court only) ***Attorney Noah B. Baron for LULAC Texas, Texas
                  AFT, Texas Alliance, and Vote Latino added. (bc) (Entered:
                  12/27/2021)
12/23/2021   162 STIPULATED PROTECTIVE ORDER. Signed by Judge Xavier
                 Rodriguez. (mgr) (Entered: 12/28/2021)
12/28/2021   168 Pro Hac Vice Fee Paid by Mark F. Hearne; Filing fee $100.00,
                 receipt number 500059574. (rg) (Entered: 01/03/2022)
12/28/2021   169 Pro Hac Vice Fee Paid by Stephen S. Davis; Filing fee $100.00,
                 receipt number 500059575. (rg) (Entered: 01/03/2022)
12/28/2021   170 Pro Hac Vice Fee Paid by John R. Ashcroft; Filing fee $100.00,
                 receipt number 500059573. (rg) (Entered: 01/03/2022)
12/29/2021   163 MOTION to Appear Pro Hac Vice by John Russell Hardin [Marcos
                 Mocine-McQueen ( Filing fee $ 100 receipt number 0542-
                 15568912) by on behalf of LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino. (Hardin, John)
                 (Entered: 12/29/2021)
12/30/2021        Text Order GRANTING 163 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  12/30/2021)
12/30/2021   164 NOTICE of Initial Disclosures by Lisa Wise by Lisa Wise
                 (Attachments: # 1 Initial Disclosures by Lisa Wise)(Armon, Orion)
                 (Entered: 12/30/2021)
12/30/2021        (Court only) ***Attorney Marcos Mocine-Mcqueen for LULAC
                  Texas,Marcos Mocine-Mcqueen for Texas AFT,Marcos Mocine-
                  Mcqueen for Texas Alliance for Retired Americans,Marcos
                  Mocine-Mcqueen for Vote Latino added. (rg) (Entered:
                  01/03/2022)
01/03/2022   165 MOTION to Appear Pro Hac Vice by Mark F. Hearne by on behalf
                 of John R. Ashcroft. (Attachments: # 1 Proposed Order)(rg)
                 (Entered: 01/03/2022)
01/03/2022   166 MOTION to Appear Pro Hac Vice by Stephen S. Davis by on
                 behalf of John R. Ashcroft. (Attachments: # 1 Proposed Order)
                 (rg) (Entered: 01/03/2022)
01/03/2022   167 MOTION to Appear Pro Hac Vice by John R. Ashcroft by on behalf
                 of John R. Ashcroft. (Attachments: # 1 Proposed Order)(rg)



                                                                               23-50885.113
        Case: 23-50885   Document: 144    Page: 117   Date Filed: 06/19/2024

                  (Entered: 01/03/2022)
01/03/2022   171 MOTION for Leave to File Amicus Brief by John R. Ashcroft. by
                 John R. Ashcroft. (Attachments: # 1 Brief)(rg) (Entered:
                 01/03/2022)
01/04/2022   172 Opposed MOTION to Consolidate Cases by Gregory W. Abbott,
                 Warren K. Paxton, John Scott. (Sweeten, Patrick) (Entered:
                 01/04/2022)
01/04/2022   173 MOTION to Appear Pro Hac Vice by John Russell Hardin [Haley
                 Costello Essig] ( Filing fee $ 100 receipt number 0542-15579725)
                 by on behalf of LULAC Texas, Texas AFT, Texas Alliance for
                 Retired Americans, Vote Latino. (Hardin, John) (Entered:
                 01/04/2022)
01/04/2022        Text Order GRANTING 173 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/04/2022)
01/04/2022        (Court only) ***Attorney Haley Costello Essig for LULAC
                  Texas,Haley Costello Essig for Texas AFT,Haley Costello Essig for
                  Texas Alliance for Retired Americans,Haley Costello Essig for
                  Vote Latino added. (rg) (Entered: 01/05/2022)
01/05/2022   174 ORDER - Set Motion Hearing for 172 Opposed MOTION to
                 Consolidate Cases (Motion Hearing set for 1/11/2022 10:30 AM
                 before Judge Xavier Rodriguez). Signed by Judge Xavier
                 Rodriguez. (rg) (Entered: 01/05/2022)
01/05/2022   175 MOTION to Dismiss the Complaint of the OCA-Greater Houston
                 Plaintiffs by Warren K. Paxton, John Scott. (Attachments: # 1
                 Exhibit Transcript of November 16, 2021 Hearing)(Sweeten,
                 Patrick) (Entered: 01/05/2022)
01/05/2022   176 MOTION to Dismiss LUPE, et al.'s First Amended Complaint by
                 Gregory W. Abbott, Warren K. Paxton, STATE OF TEXAS.
                 (Attachments: # 1 Exhibit A - Status Conference Transcript 11-
                 16-21)(Sweeten, Patrick) (Entered: 01/05/2022)
01/05/2022   177 MOTION to Dismiss LULAC, et al.'s First Amended Complaint by
                 Gregory W. Abbott, Warren K. Paxton, STATE OF TEXAS, John
                 Scott. (Attachments: # 1 Exhibit A - Status Conference
                 Transcript 11-16-21)(Sweeten, Patrick) (Entered: 01/05/2022)
01/05/2022   178 Unopposed MOTION for Leave to Exceed Page Limitation for the
                 State Defendants' Motion to Dismiss the Houston Justice
                 Plaintiffs' Amended Complaint by Gregory W. Abbott, Warren K.


                                                                               23-50885.114
        Case: 23-50885    Document: 144    Page: 118   Date Filed: 06/19/2024

                  Paxton, John Scott. (Attachments: # 1 Proposed Order Proposed
                  Order on Motion for Leave, # 2 Exhibit Proposed Motion to
                  Dismiss, # 3 Exhibit November 16, 2021 Hearing Transcript)
                  (Sweeten, Patrick) (Entered: 01/05/2022)
01/06/2022   179 NOTICE of Attorney Appearance by William Thomas Thompson
                 on behalf of Gregory W. Abbott, Warren K. Paxton, John Scott.
                 Attorney William Thomas Thompson added to party Gregory W.
                 Abbott(pty:dft), Attorney William Thomas Thompson added to
                 party Warren K. Paxton(pty:dft), Attorney William Thomas
                 Thompson added to party John Scott(pty:condft) (Thompson,
                 William) (Entered: 01/06/2022)
01/07/2022        Text Order GRANTING 178 Motion for Leave to File Excess Pages
                  entered by Judge Xavier Rodriguez. Pursuant to the Fact Sheet
                  for Judge Xavier Rodriguez, found on the TXWD website, any
                  brief or memorandum less than 30 pages may be submitted
                  without leave of Court. (This is a text-only entry generated by
                  the court. There is no document associated with this entry.) (cb)
                  (Entered: 01/07/2022)
01/07/2022   180 MOTION to Appear Pro Hac Vice by John Russell Hardin for
                 Michael B. Jones ( Filing fee $ 100 receipt number 0542-
                 15593872) by on behalf of LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino. (Hardin, John)
                 (Entered: 01/07/2022)
01/07/2022   182 MOTION to Dismiss the Houston Justice Plaintiffs' Amended
                 Complaint by Gregory W. Abbott, Warren K. Paxton, John Scott.
                 (rg) (Entered: 01/10/2022)
01/09/2022   181 Response in Opposition to Motion, filed by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund, re 172
                 Opposed MOTION to Consolidate Cases filed by Consol
                 Defendant John Scott, Defendant Warren K. Paxton, Defendant
                 Gregory W. Abbott jointly filed by all private plaintiffs (Cox, Ryan)
                 (Entered: 01/09/2022)
01/10/2022        Text Order GRANTING 180 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/10/2022)
01/10/2022        (Court only) ***Attorney Michael B. Jones for LULAC
                  Texas,Michael B. Jones for Texas AFT,Michael B. Jones for Texas




                                                                                23-50885.115
        Case: 23-50885   Document: 144    Page: 119   Date Filed: 06/19/2024

                  Alliance for Retired Americans,Michael B. Jones for Vote Latino
                  added. (rg) (Entered: 01/10/2022)
01/10/2022   183 Response in Opposition to Motion, filed by United States Of
                 America, re 172 Opposed MOTION to Consolidate Cases filed by
                 Consol Defendant John Scott, Defendant Warren K. Paxton,
                 Defendant Gregory W. Abbott (Paikowsky, Dana) (Entered:
                 01/10/2022)
01/11/2022        Text Order DENYING 172 Motion to Consolidate Cases entered
                  by Judge Xavier Rodriguez. For the reasons discussed at today's
                  hearing, the motion to consolidate Longoria v. Paxton, No. 5-21-
                  cv-1223 (W.D. Tex.) with La Union del Pueblo Entero v. Abbott,
                  No. 5:21-cv-844 (W.D. Tex.) is hereby DENIED. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (JA3) (Entered: 01/11/2022)
01/11/2022   184 MOTION to Appear Pro Hac Vice by Ryan V. Cox for Sarah Chen (
                 Filing fee $ 100 receipt number 0542-15602998) by on behalf of
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Texas Organizing Project, Workers Defense Action
                 Fund. (Cox, Ryan) (Entered: 01/11/2022)
01/11/2022        Text Order GRANTING 184 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/11/2022)
01/11/2022   185 ORDER DENYING 171 Motion for Leave to File Amicus Brief.
                 Signed by Judge Xavier Rodriguez. (rg) (Entered: 01/11/2022)
01/11/2022   186 Unopposed MOTION to Withdraw as Attorney ,Lora Spencer, by
                 Houston Justice. (Attachments: # 1 Proposed Order)(Spencer,
                 Lora) (Entered: 01/11/2022)
01/11/2022        (Court only) ***Attorney Sarah Xiyi Chen for OCA-Greater
                  Houston added. (rg) (Entered: 01/12/2022)
01/11/2022   190 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 1/11/2022. (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(rg) (Entered: 01/13/2022)
01/12/2022        Text Order DENYING 165 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez in light of the Court's denial 185 of
                  John Ashcroft's motion for leave to file an amicus brief 171 in
                  this matter. (This is a text-only entry generated by the court.




                                                                               23-50885.116
        Case: 23-50885   Document: 144    Page: 120    Date Filed: 06/19/2024

                  There is no document associated with this entry.) (cb) (Entered:
                  01/12/2022)
01/12/2022        Text Order DENYING 166 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez in light of the Court's denial 185 of
                  John Ashcroft's motion for leave to file an amicus brief 171 in
                  this matter. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/12/2022)
01/12/2022        Text Order DENYING 167 Motion to Appear Pro Hac Vice entered
                  by Judge Xavier Rodriguez in light of the Court's denial 185 of
                  John Ashcroft's motion for leave to file an amicus brief 171 in
                  this matter. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/12/2022)
01/12/2022        Text Order GRANTING 186 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. IT IS THEREFORE ORDERED
                  that Lora Spencer shall be withdrawn as counsel of record for
                  Plaintiffs. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  01/12/2022)
01/12/2022   187 MOTION to Appear Pro Hac Vice by Orion Armon on Behalf of
                 David Louk ( Filing fee $ 100 receipt number 0542-15607042) by
                 on behalf of Lisa Wise. (Attachments: # 1 Proposed Order)
                 (Armon, Orion) (Entered: 01/12/2022)
01/12/2022   188 MOTION to Appear Pro Hac Vice by Orion Armon on Behalf of
                 David Louk ( Filing fee $ 100 receipt number 0542-15607268) by
                 on behalf of Lisa Wise. (Attachments: # 1 Proposed Order)
                 (Armon, Orion). Duplicate Filing fee was refunded by Finance on
                 1/24/2022 (kc). (Entered: 01/12/2022)
01/12/2022        Text Order GRANTING 187 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/12/2022)
01/12/2022        Text Order MOOTING 188 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez in light of the Court's order
                  granting Mr. Louk's previous motion 187 to appear pro hac vice
                  in this matter. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/12/2022)




                                                                                23-50885.117
        Case: 23-50885   Document: 144    Page: 121   Date Filed: 06/19/2024


01/12/2022        (Court only) *** Attorney Lora Spencer terminated. (rg)
                  (Entered: 01/13/2022)
01/12/2022        (Court only) ***Attorney David Louk for Lisa Wise added. (rg)
                  (Entered: 01/13/2022)
01/13/2022   189 TRANSCRIPT REQUEST by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, William C. Velasquez
                 Institute for proceedings held on 1/11/2022.. (Perales,
                 Nina)***Modified TEXT on 1/14/2022 (dtg).***STATUS
                 CONFERENCE (VIDEO) OF 1/11/2022 BEFORE JUDGE XAVIER
                 RODRIGUEZ.***COURT REPORTER: GIGI SIMCOX.*** (Entered:
                 01/13/2022)
01/14/2022   191 MOTION to Amend Complaint by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, Houston
                 Justice, Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge, The Arc of Texas. (Attachments: # 1 Exhibit A - Second
                 Amended Complaint, # 2 Proposed Order)(Holmes, Jennifer)
                 (Entered: 01/14/2022)
01/14/2022   192 MOTION to Amend Complaint by League of Women Voters of
                 Texas, OCA-Greater Houston, REVUP-Texas, Texas Organizing
                 Project, Workers Defense Action Fund. (Attachments: # 1 Exhibit
                 Second Amended Complaint, # 2 Proposed Order)(Cox, Ryan)
                 (Entered: 01/14/2022)
01/18/2022        Text Order GRANTING 191 Motion for Leave to File Second
                  Amended Complaint entered by Judge Xavier Rodriguez. The
                  Clerk is DIRECTED to file the proposed Second Amended
                  Complaint, attached to the motion as Exhibit A [191-1]. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 01/18/2022)
01/18/2022        Text Order GRANTING 192 Motion for Leave to File Second
                  Amended Complaint entered by Judge Xavier Rodriguez. The
                  Clerk is DIRECTED to file the proposed Second Amended
                  Complaint, attached to the motion as Exhibit A [192-1]. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 01/18/2022)
01/18/2022   193 Transcript filed of Proceedings held on 1-11-22, Proceedings
                 Transcribed: Status Conference. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If


                                                                               23-50885.118
        Case: 23-50885   Document: 144     Page: 122    Date Filed: 06/19/2024

                  redaction is necessary, a Notice of Redaction Request must be
                  filed within 21 days. If no such Notice is filed, the transcript will
                  be made available via PACER without redaction after 90
                  calendar days. The clerk will mail a copy of this notice to parties
                  not electronically noticed Redaction Request due 2/8/2022,
                  Redacted Transcript Deadline set for 2/18/2022, Release of
                  Transcript Restriction set for 4/18/2022, Appeal Record due by
                  2/2/2022, (gs) (Entered: 01/18/2022)
01/18/2022   194 MOTION for Leave to File Second Amended Complaint by LULAC
                 Texas, Texas AFT, Texas Alliance for Retired Americans, Vote
                 Latino. (Attachments: # 1 Exhibit A- Second Amended
                 Complaint, # 2 Proposed Order)(Nkwonta, Uzoma) (Entered:
                 01/18/2022)
01/18/2022   195 Memorandum in Opposition to Motion, filed by United States Of
                 America, re 145 MOTION to Dismiss the Federal Government's
                 Claims filed by Consol Defendant John Scott, Consol Defendant
                 STATE OF TEXAS (Freeman, Daniel) (Entered: 01/18/2022)
01/18/2022   199 SECOND AMENDED COMPLAINT against Gregory W. Abbott,
                 Jacque Callanen, Isabel Longoria, Warren K. Paxton, John Scott,
                 Kim Ogg, Joe Gonzales, Jose Garza amending, filed by Paul
                 Rutledge, Mi Familia Vota, The Arc of Texas, Marlon Lopez,
                 Jeffrey Lamar Clemmons, Houston Area Urban League, Houston
                 Justice, Delta Sigma Theta Sorority Inc., Marla Lopez.(rg)
                 (Entered: 01/20/2022)
01/18/2022   200 SECOND AMENDED COMPLAINT against Dana DeBeauvoir, Jose
                 Garza, Isabel Longoria, Kim Ogg, Warren K. Paxton, John Scott
                 amending, filed by Workers Defense Action Fund, OCA-Greater
                 Houston, League of Women Voters of Texas, REVUP-Texas.(rg)
                 (Entered: 01/20/2022)
01/19/2022   196 Response in Opposition to Motion, filed by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino, re 177
                 MOTION to Dismiss LULAC, et al.'s First Amended Complaint filed
                 by Consol Defendant John Scott, Defendant Warren K. Paxton,
                 Defendant Gregory W. Abbott, Consol Defendant STATE OF
                 TEXAS (Nkwonta, Uzoma) (Entered: 01/19/2022)
01/19/2022        Text Order GRANTING 194 Motion for Leave to File Second
                  Amended Complaint entered by Judge Xavier Rodriguez. The
                  Clerk is DIRECTED to file the proposed Second Amended
                  Complaint, attached to the motion as Exhibit A [194-1]. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 01/19/2022)
01/19/2022   197 Memorandum in Opposition to Motion, filed by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of



                                                                                 23-50885.119
        Case: 23-50885   Document: 144    Page: 123   Date Filed: 06/19/2024

                  Texas, Southwest Voter Registration Education Project, Texas
                  Hispanics Organized for Political Education, Texas Impact, The
                  Anti-Defamation League Austin, Southwest, and Texoma, William
                  C. Velasquez Institute, re 176 MOTION to Dismiss LUPE, et al.'s
                  First Amended Complaint filed by Defendant Warren K. Paxton,
                  Defendant Gregory W. Abbott, Consol Defendant STATE OF
                  TEXAS (Perales, Nina) (Entered: 01/19/2022)
01/19/2022   198 Response in Opposition to Motion, filed by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund, re 175
                 MOTION to Dismiss the Complaint of the OCA-Greater Houston
                 Plaintiffs filed by Consol Defendant John Scott, Defendant
                 Warren K. Paxton (Cox, Ryan) (Entered: 01/19/2022)
01/19/2022   207 SECOND AMENDED COMPLAINT against Jacque Callanen, Dana
                 DeBeauvoir, Jose Garza, Joe Gonzales, Isabel Longoria, Kim Ogg,
                 Warren K. Paxton, Yvonne Ramon, Michael Scarpello, John Scott,
                 Lisa Wise, John Creuzot, Ricardo Rodriguez, Jr., Yvonne Rosales
                 amending, filed by Vote Latino, Texas AFT, Texas Alliance for
                 Retired Americans, LULAC Texas.(rg) (Entered: 01/25/2022)
01/20/2022        Text Order MOOTING 182 Motion to Dismiss in light of the filing
                  of the Houston Justice Plaintiffs' Second Amended Complaint 199
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 01/20/2022)
01/20/2022        Text Order MOOTING 175 Motion to Dismiss in light of the filing
                  of the OCA-Greater Houston Plaintiffs' Second Amended
                  Complaint 200 entered by Judge Xavier Rodriguez. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 01/20/2022)
01/21/2022   201 NOTICE of Attorney Appearance by Christina Marie Beeler on
                 behalf of Isabel Longoria. Attorney Christina Marie Beeler added
                 to party Isabel Longoria(pty:condft) (Beeler, Christina) (Entered:
                 01/21/2022)
01/21/2022   202 NOTICE of Attorney Appearance by Tiffany Sue Bingham on
                 behalf of Isabel Longoria. Attorney Tiffany Sue Bingham added
                 to party Isabel Longoria(pty:condft) (Bingham, Tiffany) (Entered:
                 01/21/2022)
01/21/2022   203 MOTION for Leave to File Amicus Brief by Young Black Lawyers'
                 Organizing Coalition. (Attachments: # 1 Proposed Amicus Curiae
                 Brief)(Moye, Veronica) (Entered: 01/21/2022)
01/22/2022   204 MOTION for Leave to File Second Amended Complaint by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education


                                                                               23-50885.120
        Case: 23-50885    Document: 144   Page: 124    Date Filed: 06/19/2024

                  Project, Texas Hispanics Organized for Political Education, Texas
                  Impact, The Anti-Defamation League Austin, Southwest, and
                  Texoma, William C. Velasquez Institute. (Attachments: # 1
                  Exhibit A (Proposed Second Amended Complaint), # 2 Proposed
                  Order)(Morales-Doyle, Sean) (Entered: 01/22/2022)
01/24/2022   205 MOTION to Compel Production by United States Of America.
                 (Attachments: # 1 Proposed Order, # 2 Exhibit Exhibit 1, # 3
                 Exhibit Exhibit 2, # 4 Exhibit Exhibit 3, # 5 Exhibit Exhibit 4)
                 (Stewart, Michael) (Entered: 01/24/2022)
01/24/2022   206 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 176 MOTION to Dismiss LUPE, et al.'s First
                 Amended Complaint, 177 MOTION to Dismiss LULAC, et al.'s First
                 Amended Complaint by Warren K. Paxton, STATE OF TEXAS,
                 John Scott. (White, Jeffrey) (Entered: 01/24/2022)
01/25/2022        Text Order GRANTING 204 Motion for Leave to File Second
                  Amended Complaint entered by Judge Xavier Rodriguez. The
                  Clerk is DIRECTED to file the proposed Second Amended
                  Complaint [204-1]. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 01/25/2022)
01/25/2022   208 SECOND AMENDED COMPLAINT against John Creuzot, Jose
                 Garza, Warren K. Paxton, Yvonne Rosales, STATE OF TEXAS,
                 Michael Scarpello, John Scott, Lisa Wise amending, filed by Texas
                 Hispanics Organized for Political Education, Friendship-West
                 Baptist Church, La Union Del Pueblo Entero, James Lewin,
                 Mexican American Bar Association of Texas, William C.
                 Velasquez Institute, Fiel Houston, Inc., JOLT Action, Southwest
                 Voter Registration Education Project, Texas Impact.(rg) (Entered:
                 01/25/2022)
01/25/2022        Text Order MOOTING 176 Motion to Dismiss in light of the filing
                  of the LUPE Plaintiffs' Second Amended Complaint 208 entered
                  by Judge Xavier Rodriguez. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 01/25/2022)
01/25/2022   209 STIPULATION Extension of Expert Discovery Deadline by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, William C. Velasquez Institute. (Perales, Nina) (Entered:
                 01/25/2022)
01/26/2022        Text Order MOOTING 177 Motion to Dismiss in light of the filing
                  of the LULAC Plaintiffs' Second Amended Complaint 207 entered




                                                                                23-50885.121
        Case: 23-50885   Document: 144    Page: 125   Date Filed: 06/19/2024

                  by Judge Xavier Rodriguez. There is no document associated
                  with this entry.) (cb) (Entered: 01/26/2022)
01/26/2022        Text Order MOOTING 206 Unopposed Motion for Extension of
                  Time to File Reply to Motions to Dismiss the LUPE Plaintiffs' First
                  Amended Complaint 176 and the LULAC Plaintiffs' First Amended
                  Complaint 177 entered by Judge Xavier Rodriguez. The Motions
                  to Dismiss have been mooted in light of the filing of the LUPE
                  Plaintiffs' Second Amended Complaint 208 and the LULAC
                  Plaintiffs' Second Amended Complaint 207 . (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 01/26/2022)
01/26/2022   210 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 205 MOTION to Compel Production by
                 STATE OF TEXAS, John Scott. (Attachments: # 1 Proposed Order)
                 (White, Jeffrey) (Entered: 01/26/2022)
01/26/2022   211 ORDER GRANTING 210 Motion for Extension of Time to File
                 Response/Reply. Defendants are hereby ORDERED to file a
                 response no later than February 9, 2022. Any reply must be filed
                 no later than February 16, 2022. The Court hereby SETS a
                 hearing on this motion for Wednesday, February 23, 2022, at
                 10:30 a.m. The Courtroom Deputy will inform the parties of the
                 means by which the hearing will be conducted. Signed by Judge
                 Xavier Rodriguez. (rg) (Entered: 01/26/2022)
01/26/2022        Motion Hearing: 205 MOTION to Compel Production. Motion
                  Hearing set for 2/23/2022 10:30 AM before Judge Xavier
                  Rodriguez. (rg) (Entered: 01/26/2022)
01/27/2022   212 Opposed MOTION for Extension of Time to File Response/Reply
                 as to 207 Amended Complaint, 200 Amended Complaint, 208
                 Amended Complaint, 199 Amended Complaint, by Gregory W.
                 Abbott, Warren K. Paxton, STATE OF TEXAS, John Scott.
                 (Attachments: # 1 Proposed Order)(White, Jeffrey) (Entered:
                 01/27/2022)
01/27/2022        Text Order GRANTING 212 Motion for Extension of Time to File
                  Response/Reply entered by Judge Xavier Rodriguez. The
                  deadline for State Defendants to respond to the Houston Justice
                  Plaintiffs' Second Amended Complaint 199 and the OCA-Greater
                  Houston Plaintiffs' Second Amended Complaint 200 is hereby
                  extended to February 8, 2022. The deadline for State
                  Defendants to respond to the LULAC Plaintiffs' Second Amended
                  Complaint 207 is extended to February 9, 2022. The deadline for
                  State Defendants to respond to the LUPE Plaintiffs' Second
                  Amended Complaint 208 is extended to February 15, 2022. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 01/27/2022)



                                                                               23-50885.122
        Case: 23-50885    Document: 144     Page: 126    Date Filed: 06/19/2024


01/27/2022   213 MOTION to Withdraw as Attorney - Christopher Bell, by Fiel
                 Houston, Inc., JOLT Action, La Union Del Pueblo Entero, Mexican
                 American Bar Association of Texas, Southwest Voter Registration
                 Education Project, Texas Hispanics Organized for Political
                 Education, William C. Velasquez Institute. (Attachments: # 1
                 Proposed Order)(Bell, Christopher) (Entered: 01/27/2022)
01/28/2022        Text Order GRANTING 213 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of
                  Christopher H. Bell is withdrawn and he shall be removed from
                  all service lists pertaining to this action. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (JA3) (Entered: 01/28/2022)
01/28/2022   214 STIPULATION Regarding Extension of Expert Discovery Deadline
                 by United States Of America. (Stewart, Michael) (Entered:
                 01/28/2022)
01/28/2022        (Court only) *** Attorney Christopher H. Bell terminated. (wg)
                  (Entered: 01/28/2022)
01/28/2022   215 ANSWER to 200 Amended Complaint by Isabel Longoria.(Birring,
                 Sameer) (Entered: 01/28/2022)
01/28/2022   216 ANSWER to 199 Amended Complaint, by Isabel Longoria.
                 (Birring, Sameer) (Entered: 01/28/2022)
01/28/2022   217 ANSWER to 200 Amended Complaint by Dana DeBeauvoir.
                 (Nelson, Anthony) (Entered: 01/28/2022)
01/28/2022   218 MOTION to Withdraw as Attorney ZACK GOLDBERG by Lisa Wise.
                 (Attachments: # 1 Proposed Order)(Natarajan, Ranjana)
                 (Entered: 01/28/2022)
01/31/2022        Text Order GRANTING 218 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of Zack
                  Goldberg for Defendant Lisa Wise is withdrawn and he shall be
                  removed from all service lists pertaining to this action. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 01/31/2022)
01/31/2022        (Court only) *** Attorney Zack Goldberg terminated. (rg)
                  (Entered: 01/31/2022)
01/31/2022   219 ANSWER to 207 Amended Complaint, by Isabel Longoria.
                 (Birring, Sameer) (Entered: 01/31/2022)
02/01/2022   220 ANSWER to 207 Amended Complaint, by Dana DeBeauvoir.
                 (Nelson, Anthony) (Entered: 02/01/2022)
02/01/2022   221 ANSWER to 199 Amended Complaint, with Jury Demand by
                 Jacque Callanen.(Green, Robert) (Entered: 02/01/2022)




                                                                                   23-50885.123
        Case: 23-50885   Document: 144    Page: 127    Date Filed: 06/19/2024


02/01/2022   222 ANSWER to 207 Amended Complaint, with Jury Demand by
                 Jacque Callanen.(Green, Robert) (Entered: 02/01/2022)
02/01/2022   223 REPLY to Response to Motion, filed by STATE OF TEXAS, John
                 Scott, re 145 MOTION to Dismiss the Federal Government's
                 Claims filed by Consol Defendant John Scott, Consol Defendant
                 STATE OF TEXAS (Sweeten, Patrick) (Entered: 02/01/2022)
02/02/2022   224 ANSWER to 207 Amended Complaint, with Jury Demand by
                 Michael Scarpello.(Nicholas, Barbara) (Entered: 02/02/2022)
02/02/2022   225 REQUEST FOR ISSUANCE OF SUMMONS by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Houston Justice, The Arc of Texas. on [Doc #199]
                 Second Amended Complaint (Broughton, Kenneth) (Entered:
                 02/02/2022)
02/02/2022   226 ANSWER to 207 Amended Complaint, with Jury Demand by
                 Yvonne Ramon.(Ramirez, Josephine) (Entered: 02/02/2022)
02/02/2022   227 MOTION to Appear Pro Hac Vice by Kenneth E. Broughton, Jr for
                 Danielle V. Ahlrich ( Filing fee $ 100 receipt number 0542-
                 15674143) by on behalf of Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, Houston
                 Justice, The Arc of Texas. (Attachments: # 1 Proposed Order)
                 (Broughton, Kenneth) (Entered: 02/02/2022)
02/02/2022   228 REQUEST FOR ISSUANCE OF SUMMONS by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund. Harris DA
                 (Cox, Ryan) (Entered: 02/02/2022)
02/02/2022   229 REQUEST FOR ISSUANCE OF SUMMONS by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund. Travis DA
                 (Cox, Ryan) (Entered: 02/02/2022)
02/02/2022        Text Order GRANTING 227 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 02/02/2022)
02/02/2022   230 Defendant Lisa Wise's ANSWER to 207 Amended Complaint, by
                 Lisa Wise.(Armon, Orion) (Entered: 02/02/2022)
02/03/2022   231 REQUEST FOR ISSUANCE OF SUMMONS by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of



                                                                                23-50885.124
        Case: 23-50885   Document: 144    Page: 128    Date Filed: 06/19/2024

                  Texas, Southwest Voter Registration Education Project, Texas
                  Hispanics Organized for Political Education, Texas Impact, The
                  Anti-Defamation League Austin, Southwest, and Texoma, William
                  C. Velasquez Institute. (Perales, Nina) (Entered: 02/03/2022)
02/04/2022   232 Consent MOTION for Protective Order by United States Of
                 America. (Attachments: # 1 Exhibit 1: Stipulated Protective
                 Order)(Freeman, Daniel) (Entered: 02/04/2022)
02/04/2022   233 Response in Opposition to Motion, filed by Gregory W. Abbott,
                 Warren K. Paxton, STATE OF TEXAS, John Scott, re 203 MOTION
                 for Leave to File Amicus Brief filed by Movant Young Black
                 Lawyers' Organizing Coalition (Attachments: # 1 Proposed
                 Order)(Olson, Leif) (Entered: 02/04/2022)
02/04/2022   234 MOTION to Appear Pro Hac Vice by Ranjana Natarajan for
                 ROBERT COTTER ( Filing fee $ 100 receipt number 0542-
                 15682493) by on behalf of Lisa Wise. (Natarajan, Ranjana)
                 (Entered: 02/04/2022)
02/04/2022   235 Summons Issued as to Jose Garza, Joe Gonzales, Kim Ogg,
                 Yvonne Rosales. (wg) (Entered: 02/04/2022)
02/04/2022        Text Order GRANTING 234 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 02/04/2022)
02/04/2022        (Court only) ***Attorney Robert Cotter for Lisa Wise added. (rg)
                  (Entered: 02/07/2022)
02/08/2022   236 WAIVER OF SERVICE Returned Executed by Texas Hispanics
                 Organized for Political Education, Friendship-West Baptist
                 Church, La Union Del Pueblo Entero, James Lewin, Mexican
                 American Bar Association of Texas, The Anti-Defamation League
                 Austin, Southwest, and Texoma, William C. Velasquez Institute,
                 JOLT Action, Southwest Voter Registration Education Project,
                 Texas Impact (Perales, Nina) (Entered: 02/08/2022)
02/08/2022   237 STIPULATED CONFIDENTIALITY AND PROTECTIVE ORDER. Signed
                 by Judge Xavier Rodriguez. (rg) (Entered: 02/08/2022)
02/08/2022   238 ANSWER to 208 Amended Complaint, with Jury Demand by
                 Michael Scarpello.(Stool, Ben) (Entered: 02/08/2022)
02/08/2022   239 MOTION to Dismiss the Houston Justice Plaintiffs' Second
                 Amended Complaint by Gregory W. Abbott, Warren K. Paxton,
                 John Scott. (Sweeten, Patrick) (Entered: 02/08/2022)



                                                                                23-50885.125
        Case: 23-50885   Document: 144    Page: 129   Date Filed: 06/19/2024


02/08/2022   240 MOTION to Dismiss the OCA-Greater Houston Plaintiffs' Second
                 Amended Complaint by Warren K. Paxton, John Scott. (Sweeten,
                 Patrick) (Entered: 02/08/2022)
02/08/2022   241 MOTION for Entry of Order Regarding Discovery of Electronically
                 Stored Information by United States Of America. (Attachments:
                 # 1 Exhibit A, # 2 Exhibit B)(Yun, Jennifer) (Entered: 02/08/2022)
02/08/2022   242 Defendant Lisa Wise's ANSWER to 208 Amended Complaint, by
                 Lisa Wise.(Armon, Orion) (Entered: 02/08/2022)
02/09/2022   243 MOTION to Dismiss LULAC Plaintiffs' Second Amended Complaint
                 by Warren K. Paxton, John Scott. (Attachments: # 1 Exhibit
                 Transcript of Status Conference)(Sweeten, Patrick) (Entered:
                 02/09/2022)
02/09/2022   244 WAIVER OF SERVICE Returned Executed by Texas Hispanics
                 Organized for Political Education, Friendship-West Baptist
                 Church, La Union Del Pueblo Entero, James Lewin, Mexican
                 American Bar Association of Texas, The Anti-Defamation League
                 Austin, Southwest, and Texoma, William C. Velasquez Institute,
                 Fiel Houston, Inc., JOLT Action, Southwest Voter Registration
                 Education Project, Texas Impact (Perales, Nina) (Entered:
                 02/09/2022)
02/09/2022   245 NOTICE of Attorney Appearance by Jack Buckley Disorbo on
                 behalf of Warren K. Paxton, STATE OF TEXAS, John Scott.
                 Attorney Jack Buckley Disorbo added to party Warren K.
                 Paxton(pty:dft), Attorney Jack Buckley Disorbo added to party
                 STATE OF TEXAS(pty:condft), Attorney Jack Buckley Disorbo
                 added to party John Scott(pty:condft) (Disorbo, Jack) (Entered:
                 02/09/2022)
02/09/2022   246 SUMMONS Returned Executed by The Arc of Texas, Houston
                 Area Urban League, Houston Justice, Delta Sigma Theta Sorority
                 Inc.. Joe Gonzales served on 2/8/2022, answer due 3/1/2022;
                 Kim Ogg served on 2/8/2022, answer due 3/1/2022. (Broughton,
                 Kenneth) (Entered: 02/09/2022)
02/09/2022   247 RESPONSE to Motion, filed by STATE OF TEXAS, John Scott, re
                 205 MOTION to Compel Production filed by Consol Plaintiff
                 United States Of America (Attachments: # 1 Exhibit A-
                 Defendants' Obj. and Resp. to USA's First RFPs, # 2 Exhibit B-
                 Gipson Declaration 2.7.22- Final- Executed, # 3 Exhibit C- SB1-
                 Crawford Declaration 2.8.22 - FINAL signed, # 4 Exhibit D-
                 211117 LUPE Transcript of Status Conference, # 5 Exhibit E-
                 20211230 USA's 1st Interrogatories to State Defs)(Sweeten,
                 Patrick) (Entered: 02/09/2022)
02/09/2022   248 SUMMONS Returned Executed by The Arc of Texas, Houston
                 Area Urban League, Houston Justice, Delta Sigma Theta Sorority



                                                                               23-50885.126
        Case: 23-50885   Document: 144    Page: 130    Date Filed: 06/19/2024

                  Inc.. [doc 199] Plaintiffs' Second Amended Complaint
                  (Broughton, Kenneth) (Entered: 02/09/2022)
02/09/2022        (Court only) ***Attorney Jack Buckley Disorbo for Gregory W.
                  Abbott added. (rg) (Entered: 02/10/2022)
02/10/2022   251 STIPULATED ORDER 241 regarding discovery of electronically
                 stored information Signed by Judge Xavier Rodriguez. (rg)
                 (Entered: 02/11/2022)
02/11/2022   249 REPLY to Response to Motion, filed by Young Black Lawyers'
                 Organizing Coalition, re 203 MOTION for Leave to File Amicus
                 Brief filed by Movant Young Black Lawyers' Organizing Coalition
                 (Moye, Veronica) (Entered: 02/11/2022)
02/11/2022   250 MOTION to Appear Pro Hac Vice by Jennifer A. Holmes Liliana
                 Zaragoza ( Filing fee $ 100 receipt number 0542-15706486) by
                 on behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta
                 Sorority Inc., Houston Area Urban League, Houston Justice, The
                 Arc of Texas. (Attachments: # 1 Exhibit A - Additional Bar
                 Admission Information)(Holmes, Jennifer) (Entered: 02/11/2022)
02/11/2022   252 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Houston Justice, Marla Lopez, Marlon Lopez, Mi Familia
                 Vota, Paul Rutledge, The Arc of Texas, re 239 MOTION to Dismiss
                 the Houston Justice Plaintiffs' Second Amended Complaint filed
                 by Consol Defendant John Scott, Defendant Warren K. Paxton,
                 Defendant Gregory W. Abbott (Attachments: # 1 Exhibit A -
                 State of Texass Motion for Rehearing at 1, State v. Stephens, No.
                 PD-1032-20 (Dec. 30, 2021))(Holmes, Jennifer) (Entered:
                 02/11/2022)
02/14/2022        Text Order GRANTING 250 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 02/14/2022)
02/14/2022        (Court only) ***Attorney Liliana Zaragoza for Houston Justice
                  added. (rg) (Entered: 02/14/2022)
02/14/2022        Text Order GRANTING 203 Motion for Leave to File Amicus Brief
                  by the Young Black Lawyers Organizing Coalition (YBLOC)
                  entered by Judge Xavier Rodriguez. YBLOC seeks to represent a
                  unique perspective within the universe of civic organizations
                  impacted by SB1--that of lawyers and law students dedicated to
                  protecting and empowering Black voters. Because YBLOC
                  conducts organizing and advocacy in support of its mission in


                                                                                23-50885.127
        Case: 23-50885    Document: 144    Page: 131   Date Filed: 06/19/2024

                  Texas (along with six other states), the Court concludes that
                  YBLOC has a "special interest that justifies [it] having a say."
                  Strasser v. Dooley, 432 F.2d 567, 569 (1st Cir. 1970). The Clerk is
                  DIRECTED to file the proposed amicus brief attached as an
                  exhibit to YBLOCs motion [203-1]. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 02/14/2022)
02/14/2022   253 AMICUS CURIAE BRIEF by Young Black Lawyers' Organizing
                 Coalition. (rg) (Entered: 02/14/2022)
02/14/2022        (Court only) ***Attorney Liliana Zaragoza,Mohammed A. Badat
                  for Jeffrey Lamar Clemmons,Liliana Zaragoza,Mohammed A.
                  Badat for Delta Sigma Theta Sorority Inc.,Liliana
                  Zaragoza,Mohammed A. Badat for Houston Area Urban
                  League,Liliana Zaragoza,Mohammed A. Badat for The Arc of
                  Texas added. (rg) (Entered: 03/24/2022)
02/15/2022   254 REQUEST FOR ISSUANCE OF SUMMONS by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Houston Justice, The Arc of Texas. Jose Garza re Doc#
                 199 ) (Broughton, Kenneth) (Entered: 02/15/2022)
02/15/2022   255 MOTION to Dismiss LUPE Plaintiffs' Second Amended Complaint
                 by Warren K. Paxton, STATE OF TEXAS, John Scott.
                 (Attachments: # 1 Exhibit A- LUPE Transcript of Status
                 Conference)(Sweeten, Patrick) (Entered: 02/15/2022)
02/15/2022   256 Summons Issued as to Jose Garza, in his official capacity as the
                 Travis County District Attorney. (wg) (Entered: 02/15/2022)
02/16/2022   257 GOVT'S REPLY to Response to Motion, filed by United States Of
                 America, re 205 MOTION to Compel Production filed by Consol
                 Plaintiff United States Of America (Stewart, Michael) (Entered:
                 02/16/2022)
02/18/2022   258 REQUEST FOR ISSUANCE OF SUMMONS by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino. John
                 Creuzot, in his official capacity as Dallas County District Attorney
                 (Hardin, John) (Entered: 02/18/2022)
02/18/2022   259 REQUEST FOR ISSUANCE OF SUMMONS by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino. Yvonne
                 Rosales, in her official capacity as El Paso County District
                 Attorney (Hardin, John) (Entered: 02/18/2022)
02/18/2022   260 REQUEST FOR ISSUANCE OF SUMMONS by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino. Ricardo
                 Rodriguez, Jr., in his official capacity as Hidalgo County District
                 Attorney (Hardin, John) (Entered: 02/18/2022)
02/18/2022   261 REQUEST FOR ISSUANCE OF SUMMONS by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino. Kim Ogg,


                                                                                23-50885.128
        Case: 23-50885    Document: 144    Page: 132   Date Filed: 06/19/2024

                  in her official capacity as Harris County District Attorney (Hardin,
                  John) (Entered: 02/18/2022)
02/18/2022   262 REQUEST FOR ISSUANCE OF SUMMONS by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino. Jose
                 Garza, in his official capacity as Travis County District Attorney
                 (Hardin, John) (Entered: 02/18/2022)
02/18/2022   263 REQUEST FOR ISSUANCE OF SUMMONS by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino. Joe
                 Gonzales, in his official capacity as Bexar County District
                 Attorney (Hardin, John) (Entered: 02/18/2022)
02/18/2022   264 REPLY to Response to Motion, filed by Gregory W. Abbott,
                 Warren K. Paxton, John Scott, re 239 MOTION to Dismiss the
                 Houston Justice Plaintiffs' Second Amended Complaint filed by
                 Consol Defendant John Scott, Defendant Warren K. Paxton,
                 Defendant Gregory W. Abbott (Sweeten, Patrick) (Entered:
                 02/18/2022)
02/22/2022   265 SUMMONS Returned Executed by Texas Hispanics Organized for
                 Political Education, Friendship-West Baptist Church, La Union Del
                 Pueblo Entero, James Lewin, Mexican American Bar Association
                 of Texas, The Anti-Defamation League Austin, Southwest, and
                 Texoma, William C. Velasquez Institute, Fiel Houston, Inc., JOLT
                 Action, Southwest Voter Registration Education Project. Yvonne
                 Rosales served on 2/15/2022, answer due 3/8/2022. (Perales,
                 Nina) (Entered: 02/22/2022)
02/22/2022   266 Summons Issued as to John Creuzot. (rg) (Entered: 02/22/2022)
02/22/2022   267 Summons Issued as to Yvonne Rosales. (rg) (Entered:
                 02/22/2022)
02/22/2022   268 Summons Issued as to Ricardo Rodriguez, Jr. (rg) (Entered:
                 02/22/2022)
02/22/2022   269 SUMMONS Returned Executed by Workers Defense Action Fund,
                 OCA-Greater Houston, League of Women Voters of Texas,
                 REVUP-Texas, Texas Organizing Project. Jose Garza served on
                 2/7/2022, answer due 2/28/2022. (Mirza, Hani) (Entered:
                 02/22/2022)
02/22/2022   270 Summons Issued as to Kim Ogg. (rg) (Entered: 02/22/2022)
02/22/2022   271 SUMMONS Returned Executed by Workers Defense Action Fund,
                 OCA-Greater Houston, League of Women Voters of Texas,
                 REVUP-Texas, Texas Organizing Project. Kim Ogg served on
                 2/11/2022, answer due 3/4/2022. (Mirza, Hani) (Entered:
                 02/22/2022)
02/22/2022   272 Summons Issued as to Jose Garza. (rg) (Entered: 02/22/2022)




                                                                                23-50885.129
        Case: 23-50885   Document: 144    Page: 133   Date Filed: 06/19/2024


02/22/2022   273 Summons Issued as to Joe Gonzales. (rg) (Entered: 02/22/2022)
02/22/2022   274 SUMMONS Returned Executed by The Arc of Texas, Houston
                 Area Urban League, Houston Justice, Delta Sigma Theta Sorority
                 Inc.. Jose Garza served on 2/17/2022, answer due 3/10/2022.
                 (Broughton, Kenneth) (Entered: 02/22/2022)
02/22/2022   275 Unopposed MOTION to Withdraw Houston Justice as a Party by
                 Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, Houston Justice, The Arc of Texas.
                 (Attachments: # 1 Proposed Order)(Broughton, Kenneth)
                 (Entered: 02/22/2022)
02/22/2022   276 ANSWER to 199 Amended Complaint, with Jury Demand .
                 Attorney Robert D. Green added to party Joe Gonzales(pty:dft)
                 by Joe Gonzales.(Green, Robert) (Entered: 02/22/2022)
02/22/2022   277 ANSWER to 207 Amended Complaint, with Jury Demand by Joe
                 Gonzales.(Green, Robert) (Entered: 02/22/2022)
02/22/2022   278 MOTION to Substitute Attorney by Jacque Callanen, Joe
                 Gonzales. (Green, Robert) (Entered: 02/22/2022)
02/22/2022   279 Response in Opposition to Motion, filed by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund, re 240
                 MOTION to Dismiss the OCA-Greater Houston Plaintiffs' Second
                 Amended Complaint filed by Consol Defendant John Scott,
                 Defendant Warren K. Paxton (Davis, Lia) (Entered: 02/22/2022)
02/23/2022        Text Order GRANTING 275 Motion entered by Judge Xavier
                  Rodriguez. Plaintiff Houston Justice is DISMISSED WITH
                  PREJUDICE. All other Plaintiffs remain a party to this action, and
                  the dismissal of Houston Justice does not affect remaining
                  Plaintiffs' claims against any defendants. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (JA3) (Entered: 02/23/2022)
02/23/2022        (Court only) *** Party Houston Justice terminated. Attorney
                  Jennifer A. Holmes; Georgina Yeomans; Mohammed A. Badat
                  and Kenneth E. Broughton, Jr terminated. (rg) (Entered:
                  02/23/2022)
02/23/2022        Text Order GRANTING 278 Motion to Substitute Attorney entered
                  by Judge Xavier Rodriguez. The appearance of Robert D. Green
                  is withdrawn and the appearance of Lisa V. Cubriel of the Bexar
                  County Criminal District Attorney's Office is substituted as
                  counsel for Joe Gonzales and Jacquelyn Callanen in all cases
                  consolidated into this matter. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (JA3) (Entered: 02/23/2022)



                                                                               23-50885.130
        Case: 23-50885   Document: 144    Page: 134    Date Filed: 06/19/2024


02/23/2022        Text Order GRANTING 205 Motion to Compel entered by Judge
                  Xavier Rodriguez. For the reasons stated in open court, the
                  motion is hereby GRANTED. No later than March 31, 2022, State
                  Defendants must produce under protective order updated
                  contents of relevant fields, including the "Card Status" field,
                  from the Texas Department of Public Safety database to the
                  United States. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (JA3) (Entered:
                  02/23/2022)
02/23/2022   280 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. Joe Gonzales
                 served on 2/23/2022, answer due 3/16/2022. (Hardin, John)
                 (Entered: 02/23/2022)
02/23/2022   281 RESPONSE to Motion, filed by LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino, re 243 MOTION to
                 Dismiss LULAC Plaintiffs' Second Amended Complaint filed by
                 Consol Defendant John Scott, Defendant Warren K. Paxton
                 (Nkwonta, Uzoma) (Entered: 02/23/2022)
02/23/2022        (Court only) *** Attorney Robert D. Green terminated. (rg)
                  (Entered: 02/24/2022)
02/23/2022        (Court only) ***Attorney Lisa V. Cubriel for Jacque Callanen,Lisa
                  V. Cubriel for Joe Gonzales added. (rg) (Entered: 02/24/2022)
02/23/2022   282 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Motion Hearing held on 2/23/2022 re 205 MOTION to
                 Compel Production filed by United States Of America (Minute
                 entry documents are not available electronically.). (Court
                 Reporter Gigi Simcox.)(rg) (Entered: 02/24/2022)
02/24/2022   283 MOTION to Appear Pro Hac Vice by Jennifer A. Holmes Ciara A.
                 Sisco ( Filing fee $ 100 receipt number 0542-15750860) by on
                 behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority
                 Inc., Houston Area Urban League, The Arc of Texas. (Holmes,
                 Jennifer) (Entered: 02/24/2022)
02/24/2022        Text Order GRANTING 283 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 02/24/2022)
02/24/2022        (Court only) ***Attorney Ciara A. Sisco for Houston Area Urban
                  League added. (rg) (Entered: 02/25/2022)




                                                                                23-50885.131
        Case: 23-50885    Document: 144    Page: 135   Date Filed: 06/19/2024


02/25/2022   284 Transcript filed of Proceedings held on 2-23-22, Proceedings
                 Transcribed: Motion to Compel. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 3/18/2022,
                 Redacted Transcript Deadline set for 3/28/2022, Release of
                 Transcript Restriction set for 5/26/2022, Appeal Record due by
                 3/14/2022, (gs) (Entered: 02/25/2022)
02/25/2022   285 MOTION to Appear Pro Hac Vice by Jennifer A. Holmes R. Gary
                 Spencer ( Filing fee $ 100 receipt number 0542-15753994) by on
                 behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority
                 Inc., Houston Area Urban League, The Arc of Texas. (Holmes,
                 Jennifer) (Entered: 02/25/2022)
02/25/2022   286 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. Jose Garza served
                 on 2/22/2022, answer due 3/15/2022. (Hardin, John) (Entered:
                 02/25/2022)
02/25/2022        Text Order GRANTING 285 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 02/25/2022)
02/25/2022   287 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. John Creuzot
                 served on 2/22/2022, answer due 3/15/2022. (Hardin, John)
                 (Entered: 02/25/2022)
02/25/2022   288 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 208 Amended Complaint, by Jose Garza.
                 (Attachments: # 1 Proposed Order)(Nelson, Anthony) (Entered:
                 02/25/2022)
02/25/2022   289 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 207 Amended Complaint, by Jose Garza.
                 (Attachments: # 1 Proposed Order)(Nelson, Anthony) (Entered:
                 02/25/2022)



                                                                                23-50885.132
        Case: 23-50885   Document: 144   Page: 136   Date Filed: 06/19/2024


02/25/2022   290 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 200 Amended Complaint by Jose Garza.
                 (Attachments: # 1 Proposed Order)(Nelson, Anthony) (Entered:
                 02/25/2022)
02/25/2022        Text Order GRANTING 288 Motion for Extension of Time to File
                  Response/Reply entered by Judge Xavier Rodriguez. Accordingly,
                  it is ORDERED that Defendant Travis County District Attorney
                  Jose Garza shall file a response to LUPE Plaintiffs' Second
                  Amended Complaint on or before March 4, 2022. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 02/25/2022)
02/25/2022        Text Order GRANTING 289 Motion for Extension of Time to File
                  Response/Reply entered by Judge Xavier Rodriguez. Accordingly,
                  it is ORDERED that Defendant Travis County District Attorney
                  Jose Garza shall file a response to LULAC Plaintiffs' Second
                  Amended Complaint on or before March 4, 2022. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 02/25/2022)
02/25/2022        Text Order GRANTING 290 Motion for Extension of Time to File
                  Response/Reply entered by Judge Xavier Rodriguez. Accordingly,
                  it is ORDERED that Defendant Travis County District Attorney
                  Jose Garza shall file a response to OCA-Greater Houston
                  Plaintiffs' Second Amended Complaint on or before March 7,
                  2022. (This is a text-only entry generated by the court. There is
                  no document associated with this entry.) (JA3) (Entered:
                  02/25/2022)
02/28/2022   291 Unopposed MOTION for Extension of Time to File Answer re 200
                 Amended Complaint by Kim Ogg. (Attachments: # 1 Proposed
                 Order)(Nichols, Eric) (Entered: 02/28/2022)
02/28/2022   292 Unopposed MOTION for Extension of Time to File Answer re 199
                 Amended Complaint, by Kim Ogg. (Attachments: # 1 Proposed
                 Order)(Nichols, Eric) (Entered: 02/28/2022)
02/28/2022        Text Order GRANTING 291 Motion for Extension of Time to
                  Answer entered by Judge Xavier Rodriguez. No later than March
                  15, 2022, Defendant Kim Ogg, in her capacity as Harris County
                  District Attorney, shall answer or otherwise respond to the
                  Second Amended Complaint for Declaratory and Injunctive
                  Relief filed by Plaintiffs OCA-Greater Houston, League of Women
                  Voters of Texas, REVUP-Texas, Texas Organizing Project, and
                  Workers Defense Action Fund. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (JA3) (Entered: 02/28/2022)
02/28/2022        Text Order GRANTING 292 Motion for Extension of Time to
                  Answer entered by Judge Xavier Rodriguez. No later than March


                                                                              23-50885.133
        Case: 23-50885   Document: 144   Page: 137   Date Filed: 06/19/2024

                  15, 2022, Defendant Kim Ogg, in her capacity as Harris County
                  District Attorney, shall answer or otherwise respond to the
                  Second Amended Complaint filed by Plaintiffs Houston Area
                  Urban League, Delta Sigma Theta Sorority, Inc., The Arc of
                  Texas, Mi Familia Vota, Marla Lopez, Marlon Lopez, Paul
                  Rutledge, and Jeffrey Lamar Clemmons. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (JA3) (Entered: 02/28/2022)
02/28/2022   293 DESIGNATION OF EXPERT WITNESSES by United States Of
                 America. (Stewart, Michael) (Entered: 02/28/2022)
02/28/2022   294 NOTICE of Filing Plaintiffs' Expert Designation by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Fiel Houston, Inc.,
                 Houston Area Urban League, JOLT Action, League of Women
                 Voters of Texas, Mexican American Bar Association of Texas,
                 OCA-Greater Houston, REVUP-Texas, Texas Hispanics Organized
                 for Political Education, Texas Organizing Project, The Arc of
                 Texas, William C. Velasquez Institute, Workers Defense Action
                 Fund (Broughton, Kenneth) (Entered: 02/28/2022)
02/28/2022   295 NOTICE of Plaintiffs' Expert Designation by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, The Arc of Texas (Broughton, Kenneth) (Entered:
                 02/28/2022)
02/28/2022   296 DESIGNATION OF EXPERT WITNESSES by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Vote Latino.
                 (Nkwonta, Uzoma) (Entered: 02/28/2022)
02/28/2022   297 NOTICE of Plaintiffs' Expert Designation by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma, William
                 C. Velasquez Institute (Longoria, Julia) (Entered: 02/28/2022)
03/01/2022   298 Pretrial Disclosures Defendant Lisa Wise's Designation of
                 Potential Testifying Experts by Lisa Wise. (Armon, Orion)
                 (Entered: 03/01/2022)
03/01/2022   299 NOTICE of Mi Familia Vota Plaintiffs' Expert Designations by
                 Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul Rutledge
                 (Watkins, Elijah) (Entered: 03/01/2022)
03/01/2022   300 REPLY to Response to Motion, filed by Warren K. Paxton, John
                 Scott, re 240 MOTION to Dismiss the OCA-Greater Houston
                 Plaintiffs' Second Amended Complaint filed by Consol Defendant
                 John Scott, Defendant Warren K. Paxton (Sweeten, Patrick)
                 (Entered: 03/01/2022)



                                                                                23-50885.134
        Case: 23-50885   Document: 144   Page: 138   Date Filed: 06/19/2024


03/01/2022   301 Response in Opposition to Motion, filed by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma, William
                 C. Velasquez Institute, re 255 MOTION to Dismiss LUPE Plaintiffs'
                 Second Amended Complaint filed by Consol Defendant John
                 Scott, Defendant Warren K. Paxton, Consol Defendant STATE OF
                 TEXAS (Longoria, Julia) (Entered: 03/01/2022)
03/01/2022   302 Response in Opposition to Motion, filed by Lisa Wise, re 255
                 MOTION to Dismiss LUPE Plaintiffs' Second Amended Complaint
                 filed by Consol Defendant John Scott, Defendant Warren K.
                 Paxton, Consol Defendant STATE OF TEXAS (Armon, Orion)
                 (Entered: 03/01/2022)
03/02/2022   303 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. Ricardo Rodriguez,
                 Jr. served on 2/23/2022, answer due 3/16/2022. (Hardin, John)
                 (Entered: 03/02/2022)
03/02/2022   304 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. Kim Ogg served on
                 2/23/2022, answer due 3/16/2022. (Hardin, John) (Entered:
                 03/02/2022)
03/02/2022   305 NOTICE Designation of Expert Witnesses by Yvonne Ramon
                 (Ramirez, Josephine) (Entered: 03/02/2022)
03/02/2022   306 REPLY to Response to Motion, filed by Warren K. Paxton, John
                 Scott, re 243 MOTION to Dismiss LULAC Plaintiffs' Second
                 Amended Complaint filed by Consol Defendant John Scott,
                 Defendant Warren K. Paxton (Sweeten, Patrick) (Entered:
                 03/02/2022)
03/04/2022   307 MOTION to Extend Scheduling Order Deadlines by Gregory W.
                 Abbott, Warren K. Paxton, STATE OF TEXAS, John Scott.
                 (Attachments: # 1 Proposed Order)(Sweeten, Patrick) (Entered:
                 03/04/2022)
03/04/2022   308 Consent MOTION to Amend/Correct 125 Scheduling Order,
                 Consent Motion to Modify Scheduling Order by United States Of
                 America. (Attachments: # 1 Proposed Order)(Stewart, Michael)
                 (Entered: 03/04/2022)
03/04/2022   309 ANSWER to 208 Amended Complaint, with Jury Demand .
                 Attorney Barbara S. Nicholas added to party John
                 Creuzot(pty:dft) by John Creuzot.(Nicholas, Barbara) (Entered:
                 03/04/2022)




                                                                              23-50885.135
        Case: 23-50885   Document: 144     Page: 139    Date Filed: 06/19/2024


03/04/2022   310 Unopposed MOTION for Extension of Time to File Answer re 200
                 Amended Complaint by Jose Garza. (Attachments: # 1 Proposed
                 Order)(Nelson, Anthony) (Entered: 03/04/2022)
03/04/2022   311 Unopposed MOTION for Extension of Time to File Answer re 207
                 Amended Complaint, by Jose Garza. (Attachments: # 1 Proposed
                 Order)(Nelson, Anthony) (Entered: 03/04/2022)
03/04/2022   312 Unopposed MOTION for Extension of Time to File Answer re 208
                 Amended Complaint, by Jose Garza. (Attachments: # 1 Proposed
                 Order)(Nelson, Anthony) (Entered: 03/04/2022)
03/07/2022        Text Order GRANTING 308 Consent Motion to Amend Scheduling
                  Order entered by Judge Xavier Rodriguez. The Scheduling Order
                  125 shall be modified to include the following: Number and
                  Timing of Depositions. Pursuant to Federal Rule of Civil
                  Procedure 30(a)(2)(A)(i), the parties may depose any person,
                  including a party, without further leave of Court unless the
                  deposition would result in more than 50 depositions or more
                  than 250 hours of deposition testimony being taken under Rule
                  30 by the plaintiffs collectively, or by the defendants collectively.
                  Further, the parties may depose any expert witness disclosed by
                  an opposing party pursuant to Rule 26(a)(2) without regard to
                  these limitations, but otherwise in accordance with the terms of
                  Rule 30. This modification of the scheduling order shall not alter
                  or amend any of the dates and deadlines in the Scheduling
                  Order, including the May 13, 2022 deadline for completion of all
                  fact discovery. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  03/07/2022)
03/07/2022        Text Order GRANTING 310 Motion for Extension of Time to
                  Answer OCA-Greater Houston Plaintiffs' Second Amended
                  Complaint entered by Judge Xavier Rodriguez. The deadline for
                  Defendant Travis County District Attorney Jos Garza shall to
                  answer or otherwise respond to the OCA-Greater Houston
                  Plaintiffs' Second Amended Complaint 200 is hereby extended to
                  March 14, 2022. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 03/07/2022)
03/07/2022        Text Order GRANTING 311 Motion for Extension of Time to
                  Answer LULAC Plaintiffs' Second Amended Complaint entered by
                  Judge Xavier Rodriguez. The deadline for Defendant Travis
                  County District Attorney Jose Garza shall to answer or otherwise
                  respond to the LULAC Plaintiffs' Second Amended Complaint 207
                  is hereby extended to March 11, 2022. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 03/07/2022)




                                                                                 23-50885.136
        Case: 23-50885   Document: 144    Page: 140    Date Filed: 06/19/2024


03/07/2022        Text Order GRANTING 312 Motion for Extension of Time to
                  Answer LUPE Plaintiffs' Second Amended Complaint entered by
                  Judge Xavier Rodriguez. The deadline for Defendant Travis
                  County District Attorney Jose Garza shall to answer or otherwise
                  respond to the LUPE Plaintiffs' Second Amended Complaint 208
                  is hereby extended to March 11, 2022. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 03/07/2022)
03/07/2022        Text Order GRANTING 307 Motion to Extend Scheduling Order
                  Deadlines entered by Judge Xavier Rodriguez. The deadline for
                  the State Defendants to designate rebuttal experts and serve on
                  all parties the material required by Fed. R. Civ. P. 26(a)(2)(B) for
                  such rebuttal experts is hereby extended to March 29, 2022.
                  The State Defendants are cautioned that the Court will disfavor
                  any requests to extend the dispositive motion deadline premised
                  on this extension. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 03/07/2022)
03/08/2022   313 REPLY to Response to Motion, filed by Warren K. Paxton, STATE
                 OF TEXAS, John Scott, re 255 MOTION to Dismiss LUPE Plaintiffs'
                 Second Amended Complaint filed by Consol Defendant John
                 Scott, Defendant Warren K. Paxton, Consol Defendant STATE OF
                 TEXAS (Sweeten, Patrick) (Entered: 03/08/2022)
03/08/2022   314 ANSWER to 207 Amended Complaint, with Jury Demand by John
                 Creuzot.(Nicholas, Barbara) (Entered: 03/08/2022)
03/08/2022   315 MOTION to Appear Pro Hac Vice by Thomas Paul Buser-Clancy
                 for Brian Dimmick ( Filing fee $ 100 receipt number 0542-
                 15794984) by on behalf of League of Women Voters of Texas,
                 OCA-Greater Houston, REVUP-Texas, Texas Organizing Project,
                 Workers Defense Action Fund. (Buser-Clancy, Thomas) (Entered:
                 03/08/2022)
03/08/2022   316 MOTION to Appear Pro Hac Vice by Thomas Paul Buser-Clancy
                 for Susan Mizner ( Filing fee $ 100 receipt number 0542-
                 15794996) by on behalf of League of Women Voters of Texas,
                 OCA-Greater Houston, REVUP-Texas, Texas Organizing Project,
                 Workers Defense Action Fund. (Buser-Clancy, Thomas) (Entered:
                 03/08/2022)
03/10/2022        Text Order GRANTING 315 Motion to Appear Pro Hac Vice;
                  GRANTING 316 Motion to Appear Pro Hac Vice entered by Judge
                  Xavier Rodriguez. Pursuant to our Administrative Policies and
                  Procedures for Electronic Filing, the attorneys hereby granted
                  permission to practice pro hac vice in this case must register for
                  electronic filing with our court within 10 days of this order. (This




                                                                                23-50885.137
        Case: 23-50885   Document: 144   Page: 141   Date Filed: 06/19/2024

                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 03/10/2022)
03/10/2022        (Court only) ***Attorney Brian Dimmick for OCA-Greater
                  Houston added. (rg) (Entered: 03/10/2022)
03/10/2022   317 Unopposed MOTION for Extension of Time to File Answer re 199
                 Amended Complaint, by Jose Garza. (Attachments: # 1 Proposed
                 Order)(Nelson, Anthony) (Entered: 03/10/2022)
03/10/2022   318 AMENDED ANSWER to 208 Amended Complaint, by John
                 Creuzot. (Nicholas, Barbara) (Entered: 03/10/2022)
03/11/2022   319 DEFENDANT, JOSE GARZA, TRAVIS COUNTY DISTRICT
                 ATTORNEY, MOTION for Extension of Time to File Answer re 208
                 Amended Complaint, by Jose Garza. (wg) (Entered: 03/14/2022)
03/11/2022   320 DEFENDANT, JOSE GARZA, TRAVIS COUNTY DISTRICT
                 ATTORNEY, MOTION for Extension of Time to File Answer re 200
                 Amended Complaint by Jose Garza. (wg) (Entered: 03/14/2022)
03/14/2022   321 Unopposed MOTION for Extension of Time to File Answer re 207
                 Amended Complaint, by Jose Garza. (Attachments: # 1 Proposed
                 Order)(Nelson, Anthony) (Entered: 03/14/2022)
03/14/2022        Text Order GRANTING 317 Motion for Extension of Time to
                  Answer HAUL Plaintiffs' Second Amended Complaint entered by
                  Judge Xavier Rodriguez. Defendant Garza's deadline to respond
                  to the HAUL Plaintiffs' Second Amended Complaint 199 is hereby
                  extended to March 17, 2022. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 03/14/2022)
03/14/2022        Text Order GRANTING 319 Motion for Extension of Time to
                  Answer LUPE Plaintiffs' Second Amended Complaint entered by
                  Judge Xavier Rodriguez. Defendant Garza's deadline to respond
                  to the LUPE Plaintiffs' Second Amended Complaint 208 is hereby
                  extended to March 16, 2022. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 03/14/2022)
03/14/2022        Text Order GRANTING 320 Motion for Extension of Time to
                  Answer LULAC Plaintiffs' Second Amended Complaint entered by
                  Judge Xavier Rodriguez. Defendant Garza's deadline to respond
                  to the LULAC Plaintiffs' Second Amended Complaint 207 is
                  hereby extended to March 16, 2022. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 03/14/2022)
03/14/2022        Text Order GRANTING 321 Motion for Extension of Time to
                  Answer OCA-Greater Houston Plaintiffs' Second Amended
                  Complaint entered by Judge Xavier Rodriguez. Defendant
                  Garza's deadline to respond to the OCA-Greater Houston


                                                                              23-50885.138
        Case: 23-50885   Document: 144   Page: 142    Date Filed: 06/19/2024

                  Plaintiffs' Second Amended Complaint 200 is hereby extended to
                  March 17, 2022. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 03/14/2022)
03/15/2022   322 SUMMONS Returned Executed by Vote Latino, Texas AFT, Texas
                 Alliance for Retired Americans, LULAC Texas. Yvonne Rosales
                 served on 3/9/2022, answer due 3/30/2022. (Hardin, John)
                 (Entered: 03/15/2022)
03/15/2022   323 Second MOTION for Extension of Time to File Answer re 200
                 Amended Complaint by Kim Ogg. (Attachments: # 1 Proposed
                 Order)(Nichols, Eric) (Entered: 03/15/2022)
03/15/2022   324 Second MOTION for Extension of Time to File Answer re 199
                 Amended Complaint, by Kim Ogg. (Attachments: # 1 Proposed
                 Order)(Nichols, Eric) (Entered: 03/15/2022)
03/15/2022        Text Order GRANTING 323 Motion for Extension of Time to
                  Answer OCA-Greater Houston Plaintiffs' Second Amended
                  Complaint entered by Judge Xavier Rodriguez. Ogg shall answer
                  or otherwise respond to the OCA-Greater Houston Plaintiffs'
                  Second Amended Complaint 200 on or before March 29, 2022.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 03/15/2022)
03/15/2022        Text Order GRANTING 324 Motion for Extension of Time to
                  Answer HAUL Plaintiffs' Second Amended Complaint entered by
                  Judge Xavier Rodriguez. Ogg shall answer or otherwise respond
                  to the HAUL Plaintiffs' Second Amended Complaint 199 on or
                  before March 29, 2022. (This is a text-only entry generated by
                  the court. There is no document associated with this entry.) (cb)
                  (Entered: 03/15/2022)
03/16/2022   325 NOTICE of Attorney Appearance by Zachary Dolling on behalf of
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Texas Organizing Project, Workers Defense Action
                 Fund. Attorney Zachary Dolling added to party League of
                 Women Voters of Texas(pty:conpla), Attorney Zachary Dolling
                 added to party OCA-Greater Houston(pty:conpla), Attorney
                 Zachary Dolling added to party REVUP-Texas(pty:conpla),
                 Attorney Zachary Dolling added to party Texas Organizing
                 Project(pty:conpla), Attorney Zachary Dolling added to party
                 Workers Defense Action Fund(pty:conpla) (Dolling, Zachary)
                 (Entered: 03/16/2022)
03/16/2022   326 MOTION to Appear Pro Hac Vice by Leigh Ann Tognetti for
                 Michael J Garza ( Filing fee $ 100 receipt number 0542-
                 15823828) by on behalf of Ricardo Rodriguez, Jr.. (Attachments:
                 # 1 Proposed Order)(Tognetti, Leigh). According to our records,
                 filing party submitted duplicate PHV payments. This fee was



                                                                               23-50885.139
        Case: 23-50885   Document: 144    Page: 143    Date Filed: 06/19/2024

                  returned back to the filer by their financial institution. The
                  original payment made on 3/16/22 via a previous incomplete
                  docket entry is the actual payment assigned to this matter:
                  0542-15823549(kc). (Entered: 03/16/2022)
03/16/2022   327 ANSWER to 207 Amended Complaint, with Jury Demand by
                 Ricardo Rodriguez, Jr..(Tognetti, Leigh) (Entered: 03/16/2022)
03/16/2022   328 Defendant Garza's ANSWER to 207 Amended Complaint, by
                 LULAC Plaintiffs. Attorney Anthony J. Nelson added to party Jose
                 Garza(pty:dft) by Jose Garza.(Nelson, Anthony) (Entered:
                 03/16/2022)
03/16/2022   329 Defendant Garza's ANSWER to 208 Amended Complaint, by
                 LUPE Plaintiffs by Jose Garza.(Nelson, Anthony) (Entered:
                 03/16/2022)
03/17/2022        Text Order GRANTING 326 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 03/17/2022)
03/17/2022        (Court only) ***Attorney Michael J. Garza for Ricardo Rodriguez,
                  Jr. added. (rg) (Entered: 03/17/2022)
03/17/2022   330 Defendant Garza's ANSWER to 199 Amended Complaint, by
                 HAUL Plaintiffs by Jose Garza.(Nelson, Anthony) (Entered:
                 03/17/2022)
03/17/2022   331 MOTION to Appear Pro Hac Vice by Ranjana Natarajan ( Filing
                 fee $ 100 receipt number 0542-15828577) by on behalf of Lisa
                 Wise. (Natarajan, Ranjana) (Entered: 03/17/2022)
03/17/2022   332 Defendant Garza's ANSWER to 200 Amended Complaint by OCA-
                 GH Plaintiffs by Jose Garza.(Nelson, Anthony) (Entered:
                 03/17/2022)
03/17/2022        Text Order GRANTING 331 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  03/17/2022)
03/17/2022        (Court only) ***Attorney Marina Eisner for Lisa Wise added. (rg)
                  (Entered: 03/21/2022)



                                                                                23-50885.140
        Case: 23-50885    Document: 144   Page: 144    Date Filed: 06/19/2024


03/18/2022   333 NOTICE OF SUPPLEMENTAL AUTHORITY REGARDING PENDING
                 MOTIONS TO DISMISS by Gregory W. Abbott, Jose A. Esparza,
                 Warren K. Paxton, STATE OF TEXAS, John Scott re 300 Reply to
                 Response to Motion, 195 Memorandum in Opposition to Motion,
                 239 MOTION to Dismiss the Houston Justice Plaintiffs' Second
                 Amended Complaint, 243 MOTION to Dismiss LULAC Plaintiffs'
                 Second Amended Complaint, 301 Response in Opposition to
                 Motion,, 255 MOTION to Dismiss LUPE Plaintiffs' Second
                 Amended Complaint, 264 Reply to Response to Motion, 313
                 Reply to Response to Motion, 306 Reply to Response to Motion,
                 240 MOTION to Dismiss the OCA-Greater Houston Plaintiffs'
                 Second Amended Complaint, 223 Reply to Response to Motion,
                 145 MOTION to Dismiss the Federal Government's Claims, 281
                 Response to Motion, 252 Response in Opposition to Motion,,
                 (Hudson, Eric) (Entered: 03/18/2022)
03/21/2022   334 MOTION for Protective Order and Motion to Quash Deposition of
                 Texas Secretary of State by Gregory W. Abbott, Warren K.
                 Paxton, STATE OF TEXAS, John Scott. (Attachments: # 1 Exhibit A
                 - Declaration of John B. Scott, # 2 Exhibit B - United States' First
                 Set of Interrogatories, # 3 Exhibit C - United States' First Set of
                 Requests for Admission, # 4 Exhibit D - United States' First Set of
                 Requests for Production, # 5 Exhibit E - United States' Second
                 Set of Requests for Production, # 6 Exhibit F - United States'
                 Third Set of Requests for Production, # 7 Exhibit G - State Defs'
                 Objections and Responses to the United States' First Set of
                 Interrogatories, # 8 Exhibit H - United States' Notice of Rule
                 30(b)(6) Deposition of the Texas Secretary of State, # 9 Exhibit I
                 - United States' Notice of Deposition of John Scott, # 10
                 Proposed Order)(Sweeten, Patrick) (Entered: 03/21/2022)
03/22/2022   335 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Mark L.
                 Bieter ( Filing fee $ 100 receipt number 0542-15839066) by on
                 behalf of Mi Familia Vota. (Lyons, Sean) (Entered: 03/22/2022)
03/22/2022   336 MOTION to Appear Pro Hac Vice by Sean Michael Lyons Bradley
                 R. Prowant ( Filing fee $ 100 receipt number 0542-15839126) by
                 on behalf of Mi Familia Vota. (Lyons, Sean) (Entered: 03/22/2022)
03/22/2022        Text Order GRANTING 335 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 03/22/2022)
03/22/2022        Text Order GRANTING 336 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our



                                                                                23-50885.141
        Case: 23-50885   Document: 144    Page: 145    Date Filed: 06/19/2024

                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 03/22/2022)
03/22/2022        (Court only) ***Attorney Mark L. Bieter for Marla Lopez,Mark L.
                  Bieter for Marlon Lopez,Mark L. Bieter for Mi Familia Vota,Mark
                  L. Bieter for Paul Rutledge added. (rg) (Entered: 03/22/2022)
03/22/2022        (Court only) ***Attorney Bradley R. Prowant for Marla
                  Lopez,Bradley R. Prowant for Marlon Lopez,Bradley R. Prowant
                  for Mi Familia Vota,Bradley R. Prowant for Paul Rutledge added.
                  (rg) (Entered: 03/22/2022)
03/22/2022   337 ORDER The Court hereby STAYS the deposition of Texas
                 Secretary of State John B. Scott pending resolution of the instant
                 discovery motion and the State Defendants motion to dismiss
                 the claims brought by the United States. A response to the
                 instant discovery motion must be filed no later than March 29,
                 2022. Any reply must be filed no later than April 1, 2022. Signed
                 by Judge Xavier Rodriguez. (rg) (Entered: 03/22/2022)
03/23/2022   338 RESPONSE to 333 Notice (Other),,, by United States Of America.
                 (Freeman, Daniel) (Entered: 03/23/2022)
03/23/2022   339 NOTICE of Designation of Potential Testifying Experts by Jose
                 Garza, Rebecca Guerrero re 125 Scheduling Order, (Nelson,
                 Anthony) (Entered: 03/23/2022)
03/23/2022   340 NOTICE of Designation of Potential Testifying Experts by John
                 Creuzot, Michael Scarpello re 209 Stipulation, (Nicholas,
                 Barbara) (Entered: 03/23/2022)
03/23/2022   341 NOTICE of Designation of Potential Testifying Experts by John
                 Creuzot, Michael Scarpello re 209 Stipulation, (Nicholas,
                 Barbara) (Entered: 03/23/2022)
03/24/2022   342 THIS DEFICIENCY WAS ISSUED IN ERROR. ACCESS WILL BE
                 RESTRICTED. DEFICIENCY NOTICE Discovery Documents,
                 responses to requests for production, any kind of information
                 regarding this type of documents does not get filed here in
                 Federal Court. That information stays between parties and
                 attorneys. re 340 Notice Regarding Requests for Production (rg)
                 Modified on 3/25/2022 (rg). (Entered: 03/25/2022)
03/28/2022   343 Unopposed MOTION for Entry of Confidentiality and Protective
                 Order Regarding Production of Ultrasensitive Information by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education



                                                                                23-50885.142
        Case: 23-50885   Document: 144    Page: 146   Date Filed: 06/19/2024

                  Project, Texas Hispanics Organized for Political Education, Texas
                  Impact, The Anti-Defamation League Austin, Southwest, and
                  Texoma, William C. Velasquez Institute. (Attachments: # 1
                  Proposed Order)(Berry, Patrick) (Entered: 03/28/2022)
03/29/2022   344 MOTION to Dismiss Defendant Kim Ogg's Motion to Dismiss by
                 Kim Ogg. (Attachments: # 1 Exhibit, # 2 Exhibit)(Nichols, Eric)
                 (Entered: 03/29/2022)
03/29/2022   345 Response in Opposition to Motion, filed by United States Of
                 America, re 334 MOTION for Protective Order and Motion to
                 Quash Deposition of Texas Secretary of State filed by Consol
                 Defendant John Scott, Defendant Warren K. Paxton, Defendant
                 Gregory W. Abbott, Consol Defendant STATE OF TEXAS
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Paikowsky, Dana)
                 (Entered: 03/29/2022)
03/29/2022   346 ORDER GRANTING 343 Motion for Entry of Confidentiality and
                 Protective Order Regarding Production of Ultrasensitive
                 Information. Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 03/29/2022)
03/29/2022   347 DESIGNATION OF EXPERT WITNESSES by Gregory W. Abbott,
                 Warren K. Paxton, STATE OF TEXAS, John Scott. (Sweeten,
                 Patrick) (Entered: 03/29/2022)
03/30/2022   348 Unopposed MOTION for Extension of Time to File Answer by
                 Yvonne Rosales. (Rodriguez, Rogelio) (Entered: 03/30/2022)
03/31/2022        Text Order GRANTING 348 Motion for Extension of Time to
                  Answer entered by Judge Xavier Rodriguez. Defendant Yvonne
                  Rosales must file an answer or otherwise respond to the
                  complaint at ECF No. 208, no later than April 7, 2022.(This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 03/31/2022)
03/31/2022        Reset Deadlines: Yvonne Rosales answer due 4/7/2022. (rg)
                  (Entered: 03/31/2022)
04/01/2022   349 REPLY to Response to Motion, filed by Gregory W. Abbott,
                 Warren K. Paxton, STATE OF TEXAS, John Scott, re 334 MOTION
                 for Protective Order and Motion to Quash Deposition of Texas
                 Secretary of State filed by Consol Defendant John Scott,
                 Defendant Warren K. Paxton, Defendant Gregory W. Abbott,
                 Consol Defendant STATE OF TEXAS (Sweeten, Patrick) (Entered:
                 04/01/2022)
04/02/2022   350 Unopposed MOTION for Extension of Time to File
                 Response/Reply to Defendant Kim Ogg's motion to dismiss, Dkt.
                 # 344, by League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas, Texas Organizing Project, Workers
                 Defense Action Fund. (Attachments: # 1 Proposed Order



                                                                               23-50885.143
        Case: 23-50885   Document: 144    Page: 147    Date Filed: 06/19/2024

                  Proposed order granting motion and extending deadline to
                  respond to Defendant Kim Ogg's motion to dismiss until April 19,
                  2022.)(Dolling, Zachary) (Entered: 04/02/2022)
04/03/2022   351 Unopposed MOTION to Withdraw as Attorney Kathryn E.
                 Yukevich by LULAC Texas, Texas AFT, Texas Alliance for Retired
                 Americans, Vote Latino. (Yukevich, Kathryn) (Entered:
                 04/03/2022)
04/04/2022        Text Order GRANTING 350 Motion for Extension of Time to File
                  Response/Reply entered by Judge Xavier Rodriguez. Plaintiffs
                  OCA-Greater Houston, League of Women Voters of Texas,
                  REVUPTexas, Texas Organizing Project, and Workers Defense
                  Action Fund's deadline to respond to Defendant Kim Ogg's
                  Motion to Dismiss is extended to April 19, 2022. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 04/04/2022)
04/04/2022        Text Order GRANTING 351 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Kathryn E. Yukevich is
                  hereby WITHDRAWN as counsel of record for Plaintiffs LULAC
                  Texas, Voto Latino, Texas Alliance for Retired Americans, and
                  Texas AFT. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (JA3) (Entered:
                  04/04/2022)
04/04/2022        (Court only) *** Attorney Kathryn E. Yukevich terminated. (rg)
                  (Entered: 04/04/2022)
04/05/2022   352 MOTION to Appear Pro Hac Vice by John Russell Hardin for
                 Christopher D. Dodge ( Filing fee $ 100 receipt number 0542-
                 15888929) by on behalf of LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino. (Attachments: # 1
                 Supplement)(Hardin, John) (Entered: 04/05/2022)
04/05/2022        Text Order GRANTING 352 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 04/05/2022)
04/05/2022        (Court only) ***Attorney Christopher Dooley Dodge for LULAC
                  Texas,Christopher Dooley Dodge for Texas AFT,Christopher
                  Dooley Dodge for Texas Alliance for Retired
                  Americans,Christopher Dooley Dodge for Vote Latino added. (rg)
                  (Entered: 04/07/2022)
04/06/2022   353 MOTION for Protective Order and Motion to Quash Deposition of
                 Former Texas Secretary of State by Gregory W. Abbott, Warren


                                                                                23-50885.144
        Case: 23-50885   Document: 144    Page: 148    Date Filed: 06/19/2024

                  K. Paxton, STATE OF TEXAS, John Scott. (Attachments: # 1
                  Exhibit A- Declaration of Ruth R. Hughs, # 2 Exhibit B- State
                  Defendant's Correspondence with MFV and US)(Sweeten,
                  Patrick) (Entered: 04/06/2022)
04/07/2022   354 ORDER Plaintiff Mi Familia Vota is hereby ORDERED to file a
                 response to the State Defendants motion, no later than April 12,
                 2022. Any reply must be filed no later than April 14, 2022. Set
                 Motion Hearing for 353 MOTION for Protective Order and Motion
                 to Quash Deposition of Former Texas Secretary of State (Motion
                 Hearing set for 4/18/2022 3:30 PM before Judge Xavier
                 Rodriguez). Signed by Judge Xavier Rodriguez. (rg). (Entered:
                 04/07/2022)
04/07/2022   355 NOTICE of Designation of Potential Rebuttal Testifying Experts by
                 Jose Garza, Rebecca Guerrero re 125 Scheduling Order, (Nelson,
                 Anthony) (Entered: 04/07/2022)
04/07/2022   356 Unopposed MOTION to Be Excused from Active Participation by
                 Yvonne Rosales. (Rodriguez, Rogelio) (Entered: 04/07/2022)
04/08/2022   357 MOTION to Appear Pro Hac Vice by Zachary Dolling for Sophia
                 Cai ( Filing fee $ 100 receipt number 0542-15903606) by on
                 behalf of League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas, Texas Organizing Project, Workers
                 Defense Action Fund. (Dolling, Zachary) (Entered: 04/08/2022)
04/08/2022   358 RESPONSE to State Defendants' Notice of Supplemental
                 Authority to 333 Notice (Other),,, by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma, William
                 C. Velasquez Institute. (Perales, Nina) (Entered: 04/08/2022)
04/08/2022   359 RESPONSE State Defendants' Notice of Supplemental Authority
                 to 333 Notice (Other),,, by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, Marla
                 Lopez, Marlon Lopez, Mi Familia Vota, Paul Rutledge, The Arc of
                 Texas. (Yeomans, Georgina) (Entered: 04/08/2022)
04/11/2022        Text Order GRANTING 357 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 04/11/2022)




                                                                                23-50885.145
        Case: 23-50885   Document: 144    Page: 149   Date Filed: 06/19/2024


04/11/2022        (Court only) ***Attorney Sophia Cai for OCA-Greater Houston
                  added. (rg) (Entered: 04/11/2022)
04/11/2022        Text Order GRANTING 356 Motion entered by Judge Xavier
                  Rodriguez. Defendant DA Yvonne Rosales is excused from active
                  participation in Case Nos. 5:21-CV-00844-XR and 1:21-CV-0786-
                  XR, including any obligation to file responsive pleadings and to
                  attend hearings, conferences, and trial, unless otherwise
                  ordered. Defendant DA Rosales must comply with any and all
                  discovery obligations. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 04/11/2022)
04/12/2022   360 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge, The Arc of Texas, re 344 MOTION to Dismiss
                 Defendant Kim Ogg's Motion to Dismiss filed by Defendant Kim
                 Ogg (Yeomans, Georgina) (Entered: 04/12/2022)
04/12/2022   361 RESPONSE to Motion, filed by LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino, re 344 MOTION to
                 Dismiss Defendant Kim Ogg's Motion to Dismiss filed by
                 Defendant Kim Ogg (Nkwonta, Uzoma) (Entered: 04/12/2022)
04/13/2022   362 NOTICE of Attorney Appearance by Lisa A. Snead on behalf of
                 League of Women Voters of Texas, REVUP-Texas, Texas
                 Organizing Project, Workers Defense Action Fund. Attorney Lisa
                 A. Snead added to party League of Women Voters of
                 Texas(pty:conpla), Attorney Lisa A. Snead added to party REVUP-
                 Texas(pty:conpla), Attorney Lisa A. Snead added to party Texas
                 Organizing Project(pty:conpla), Attorney Lisa A. Snead added to
                 party Workers Defense Action Fund(pty:conpla) (Snead, Lisa)
                 (Entered: 04/13/2022)
04/13/2022   363 MOTION to Extend Scheduling Order Deadlines for Rule 26(a)(3)
                 Disclosures by United States Of America. (Attachments: # 1
                 Proposed Order)(Freeman, Daniel) (Entered: 04/13/2022)
04/13/2022   364 NOTICE of Attorney Appearance by Laura Brady Bender on
                 behalf of United States Of America. Attorney Laura Brady
                 Bender added to party United States Of America(pty:conpla)
                 (Bender, Laura) (Entered: 04/13/2022)
04/13/2022   365 NOTICE of Attorney Appearance by Jaywin Singh Malhi on behalf
                 of United States Of America. Attorney Jaywin Singh Malhi added
                 to party United States Of America(pty:conpla) (Malhi, Jaywin)
                 (Entered: 04/13/2022)
04/13/2022   366 Unopposed MOTION to Withdraw Texas Organizing Project as a
                 Party by League of Women Voters of Texas, OCA-Greater



                                                                               23-50885.146
        Case: 23-50885   Document: 144   Page: 150   Date Filed: 06/19/2024

                  Houston, REVUP-Texas, Texas Organizing Project, Workers
                  Defense Action Fund. (Attachments: # 1 Proposed Order)
                  (Dolling, Zachary) (Entered: 04/13/2022)
04/13/2022   367 Memorandum in Opposition to Motion, filed by Mi Familia Vota,
                 re 334 MOTION for Protective Order and Motion to Quash
                 Deposition of Texas Secretary of State filed by Consol Defendant
                 John Scott, Defendant Warren K. Paxton, Defendant Gregory W.
                 Abbott, Consol Defendant STATE OF TEXAS (Attachments: # 1
                 Exhibit 3.21.22 Email, # 2 Exhibit 4.1.22 Email)(Watkins, Elijah)
                 (Entered: 04/13/2022)
04/14/2022        Text Order GRANTING 366 Motion entered by Judge Xavier
                  Rodriguez. Plaintiff Texas Organizing Project is DISMISSED WITH
                  PREJUDICE. All other OCA-GH Plaintiffs remain a party to this
                  action, and the dismissal of Texas Organizing Project does not
                  affect remaining OCA-GH Plaintiffs' claims against any
                  defendants. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (JA3) (Entered:
                  04/14/2022)
04/14/2022   368 ORDER GRANTING 363 Motion to Extend Scheduling Order
                 Deadlines. Bench Trial set for 7/5/2022 10:30 AM before Judge
                 Xavier Rodriguez, Pretrial Conference set for 6/23/2022 10:30
                 AM before Judge Xavier Rodriguez, Discovery due by 5/13/2022,
                 Dispositive Motions due by 5/27/2022. Signed by Judge Xavier
                 Rodriguez. (rg) (Entered: 04/14/2022)
04/14/2022        (Court only) *** Party Texas Organizing Project terminated.
                  Attorney Ryan V. Cox; Lia Sifuentes Davis; Zachary Dolling;
                  Ashley Alcantara Harris; Savannah Kumar; Sophia Lin Lakin;
                  Mimi M.D. Marziani; Hani Mirza; Samantha Osaki; Lucia Romano
                  Ostrom; Ari Savitzky; Andre I. Segura; Lisa A. Snead; Thomas
                  Paul Buser-Clancy and Adriel Cepeda-Derieux terminated. (rg)
                  (Entered: 04/14/2022)
04/14/2022   369 NOTICE VACATION LETTER by John Creuzot (Stool, Ben)
                 (Entered: 04/14/2022)
04/18/2022   370 NOTICE of Attorney Appearance by Larry L. Roberson on behalf
                 of Jacque Callanen, Joe Gonzales. Attorney Larry L. Roberson
                 added to party Jacque Callanen(pty:condft), Attorney Larry L.
                 Roberson added to party Joe Gonzales(pty:dft) (Roberson, Larry)
                 (Entered: 04/18/2022)
04/18/2022   371 REPLY to Response to Motion, filed by Gregory W. Abbott,
                 Warren K. Paxton, STATE OF TEXAS, John Scott, re 353 MOTION
                 for Protective Order and Motion to Quash Deposition of Former
                 Texas Secretary of State filed by Consol Defendant John Scott,
                 Defendant Warren K. Paxton, Defendant Gregory W. Abbott,




                                                                              23-50885.147
        Case: 23-50885   Document: 144    Page: 151   Date Filed: 06/19/2024

                  Consol Defendant STATE OF TEXAS (Sweeten, Patrick) (Entered:
                  04/18/2022)
04/18/2022   372 ORDER GRANTING IN PART AND DENYING IN PART 353 Motion
                 for Protective Order Signed by Judge Xavier Rodriguez. (mgr)
                 (Entered: 04/18/2022)
04/18/2022   376 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Motion Hearing held on 4/18/2022 re 353 MOTION for
                 Protective Order and Motion to Quash Deposition of Former
                 Texas Secretary of State filed by John Scott, Warren K. Paxton,
                 Gregory W. Abbott, STATE OF TEXAS. (Minute entry documents
                 are not available electronically.). (Court Reporter GiGi Simcox.)
                 (rg) (Entered: 04/19/2022)
04/19/2022   373 NOTICE of Filing Plaintiffs' Supplemental Initial Disclosures by
                 Friendship-West Baptist Church, James Lewin, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma
                 (Attachments: # 1 Exhibit Supplemental Initial Disclosures)
                 (Singh, Jasleen) (Entered: 04/19/2022)
04/19/2022   374 MOTION to Withdraw as Attorney for Marc Rasich by Mi Familia
                 Vota. (Olson, Wendy) (Entered: 04/19/2022)
04/19/2022        Text Order GRANTING 374 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Marc Rasich, formerly of
                  Stoel Rives LLP, admitted pro hac vice on October 6, 2021, is
                  hereby withdrawn as counsel for Plaintiffs Mi Familia Vota, et al.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  04/19/2022)
04/19/2022   375 MOTION to Appear Pro Hac Vice by Kenneth E. Broughton, Jr for
                 Applicant Victor Genecin ( Filing fee $ 100 receipt number 0542-
                 15940326) by on behalf of Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, Houston
                 Justice, The Arc of Texas. (Attachments: # 1 Proposed Order)
                 (Broughton, Kenneth) (Entered: 04/19/2022)
04/19/2022        (Court only) *** Attorney Marc T. Rasich terminated. (rg)
                  (Entered: 04/19/2022)
04/19/2022   377 Response in Opposition to Motion, filed by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, Workers
                 Defense Action Fund, re 344 MOTION to Dismiss Defendant Kim
                 Ogg's Motion to Dismiss filed by Defendant Kim Ogg (Dolling,
                 Zachary) (Entered: 04/19/2022)
04/19/2022        Text Order GRANTING 375 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in



                                                                               23-50885.148
        Case: 23-50885   Document: 144    Page: 152    Date Filed: 06/19/2024

                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 04/19/2022)
04/19/2022   378 RESPONSE in Support, filed by Kim Ogg, re 344 MOTION to
                 Dismiss Defendant Kim Ogg's Motion to Dismiss filed by
                 Defendant Kim Ogg (Nichols, Eric) (Entered: 04/19/2022)
04/19/2022        (Court only) ***Attorney Victor Genecin for Fiel Houston,
                  Inc.,Victor Genecin for Friendship-West Baptist Church,Victor
                  Genecin for JOLT Action,Victor Genecin for James Lewin,Victor
                  Genecin for La Union Del Pueblo Entero,Victor Genecin for Marla
                  Lopez,Victor Genecin for Marlon Lopez,Victor Genecin for
                  Mexican American Bar Association of Texas,Victor Genecin for
                  Mi Familia Vota,Victor Genecin for Paul Rutledge,Victor Genecin
                  for Southwest Voter Registration Education Project,Victor
                  Genecin for Texas Hispanics Organized for Political
                  Education,Victor Genecin for The Anti-Defamation League
                  Austin, Southwest, and Texoma,Victor Genecin for William C.
                  Velasquez Institute added. (rg) (Entered: 04/20/2022)
04/21/2022   379 RESPONSE to State Defendants' Notice of Supplemental
                 Authority to 333 Notice (Other),,, by League of Women Voters of
                 Texas, OCA-Greater Houston, REVUP-Texas, Workers Defense
                 Action Fund. (Dolling, Zachary) (Entered: 04/21/2022)
04/22/2022   380 REPLY to Response to Motion, filed by Kim Ogg, re 344 MOTION
                 to Dismiss Defendant Kim Ogg's Motion to Dismiss filed by
                 Defendant Kim Ogg Defendant Kim Ogg's Reply to The OCA
                 Plaintiffs' Responses to Ogg's Motion to Dismiss (Attachments: #
                 1 Exhibit A, # 2 Exhibit B)(Nichols, Eric) (Entered: 04/22/2022)
04/26/2022   381 NOTICE of Private Plaintiffs' 2nd Supplemental Initial Disclosures
                 by League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Workers Defense Action Fund (Attachments: # 1
                 Exhibit)(Dolling, Zachary) (Entered: 04/26/2022)
04/26/2022   382 SUPPLEMENT to Amended Initial Disclosures by United States Of
                 America. (Paikowsky, Dana) (Entered: 04/26/2022)
04/27/2022   383 MOTION for Hearing on the State Defendants' Motions to
                 Dismiss by Gregory W. Abbott, Warren K. Paxton, STATE OF
                 TEXAS, John Scott. (Sweeten, Patrick) (Entered: 04/27/2022)
04/28/2022        Text Order DENYING 383 Motion for Hearing entered by Judge
                  Xavier Rodriguez. The Court is aware of the importance of the
                  issues raised in the State Defendants' motions to dismiss and is
                  working as expeditiously as possible to resolve these motions.
                  (This is a text-only entry generated by the court. There is no




                                                                                23-50885.149
        Case: 23-50885   Document: 144   Page: 153   Date Filed: 06/19/2024

                  document associated with this entry.) (JA3) (Entered:
                  04/28/2022)
04/29/2022   384 NOTICE of Service of Rebuttal Expert Reports by Mi Familia Vota
                 (Olson, Wendy) (Entered: 04/29/2022)
04/29/2022   385 NOTICE of Service of Supplemental Expert Report by Jeffrey
                 Lamar Clemmons, Delta Sigma Theta Sorority Inc., Houston
                 Area Urban League, The Arc of Texas re 295 Notice (Other)
                 (Broughton, Kenneth) (Entered: 04/29/2022)
04/29/2022   386 Unopposed MOTION to Withdraw as Attorney by Gregory W.
                 Abbott, Jose A. Esparza, Warren K. Paxton, STATE OF TEXAS,
                 John Scott. (White, Jeffrey) (Entered: 04/29/2022)
04/29/2022   387 NOTICE Amended Initial Disclosures by Isabel Longoria
                 (Bingham, Tiffany) (Entered: 04/29/2022)
04/29/2022        Text Order GRANTING 386 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Jeffrey M. White is hereby
                  withdrawn as counsel for the State Defendants in this matter.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  04/29/2022)
04/29/2022   388 NOTICE of Service of Supplements to Expert Reports by LULAC
                 Texas, Texas AFT, Texas Alliance for Retired Americans, Vote
                 Latino (Dodge, Christopher) (Entered: 04/29/2022)
04/29/2022   389 NOTICE of Service of Supplemental Expert Report by United
                 States Of America (Stewart, Michael) (Entered: 04/29/2022)
04/29/2022        (Court only) *** Attorney Jeffrey Michael White terminated. (rg)
                  (Entered: 05/02/2022)
05/02/2022   390 ORDER GRANTING IN PART AND DENYING IN PART 334 Motion
                 for Protective Order. The deposition of Texas Secretary of State
                 John B. Scott is STAYED until such time as the United States
                 completes the depositions of Keith Ingram, ChristinaAdkins, and
                 the 30(b)(6) deposition of the Office of the Texas Secretary of
                 State. Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 05/02/2022)
05/03/2022   391 MOTION to Compel Discovery Responses from Texas Lawmakers
                 by LULAC Texas, Texas AFT, Texas Alliance for Retired
                 Americans, Vote Latino. (Attachments: # 1 Proposed Order)
                 (Dodge, Christopher) (Entered: 05/03/2022)
05/03/2022   392 APPENDIX to 391 MOTION to Compel Discovery Responses from
                 Texas Lawmakers by LULAC Texas, Texas AFT, Texas Alliance for
                 Retired Americans, Vote Latino. (Dodge, Christopher) (Entered:
                 05/03/2022)




                                                                              23-50885.150
        Case: 23-50885    Document: 144    Page: 154   Date Filed: 06/19/2024


05/04/2022   393 ORDER Setting Hearing on 391 MOTION to Compel Discovery
                 Responses from Texas Lawmakers: Motion Hearing set for
                 5/13/2022 3:30 PM before Judge Xavier Rodriguez. Counsel for
                 the State Legislators is hereby ORDERED to file a response to
                 Plaintiffs motion no later than May 9, 2022. Any reply must be
                 filed no later than May 11, 2022. Signed by Judge Xavier
                 Rodriguez. (rg) (Entered: 05/04/2022)
05/04/2022   394 NOTICE of Lupe, OCA-Greater Houston, Haul, Lulac, and Mi
                 Familia Vota Plaintiffs' Third Supplemental Rule 26(a)(1) Initial
                 Disclosures by La Union Del Pueblo Entero (Attachments: # 1
                 Exhibit 1 to Notice of Private Plaintiffs Third Supplemental Initial
                 Disclosures)(Broughton, Kenneth) (Entered: 05/04/2022)
05/04/2022   395 NOTICE VACATION LETTER, ATTORNEY by John Creuzot
                 (Nicholas, Barbara) (Entered: 05/04/2022)
05/04/2022   396 NOTICE of Service of Supplemental Expert Report by United
                 States Of America (Freeman, Daniel) (Entered: 05/04/2022)
05/09/2022   397 Response in Opposition to Motion, filed by Gregory W. Abbott,
                 Warren K. Paxton, STATE OF TEXAS, John Scott, re 391 MOTION
                 to Compel Discovery Responses from Texas Lawmakers filed by
                 Consol Plaintiff Texas AFT, Consol Plaintiff LULAC Texas, Consol
                 Plaintiff Texas Alliance for Retired Americans, Consol Plaintiff
                 Vote Latino (Attachments: # 1 Exhibit Email of 02.24.2022, # 2
                 Exhibit Email of 03.14.2022, # 3 Exhibit Deposition subpoenas, #
                 4 Exhibit Email of 03.29.2022, # 5 Exhibit Written discovery to
                 LULAC Plaintiffs, # 6 Exhibit Letter of 04.15.2022, # 7 Exhibit
                 Declaration of Senator Bryan Hughes, # 8 Exhibit Declaration of
                 Senator Paul Bettencourt, # 9 Exhibit Declaration of
                 Representative Andrew Murr, # 10 Exhibit Declaration of
                 Representative Briscoe Cain, # 11 Exhibit Declaration of
                 Jonathan White)(Sweeten, Patrick) (Entered: 05/09/2022)
05/11/2022   398 NOTICE of Service of Corrected Expert Report by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, The Arc of Texas (Broughton, Kenneth) (Entered:
                 05/11/2022)
05/11/2022   399 NOTICE of Filing Private Plaintiffs' Fifth Supplemental Rule 26(a)
                 (1) Initial Disclosures by Jeffrey Lamar Clemmons, Delta Sigma
                 Theta Sorority Inc., Houston Area Urban League, The Arc of
                 Texas (Attachments: # 1 Exhibit 1 - PLAINTIFFS FIFTH
                 SUPPLEMENTAL RULE 26(a)(1) INITIAL DISCLOSURES)(Yeomans,
                 Georgina) (Entered: 05/11/2022)
05/11/2022   400 NOTICE of Filing Private Plaintiffs' Fourth Supplemental Rule
                 26(a)(1) Initial Disclosures by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest


                                                                                23-50885.151
        Case: 23-50885   Document: 144    Page: 155   Date Filed: 06/19/2024

                  Voter Registration Education Project, Texas Hispanics Organized
                  for Political Education, Texas Impact, The Anti-Defamation
                  League Austin, Southwest, and Texoma, William C. Velasquez
                  Institute (Longoria, Julia) (Entered: 05/11/2022)
05/11/2022   401 NOTICE of Filing Defendant DA Rosales's Response to State
                 Defendant's Request for Production by Yvonne Rosales
                 (Rodriguez, Rogelio) (Entered: 05/11/2022)
05/11/2022   402 Opposed MOTION to Intervene by Dallas County Republican
                 Party, Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee. (Attachments: # 1
                 Proposed Answer, # 2 Proposed Answer, # 3 Proposed Answer,
                 # 4 Proposed Answer, # 5 Proposed Answer)(Gore, John)
                 (Entered: 05/11/2022)
05/11/2022   403 REPLY to Response to Motion, filed by LULAC Texas, Texas AFT,
                 Texas Alliance for Retired Americans, Vote Latino, re 391
                 MOTION to Compel Discovery Responses from Texas Lawmakers
                 filed by Consol Plaintiff Texas AFT, Consol Plaintiff LULAC Texas,
                 Consol Plaintiff Texas Alliance for Retired Americans, Consol
                 Plaintiff Vote Latino (Dodge, Christopher) (Entered: 05/11/2022)
05/12/2022   404 DEFICIENCY NOTICE: to attorney Rogelio Rodriguez Responses to
                 requests for production do not get filed here in Federal Court.
                 This is part of the Discovery process which goes between
                 attorneys. re 401 Notice of Filing (rg) (Entered: 05/12/2022)
05/12/2022   405 Unopposed MOTION to Withdraw as Attorney for Angelica Lien
                 Leo by Lisa Wise. (Attachments: # 1 Proposed Order)(Armon,
                 Orion) (Entered: 05/12/2022)
05/12/2022   406 MOTION to Extend Scheduling Order Deadlines by Gregory W.
                 Abbott, Warren K. Paxton, STATE OF TEXAS, John Scott.
                 (Attachments: # 1 Proposed Order)(Sweeten, Patrick) (Entered:
                 05/12/2022)
05/12/2022        Text Order GRANTING 405 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Angelica Lien Leo is
                  withdrawn as counsel of record for Defendant Lisa Wise. (This is
                  a text-only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 05/12/2022)
05/12/2022        (Court only) *** Attorney Angelica Lien Leo terminated. (rg)
                  (Entered: 05/13/2022)
05/13/2022        Text Order GRANTING 402 Renewed Motion to Intervene entered
                  by Judge Xavier Rodriguez. The motion is GRANTED in light of
                  the Fifth Circuits conclusion that the Republican Committees
                  have satisfied Rule 24(a)(2)s requirements for intervention as of
                  right. See La Union del Pueblo Entero v. Abbott, 29 F.4th 299 (5th



                                                                               23-50885.152
        Case: 23-50885    Document: 144    Page: 156   Date Filed: 06/19/2024

                  Cir. 2022). The Clerk is DIRECTED to file the proposed Answers,
                  attached as exhibits to the motion. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 05/13/2022)
05/13/2022   407 Response in Opposition to Motion, filed by United States Of
                 America, re 406 MOTION to Extend Scheduling Order Deadlines
                 filed by Consol Defendant John Scott, Defendant Warren K.
                 Paxton, Defendant Gregory W. Abbott, Consol Defendant STATE
                 OF TEXAS (Attachments: # 1 Exhibit Exhibit 1 (Supplement to
                 Initial Disclosures), # 2 Exhibit Exhibit 2 (Garza Subpoena), # 3
                 Exhibit Exhibit 3 (Anchia Subpoena), # 4 Exhibit Exhibit 4 (State
                 Defendants' First Set of RFPs and Interrogatories), # 5 Exhibit
                 Exhibit 5 (Appendix A to US Second RFPs), # 6 Exhibit Exhibit 6
                 (Guillen Subpoena), # 7 Exhibit Exhibit 7 (LULAC v Abbott
                 Scheduling Order))(Stewart, Michael) (Entered: 05/13/2022)
05/13/2022   408 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Fiel Houston, Inc.,
                 Friendship-West Baptist Church, Houston Area Urban League,
                 JOLT Action, La Union Del Pueblo Entero, League of Women
                 Voters of Texas, Marla Lopez, Marlon Lopez, Mexican American
                 Bar Association of Texas, Mi Familia Vota, OCA-Greater Houston,
                 REVUP-Texas, Paul Rutledge, Texas Hispanics Organized for
                 Political Education, Texas Impact, Texas Organizing Project, The
                 Anti-Defamation League Austin, Southwest, and Texoma, The
                 Arc of Texas, William C. Velasquez Institute, Workers Defense
                 Action Fund, re 406 MOTION to Extend Scheduling Order
                 Deadlines filed by Consol Defendant John Scott, Defendant
                 Warren K. Paxton, Defendant Gregory W. Abbott, Consol
                 Defendant STATE OF TEXAS (Yeomans, Georgina) (Entered:
                 05/13/2022)
05/13/2022   409 NOTICE of Filing Exhibits 1 - 8 by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Fiel Houston, Inc., Friendship-West
                 Baptist Church, Houston Area Urban League, JOLT Action, James
                 Lewin, La Union Del Pueblo Entero, League of Women Voters of
                 Texas, Marla Lopez, Marlon Lopez, Mexican American Bar
                 Association of Texas, Mi Familia Vota, OCA-Greater Houston,
                 REVUP-Texas, Paul Rutledge, Southwest Voter Registration
                 Education Project, Texas Hispanics Organized for Political
                 Education, Texas Impact, Texas Organizing Project, The Anti-
                 Defamation League Austin, Southwest, and Texoma, The Arc of
                 Texas, William C. Velasquez Institute re 408 Response in
                 Opposition to Motion,,, (Attachments: # 1 Exhibit 1 - May 2 2022
                 Email - RE_ LUPE v. Abbott, 5_21-cv-844 (W.D. Tex.) - Private
                 Plaintiff Disclosure, # 2 Exhibit 2 - US Supplement to Amended
                 Initial Disclosures (April 1, 2022), # 3 Exhibit 3 - Emails RE_ LUPE
                 v. Abbott, 5_21-cv-844 (W.D. Tex.) - Private Plaintiff Disclosures,
                 # 4 Exhibit 4 - Emails Re_ OCA-GH Witness Availability, # 5


                                                                                23-50885.153
        Case: 23-50885   Document: 144    Page: 157    Date Filed: 06/19/2024

                  Exhibit 5 - Email with attachment Plaintiffs' Fifth Supplemental
                  Initial Disclosures, LUPE v. Texas, No. 5_21-CV-0844-XR, # 6
                  Exhibit 6 - Email re LUPE v. Texas 5_21-cv-844 (W.D. Tex.) -
                  Availability of Tanesa Lee, # 7 Exhibit 7 - 2021.11.16 La Union v.
                  Abbott Hearing Transcript, # 8 Exhibit 8 - March 23 2022 Rule 45
                  Subpoena L. Hidalgo)(Yeomans, Georgina) (Entered: 05/13/2022)
05/13/2022   410 SUPPLEMENT Disclosures by State Defendants' by Gregory W.
                 Abbott. (Sweeten, Patrick) (Entered: 05/13/2022)
05/13/2022   411 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Motion Hearing held on 5/13/2022 re 391 MOTION to
                 Compel Discovery Responses from Texas Lawmakers filed by
                 Texas AFT, LULAC Texas, Texas Alliance for Retired Americans,
                 Vote Latino (Minute entry documents are not available
                 electronically.). (Court Reporter Gigi Simcix.)(rg) (Entered:
                 05/16/2022)
05/13/2022   412 ANSWER to 199 Amended Complaint, by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee.
                 (Attachments: # 1 1:20-CV-786, # 2 5:21-CV-848, # 3 1:21-CV-
                 780)(rg) (Entered: 05/16/2022)
05/14/2022        Text Order MOOTING 406 Motion to Extend Scheduling Order
                  Deadlines entered by Judge Xavier Rodriguez. For the reasons
                  stated in open court, this motion is hereby moot. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 05/14/2022)
05/17/2022   413 MOTION to Withdraw as Attorney by LULAC Texas. (Attachments:
                 # 1 Proposed Order)(Dodge, Christopher) (Entered: 05/17/2022)
05/17/2022        Text Order GRANTING 413 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of Domingo
                  A. Garcia for Plaintiff LULAC Texas is withdrawn and shall be
                  removed from all service lists pertaining to this action. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 05/17/2022)
05/17/2022        (Court only) *** Attorney Domingo A. Garcia terminated. (rg)
                  (Entered: 05/17/2022)
05/17/2022   415 Certified copy of USCA JUDGMENT/MANDATE Remanding Notice
                 of Appeal,, filed by National Republican Congressional
                 Committee, Harris County Republican Party, Dallas County
                 Republican Party, Republican National Committee, National
                 Republican Senatorial Committee, 123 Notice of Appeal (E-Filed),
                 filed by National Republican Congressional Committee, Harris
                 County Republican Party, Dallas County Republican Party,
                 Republican National Committee, National Republican Senatorial


                                                                                23-50885.154
        Case: 23-50885   Document: 144   Page: 158   Date Filed: 06/19/2024

                  Committee.***This cause was considered on the record on
                  appeal and was argued by counsel. IT IS ORDERED and
                  ADJUDGED that the judgment of the District Court is REVERSED
                  and REMANDED to the District Court for further proceedings in
                  accordance with the opinion of this Court. IT IS FURTHER
                  ORDERED that each party bear its own costs on appeal.***
                  (Attachments: # 1 TRANSMITTAL LETTER FROM USCA5)(dtg)
                  (Entered: 05/19/2022)
05/18/2022   414 Unopposed MOTION to Vacate Deadlines by United States Of
                 America. (Attachments: # 1 Proposed Order)(Stewart, Michael)
                 (Entered: 05/18/2022)
05/18/2022        Text Order GRANTING 414 Motion to Vacate entered by Judge
                  Xavier Rodriguez. No later than June 1, 2022, the parties must
                  file a proposed scheduling order. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (JA3) (Entered: 05/18/2022)
05/19/2022   416 TRANSCRIPT REQUEST by Gregory W. Abbott, Jose A. Esparza,
                 STATE OF TEXAS, John Scott for proceedings held on
                 05/13/2022. Proceedings Transcribed: Hearing on Motion to
                 Compel Discovery. Court Reporter: Gigi Simcox. (Sweeten,
                 Patrick) (Entered: 05/19/2022)
05/19/2022   417 NOTICE by Gregory W. Abbott, Warren K. Paxton, STATE OF
                 TEXAS, John Scott re 397 Response in Opposition to Motion,,,
                 (Attachments: # 1 Exhibit)(Sweeten, Patrick) (Entered:
                 05/19/2022)
05/19/2022   418 NOTICE of Attorney Appearance by Roswill Mejia on behalf of
                 Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas. Attorney Roswill
                 Mejia added to party Jeffrey Lamar Clemmons(pty:conpla),
                 Attorney Roswill Mejia added to party Delta Sigma Theta Sorority
                 Inc.(pty:conpla), Attorney Roswill Mejia added to party Houston
                 Area Urban League(pty:conpla), Attorney Roswill Mejia added to
                 party The Arc of Texas(pty:conpla) (Mejia, Roswill) (Entered:
                 05/19/2022)
05/20/2022   419 TRANSCRIPT REQUEST Hearing on Motion to Compel Discovery
                 by Fiel Houston, Inc., JOLT Action, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, William C. Velasquez Institute for
                 proceedings held on May 13, 2022.. (Perales, Nina)***Modified
                 TEXT on 5/24/2022 (dtg).***COURT REPORTER: GIGI SIMCOX.***
                 (Entered: 05/20/2022)
05/20/2022   420 MOTION to Appear Pro Hac Vice by John Russell Hardin for Elena
                 Rodriguez Armenta ( Filing fee $ 100 receipt number 0542-



                                                                              23-50885.155
        Case: 23-50885    Document: 144    Page: 159   Date Filed: 06/19/2024

                  16058928) by on behalf of LULAC Texas, Texas AFT, Texas
                  Alliance for Retired Americans, Vote Latino. (Attachments: # 1
                  Proposed Order)(Hardin, John) (Entered: 05/20/2022)
05/20/2022        Text Order GRANTING 420 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 05/20/2022)
05/20/2022   421 MOTION to Appear Pro Hac Vice by Orion Armon on Behalf of
                 Caroline A. Lebel ( Filing fee $ 100 receipt number 0542-
                 16059592) by on behalf of Lisa Wise. (Attachments: # 1
                 Proposed Order)(Armon, Orion) (Entered: 05/20/2022)
05/23/2022        Text Order GRANTING 421 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 05/23/2022)
05/23/2022   422 TRANSCRIPT REQUEST by LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Vote Latino for proceedings held
                 on 5/13/2022. Proceedings Transcribed: Motion Hearing. Court
                 Reporter: Gigi Simcix. (Nkwonta, Uzoma) (Entered: 05/23/2022)
05/24/2022   423 Transcript filed of Proceedings held on 5-13-22, Proceedings
                 Transcribed: Motion to Compel. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 6/14/2022,
                 Redacted Transcript Deadline set for 6/24/2022, Release of
                 Transcript Restriction set for 8/22/2022, (gs) (Entered:
                 05/24/2022)
05/24/2022   424 ORDER DENYING 145 Motion to Dismiss Signed by Judge Xavier
                 Rodriguez. (mgr) (Entered: 05/24/2022)



                                                                                23-50885.156
        Case: 23-50885   Document: 144    Page: 160    Date Filed: 06/19/2024


05/25/2022   425 ORDER GRANTING 391 Motion to Compel. The State Legislators
                 are ORDERED to produce all documents, with the exception of
                 DOC_0000477, as specified in Appendix A below, by June 3,
                 2022. Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 05/25/2022)
05/26/2022   426 Appeal of Order entered by District Judge 425 by Paul
                 Bettencourt, Bryan Hughes, Andrew Murr, Briscoe Cain..
                 Attorney Patrick K. Sweeten added to party Paul
                 Bettencourt(pty:oth), Attorney Patrick K. Sweeten added to party
                 Bryan Hughes(pty:oth), Attorney Patrick K. Sweeten added to
                 party Andrew Murr(pty:oth), Attorney Patrick K. Sweeten added
                 to party Briscoe Cain(pty:oth) (Sweeten, Patrick) Modified on
                 6/8/2023 to remove termination date after judgment/mandate
                 was entered in error by the 5th Circuit (kc). (Entered:
                 05/26/2022)
05/26/2022        NOTICE OF INTERLOCUTORY APPEAL as to 425 Order on Motion
                  to Compel by Paul Bettencourt, Briscoe Cain, Bryan Hughes,
                  Andrew Murr. Per 5th Circuit rules, the appellant has 14 days,
                  from the filing of the Notice of Appeal, to order the transcript. To
                  order a transcript, the appellant should fill out (Transcript Order)
                  and follow the instructions set out on the form. This form is
                  available in the Clerk's Office or by clicking the hyperlink above.
                  (rg) (Entered: 05/27/2022)
05/27/2022   427 Unopposed MOTION to Withdraw as Attorney Liliana Zaragoza
                 by Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas. (Attachments: #
                 1 Proposed Order)(Zaragoza, Liliana) (Entered: 05/27/2022)
05/27/2022   428 Unopposed MOTION to Stay Pending Appeal by Paul Bettencourt,
                 Briscoe Cain, Bryan Hughes, Andrew Murr. (Sweeten, Patrick)
                 (Entered: 05/27/2022)
05/31/2022        Text Order GRANTING 427 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of Liliana
                  Zaragoza for Plaintiffs is withdrawn, and she shall be removed
                  from all service lists pertaining to this action. Plaintiffs will
                  continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  05/31/2022)
05/31/2022   429 ORDER GRANTING 428 Motion to Stay. Signed by Judge Xavier
                 Rodriguez. (rg) (Entered: 05/31/2022)
05/31/2022   430 NOTICE of Attorney Appearance by Charles E.T. Roberts on
                 behalf of Dallas County Republican Party, Harris County
                 Republican Party, National Republican Congressional Committee,




                                                                                23-50885.157
        Case: 23-50885   Document: 144    Page: 161   Date Filed: 06/19/2024

                  National Republican Senatorial Committee, Republican National
                  Committee (Roberts, Charles) (Entered: 05/31/2022)
05/31/2022        (Court only) *** Attorney Liliana Zaragoza terminated. (rg)
                  (Entered: 05/31/2022)
05/31/2022        (Court only) ***Attorney Charles E.T. Roberts for Dallas County
                  Republican Party,Charles E.T. Roberts for Harris County
                  Republican Party,Charles E.T. Roberts for National Republican
                  Congressional Committee,Charles E.T. Roberts for National
                  Republican Senatorial Committee added. (rg) (Entered:
                  05/31/2022)
06/01/2022   431 Joint MOTION for Extension of Time to File Proposed Scheduling
                 Order by Gregory W. Abbott, Warren K. Paxton, STATE OF
                 TEXAS, John Scott. (Attachments: # 1 Proposed Order)(Sweeten,
                 Patrick) (Entered: 06/01/2022)
06/01/2022        Text Order GRANTING 431 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. No later than June 6, 2022,
                  the parties must file a proposed scheduling order. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (JA3) (Entered: 06/01/2022)
06/02/2022        (Court only) USCA Case Number 22-50435 (Doc. 31) for 31
                  Notice of Appeal - Interlocutory, filed by Paul Bettencourt,
                  Briscoe Cain, Andrew Murr, Bryan Hughes. (dtg)***Modified
                  TEXT TO REFLECT CORRECT USCA # FROM 22-50436 TO 22-
                  50435 on 6/2/2022 (dtg).*** (Entered: 06/02/2022)
06/03/2022   432 MOTION to Withdraw as Attorney Christina M. Beeler by Isabel
                 Longoria. (Attachments: # 1 Proposed Order)(Beeler, Christina)
                 (Entered: 06/03/2022)
06/03/2022   433 TRANSCRIPT REQUEST by Paul Bettencourt, Briscoe Cain, Bryan
                 Hughes, Andrew Murr for dates of 05/13/2022. Proceedings
                 Transcribed: Hearing on Motion to Compel. Court Reporter: Gigi
                 Simcox.. (Sweeten, Patrick) (Entered: 06/03/2022)
06/06/2022        Text Order GRANTING 432 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of Christina
                  M. Beeler for Defendant Isabel Longoria, in her Official Capacity
                  as Harris County Elections Administrator is withdrawn and shall
                  be removed from all service lists pertaining to this action. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  06/06/2022)
06/06/2022        (Court only) *** Attorney Christina Marie Beeler terminated. (rg)
                  (Entered: 06/06/2022)
06/06/2022   434 Joint MOTION for Extension of Time to File Proposed Scheduling
                 Order by Gregory W. Abbott, Warren K. Paxton, STATE OF


                                                                                23-50885.158
        Case: 23-50885   Document: 144    Page: 162   Date Filed: 06/19/2024

                  TEXAS, John Scott. (Attachments: # 1 Proposed Order)(Sweeten,
                  Patrick) (Entered: 06/06/2022)
06/07/2022        Text Order GRANTING 434 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. The parties must file a
                  proposed scheduling order no later than today, June 7, 2022.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  06/07/2022)
06/07/2022   435 ANSWER to 131 Amended Complaint by STATE OF TEXAS, John
                 Scott.(Sweeten, Patrick) (Entered: 06/07/2022)
06/07/2022   436 NOTICE of Partly Agreed Proposed Amended Schedule by
                 Gregory W. Abbott, Warren K. Paxton, STATE OF TEXAS, John
                 Scott (Sweeten, Patrick) (Entered: 06/07/2022)
06/08/2022   437 AMENDED SCHEDULING ORDER: Bench Trial set for 7/17/2023
                 10:30 AM before Judge Xavier Rodriguez, Pretrial Conference set
                 for 7/6/2023 10:30 AM before Judge Xavier Rodriguez,
                 Dispositive Motions due by 4/28/2023. Signed by Judge Xavier
                 Rodriguez. (rg) (Entered: 06/08/2022)
06/13/2022        Certification of the Electronic Record on Appeal in USCA #22-
                  50435 has been accepted by the 5th Circuit. re 426 Notice of
                  Appeal - Interlocutory. Attorneys are advised that they may now
                  download the EROA from the Fifth Circuit CM/ECF site by
                  following these instructions here (dtg) (Entered: 06/13/2022)
06/14/2022   438 NOTICE of Modified Permanent Injunction Regarding Sections
                 61.032, 61.033, and 64.0321 of the Texas Election Code by
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Workers Defense Action Fund (Attachments: # 1
                 Exhibit Order Modifying Permanent Injunction)(Dolling, Zachary)
                 (Entered: 06/14/2022)
06/15/2022   439 Unopposed MOTION to Withdraw as Attorney Haley Costello
                 Essig by LULAC Texas, Texas AFT, Texas Alliance for Retired
                 Americans, Voto Latino. (Essig, Haley) (Entered: 06/15/2022)
06/15/2022        Text Order GRANTING 439 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Haley K. Costello Essig is
                  withdrawn as counsel of record for Plaintiffs LULAC Texas, Voto
                  Latino, Texas Alliance for Retired Americans, and Texas AFT.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  06/15/2022)
06/15/2022        (Court only) *** Attorney Haley Costello Essig terminated. (rg)
                  (Entered: 06/15/2022)
06/15/2022   440 NOTICE Plaintiffs' Joint Notice related to the OCA Injunction
                 Modification Order by United States Of America re 438 Notice


                                                                               23-50885.159
        Case: 23-50885   Document: 144    Page: 163    Date Filed: 06/19/2024

                  (Other), (Yun, Jennifer) (Entered: 06/15/2022)
06/30/2022   441 MOTION to Appear Pro Hac Vice by John Russell Hardin for
                 Daniela Lorenzo ( Filing fee $ 100 receipt number 0542-
                 16205525) by on behalf of LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Voto Latino. (Attachments: # 1
                 Proposed Order)(Hardin, John) (Entered: 06/30/2022)
06/30/2022        Text Order GRANTING 441 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 06/30/2022)
06/30/2022        (Court only) ***Attorney Daniela Lorenzo for LULAC
                  Texas,Daniela Lorenzo for Texas AFT,Daniela Lorenzo for Texas
                  Alliance for Retired Americans,Daniela Lorenzo for Voto Latino
                  added. (rg) (Entered: 07/01/2022)
07/07/2022   442 MOTION to Appear Pro Hac Vice by Nina Perales for Attorney
                 Jasmine M. Johnson ( Filing fee $ 100 receipt number 0542-
                 16225698) by on behalf of Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, William C. Velasquez
                 Institute. (Perales, Nina) (Entered: 07/07/2022)
07/07/2022        Text Order GRANTING 442 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 07/07/2022)
07/07/2022        (Court only) ***Attorney Jasmine M. Johnson for Fiel Houston,
                  Inc.,Jasmine M. Johnson for JOLT Action,Jasmine M. Johnson for
                  La Union Del Pueblo Entero,Jasmine M. Johnson for Mexican
                  American Bar Association of Texas,Jasmine M. Johnson for
                  Southwest Voter Registration Education Project,Jasmine M.
                  Johnson for Texas Hispanics Organized for Political
                  Education,Jasmine M. Johnson for William C. Velasquez Institute
                  added. (rg) (Entered: 07/07/2022)
07/11/2022   443 NOTICE of Attorney Appearance by James A. Rodman on behalf
                 of Texas AFT. Attorney James A. Rodman added to party Texas
                 AFT(pty:conpla) (Rodman, James) (Entered: 07/11/2022)



                                                                                23-50885.160
        Case: 23-50885   Document: 144    Page: 164   Date Filed: 06/19/2024


07/11/2022        (Court only) ***Attorney James A. Rodman for LULAC
                  Texas,James A. Rodman for Texas Alliance for Retired
                  Americans,James A. Rodman for Voto Latino added. (rg)
                  (Entered: 07/12/2022)
07/12/2022   444 ORDER GRANTING IN PART AND DENYING IN PART 243 Motion to
                 Dismiss. Any and all claims challenging section 7.04 of S.B. 1, as
                 codified in section 276.018 of the Texas Election Code, are
                 DISMISSED WITHOUT PREJUDICE. Any and all claims challenging
                 portions of section 6.04 of S.B. 1 that the district courtenjoined
                 in OCA Greater Hous. v. Texas, No. 1:15-CV-679-RP, 2022 WL
                 2019295 (W.D. Tex. June 6, 2022) are MOOT. All other claims
                 that LULAC Texas, Voto Latino, the Texas Alliance for Retired
                 Americans, and Texas AFT have asserted against the Texas
                 Secretary of State and the Texas Attorney General may
                 proceed. Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 07/12/2022)
07/14/2022   445 NOTICE of Attorney Appearance by Peter Hofer on behalf of
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Workers Defense Action Fund. Attorney Peter
                 Hofer added to party League of Women Voters of
                 Texas(pty:conpla), Attorney Peter Hofer added to party OCA-
                 Greater Houston(pty:conpla), Attorney Peter Hofer added to
                 party REVUP-Texas(pty:conpla), Attorney Peter Hofer added to
                 party Workers Defense Action Fund(pty:conpla) (Hofer, Peter)
                 (Entered: 07/14/2022)
07/18/2022   446 Unopposed MOTION to Withdraw as Attorney by League of
                 Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                 Workers Defense Action Fund. (Davis, Lia) (Entered: 07/18/2022)
07/18/2022        Text Order GRANTING 446 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Lia Sifuentes Davis is
                  withdrawn as counsel for Plaintiffs OCA-Greater Houston,
                  League of Women Voters of Texas, REVUP-Texas, and Workers
                  Defense Action Fund. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (JA3)
                  (Entered: 07/18/2022)
07/18/2022        (Court only) *** Attorney Lia Sifuentes Davis terminated. (rg)
                  (Entered: 07/19/2022)
08/02/2022   447 ORDER GRANTING IN PART AND DENYING IN PART 239 Motion to
                 Dismiss Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 08/02/2022)
08/02/2022   448 ORDER GRANTING IN PART AND DENYING IN PART 240 Motion to
                 Dismiss the claims that OCA-Greater Houston, League of
                 Woman Voters of Texas, REVUP-Texas, and Workers Defense




                                                                               23-50885.161
        Case: 23-50885   Document: 144    Page: 165   Date Filed: 06/19/2024

                  Action Fund have asserted against them Signed by Judge Xavier
                  Rodriguez. (rg) (Entered: 08/02/2022)
08/02/2022   449 ORDER GRANTING IN PART AND DENYING IN PART 255 Motion to
                 Dismiss Signed by Judge Xavier Rodriguez. (rg) (Entered:
                 08/02/2022)
08/02/2022   450 ORDER GRANTING IN PART AND DENYING IN PART 344 Motion to
                 Dismiss all claims asserted against Kim Ogg. Signed by Judge
                 Xavier Rodriguez. (rg) (Entered: 08/02/2022)
08/10/2022   451 Appeal of Order entered by District Judge 450 by Kim Ogg. (
                 Filing fee $ 505 receipt number ATXWDC-16384323) (Nichols,
                 Eric) (Entered: 08/10/2022)
08/10/2022        NOTICE OF INTERLOCUTORY APPEAL as to 450 Order on Motion
                  to Dismiss by Kim Ogg. Filing fee $505.00, receipt number
                  ATXWDC-16384323. Per 5th Circuit rules, the appellant has 14
                  days, from the filing of the Notice of Appeal, to order the
                  transcript. To order a transcript, the appellant should fill out
                  (Transcript Order) and follow the instructions set out on the
                  form. This form is available in the Clerk's Office or by clicking
                  the hyperlink above. (rg) (Entered: 08/11/2022)
08/15/2022   452 MOTION to Stay by Kim Ogg. (Attachments: # 1 Exhibit, # 2
                 Proposed Order)(Nichols, Eric) (Entered: 08/15/2022)
08/15/2022        Text Order DENYING 452 Motion to Stay entered by Judge Xavier
                  Rodriguez. The Court has already addressed the merits of
                  Defendant Kim Ogg's arguments in its order granting in part and
                  denying part her motion to dismiss. Further, the discovery
                  requests are relevant and responses thereto may be secured
                  from Defendant Ogg either as a party to this case or a third
                  party. (This is a text-only entry generated by the court. There is
                  no document associated with this entry.) (JA3) (Entered:
                  08/15/2022)
08/19/2022   453 Unopposed MOTION to Withdraw as Attorney by LULAC Texas,
                 Texas AFT, Texas Alliance for Retired Americans, Voto Latino.
                 (Hawley, Jonathan) (Entered: 08/19/2022)
08/19/2022        (Court only) USCA Case Number 22-50732 (Doc. 451) for 451
                  Notice of Appeal - Interlocutory, filed by Kim Ogg. (dtg)
                  (Entered: 08/19/2022)
08/19/2022        Text Order GRANTING 453 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Jonathan P. Hawley is
                  withdrawn as counsel of record for Plaintiffs LULAC Texas, Texas
                  AFT, Texas Alliance for Retired Americans, and Voto Latino. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (JA3) (Entered:
                  08/19/2022)



                                                                               23-50885.162
        Case: 23-50885   Document: 144    Page: 166   Date Filed: 06/19/2024


08/19/2022        (Court only) *** Attorney Jonathan Patrick Hawley terminated.
                  (rg) (Entered: 08/19/2022)
08/24/2022   454 NOTICE of Filing Transcript Order Form by Kim Ogg (Nichols,
                 Eric) (Entered: 08/24/2022)
08/24/2022   455 DEFICIENCY NOTICE: to attorney Eric Nichols The wrong event
                 was used for this document. Please refile using the event
                 "Appeal Transcript Request" even though you are not requesting
                 a transcript the Fifth Circuit needs to receive a copy of this
                 Transcript Order Form. re 454 Notice of Filing (rg) (Entered:
                 08/24/2022)
08/26/2022   456 Unopposed MOTION to Withdraw as Attorney by Gregory W.
                 Abbott, Warren K. Paxton, John Scott. (Attachments: # 1
                 Proposed Order)(Disorbo, Jack) (Entered: 08/26/2022)
08/26/2022        Text Order GRANTING 456 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Mr. Jack DiSorbo is
                  WITHDRAWN from his representation in this case. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (ldlc) (Entered: 08/26/2022)
08/26/2022        (Court only) *** Attorney Jack Buckley Disorbo terminated. (rg)
                  (Entered: 10/07/2022)
08/30/2022   457 Appeal of Order entered by District Judge 449 by Warren K.
                 Paxton, STATE OF TEXAS, John Scott. (Sweeten, Patrick)
                 (Entered: 08/30/2022)
08/30/2022   458 Appeal of Order entered by District Judge 447 by Gregory W.
                 Abbott, Warren K. Paxton, John Scott. (Sweeten, Patrick)
                 (Entered: 08/30/2022)
08/30/2022   459 Appeal of Order entered by District Judge 448 by Warren K.
                 Paxton, John Scott. (Sweeten, Patrick) (Entered: 08/30/2022)
08/30/2022        NOTICE OF INTERLOCUTORY APPEAL as to 448 Order on Motion
                  to Dismiss, 447 Order on Motion to Dismiss, 449 Order on
                  Motion to Dismiss by Gregory W. Abbott, Jose A. Esparza, Warren
                  K. Paxton, STATE OF TEXAS, John Scott. Per 5th Circuit rules, the
                  appellant has 14 days, from the filing of the Notice of Appeal, to
                  order the transcript. To order a transcript, the appellant should
                  fill out (Transcript Order) and follow the instructions set out on
                  the form. This form is available in the Clerk's Office or by
                  clicking the hyperlink above. (wg) (Entered: 08/30/2022)
09/06/2022   460 Unopposed MOTION to Withdraw as Attorney John R. Hardin by
                 LULAC Texas, Texas AFT, Texas Alliance for Retired Americans,
                 Voto Latino. (Attachments: # 1 Proposed Order)(Hardin, John)
                 (Entered: 09/06/2022)




                                                                               23-50885.163
        Case: 23-50885   Document: 144    Page: 167   Date Filed: 06/19/2024


09/06/2022        Text Order GRANTING 460 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. John R. Hardin is hereby
                  WITHDRAWN as counsel of record for Plaintiffs LULAC Texas,
                  Voto Latino, Texas Alliance for Retired Americans, and Texas AFT.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 09/06/2022)
09/06/2022        (Court only) *** Attorney John Russell Hardin terminated. (rg)
                  (Entered: 09/07/2022)
09/09/2022        (Court only) USCA Case Number 22-50775 (Doc. 457) for 457
                  Notice of Appeal - Interlocutory, filed by John Scott, Warren K.
                  Paxton, Gregory W. Abbott, Jose A. Esparza, STATE OF TEXAS.
                  (dtg) (Entered: 09/09/2022)
09/09/2022        (Court only) USCA Case Number 22-50777 (Doc. 458) for 458
                  Notice of Appeal - Interlocutory, filed by John Scott, Warren K.
                  Paxton, Gregory W. Abbott, Jose A. Esparza, STATE OF TEXAS.
                  (dtg) (Entered: 09/09/2022)
09/09/2022        (Court only) USCA Case Number 22-50778 (Doc. 459) for 459
                  Notice of Appeal - Interlocutory, filed by John Scott, Warren K.
                  Paxton, Gregory W. Abbott, Jose A. Esparza, STATE OF TEXAS.
                  (dtg) (Entered: 09/09/2022)
09/13/2022   461 TRANSCRIPT REQUEST by Warren K. Paxton, STATE OF TEXAS,
                 John Scott for dates of n/a. Proceedings Transcribed: n/a. Court
                 Reporter: Gigi Simcox.. (Thompson, William)***Modified TEXT on
                 9/15/2022 (dtg)***TRANSCRIPT IS UNNECESSARY FOR APPEAL
                 PURPOSES.*** (Entered: 09/13/2022)
09/13/2022   462 TRANSCRIPT REQUEST by Gregory W. Abbott, Warren K. Paxton,
                 John Scott for dates of n/a. Proceedings Transcribed: n/a. Court
                 Reporter: Gigi Simcox.. (Thompson, William)******Modified TEXT
                 on 9/15/2022 (dtg)***TRANSCRIPT IS UNNECESSARY FOR
                 APPEAL PURPOSES.*** (Entered: 09/13/2022)
09/13/2022   463 TRANSCRIPT REQUEST by Warren K. Paxton, John Scott for dates
                 of n/a. Proceedings Transcribed: n/a. Court Reporter: Gigi
                 Simcox.. (Thompson, William)***Modified TEXT on 9/15/2022
                 (dtg)***TRANSCRIPT IS UNNECESSARY FOR APPEAL
                 PURPOSES.*** (Entered: 09/13/2022)
09/16/2022        Certification of the Electronic Record on Appeal in USCA #22-
                  50732 has been accepted by the 5th Circuit. re 451 Notice of
                  Appeal - Interlocutory, Notice of Appeal. Attorneys are advised
                  that they may now download the EROA from the Fifth Circuit
                  CM/ECF site by following these instructions here (dtg) (Entered:
                  09/16/2022)
09/21/2022   464 ORDER of USCA (certified copy). re 451 Notice of Appeal -
                 Interlocutory.***PER CURIAM: IT IS ORDERED that a temporary


                                                                               23-50885.164
        Case: 23-50885   Document: 144    Page: 168   Date Filed: 06/19/2024

                  adminstrative stay is being placed on all discovery and related
                  proceedings in the district court until September 29, 2022, until
                  further order may issue.*** (Attachments: # 1 TRANSMITTAL
                  LETTER FROM USCA5)(dtg) (Entered: 09/21/2022)
10/03/2022        Certification of the Electronic Record on Appeal in USCA #22-
                  50775 has been accepted by the 5th Circuit. re 457 Notice of
                  Appeal - Interlocutory. Attorneys are advised that they may now
                  download the EROA from the Fifth Circuit CM/ECF site by
                  following these instructions here (dtg) (Entered: 10/03/2022)
10/03/2022   465 Unopposed MOTION to Withdraw as Attorney Georgina C.
                 Yeomans by Jeffrey Lamar Clemmons, Delta Sigma Theta
                 Sorority Inc., Houston Area Urban League, The Arc of Texas.
                 (Attachments: # 1 Proposed Order)(Yeomans, Georgina)
                 (Entered: 10/03/2022)
10/04/2022        Certification of the Electronic Record on Appeal in USCA #22-
                  50778 has been accepted by the 5th Circuit. re 459 Notice of
                  Appeal - Interlocutory. Attorneys are advised that they may now
                  download the EROA from the Fifth Circuit CM/ECF site by
                  following these instructions here (dtg) (Entered: 10/04/2022)
10/07/2022   466 ORDER of USCA (certified copy). re 451 Notice of Appeal -
                 Interlocutory.***IT IS ORDERED that the Appellant Kim Oggs
                 opposed motion to stay all further discovery and related
                 proceedings against her or her office in the district court,
                 pending this Courts resolution of her interlocutory appeal of the
                 denial of Oggs motion to dismiss based on the legal defense of
                 sovereign immunity, is DENIED.*** (Attachments: # 1
                 TRANSMITTAL LETTER FROM USCA5)(dtg) (Entered: 10/07/2022)
10/07/2022        Certification of the Electronic Record on Appeal in USCA #22-
                  50777 has been accepted by the 5th Circuit. re 458 Notice of
                  Appeal - Interlocutory. Attorneys are advised that they may now
                  download the EROA from the Fifth Circuit CM/ECF site by
                  following these instructions here (dtg) (Entered: 10/07/2022)
10/11/2022        Text Order GRANTING 465 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. The appearance of Georgina
                  C. Yeomans for Plaintiffs Houston Area Urban League, Delta
                  Sigma Theta Sorority, Inc., The Arc of Texas, and Jeffrey Lamar
                  Clemmons, (collectively, "Plaintiffs") is withdrawn, and she shall
                  be removed from all service lists pertaining to this action.
                  Plaintiffs will continue to be represented by remaining counsel of
                  record. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  10/11/2022)
10/11/2022        (Court only) *** Attorney Georgina Yeomans terminated. (rg)
                  (Entered: 10/12/2022)



                                                                               23-50885.165
        Case: 23-50885     Document: 144     Page: 169    Date Filed: 06/19/2024


10/12/2022   467 NOTICE of Change of Address by Germaine Maria Habell (Habell,
                 Germaine) (Entered: 10/12/2022)
10/12/2022   468 Letter of transmittal from USCA received for 451 Notice of
                 Appeal - Interlocutory, filed by Kim Ogg.***The court has taken
                 the following action in this case: The motion to withdraw as
                 counsel is hereby GRANTED.*** (dtg) (Entered: 10/13/2022)
10/24/2022   469 Opposed MOTION to Compel Production of Documents
                 Responsive to Requests for Production and Interrogatories and
                 to Amend the Scheduling Order as to Defendant Intervenors by
                 Fiel Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, LULAC Texas, Mexican American Bar Association of
                 Texas, Texas Hispanics Organized for Political Education, Texas
                 Impact, The Anti-Defamation League Austin, Southwest, and
                 Texoma, William C. Velasquez Institute. (Attachments: # 1
                 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18
                 Proposed Order)(Perales, Nina) (Entered: 10/24/2022)
10/31/2022   470 ORDERED, that the text orders issued on November 16, 2021
                 denying the motions to appear pro hac vice filed on behalf of
                 counsel E. Stewart Crosland (ECF No. 71) and Stephen J. Kenny
                 (ECF No. 72) are WITHDRAWN. The pro hac vice motions (ECF
                 Nos. 71 & 72) are GRANTED re Order on Motion to Appear Pro
                 Hac Vice, Order on Motion to Appear Pro Hac Vice. Signed by
                 Judge Xavier Rodriguez. (wg) (Entered: 10/31/2022)
10/31/2022   471 Response in Opposition to Motion, filed by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee, re 469
                 Opposed MOTION to Compel Production of Documents
                 Responsive to Requests for Production and Interrogatories and
                 to Amend the Scheduling Order as to Defendant Intervenors
                 filed by Plaintiff Texas Hispanics Organized for Political
                 Education, Plaintiff Texas Impact, Plaintiff William C. Velasquez
                 Institute, Plaintiff Fiel Houston, Inc., Plaintiff JOLT Action, Plaintiff
                 James Lewin, Plaintiff Mexican American Bar Association of
                 Texas, Plaintiff Friendship-West Baptist Church, Plaintiff The Anti-
                 Defamation League Austin, Southwest, and Texoma, Consol
                 Plaintiff LULAC Texas and CROSS-MOTION for a Protective Order
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                 H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, #
                 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17
                 Proposed Order)(Gore, John) Modified on 11/1/2022 (rg).
                 (Entered: 10/31/2022)


                                                                                    23-50885.166
        Case: 23-50885    Document: 144     Page: 170   Date Filed: 06/19/2024


10/31/2022   472 Response in Opposition to Motion, filed by Gregory W. Abbott,
                 Warren K. Paxton, STATE OF TEXAS, John Scott, re 469 Opposed
                 MOTION to Compel Production of Documents Responsive to
                 Requests for Production and Interrogatories and to Amend the
                 Scheduling Order as to Defendant Intervenors filed by Plaintiff
                 Texas Hispanics Organized for Political Education, Plaintiff Texas
                 Impact, Plaintiff William C. Velasquez Institute, Plaintiff Fiel
                 Houston, Inc., Plaintiff JOLT Action, Plaintiff James Lewin, Plaintiff
                 Mexican American Bar Association of Texas, Plaintiff Friendship-
                 West Baptist Church, Plaintiff The Anti-Defamation League
                 Austin, Southwest, and Texoma, Consol Plaintiff LULAC Texas
                 (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3
                 Exhibit Exhibit C)(Sweeten, Patrick) (Entered: 10/31/2022)
11/04/2022   473 ORDER SETTING MOTION HEARING re 469 Opposed MOTION to
                 Compel 471 MOTION for Protective Order (Motion Hearing set
                 for 11/14/2022 1:00 PM before Judge Xavier Rodriguez). Signed
                 by Judge Xavier Rodriguez. (rg) (Entered: 11/04/2022)
11/07/2022   474 RESPONSE to Motion, filed by United States Of America, re 471
                 MOTION for Protective Order filed by Defendant National
                 Republican Congressional Committee, Defendant Harris County
                 Republican Party, Defendant Dallas County Republican Party,
                 Movant Republican National Committee, Defendant National
                 Republican Senatorial Committee, 469 Opposed MOTION to
                 Compel Production of Documents Responsive to Requests for
                 Production and Interrogatories and to Amend the Scheduling
                 Order as to Defendant Intervenors filed by Plaintiff Texas
                 Hispanics Organized for Political Education, Plaintiff Texas
                 Impact, Plaintiff William C. Velasquez Institute, Plaintiff Fiel
                 Houston, Inc., Plaintiff JOLT Action, Plaintiff James Lewin, Plaintiff
                 Mexican American Bar Association of Texas, Plaintiff Friendship-
                 West Baptist Church, Plaintiff The Anti-Defamation League
                 Austin, Southwest, and Texoma, Consol Plaintiff LULAC Texas
                 (Freeman, Daniel) (Entered: 11/07/2022)
11/07/2022   475 Memorandum in Support, filed by Fiel Houston, Inc., Friendship-
                 West Baptist Church, JOLT Action, James Lewin, La Union Del
                 Pueblo Entero, Mexican American Bar Association of Texas,
                 Southwest Voter Registration Education Project, Texas Hispanics
                 Organized for Political Education, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma, William C.
                 Velasquez Institute, re 471 MOTION for Protective Order filed by
                 Defendant National Republican Congressional Committee,
                 Defendant Harris County Republican Party, Defendant Dallas
                 County Republican Party, Movant Republican National
                 Committee, Defendant National Republican Senatorial
                 Committee, 469 Opposed MOTION to Compel Production of
                 Documents Responsive to Requests for Production and



                                                                                 23-50885.167
        Case: 23-50885   Document: 144      Page: 171    Date Filed: 06/19/2024

                  Interrogatories and to Amend the Scheduling Order as to
                  Defendant Intervenors filed by Plaintiff Texas Hispanics
                  Organized for Political Education, Plaintiff Texas Impact, Plaintiff
                  William C. Velasquez Institute, Plaintiff Fiel Houston, Inc., Plaintiff
                  JOLT Action, Plaintiff James Lewin, Plaintiff Mexican American
                  Bar Association of Texas, Plaintiff Friendship-West Baptist
                  Church, Plaintiff The Anti-Defamation League Austin, Southwest,
                  and Texoma, Consol Plaintiff LULAC Texas (Attachments: # 1
                  Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Affidavit Signed
                  Declaration)(Longoria, Julia) (Entered: 11/07/2022)
11/09/2022   476 NOTICE of Attorney Appearance by Kathleen Hunker on behalf
                 of Gregory W. Abbott, Warren K. Paxton, John Scott. Attorney
                 Kathleen Hunker added to party Gregory W. Abbott(pty:dft),
                 Attorney Kathleen Hunker added to party Warren K.
                 Paxton(pty:dft), Attorney Kathleen Hunker added to party John
                 Scott(pty:condft) (Hunker, Kathleen) (Entered: 11/09/2022)
11/11/2022   477 REPLY to Response to Motion, filed by Dallas County Republican
                 Party, Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee, re 471 MOTION for
                 Protective Order filed by Defendant National Republican
                 Congressional Committee, Defendant Harris County Republican
                 Party, Defendant Dallas County Republican Party, Movant
                 Republican National Committee, Defendant National Republican
                 Senatorial Committee (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                 # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                 Exhibit G, # 8 Exhibit H)(Gore, John) (Entered: 11/11/2022)
11/14/2022   478 NOTICE of Attorney Appearance by Fatima L Menendez on
                 behalf of Fiel Houston, Inc., JOLT Action, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, William C. Velasquez Institute. Attorney
                 Fatima L Menendez added to party Fiel Houston, Inc.(pty:pla),
                 Attorney Fatima L Menendez added to party JOLT Action(pty:pla),
                 Attorney Fatima L Menendez added to party La Union Del Pueblo
                 Entero(pty:pla), Attorney Fatima L Menendez added to party
                 Mexican American Bar Association of Texas(pty:pla), Attorney
                 Fatima L Menendez added to party Southwest Voter Registration
                 Education Project(pty:pla), Attorney Fatima L Menendez added
                 to party Texas Hispanics Organized for Political
                 Education(pty:pla), Attorney Fatima L Menendez added to party
                 William C. Velasquez Institute(pty:pla) (Menendez, Fatima)
                 (Entered: 11/14/2022)
11/14/2022   479 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Motion Hearing held on 11/14/2022 re 469 Opposed




                                                                                   23-50885.168
        Case: 23-50885    Document: 144   Page: 172    Date Filed: 06/19/2024

                  MOTION to Compel. (Court Reporter Gigi Simcox.)(rg) (Entered:
                  11/15/2022)
11/15/2022   480 TRANSCRIPT REQUEST by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, The Anti-Defamation
                 League Austin, Southwest, and Texoma, William C. Velasquez
                 Institute for proceedings held on 11/14/2022. Court Reporter:
                 Gigi Simcox. (Perales, Nina) (Entered: 11/15/2022)
11/15/2022   481 MOTION to Withdraw as Attorney Mimi Marziani by League of
                 Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                 Workers Defense Action Fund. (Attachments: # 1 Proposed
                 Order)(Dolling, Zachary) (Entered: 11/15/2022)
11/15/2022   482 MOTION to Withdraw as Attorney Ryan Cox by League of
                 Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                 Workers Defense Action Fund. (Attachments: # 1 Proposed
                 Order)(Dolling, Zachary) (Entered: 11/15/2022)
11/16/2022        Text Order GRANTING 481 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Mimi Marziani is hereby
                  WITHDRAWN as counsel for Plaintiffs OCA-Greater Houston,
                  League of Women Voters of Texas, REVUP-Texas, and Workers
                  Defense Action Fund, who shall continue to be represented by
                  remaining counsel of record. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 11/16/2022)
11/16/2022        Text Order GRANTING 482 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Ryan Cox is hereby
                  WITHDRAWN as counsel for Plaintiffs OCA-Greater Houston,
                  League of Women Voters of Texas, REVUP-Texas, and Workers
                  Defense Action Fund, which will continue to be represented by
                  remaining counsel of record. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 11/16/2022)
11/16/2022        (Court only) *** Attorney Ryan V. Cox and Mimi M.D. Marziani
                  terminated. (rg) (Entered: 11/16/2022)
11/21/2022   483 BRIEF Regarding Plaintiffs' Noticed Depositions by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                 H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, #




                                                                                23-50885.169
        Case: 23-50885    Document: 144    Page: 173   Date Filed: 06/19/2024

                  13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P)
                  (Gore, John) (Entered: 11/21/2022)
11/21/2022   484 BRIEF ON THE APPLICATION OF THE FIRST AMENDMENT
                 PRIVILEGE TO DEPOSITIONS by Fiel Houston, Inc., Friendship-
                 West Baptist Church, JOLT Action, James Lewin, La Union Del
                 Pueblo Entero, Mexican American Bar Association of Texas,
                 Southwest Voter Registration Education Project, Texas Hispanics
                 Organized for Political Education, Texas Impact, The Anti-
                 Defamation League Austin, Southwest, and Texoma, William C.
                 Velasquez Institute. (Longoria, Julia) (Entered: 11/22/2022)
11/22/2022   485 TRANSCRIPT REQUEST by Gregory W. Abbott, STATE OF TEXAS,
                 John Scott for proceedings held on 11/14/22. Proceedings
                 Transcribed: Motion Hearing. Court Reporter: Gigi Simcox.
                 (Thompson, William) (Entered: 11/22/2022)
11/28/2022   486 RESPONSE to 484 Brief, by Dallas County Republican Party,
                 Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee. (Gore, John)
                 (Entered: 11/28/2022)
11/28/2022   487 Transcript filed of Proceedings held on 11-14-22, Proceedings
                 Transcribed: Motion Hearing. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 12/19/2022,
                 Redacted Transcript Deadline set for 12/29/2022, Release of
                 Transcript Restriction set for 2/27/2023, Appeal Record due by
                 12/13/2022, (gs) (Entered: 11/28/2022)
12/05/2022   488 Unopposed MOTION to Withdraw as Attorney Patrick K. Sweeten
                 by Gregory W. Abbott, Jose A. Esparza, Warren K. Paxton, STATE
                 OF TEXAS, John Scott. (Attachments: # 1 Proposed Order)
                 (Sweeten, Patrick) (Entered: 12/05/2022)
12/05/2022        Text Order GRANTING 488 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Patrick K. Sweeten is hereby
                  WITHDRAWN as counsel of record for Defendants Gregory W.
                  Abbott, in his official capacity as Governor of Texas, John Scott,
                  in his official capacity as Secretary of State Texas, Warren K.
                  Paxton, in his official capacity as Attorney General of Texas, Jose
                  A. Esparza, in his official capacity as Deputy Secretary of State,


                                                                                  23-50885.170
        Case: 23-50885    Document: 144    Page: 174   Date Filed: 06/19/2024

                  and the State of Texas. (This is a text-only entry generated by
                  the court. There is no document associated with this entry.) (cb)
                  (Entered: 12/05/2022)
12/05/2022        (Court only) *** Attorney Patrick K. Sweeten terminated. (wg)
                  (Entered: 12/06/2022)
12/08/2022   489 Unopposed MOTION to Withdraw as Attorney Matthew Berde by
                 La Union Del Pueblo Entero. (Attachments: # 1 Proposed Order
                 Order Granting Motion to Withdraw Appearance as Counsel)
                 (Ryan, Elizabeth) (Entered: 12/08/2022)
12/08/2022        Text Order GRANTING 489 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Matthew Berde is hereby
                  WITHDRAWN as counsel of record for Friendship-West Baptist
                  Church, the Anti-Defamation League Austin, Southwest, and
                  Texoma Regions, Texas Impact, and James Lewin, who shall
                  continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 12/08/2022)
12/08/2022        (Court only) *** Attorney Matthew Berde terminated. (rg)
                  (Entered: 12/09/2022)
12/09/2022   490 ORDER GRANTING IN PART AND DENYING IN PART 469 Motion to
                 Compel; GRANTING IN PART AND DENYING IN PART 471 Motion
                 for Protective Order Signed by Judge Xavier Rodriguez. (rg)
                 (Entered: 12/09/2022)
12/14/2022   491 Opposed MOTION to Compel Defendant Ogg's Answers to
                 Interrogatories and Production of Documents by League of
                 Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                 Workers Defense Action Fund. (Attachments: # 1 Exhibit, # 2
                 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7
                 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12
                 Exhibit, # 13 Exhibit, # 14 Proposed Order)(Dolling, Zachary)
                 (Entered: 12/14/2022)
12/16/2022   492 NOTICE of Change of Address by Germaine Maria Habell (Habell,
                 Germaine) (Entered: 12/16/2022)
12/19/2022   493 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 491 Opposed MOTION to Compel
                 Defendant Ogg's Answers to Interrogatories and Production of
                 Documents by Kim Ogg. (Attachments: # 1 Proposed Order)
                 (Nichols, Eric) (Entered: 12/19/2022)
12/20/2022        Text Order GRANTING 493 Unopposed Motion for Extension of
                  Time to File Response/Reply entered by Judge Xavier Rodriguez.
                  The deadline for Defendant Ogg to file a response to Plaintiffs'
                  Motion to Compel 491 is hereby extended to January 6, 2023.




                                                                                23-50885.171
        Case: 23-50885   Document: 144   Page: 175    Date Filed: 06/19/2024

                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 12/20/2022)
12/21/2022   494 Unopposed MOTION to Withdraw as Attorney Danielle Ahlrich by
                 Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas. (Attachments: #
                 1 Proposed Order)(Ahlrich, Danielle) (Entered: 12/21/2022)
12/21/2022        Text Order GRANTING 494 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Danielle Ahlrich is hereby
                  WITHDRAWN as counsel for Houston Area Urban League, Delta
                  Sigma Theta Sorority, The Arc of Texas, and Jeffrey Lamar
                  Clemmons (the "HAUL Plaintiffs"). The HAUL Plaintiffs will
                  continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 12/21/2022)
12/21/2022        (Court only) *** Attorney Danielle V. Ahlrich terminated. (nm)
                  (Entered: 12/22/2022)
01/03/2023   495 ORDER re 491 Opposed MOTION to Compel Defendant Ogg's
                 Answers to Interrogatories and Production of Documents filed
                 by Workers Defense Action Fund, REVUP-Texas, League of
                 Women Voters of Texas, OCA-Greater Houston, Set Motion
                 Hearing for 491 Opposed MOTION to Compel Defendant Ogg's
                 Answers to Interrogatories and Production of Documents (
                 Motion Hearing set for 1/19/2023 3:00 PM before Judge Xavier
                 Rodriguez,). Signed by Judge Xavier Rodriguez. (nm) (Entered:
                 01/03/2023)
01/06/2023   496 Unopposed MOTION to Withdraw as Attorney (Graham W. White)
                 by LULAC Texas, Texas AFT, Texas Alliance for Retired
                 Americans, Voto Latino. (Attachments: # 1 Proposed Order)
                 (Nkwonta, Uzoma) (Entered: 01/06/2023)
01/06/2023   497 Unopposed MOTION to Continue Hearing by Kim Ogg.
                 (Attachments: # 1 Proposed Order Granting Defendant's
                 Unopposed Motion to Continue Hearing)(Giese, Victoria)
                 (Entered: 01/06/2023)
01/06/2023   498 Unopposed MOTION to Withdraw as Attorney Urja Mittal by
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Workers Defense Action Fund. (Attachments: # 1
                 Proposed Order)(Dolling, Zachary) (Entered: 01/06/2023)
01/06/2023   499 Unopposed MOTION to Withdraw as Attorney Sophia Cai by
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Workers Defense Action Fund. (Attachments: # 1
                 Proposed Order)(Dolling, Zachary) (Entered: 01/06/2023)
01/06/2023   500 RESPONSE to Motion, filed by Kim Ogg, re 491 Opposed MOTION
                 to Compel Defendant Ogg's Answers to Interrogatories and



                                                                               23-50885.172
        Case: 23-50885   Document: 144   Page: 176   Date Filed: 06/19/2024

                  Production of Documents filed by Consol Plaintiff Workers
                  Defense Action Fund, Consol Plaintiff REVUP-Texas, Consol
                  Plaintiff League of Women Voters of Texas, Consol Plaintiff OCA-
                  Greater Houston (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit
                  Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D)(Nichols,
                  Eric) (Entered: 01/06/2023)
01/09/2023        Text Order GRANTING 496 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Graham W. White is hereby
                  WITHDRAWN as counsel of record for Plaintiffs LULAC Texas,
                  Voto Latino, Texas Alliance for Retired Americans, and Texas
                  AFT, who shall continue to be represented by remaining counsel
                  of record. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/09/2023)
01/09/2023        Text Order GRANTING 498 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Urja Mittal is hereby
                  WITHDRAWN as counsel of record for Plaintiffs OCA-Greater
                  Houston, League of Women Voters of Texas, REVUP-Texas, and
                  Workers Defense Action Fund. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 01/09/2023)
01/09/2023        Text Order GRANTING 499 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Sophia Cai is hereby
                  WITHDRAWN as counsel of record for Plaintiffs OCA-Greater
                  Houston, League of Women Voters of Texas, REVUP-Texas, and
                  Workers Defense Action Fund. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 01/09/2023)
01/09/2023        Text Order GRANTING 497 Motion to Continue entered by Judge
                  Xavier Rodriguez. The pending motion to compel 491 is re-set
                  for a hearing on Thursday, February 16, 2023 at 2:30 p.m. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 01/09/2023)
01/09/2023        (Court only) *** Attorney Graham White, Sophia Cai, and Urja
                  Mittal terminated. (bc) (Entered: 01/09/2023)
01/09/2023        Motion Hearing: 491 Opposed MOTION to Compel Defendant
                  Ogg's Answers to Interrogatories and Production of Documents.
                  Motion Hearing set for 2/16/2023 2:30 PM before Judge Xavier
                  Rodriguez. (bc) (Entered: 01/09/2023)
01/10/2023   501 NOTICE of Attorney Appearance by J. Aaron Barnes on behalf of
                 Gregory W. Abbott, Warren K. Paxton, STATE OF TEXAS, John
                 Scott. Attorney J. Aaron Barnes added to party Gregory W.
                 Abbott(pty:dft), Attorney J. Aaron Barnes added to party Warren
                 K. Paxton(pty:dft), Attorney J. Aaron Barnes added to party



                                                                              23-50885.173
        Case: 23-50885   Document: 144    Page: 177   Date Filed: 06/19/2024

                  STATE OF TEXAS(pty:condft), Attorney J. Aaron Barnes added to
                  party John Scott(pty:condft) (Barnes, J.) (Entered: 01/10/2023)
01/11/2023   502 REPLY to Response to Motion, filed by League of Women Voters
                 of Texas, OCA-Greater Houston, REVUP-Texas, Workers Defense
                 Action Fund, re 491 Opposed MOTION to Compel Defendant
                 Ogg's Answers to Interrogatories and Production of Documents
                 filed by Consol Plaintiff Workers Defense Action Fund, Consol
                 Plaintiff REVUP-Texas, Consol Plaintiff League of Women Voters
                 of Texas, Consol Plaintiff OCA-Greater Houston in support of
                 Plaintiffs' motion to compel (Dolling, Zachary) (Entered:
                 01/11/2023)
01/12/2023   503 NOTICE of Change of Address by Michael B. Jones (Jones,
                 Michael) (Entered: 01/12/2023)
01/12/2023   504 NOTICE of Change of Address by Daniela Lorenzo (Lorenzo,
                 Daniela) (Entered: 01/12/2023)
01/12/2023   505 NOTICE of Change of Address by Elena Rodriguez Armenta
                 (Armenta, Elena) (Entered: 01/12/2023)
01/12/2023   506 NOTICE of Change of Address by Marcos Mocine-Mcqueen
                 (Mocine-Mcqueen, Marcos) (Entered: 01/12/2023)
01/12/2023   507 NOTICE of Change of Address by Noah B. Baron (Baron, Noah)
                 (Entered: 01/12/2023)
01/12/2023   508 MOTION to Appear Pro Hac Vice by Zachary Dolling Bernstein,
                 Alyssa G. ( Filing fee $ 100 receipt number ATXWDC-16955403)
                 by on behalf of League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas, Workers Defense Action Fund. (Dolling,
                 Zachary) (Entered: 01/12/2023)
01/12/2023   509 MOTION to Appear Pro Hac Vice by Zachary Dolling Washington,
                 Gergory ( Filing fee $ 100 receipt number ATXWDC-16955454)
                 by on behalf of League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas, Workers Defense Action Fund. (Dolling,
                 Zachary) (Entered: 01/12/2023)
01/13/2023        Text Order GRANTING 508 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/13/2023)
01/13/2023        Text Order GRANTING 509 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the


                                                                               23-50885.174
        Case: 23-50885   Document: 144    Page: 178    Date Filed: 06/19/2024

                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/13/2023)
01/13/2023        (Court only) ***Attorney Alyssa G. Bernstein and Gregory D.
                  Washington for OCA-Greater Houston added. (bc) (Entered:
                  01/13/2023)
01/16/2023   517 Letter of transmittal from USCA received for 457 , 458 , 459 ,
                 Notice of Appeal - Interlocutory, filed by Warren K. Paxton,
                 Gregory W. Abbott, Jose A. Esparza, Jane Nelson, STATE OF
                 TEXAS.***Attached is a revised case caption, which should be
                 used on all future filings in this case.***(dtg) (Entered:
                 02/06/2023)
01/20/2023   510 NOTICE of Change of Address by Christopher Dooley Dodge
                 (Dodge, Christopher) (Entered: 01/20/2023)
01/20/2023   511 NOTICE of Change of Address by Uzoma N. Nkwonta (Nkwonta,
                 Uzoma) (Entered: 01/20/2023)
01/24/2023   512 STIPULATION Regarding Disclosure of General Election
                 Witnesses by United States Of America. (Freeman, Daniel)
                 (Entered: 01/24/2023)
01/25/2023   513 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan
                 Robyn Sanders ( Filing fee $ 100 receipt number ATXWDC-
                 17006499) by on behalf of Friendship-West Baptist Church,
                 James Lewin, Texas Impact, The Anti-Defamation League Austin,
                 Southwest, and Texoma. (Attachments: # 1 Proposed Order)
                 (Ryan, Elizabeth) (Entered: 01/25/2023)
01/26/2023   514 Joint MOTION for Extension of Time to Complete Discovery
                 RELATED TO THE 2022 PRIMARY ELECTION BY OR UPON
                 DEFENDANT INTERVENORS HARRIS COUNTY REPUBLICAN
                 PARTY, ET AL. by Fiel Houston, Inc., Friendship-West Baptist
                 Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, Texas Impact, The Anti-Defamation League
                 Austin, Southwest, and Texoma, William C. Velasquez Institute.
                 (Attachments: # 1 Proposed Order Proposed Order)(Longoria,
                 Julia) (Entered: 01/26/2023)
01/28/2023        Text Order GRANTING 513 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within


                                                                                23-50885.175
        Case: 23-50885    Document: 144   Page: 179   Date Filed: 06/19/2024

                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  01/28/2023)
01/28/2023        Text Order GRANTING 514 Motion for Extension of Time to
                  Complete Discovery entered by Judge Xavier Rodriguez. The
                  deadline to conclude discoveryrelated to the 2022 Primary
                  Election by or upon Defendant Intervenors Harris County
                  Republican Party, et al. is hereby extended to March 3, 2023.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 01/28/2023)
02/03/2023   515 DESIGNATION OF EXPERT WITNESSES by John Creuzot, Michael
                 Scarpello. (Stool, Ben) (Entered: 02/03/2023)
02/03/2023   516 Unopposed MOTION to Extend Scheduling Order Deadlines as to
                 Expert Discovery for the General Election by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Voto Latino.
                 (Attachments: # 1 Proposed Order)(Dodge, Christopher)
                 (Entered: 02/03/2023)
02/08/2023   518 ORDER GRANTING 516 Motion to Extend Scheduling Order
                 Deadlines Signed by Judge Xavier Rodriguez. (nm) (Entered:
                 02/08/2023)
02/08/2023   519 Unopposed MOTION to Withdraw as Attorney Sherine Thomas
                 by Jose Garza, Rebecca Guerrero. (Nelson, Anthony) (Entered:
                 02/08/2023)
02/10/2023        Text Order GRANTING 519 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Sherine Thomas is hereby
                  WITHDRAWN as counsel for Defendants Dyana Limon-Mercado
                  and Jos Garza (collectively, Travis County Defendants), who will
                  continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 02/10/2023)
02/10/2023   520 Pretrial Disclosures Designation of Potential Testifying Experts by
                 Lisa Wise. (Armon, Orion) (Entered: 02/10/2023)
02/10/2023   521 MOTION to Withdraw as Attorney by Gregory W. Abbott, Jose A.
                 Esparza, Jane Nelson, Warren K. Paxton. (Attachments: # 1
                 Proposed Order)(Thompson, William) (Entered: 02/10/2023)
02/10/2023        (Court only) *** Attorney Sherine Elizabeth Thomas terminated.
                  (bc) (Entered: 02/10/2023)
02/10/2023   522 Supplement to re 516 Unopposed MOTION to Extend Scheduling
                 Order Deadlines as to Expert Discovery for the General Election
                 Plaintiff Houston Area Urban League, et al.'s Supplemental
                 Expert Designations, MOTION to Appoint Expert by Houston Area



                                                                               23-50885.176
        Case: 23-50885   Document: 144    Page: 180   Date Filed: 06/19/2024

                  Urban League. (Stewart, Sarah) Modified on 2/13/2023 to edit
                  text (nm). (Entered: 02/10/2023)
02/10/2023   523 DESIGNATION OF EXPERT WITNESSES by United States Of
                 America. (Stewart, Michael) (Entered: 02/10/2023)
02/10/2023   524 NOTICE of Designation of General Election Expert by LULAC
                 Texas, Texas AFT, Texas Alliance for Retired Americans, Voto
                 Latino (Dodge, Christopher) (Entered: 02/10/2023)
02/12/2023        Text Order GRANTING 521 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. William T. Thompson is
                  hereby withdrawn as counsel of record for Defendants Gregory
                  W. Abbott, in his official capacity as Governor of Texas, Jane
                  Nelson, in her official capacity as Secretary of State Texas,
                  Warren K. Paxton, in his official capacity as Attorney General of
                  Texas, Jose A. Esparza, in his official capacity as Deputy
                  Secretary of State, and the State of Texas (collectively, the
                  "State Defendants"). The State Defendants will continue to be
                  represented by remaining counsel of record. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 02/12/2023)
02/13/2023        (Court only) ***Motions terminated:***NOT A MOTION-
                  SUPPLEMENT TO 516 *** 522 MOTION to supplement re 516
                  Unopposed MOTION to Extend Scheduling Order Deadlines as to
                  Expert Discovery for the General Election Plaintiff Houston Area
                  Urban League, et al.'s Supplemental Expert Designations
                  MOTION to Appoint Expert filed by Houston Area Urban League.
                  (nm) (Entered: 02/13/2023)
02/13/2023        (Court only) *** Attorney William Thomas Thompson terminated.
                  (nm) (Entered: 02/13/2023)
02/13/2023   525 Letter of transmittal from USCA received for 457 458 459 Notice
                 of Appeal - Interlocutory, filed by Warren K. Paxton, Gregory W.
                 Abbott, Jose A. Esparza, Jane Nelson, STATE OF TEXAS.***The
                 court has granted appellees motion to file brief out of time in
                 this case.*** (dtg) (Entered: 02/13/2023)
02/14/2023   526 Unopposed MOTION to Withdraw as Attorney R. Gary Spencer
                 by Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas. (Attachments: #
                 1 Proposed Order)(Spencer, R.) (Entered: 02/14/2023)
02/15/2023   527 NOTICE of Attorney Appearance by Christopher D. Hilton on
                 behalf of Gregory W. Abbott, Jane Nelson, Warren K. Paxton,
                 STATE OF TEXAS. Attorney Christopher D. Hilton added to party
                 Gregory W. Abbott(pty:dft), Attorney Christopher D. Hilton added
                 to party Jane Nelson(pty:condft), Attorney Christopher D. Hilton
                 added to party Warren K. Paxton(pty:dft), Attorney Christopher



                                                                               23-50885.177
        Case: 23-50885   Document: 144    Page: 181    Date Filed: 06/19/2024

                  D. Hilton added to party STATE OF TEXAS(pty:condft) (Hilton,
                  Christopher) (Entered: 02/15/2023)
02/15/2023   528 NOTICE of Attorney Appearance by Edgar Saldivar on behalf of
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas, Workers Defense Action Fund. Attorney Edgar
                 Saldivar added to party League of Women Voters of
                 Texas(pty:conpla), Attorney Edgar Saldivar added to party OCA-
                 Greater Houston(pty:conpla), Attorney Edgar Saldivar added to
                 party REVUP-Texas(pty:conpla), Attorney Edgar Saldivar added
                 to party Workers Defense Action Fund(pty:conpla) (Saldivar,
                 Edgar) (Entered: 02/15/2023)
02/15/2023   529 Letter of transmittal from USCA received for 457 158 459 Notice
                 of Appeal - Interlocutory, filed by Warren K. Paxton, Gregory W.
                 Abbott, Jose A. Esparza, Jane Nelson, STATE OF TEXAS.***The
                 court has granted-in-part an extension of time to and including
                 March 20, 2023 for filing appellants reply brief in this case.***
                 (dtg) (Entered: 02/16/2023)
02/16/2023        Text Order GRANTING 526 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. R. Gary Spencer is hereby
                  withdrawn as counsel of record for Plaintiffs Houston Area
                  Urban League, Delta Sigma Theta Sorority, Inc., The Arc of
                  Texas, and Jeffrey Lamar Clemmons (collectively, the HAUL
                  Plaintiffs). The HAUL Plaintiffs will continue to be represented by
                  remaining counsel of record. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 02/16/2023)
02/16/2023        Text Order MOOTING 491 Motion to Compel entered by Judge
                  Xavier Rodriguez. Motion to Compel entered by Judge Xavier
                  Rodriguez. Plaintiffs are directed to serve Defendant Ogg with
                  additional interrogatories as specified in open court. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 02/16/2023)
02/16/2023        (Court only) *** Attorney R. Gary Spencer terminated. (bc)
                  (Entered: 02/17/2023)
02/16/2023   543 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 2/16/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter
                 Gigi.)(nm) Modified on 2/27/2023 to correct date (nm). (Entered:
                 02/27/2023)
02/17/2023   530 Transcript filed of Proceedings held on 2-16-23, Proceedings
                 Transcribed: Motion to Compel. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP



                                                                                23-50885.178
        Case: 23-50885   Document: 144     Page: 182    Date Filed: 06/19/2024

                  5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                  reporter or viewed at the clerk's office public terminal. If
                  redaction is necessary, a Notice of Redaction Request must be
                  filed within 21 days. If no such Notice is filed, the transcript will
                  be made available via PACER without redaction after 90
                  calendar days. The clerk will mail a copy of this notice to parties
                  not electronically noticed Redaction Request due 3/10/2023,
                  Redacted Transcript Deadline set for 3/20/2023, Release of
                  Transcript Restriction set for 5/18/2023, Appeal Record due by
                  3/6/2023, (gs) (Entered: 02/17/2023)
02/17/2023   531 Unopposed MOTION to Withdraw as Attorney Meaghan Mixon by
                 LULAC Texas, Texas AFT, Texas Alliance for Retired Americans,
                 Voto Latino. (Mixon, Meaghan) (Entered: 02/17/2023)
02/20/2023   532 Unopposed MOTION to Extend Scheduling Order Deadlines as to
                 Dr. Kenneth Mayer's Expert Report Deadline for the General
                 Election Discovery Period by LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Voto Latino. (Attachments: # 1
                 Proposed Order)(Dodge, Christopher) (Entered: 02/20/2023)
02/21/2023        Text Order GRANTING 531 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Meaghan E. Mixon is hereby
                  WITHDRAWN as counsel for Plaintiffs LULAC Texas, Voto Latino,
                  Texas Alliance for Retired Americans, and Texas AFT ("LULAC
                  Plaintiffs") and shall be removed from all service lists pertaining
                  to this action. The LULAC Plaintiffs will continue to be
                  represented by remaining counsel of record. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 02/21/2023)
02/21/2023        Text Order GRANTING 532 Motion to Extend Scheduling Order
                  Deadlines entered by Judge Xavier Rodriguez. The general
                  election discovery period deadline for the LULAC Plaintiffs to file
                  their designation of Dr. Mayer as a testifying expert, and to
                  serve on all parties the materials required by Fed. R. Civ. P. 26(a)
                  (2)(B) that are specific to Dr. Mayer's report, is hereby extended
                  to March 6, 2023. The deadline for any rebuttal reports specific
                  to Dr. Mayer is similarly extended to March 27, 2023. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 02/21/2023)
02/21/2023   533 MOTION to Appear Pro Hac Vice by Ashley Alcantara Harris for
                 Dayton Campbell-Harris ( Filing fee $ 100 receipt number
                 ATXWDC-17106139) by on behalf of League of Women Voters of
                 Texas, OCA-Greater Houston, REVUP-Texas, Workers Defense
                 Action Fund. (Harris, Ashley) (Entered: 02/21/2023)
02/21/2023        Text Order GRANTING 533 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the


                                                                                 23-50885.179
        Case: 23-50885   Document: 144    Page: 183    Date Filed: 06/19/2024

                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  02/21/2023)
02/22/2023   534 MOTION to Appear Pro Hac Vice by John M. Gore for Louis J.
                 Capozzi III ( Filing fee $ 100 receipt number ATXWDC-17111650)
                 by on behalf of Dallas County Republican Party, Harris County
                 Republican Party, National Republican Congressional Committee,
                 National Republican Senatorial Committee, Republican National
                 Committee. (Attachments: # 1 Proposed Order)(Gore, John)
                 (Entered: 02/22/2023)
02/23/2023   535 MOTION to Appear Pro Hac Vice by Jennifer A. Holmes Breanna
                 Williams ( Filing fee $ 100 receipt number ATXWDC-17119386)
                 by on behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta
                 Sorority Inc., Houston Area Urban League, The Arc of Texas.
                 (Holmes, Jennifer) (Entered: 02/23/2023)
02/23/2023        Text Order GRANTING 534 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted to practice pro hac vice in this case
                  must register for electronic filing with our court within 10 days
                  of this order. Registration is managed by the PACER Service
                  Center. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  02/23/2023)
02/23/2023        Text Order GRANTING 535 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center.(This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  02/23/2023)
02/23/2023        (Court only) ***Attorney Breanna Williams for Houston Area
                  Urban League,Louis J. Capozzi for Republican National
                  Committee added. (bc) (Entered: 02/24/2023)
02/24/2023   536 SUPPLEMENT to 132 Notice (Other) of Amended Initial
                 Disclosures by United States Of America. (Paikowsky, Dana)
                 (Entered: 02/24/2023)
02/24/2023   537 NOTICE of Filing Supplemental Disclosures by Dallas County
                 Republican Party, Harris County Republican Party, National



                                                                                23-50885.180
        Case: 23-50885   Document: 144   Page: 184   Date Filed: 06/19/2024

                  Republican Congressional Committee, National Republican
                  Senatorial Committee, Republican National Committee (Gore,
                  John) (Entered: 02/24/2023)
02/24/2023   538 SUPPLEMENT to 400 Notice of Filing, FIFTH SUPPLEMENT TO
                 LUPE PLAINTIFFS' INITIAL DISCLOSURES by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma, William
                 C. Velasquez Institute. (Longoria, Julia) (Entered: 02/24/2023)
02/24/2023   539 SUPPLEMENT to 135 Notice (Other) by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS. (Hunker, Kathleen)
                 (Entered: 02/24/2023)
02/24/2023   540 SUPPLEMENT to 399 Notice of Filing, OCA-Greater Houston
                 Plaintiffs' and HAUL Plaintiffs' Sixth Supplemental Initial
                 Disclosures by League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas, Workers Defense Action Fund. (Dolling,
                 Zachary) (Entered: 02/24/2023)
02/24/2023   541 SUPPLEMENT to 387 Notice (Other) by Clifford Tatum. (Birring,
                 Sameer) (Entered: 02/24/2023)
02/27/2023   542 Joint MOTION for Clarification re 437 Scheduling Order, by
                 United States Of America. (Freeman, Daniel) (Entered:
                 02/27/2023)
02/27/2023   544 MOTION to supplement re 542 Joint MOTION for Clarification re
                 437 Scheduling Order, Dallas County by John Creuzot, Michael
                 Scarpello. (Stool, Ben) (Entered: 02/27/2023)
02/28/2023        Text Order GRANTING 544 Motion to Supplement Joint Motion for
                  Clarification 542 entered by Judge Xavier Rodriguez. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 02/28/2023)
03/03/2023   545 ORDER re 542 Joint MOTION for Clarification re 437 Scheduling
                 Order, filed by United States Of America, Set Motion Hearing for
                 542 Joint MOTION for Clarification re 437 Scheduling Order, (
                 Motion Hearing set for 3/7/2023 4:00 PM before Judge Xavier
                 Rodriguez,). Signed by Judge Xavier Rodriguez. (nm) (Entered:
                 03/03/2023)
03/03/2023   546 NOTICE of Designation of Rebuttal Experts by Gregory W.
                 Abbott, Jane Nelson, Warren K. Paxton, STATE OF TEXAS
                 (Hunker, Kathleen) (Entered: 03/03/2023)
03/04/2023   547 Opposed MOTION to Compel PRODUCTION OF DOCUMENTS
                 AND TO COMPEL TESTIMONY OF DEFENDANT INTERVENOR
                 HARRIS COUNTY REPUBLICAN PARTY by Fiel Houston, Inc.,


                                                                              23-50885.181
        Case: 23-50885   Document: 144     Page: 185   Date Filed: 06/19/2024

                  Friendship-West Baptist Church, JOLT Action, James Lewin, La
                  Union Del Pueblo Entero, Mexican American Bar Association of
                  Texas, Southwest Voter Registration Education Project, Texas
                  Hispanics Organized for Political Education, Texas Impact, The
                  Anti-Defamation League Austin, Southwest, and Texoma, William
                  C. Velasquez Institute. (Attachments: # 1 Proposed Order, # 2
                  Exhibit Exhibit A, # 3 Exhibit Exhibit B, # 4 Exhibit Exhibit C, # 5
                  Exhibit Exhibit D, # 6 Exhibit Exhibit E, # 7 Exhibit Exhibit F, # 8
                  Exhibit Exhibit G, # 9 Exhibit Exhibit H, # 10 Exhibit Exhibit I, #
                  11 Exhibit Exhibit J, # 12 Exhibit Exhibit K, # 13 Exhibit Exhibit L)
                  (Longoria, Julia) (Entered: 03/04/2023)
03/04/2023   548 MOTION for Extension of Time to File MOTION TO COMPEL
                 PRODUCTION OF DOCUMENTS AND TO COMPEL TESTIMONY OF
                 DEFENDANT INTERVENOR HARRIS COUNTY REPUBLICAN PARTY
                 by Fiel Houston, Inc., Friendship-West Baptist Church, JOLT
                 Action, James Lewin, La Union Del Pueblo Entero, Mexican
                 American Bar Association of Texas, Southwest Voter Registration
                 Education Project, Texas Hispanics Organized for Political
                 Education, Texas Impact, The Anti-Defamation League Austin,
                 Southwest, and Texoma, William C. Velasquez Institute.
                 (Attachments: # 1 Proposed Order)(Longoria, Julia) (Entered:
                 03/04/2023)
03/06/2023   549 Unopposed MOTION to withdraw Workers Defense Action Fund
                 as a party by League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas, Workers Defense Action Fund.
                 (Attachments: # 1 Proposed Order)(Dolling, Zachary) (Entered:
                 03/06/2023)
03/06/2023        Text Order GRANTING 548 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 03/06/2023)
03/06/2023   550 ORDER re 547 Opposed MOTION to Compel PRODUCTION OF
                 DOCUMENTS AND TO COMPEL TESTIMONY OF DEFENDANT
                 INTERVENOR HARRIS COUNTY REPUBLICAN PARTY filed by Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute, Fiel Houston, Inc., JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Southwest Voter
                 Registration Education Project, Mexican American Bar
                 Association of Texas, Friendship-West Baptist Church, The Anti-
                 Defamation League Austin, Southwest, and Texoma, Set Motion
                 Hearing for 547 Opposed MOTION to Compel PRODUCTION OF
                 DOCUMENTS AND TO COMPEL TESTIMONY OF DEFENDANT
                 INTERVENOR HARRIS COUNTY REPUBLICAN PARTY ( Motion
                 Hearing set for 3/7/2023 4:00 PM before Judge Xavier
                 Rodriguez,). Signed by Judge Xavier Rodriguez. (nm) (Entered:
                 03/06/2023)


                                                                                 23-50885.182
        Case: 23-50885    Document: 144    Page: 186    Date Filed: 06/19/2024


03/06/2023   551 ORDER GRANTING 549 Motion to Withdraw Signed by Judge
                 Xavier Rodriguez. (nm) (Entered: 03/06/2023)
03/06/2023         (Court only) *** Party Workers Defense Action Fund terminated.
                   (nm) (Entered: 03/06/2023)
03/06/2023   552 STIPULATION of Dismissal without Prejudice of Plaintiff Anti-
                 Defamation League Austin, Southwest, and Texoma Regions by
                 Friendship-West Baptist Church, James Lewin, Texas Impact, The
                 Anti-Defamation League Austin, Southwest, and Texoma. (Berry,
                 Patrick) (Entered: 03/06/2023)
03/06/2023         (Court only) *** Party The Anti-Defamation League Austin,
                   Southwest, and Texoma terminated. (nm) (Entered: 03/06/2023)
03/06/2023   553 DESIGNATION OF EXPERT WITNESSES by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Voto Latino. (Dodge,
                 Christopher) (Entered: 03/06/2023)
03/07/2023   554 SUPPLEMENT to 547 Opposed MOTION to Compel PRODUCTION
                 OF DOCUMENTS AND TO COMPEL TESTIMONY OF DEFENDANT
                 INTERVENOR HARRIS COUNTY REPUBLICAN PARTY - EXHIBIT M
                 by Fiel Houston, Inc., Friendship-West Baptist Church, La Union
                 Del Pueblo Entero, Mexican American Bar Association of Texas,
                 Southwest Voter Registration Education Project, Texas Hispanics
                 Organized for Political Education, Texas Impact, William C.
                 Velasquez Institute. (Perales, Nina) (Entered: 03/07/2023)
03/07/2023   555 RESPONSE to Motion, filed by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS, re 547 Opposed MOTION to
                 Compel PRODUCTION OF DOCUMENTS AND TO COMPEL
                 TESTIMONY OF DEFENDANT INTERVENOR HARRIS COUNTY
                 REPUBLICAN PARTY filed by Plaintiff Texas Hispanics Organized
                 for Political Education, Plaintiff Texas Impact, Plaintiff William C.
                 Velasquez Institute, Plaintiff Fiel Houston, Inc., Plaintiff JOLT
                 Action, Plaintiff James Lewin, Plaintiff La Union Del Pueblo
                 Entero, Plaintiff Southwest Voter Registration Education Project,
                 Plaintiff Mexican American Bar Association of Texas, Plaintiff
                 Friendship-West Baptist Church, Plaintiff The Anti-Defamation
                 League Austin, Southwest, and Texoma (Hunker, Kathleen)
                 (Entered: 03/07/2023)
03/07/2023   563 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 3/7/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(wg) (Entered: 03/13/2023)
03/08/2023   556 TRANSCRIPT REQUEST by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS for proceedings held on
                 03/07/2023. Proceedings Transcribed: Hearing on Motions for




                                                                                 23-50885.183
        Case: 23-50885    Document: 144    Page: 187    Date Filed: 06/19/2024

                   Clarification and to Compel Production. Court Reporter: Gigi
                   Simcox. (Hunker, Kathleen) (Entered: 03/08/2023)
03/08/2023   557 TRANSCRIPT REQUEST by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS for proceedings held on
                 02/27/2023. Proceedings Transcribed: Status Conference. Court
                 Reporter: Gigi Simcox. (Hunker, Kathleen) (Entered: 03/08/2023)
03/08/2023   558 TRANSCRIPT REQUEST by La Union Del Pueblo Entero for
                 proceedings held on 03/07/2023. Proceedings Transcribed:
                 Hearing on Motions for Clarification and to Compel. Court
                 Reporter: Gigi Simcox. (Ryan, Elizabeth) (Entered: 03/08/2023)
03/08/2023   559 NOTICE of Attorney Appearance by Kenneth Parreno on behalf
                 of Fiel Houston, Inc., JOLT Action, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, William C. Velasquez Institute. Attorney
                 Kenneth Parreno added to party Fiel Houston, Inc.(pty:pla),
                 Attorney Kenneth Parreno added to party JOLT Action(pty:pla),
                 Attorney Kenneth Parreno added to party La Union Del Pueblo
                 Entero(pty:pla), Attorney Kenneth Parreno added to party
                 Mexican American Bar Association of Texas(pty:pla), Attorney
                 Kenneth Parreno added to party Southwest Voter Registration
                 Education Project(pty:pla), Attorney Kenneth Parreno added to
                 party Texas Hispanics Organized for Political Education(pty:pla),
                 Attorney Kenneth Parreno added to party William C. Velasquez
                 Institute(pty:pla) (Parreno, Kenneth) (Entered: 03/08/2023)
03/09/2023   560 Response in Opposition to Motion, filed by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee, re 547
                 Opposed MOTION to Compel PRODUCTION OF DOCUMENTS
                 AND TO COMPEL TESTIMONY OF DEFENDANT INTERVENOR
                 HARRIS COUNTY REPUBLICAN PARTY filed by Plaintiff Texas
                 Hispanics Organized for Political Education, Plaintiff Texas
                 Impact, Plaintiff William C. Velasquez Institute, Plaintiff Fiel
                 Houston, Inc., Plaintiff JOLT Action, Plaintiff James Lewin, Plaintiff
                 La Union Del Pueblo Entero, Plaintiff Southwest Voter
                 Registration Education Project, Plaintiff Mexican American Bar
                 Association of Texas, Plaintiff Friendship-West Baptist Church,
                 Plaintiff The Anti-Defamation League Austin, Southwest, and
                 Texoma (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                 # 4 Exhibit D)(Gore, John) (Entered: 03/09/2023)
03/09/2023   561 ORDER GRANTING 542 Motion ; GRANTING 547 Motion to
                 Compel. The parties are ORDERED to submit a proposed
                 scheduling order to govern the remainder of this case no later
                 than March 21, 2023. Plaintiffs are DIRECTED to issue a serve a
                 third-party subpoena under Rule 45 on Mr. Vera in connection


                                                                                 23-50885.184
        Case: 23-50885    Document: 144    Page: 188   Date Filed: 06/19/2024

                  with his re-deposition directing him to produce the documents
                  identified in Requests for Production Numbers 1.and 3. Signed
                  by Judge Xavier Rodriguez. (nm) (Entered: 03/10/2023)
03/10/2023   562 Transcript filed of Proceedings held on 3-7-23, Proceedings
                 Transcribed: Motion Hearing. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 3/31/2023,
                 Redacted Transcript Deadline set for 4/10/2023, Release of
                 Transcript Restriction set for 6/8/2023, Appeal Record due by
                 3/27/2023, (gs) (Entered: 03/10/2023)
03/14/2023   564 TRANSCRIPT REQUEST by Lisa Wise for proceedings held on 3-
                 07-2023. Proceedings Transcribed: Hearing on Motions for
                 Clarification and to Compel. Court Reporter: Gigi Simcox.
                 (Armon, Orion) (Entered: 03/14/2023)
03/15/2023   565 STIPULATION JOINT STIPULATION REGARDING THE DEPOSITION
                 OF THE EL PASO COUNTY ELECTIONS ADMINISTRATOR by Lisa
                 Wise. (Armon, Orion) (Entered: 03/15/2023)
03/17/2023   566 TRANSCRIPT REQUEST by Lisa Wise for proceedings held on 11-
                 14-22. Proceedings Transcribed: Hearing on Motion to Compel.
                 Court Reporter: Gigi Simcox. (Armon, Orion) (Entered:
                 03/17/2023)
03/20/2023   567 Appeal of Order entered by District Judge 561 by Paul
                 Bettencourt, Briscoe Cain. ( Filing fee $ 505 receipt number
                 ATXWDC-17218715). Attorney Kathleen Hunker added to party
                 Paul Bettencourt(pty:oth), Attorney Kathleen Hunker added to
                 party Briscoe Cain(pty:oth) (Hunker, Kathleen) (Entered:
                 03/20/2023)
03/20/2023        NOTICE OF INTERLOCUTORY APPEAL as to 561 Order on Motion
                  for Miscellaneous Relief,, Order on Motion to Compel,. Per 5th
                  Circuit rules, the appellant has 14 days, from the filing of the
                  Notice of Appeal, to order the transcript. To order a transcript,
                  the appellant should fill out (Transcript Order) and follow the
                  instructions set out on the form. This form is available in the
                  Clerk's Office or by clicking the hyperlink above. (nm) (Entered:
                  03/20/2023)




                                                                                23-50885.185
        Case: 23-50885    Document: 144   Page: 189   Date Filed: 06/19/2024


03/20/2023   568 MOTION for Extension of Time to File Parties' Proposed
                 Scheduling Order by Fiel Houston, Inc., Friendship-West Baptist
                 Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, Texas Impact, William C. Velasquez Institute.
                 (Attachments: # 1 Proposed Order)(Perales, Nina) (Entered:
                 03/20/2023)
03/21/2023   569 MOTION to Appear Pro Hac Vice by Sarah C. Stewart Megan
                 Rusciano ( Filing fee $ 100 receipt number BTXWDC-17225386)
                 by on behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta
                 Sorority Inc., Houston Area Urban League, The Arc of Texas.
                 (Attachments: # 1 Certificate of Good Standing, # 2 Proposed
                 Order)(Stewart, Sarah) (Entered: 03/21/2023)
03/21/2023        Text Order GRANTING 568 Motion for Extension of Time to File
                  Proposed Scheduling Order entered by Judge Xavier Rodriguez.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 03/21/2023)
03/21/2023        Text Order GRANTING 569 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  03/21/2023)
03/23/2023        (Court only) USCA Case Number 23-50201 (Doc. 567) for 567
                  Notice of Appeal - Interlocutory. (dtg) (Entered: 03/23/2023)
03/23/2023   570 COPY of Letter of transmittal from USCA to Ms. Kathleen
                 Theresa Hunker received for 567 Notice of Appeal -
                 Interlocutory.***We have docketed the appeal and ask you to
                 use the case number above in future inquiries.*** (dtg)
                 (Entered: 03/23/2023)
03/24/2023   571 NOTICE Proposed scheduling order by Jacque Callanen
                 (Attachments: # 1 Proposed Order)(Cubriel, Lisa) (Entered:
                 03/24/2023)
03/24/2023   572 Proposed Scheduling Order by all Plaintiffs, State Defendants
                 and Defendant Intervenors by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, William C. Velasquez
                 Institute. (Perales, Nina) (Entered: 03/24/2023)


                                                                               23-50885.186
        Case: 23-50885   Document: 144    Page: 190   Date Filed: 06/19/2024


03/24/2023   573 NOTICE BY DEFENDANT LISA WISE REGARDING PARTIES'
                 PROPOSED SCHEDULING ORDERS by Lisa Wise (Armon, Orion)
                 (Entered: 03/24/2023)
03/27/2023   574 MOTION to Appear Pro Hac Vice-Marisa O'Gara by James A.
                 Rodman ( Filing fee $ 100 receipt number ATXWDC-17243288)
                 by on behalf of LULAC Texas. (Rodman, James) Modified on
                 3/27/2023 To edit text (bc). (Entered: 03/27/2023)
03/27/2023   575 MOTION to Appear Pro Hac Vice-Omeed Alerasool by James A.
                 Rodman ( Filing fee $ 100 receipt number ATXWDC-17243572)
                 by on behalf of LULAC Texas. (Rodman, James) Modified on
                 3/27/2023 To edit text (bc). (Entered: 03/27/2023)
03/27/2023        Text Order GRANTING 574 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  03/27/2023)
03/27/2023        Text Order GRANTING 575 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  03/27/2023)
03/27/2023        (Court only) ***Attorney Marisa O'Gara and Omeed Alersool for
                  LULAC Texas, Texas AFT, Texas Alliance for Retired Americans,
                  and Voto Latino added. (bc) (Entered: 03/27/2023)
03/28/2023   576 ADVISORY TO THE COURT by Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute Regarding Proposed Scheduling
                 Orders. (Perales, Nina) (Entered: 03/28/2023)
03/29/2023   577 Unopposed MOTION to Withdraw as Attorney L. Brady Bender
                 by United States Of America. (Attachments: # 1 Proposed
                 Order)(Bender, Laura) (Entered: 03/29/2023)
03/30/2023   578 MOTION to Appear Pro Hac Vice by Zachary Dolling for
                 Veronikah Warms ( Filing fee $ 100 receipt number ATXWDC-



                                                                               23-50885.187
        Case: 23-50885   Document: 144    Page: 191   Date Filed: 06/19/2024

                  17260709) by on behalf of League of Women Voters of Texas,
                  OCA-Greater Houston, REVUP-Texas. (Dolling, Zachary)
                  (Entered: 03/30/2023)
03/30/2023   579 SECOND AMENDED SCHEDULING ORDER:( Bench Trial set for
                 9/11/2023 09:00 AM before Judge Xavier Rodriguez,, Pretrial
                 Conference set for 8/31/2023 10:30 AM before Judge Xavier
                 Rodriguez,, Discovery due by 4/28/2023,, Motions due by
                 5/12/2023,),. Signed by Judge Xavier Rodriguez. (mgr) (Entered:
                 03/31/2023)
03/31/2023        Text Order GRANTING 577 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Laura Brady Bender is
                  hereby WITHDRAWN as counsel for the United States of
                  America, which will continue to be represented by remaining
                  counsel of record. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 03/31/2023)
03/31/2023        Text Order GRANTING 578 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  03/31/2023)
03/31/2023        (Court only) *** Attorney Laura Brady Bender terminated. (mgr)
                  (Entered: 04/02/2023)
04/07/2023   581 ORDER of USCA (certified copy). re 567 Notice of Appeal -
                 Interlocutory.*** Per Curiam: Appellants motion for a temporary
                 administrative stay is GRANTED. Appellants shall file a reply to
                 Appellees opposition to the pending stay motion no later than
                 Wednesday, April 12, 2023. In particular, the reply should
                 address Appellees argument that the legislators cannot seek a
                 stay pending appeal because they did not intervene in the
                 district court and also Appellees argument that this court lacks
                 jurisdiction over the appeal.*** (Attachments: # 1 TRANSMITTAL
                 LETTER FROM USCA5)(dtg) (Entered: 04/11/2023)
04/11/2023   580 NOTICE of Attorney Appearance by Ryan G. Kercher on behalf of
                 Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS. Attorney Ryan G. Kercher added to party Gregory W.
                 Abbott(pty:dft), Attorney Ryan G. Kercher added to party Jane
                 Nelson(pty:condft), Attorney Ryan G. Kercher added to party
                 Warren K. Paxton(pty:dft), Attorney Ryan G. Kercher added to
                 party STATE OF TEXAS(pty:condft) (Kercher, Ryan) (Entered:
                 04/11/2023)


                                                                               23-50885.188
        Case: 23-50885   Document: 144     Page: 192    Date Filed: 06/19/2024


04/12/2023   582 Unopposed MOTION to Withdraw as Attorney by Clifford Tatum.
                 (Attachments: # 1 Proposed Order Proposed Order)(Birring,
                 Sameer) (Entered: 04/12/2023)
04/12/2023        Text Order GRANTING 582 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Sameer S. Birring is hereby
                  WITHDRAWN as counsel of record for Defendant Clifford Tatum,
                  in his official capacity as Harris County Elections Administrator,
                  who will continue to be represented by remaining counsel of
                  record. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  04/12/2023)
04/13/2023        (Court only) *** Attorney Sameer Singh Birring terminated. (nm)
                  (Entered: 04/13/2023)
04/13/2023   583 TRANSCRIPT REQUEST by Paul Bettencourt, Briscoe Cain for
                 dates of 03/07/2023. Proceedings Transcribed: Motion hearing.
                 Court Reporter: Gigi Simcox.. (Hunker, Kathleen) (Entered:
                 04/13/2023)
04/14/2023   584 Unopposed MOTION to Withdraw as Attorney by Gregory W.
                 Abbott, Jose A. Esparza, Jane Nelson, Warren K. Paxton, STATE
                 OF TEXAS. (Attachments: # 1 Proposed Order)(Barnes, J.)
                 (Entered: 04/14/2023)
04/14/2023        Text Order GRANTING 584 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. J. Aaron Barnes is hereby
                  WITHDRAWN as counsel of record for Defendants Gregory W.
                  Abbott, in his official capacity as Governor of Texas, Jane Nelson,
                  in her official capacity as Texas Secretary of State, Warren K.
                  Paxton, in his official capacity as Attorney General of Texas, Jose
                  A. Esparza, in his official capacity as Deputy Secretary of State,
                  and the State of Texas (collectively, State Defendants). The
                  State Defendants will continue to be represented by remaining
                  counsel of record. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 04/14/2023)
04/14/2023        (Court only) *** Attorney J. Aaron Barnes terminated. (nm)
                  (Entered: 04/14/2023)
04/15/2023   585 Joint MOTION to Amend/Correct Scheduling Order to Set
                 Dispositive and Daubert Motion Response and Reply Deadlines -
                 Unopposed by United States Of America. (Attachments: # 1
                 Proposed Order)(Stewart, Michael) (Entered: 04/15/2023)
04/17/2023        Text Order GRANTING 585 Motion to Amend Default Briefing
                  Schedule entered by Judge Xavier Rodriguez. All responses in
                  opposition to a dispositive pretrial motion or Daubert motion
                  shall be filed no later than June 9, 2023. All replies in support of



                                                                                 23-50885.189
        Case: 23-50885   Document: 144    Page: 193   Date Filed: 06/19/2024

                  a dispositive pretrial motion or Daubert motion shall be filed no
                  later than June 30, 2023. (This is a text-only entry generated by
                  the court. There is no document associated with this entry.) (cb)
                  (Entered: 04/17/2023)
04/24/2023   586 Unopposed MOTION to Withdraw as Attorney and Substitute
                 Counsel by League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas. (Attachments: # 1 Proposed Order)
                 (Snead, Lisa) (Entered: 04/24/2023)
04/24/2023        Text Order GRANTING 586 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Lisa Snead is hereby
                  WITHDRAWN as counsel of record for the OCA-GH Plaintiffs,
                  which shall continue to be represented by remaining counsel of
                  record. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  04/24/2023)
04/24/2023        (Court only) *** Attorney Lisa A. Snead terminated. (nm)
                  (Entered: 04/25/2023)
04/25/2023   587 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Madeleine Carpenter ( Filing fee $ 100 receipt number ATXWDC-
                 17358087) by on behalf of Friendship-West Baptist Church.
                 (Ryan, Elizabeth) (Entered: 04/25/2023)
04/25/2023   588 NOTICE of Attorney Appearance by Christopher McGreal on
                 behalf of League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas. Attorney Christopher McGreal added to
                 party League of Women Voters of Texas(pty:conpla), Attorney
                 Christopher McGreal added to party OCA-Greater
                 Houston(pty:conpla), Attorney Christopher McGreal added to
                 party REVUP-Texas(pty:conpla) (McGreal, Christopher) (Entered:
                 04/25/2023)
04/25/2023        Text Order GRANTING 587 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  04/25/2023)
04/25/2023   589 MOTION to Lift Stay of the Court's May 25 Discovery Order (ECF
                 No. 429) by La Union Del Pueblo Entero, Texas AFT, Texas
                 Alliance for Retired Americans, Voto Latino. (Attachments: # 1
                 Proposed Order)(Dodge, Christopher) (Entered: 04/25/2023)
04/27/2023   590 NOTICE of Attorney Appearance by Cory Ren Liu on behalf of
                 Kim Ogg. Attorney Cory Ren Liu added to party Kim Ogg(pty:dft)


                                                                               23-50885.190
        Case: 23-50885   Document: 144    Page: 194   Date Filed: 06/19/2024

                  (Liu, Cory) (Entered: 04/27/2023)
04/27/2023   591 ORDER of USCA (certified copy). re 567 Notice of Appeal -
                 Interlocutory.***Per Curiam: IT IS ORDERED that Appellants
                 opposed motion for stay pending appeal is GRANTED. IT IS
                 FURTHER ORDERED that Appellants opposed alternative request
                 for a writ of mandamus is DENIED AS MOOT.*** (Attachments: #
                 1 TRANSMITTAL LETTER FROM USCA5)(dtg) (Entered:
                 04/27/2023)
04/27/2023        Text Order DENYING 589 Motion to Lift Stay entered by Judge
                  Xavier Rodriguez. Plaintiffs' motion to lift the stay pending
                  appeal 429 of this Court's May 25, 2022 order 425 compelling
                  the production of documents from various state legislators is
                  DENIED in light of the Fifth Circuit's order dated April 27, 2023,
                  granting a stay pending appeal of this Court's March 9, 2023
                  order 561 compelling the disclosure of a third party's
                  communications with state legislators. See USCA Case No. 23-
                  50201, ECF No. 50. Nonetheless, in light of the delays in
                  discovery in this case and the approaching deadlines for
                  completing discovery and filing dispositive motions, the parties
                  are ORDERED to meet and confer and, within ten (10) days of
                  this order, file an advisory with the Court indicating whether the
                  existing scheduling order should be amended in whole or in part
                  and recommending new deadlines to the extent necessary. It is
                  further ORDERED that this case is set for a status conference on
                  Tuesday, May 16, 2023 at 9:00 a.m. in Courtroom H, United
                  States Courthouse, 262 West Nueva, San Antonio, Texas 78207.
                  If the parties wish to proceed via Zoom, they must notify the
                  Courtroom Deputy, Sylvia Fernandez, at least 48 hours in
                  advance. All existing deadlines in the existing scheduling order
                  are hereby STAYED until the status conference. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 04/27/2023)
04/28/2023   592 NOTICE of Attorney Appearance by Amy Snow Hilton on behalf
                 of Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS. Attorney Amy Snow Hilton added to party Gregory W.
                 Abbott(pty:dft), Attorney Amy Snow Hilton added to party Jane
                 Nelson(pty:condft), Attorney Amy Snow Hilton added to party
                 Warren K. Paxton(pty:dft), Attorney Amy Snow Hilton added to
                 party STATE OF TEXAS(pty:condft) (Hilton, Amy) (Entered:
                 04/28/2023)
04/28/2023   593 NOTICE of Attorney Appearance by William D. Wassdorf on
                 behalf of Gregory W. Abbott, Jane Nelson, Warren K. Paxton,
                 STATE OF TEXAS. Attorney William D. Wassdorf added to party
                 Gregory W. Abbott(pty:dft), Attorney William D. Wassdorf added
                 to party Jane Nelson(pty:condft), Attorney William D. Wassdorf
                 added to party Warren K. Paxton(pty:dft), Attorney William D.


                                                                               23-50885.191
        Case: 23-50885   Document: 144    Page: 195   Date Filed: 06/19/2024

                  Wassdorf added to party STATE OF TEXAS(pty:condft) (Wassdorf,
                  William) (Entered: 04/28/2023)
05/08/2023   594 ADVISORY TO THE COURT by United States Of America (Joint
                 Advisory). (Freeman, Daniel) (Entered: 05/08/2023)
05/09/2023   595 MOTION to Substitute Attorney by Yvonne Rosales.
                 (Attachments: # 1 Proposed Order)(Kaplan, Ian) (Entered:
                 05/09/2023)
05/09/2023        Text Order GRANTING 595 Motion to Substitute Attorney entered
                  by Judge Xavier Rodriguez. Roger Rodriguez is hereby
                  WITHDRAWN as counsel of record for Defendant Bill Hicks
                  (successor to Yvonne Rosales), in his official capacity as District
                  Attorney for El Paso, Hudspeth, and Culberson Counties. Ian R.
                  Kaplan, Texas Bar No. 24043747, is hereby SUBSTITUTED as
                  counsel of record for Defendant Hicks. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 05/09/2023)
05/09/2023        (Court only) ***Attorney Ian Russell Kaplan for Yvonne Rosales
                  added., *** Attorney Rogelio C. Rodriguez terminated. (nm)
                  (Entered: 05/09/2023)
05/16/2023   596 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 5/16/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(nm) (Entered: 05/16/2023)
05/16/2023   597 TRANSCRIPT REQUEST Status Conference by Fiel Houston, Inc.,
                 JOLT Action, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute for proceedings held on
                 05/16/2023. Court Reporter: Gigi Simcox. (Perales, Nina)
                 (Entered: 05/16/2023)
05/16/2023   598 Unopposed MOTION to Withdraw as Attorney for David Louk by
                 Lisa Wise. (Attachments: # 1 Proposed Order)(Hartnett,
                 Kathleen) (Entered: 05/16/2023)
05/17/2023        Text Order GRANTING 598 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. David S. Louk is hereby
                  withdrawn as counsel of record for Defendant Lisa Wise, who
                  will continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 05/17/2023)
05/17/2023        (Court only) *** Attorney David Louk terminated. (nm) (Entered:
                  05/18/2023)
05/18/2023   599 TRANSCRIPT REQUEST by Lisa Wise for proceedings held on
                 5/16/2023. Proceedings Transcribed: Status Conference. Court


                                                                               23-50885.192
        Case: 23-50885    Document: 144    Page: 196   Date Filed: 06/19/2024

                  Reporter: Gigi Simcox. (Hartnett, Kathleen) (Entered:
                  05/18/2023)
05/19/2023   600 TRANSCRIPT REQUEST by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS for proceedings held on
                 05/16/2023. Proceedings Transcribed: Status Conference. Court
                 Reporter: Gigi Simcox. (Hunker, Kathleen) (Entered: 05/19/2023)
05/19/2023   601 TRANSCRIPT REQUEST by Kim Ogg for proceedings held on
                 05/16/2023. Proceedings Transcribed: Status Conference. Court
                 Reporter: Gigi Simcox. (Liu, Cory) (Entered: 05/19/2023)
05/22/2023   602 Transcript filed of Proceedings held on 5-16-23, Proceedings
                 Transcribed: Status Conference. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 6/12/2023,
                 Redacted Transcript Deadline set for 6/22/2023, Release of
                 Transcript Restriction set for 8/21/2023, Appeal Record due by
                 6/6/2023, (gs) (Entered: 05/22/2023)
05/22/2023   603 NOTICE of Attorney Appearance by James Michael Showalter on
                 behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority
                 Inc., Houston Area Urban League, The Arc of Texas. Attorney
                 James Michael Showalter added to party Jeffrey Lamar
                 Clemmons(pty:conpla), Attorney James Michael Showalter added
                 to party Delta Sigma Theta Sorority Inc.(pty:conpla), Attorney
                 James Michael Showalter added to party Houston Area Urban
                 League(pty:conpla), Attorney James Michael Showalter added to
                 party The Arc of Texas(pty:conpla) (Showalter, James) (Entered:
                 05/22/2023)
05/23/2023   604 Opposed MOTION for Leave to Exceed Page Limitation Partially
                 Opposed Motion to Extend Page Limit for Motion For Summary
                 Judgment to Include Full Statement of Uncontested Facts by
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas. (Dolling, Zachary) (Entered: 05/23/2023)
05/23/2023   605 SUPPLEMENT to 604 Opposed MOTION for Leave to Exceed
                 Page Limitation Partially Opposed Motion to Extend Page Limit
                 for Motion For Summary Judgment to Include Full Statement of
                 Uncontested Facts --Proposed Order Granting Motion by League
                 of Women Voters of Texas, OCA-Greater Houston, REVUP-Texas.
                 (Dolling, Zachary) (Entered: 05/23/2023)


                                                                                23-50885.193
        Case: 23-50885    Document: 144    Page: 197   Date Filed: 06/19/2024


05/24/2023   606 ADVISORY TO THE COURT by Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, William C. Velasquez
                 Institute Regarding Decision in LULAC Texas v. Hughes.
                 (Attachments: # 1 Exhibit A - Opinion in LULAC Texas v. Hughes)
                 (Perales, Nina) (Entered: 05/24/2023)
05/24/2023        Certification of the Electronic Record on Appeal in USCA #23-
                  50201 has been accepted by the 5th Circuit. re 567 Notice of
                  Appeal - Interlocutory. Attorneys are advised that they may now
                  download the EROA from the Fifth Circuit CM/ECF site by
                  following these instructions here (dtg) (Entered: 05/24/2023)
05/25/2023   607 SUPPLEMENT to 604 Opposed MOTION for Leave to Exceed
                 Page Limitation Partially Opposed Motion to Extend Page Limit
                 for Motion For Summary Judgment to Include Full Statement of
                 Uncontested Facts to amend requested extension of page limit
                 to 60 pages by League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas. (Attachments: # 1 Proposed Order)
                 (Dolling, Zachary) (Entered: 05/25/2023)
05/25/2023        Text Order GRANTING 604 Motion for Leave to File Excess Pages
                  as Supplemented 607 entered by Judge Xavier Rodriguez. The
                  page limit for OCA Plaintiff'smotion for summary judgment is
                  extended to 60 pages to permit them to include a full statement
                  of uncontested facts in the body of the motion. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 05/25/2023)
05/26/2023   608 MOTION for Summary Judgment by Dallas County Republican
                 Party, Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee. (Attachments: # 1
                 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)(Gore, John)
                 (Entered: 05/26/2023)
05/26/2023   609 MOTION for Summary Judgment by United States Of America.
                 (Attachments: # 1 Statement of Undisputed Facts, # 2 Exhibit
                 Index, # 3 Exhibit 1-5, # 4 Exhibit 6-10, # 5 Exhibit 11-15, # 6
                 Exhibit 16-20, # 7 Exhibit 21-29, # 8 Exhibit 30-39, # 9 Exhibit
                 40-69, # 10 Exhibit 70-79, # 11 Exhibit 80-106, # 12 Proposed
                 Order)(Freeman, Daniel) (Entered: 05/26/2023)
05/26/2023   610 NOTICE of Joinder by Gregory W. Abbott, Jane Nelson, Warren K.
                 Paxton, STATE OF TEXAS re 608 MOTION for Summary
                 Judgment (Hunker, Kathleen) (Entered: 05/26/2023)
05/26/2023   611 MOTION for Partial Summary Judgment by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas.


                                                                                23-50885.194
        Case: 23-50885    Document: 144   Page: 198   Date Filed: 06/19/2024

                  (Attachments: # 1 Appendix, # 2 Proposed Order)(Dolling,
                  Zachary) (Entered: 05/26/2023)
05/26/2023   612 Unopposed Motion for leave to File Sealed Document
                 (Attachments: # 1 Proposed Order) (Dolling, Zachary) (Entered:
                 05/26/2023)
05/26/2023   613 Unopposed MOTION to Dismiss Voluntarily Certain Claims by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, William C. Velasquez Institute. (Attachments: # 1
                 Proposed Order)(Morales-Doyle, Sean) (Entered: 05/26/2023)
05/26/2023   614 MOTION for Summary Judgment on All Claims by Kim Ogg.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                 Exhibit 4, # 5 Exhibit 5)(Liu, Cory) (Entered: 05/26/2023)
05/26/2023   615 ADVISORY TO THE COURT by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, William C. Velasquez
                 Institute . (Morales-Doyle, Sean) (Entered: 05/26/2023)
05/26/2023   616 MOTION for Summary Judgment by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS. (Attachments: # 1
                 Appendix A-KK, # 2 Proposed Order)(Hunker, Kathleen)
                 (Entered: 05/26/2023)
05/30/2023   617 MOTION for Leave to File Amicus Brief by Chris K. Gober. by
                 Lawyers Democracy Fund. (Attachments: # 1 Brief Amicus brief,
                 # 2 Supplement Certificate of interested persons and corporate
                 disclosure statement)(Gober, Christopher) (Entered: 05/30/2023)
05/30/2023   618 MOTION to Appear Pro Hac Vice by Christopher K. Gober for Eric
                 Wang ( Filing fee $ 100 receipt number ATXWDC-17495353) by
                 on behalf of Lawyers Democracy Fund. (Attachments: # 1
                 Proposed Order Proposed order granting admission pro hac
                 vice)(Gober, Christopher) (Entered: 05/30/2023)
05/30/2023   620 4 USBs submitted containing exhibits re 611 & 612 . Scanned for
                 viruses. 2 USBs forwarded to the court. 2 USBs placed in exhibits
                 room. (nm) (Entered: 06/02/2023)
05/31/2023   619 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan Leah
                 J. Tulin ( Filing fee $ 100 receipt number ATXWDC-17501918) by
                 on behalf of Friendship-West Baptist Church. (Attachments: # 1
                 Proposed Order)(Ryan, Elizabeth) (Entered: 05/31/2023)
05/31/2023        Text Order GRANTING 619 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our


                                                                               23-50885.195
        Case: 23-50885   Document: 144    Page: 199    Date Filed: 06/19/2024

                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  05/31/2023)
06/02/2023   621 NOTICE of Attorney Appearance by Johnathan Stone on behalf
                 of Gregory W. Abbott, Jane Nelson, Warren K. Paxton. Attorney
                 Johnathan Stone added to party Gregory W. Abbott(pty:dft),
                 Attorney Johnathan Stone added to party Jane
                 Nelson(pty:condft), Attorney Johnathan Stone added to party
                 Warren K. Paxton(pty:dft) (Stone, Johnathan) (Entered:
                 06/02/2023)
06/02/2023   622 Unopposed MOTION for Extension of Time to File Responsive
                 Pleadings to Motions for Summary Judgment by STATE OF
                 TEXAS. (Hunker, Kathleen) (Entered: 06/02/2023)
06/02/2023        Text Order GRANTING 612 Motion for Leave to File Sealed
                  Document entered by Judge Xavier Rodriguez. OCA Plaintiffs'
                  Unopposed Motion to Seal Exhibits 612 is hereby GRANTED in its
                  entirety, and OCA-GH Plaintiffs may file Exhibits 57, 58, 60, 61,
                  119, 149, and 152 under SEAL. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 06/02/2023)
06/02/2023        Text Order GRANTING 622 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. The parties' deadlines to
                  respond and reply to the pending motions for summary
                  judgment ( 608 , 609 , 611 , 614 , 616 ) are hereby extended to
                  June 23, 2023 and July 14, 2023, respectively. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 06/02/2023)
06/06/2023        Text Order GRANTING 617 Motion for Leave to File Amicus Brief
                  entered by Judge Xavier Rodriguez. The Clerk is DIRECTED to file
                  the proposed amicus brief attached as an exhibit to the motion
                  [617-1]. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  06/06/2023)
06/06/2023   623 BRIEF OF THE LAWYERS DEMOCRACY FUND AS AMICUS CURIAE
                 IN SUPPORT OF DEFENDANTS regarding filed by Lawyers
                 Democracy Fund. (wg) (Entered: 06/07/2023)
06/06/2023   624 ORDER GRANTING MOTION FOR VOLUNTARY DISMISSAL
                 WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(2) re
                 613 Unopposed MOTION to Dismiss Voluntarily Certain Claims
                 filed by Texas Hispanics Organized for Political Education, Texas



                                                                                23-50885.196
        Case: 23-50885    Document: 144   Page: 200    Date Filed: 06/19/2024

                  Impact, William C. Velasquez Institute, Fiel Houston, Inc., JOLT
                  Action, James Lewin, La Union Del Pueblo Entero, Southwest
                  Voter Registration Education Project, Mexican American Bar
                  Association of Texas, Friendship-West Baptist Church,. Signed by
                  Judge Xavier Rodriguez. (wg) (Entered: 06/07/2023)
06/07/2023   625 Unopposed MOTION for Extension of Time to File to Move to
                 Compel Production of Documents by Fiel Houston, Inc., JOLT
                 Action, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, William C. Velasquez Institute. (Attachments: # 1
                 Proposed Order)(Perales, Nina) (Entered: 06/07/2023)
06/08/2023   626 ***PER 5TH CIRCUIT, SEE DOCKET ENTRY 627 ***The court has
                 taken the following action in this case: The mandate issued on
                 June 8, 2023 has been recalled due to being issued in error. The
                 mandate issue date is July 10, 2023.***Certified copy of USCA
                 JUDGMENT/MANDATE Reversing 426 Notice of Appeal (E-Filed),
                 filed by Paul Bettencourt, Briscoe Cain, Andrew Murr, Bryan
                 Hughes, Notice of Appeal - Interlocutory, filed by Paul
                 Bettencourt, Briscoe Cain, Andrew Murr, Bryan Hughes.***This
                 cause was considered on the record on appeal and was argued
                 by counsel. IT IS ORDERED and ADJUDGED that the judgment of
                 the District Court is REVERSED. IT IS FURTHER ORDERED that
                 each party bear its own costs on appeal.*** (Attachments: # 1
                 TRANSMITTAL LETTER FROM USCA5)(dtg)**Modified TEXT to
                 reflect mandate issued on 6/8/2023 has been recalled on
                 6/8/2023 (dtg).** (Entered: 06/08/2023)
06/08/2023        Text Order GRANTING 625 Unopposed Motion for Extension of
                  Time to File Motion to Compel entered by Judge Xavier
                  Rodriguez. LUPE Plaintiffs' deadline to file a motion to compel in
                  connection with the Office of the Secretary ofStates May 12,
                  2023 privilege log is hereby extended to June 20, 2023. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 06/08/2023)
06/08/2023   627 Letter of transmittal from USCA received for 426 Notice of
                 Appeal - Interlocutory, filed by Paul Bettencourt, Briscoe Cain,
                 Andrew Murr, Bryan Hughes.***The court has taken the
                 following action in this case: The mandate issued on June 8,
                 2023 has been recalled due to being issued in error. The
                 mandate issue date is July 10, 2023.*** (dtg) (Entered:
                 06/08/2023)
06/12/2023        Text Order GRANTING 618 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within


                                                                                23-50885.197
        Case: 23-50885    Document: 144    Page: 201   Date Filed: 06/19/2024

                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  06/12/2023)
06/16/2023   628 MOTION to Appear Pro Hac Vice by Sarah C. Stewart ( Filing fee
                 $ 100 receipt number BTXWDC-17565003) by on behalf of
                 Houston Area Urban League. (Stewart, Sarah) (Entered:
                 06/16/2023)
06/17/2023        Text Order GRANTING 628 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  06/17/2023)
06/17/2023        Text Order GRANTING 628 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  06/17/2023)
06/19/2023   629 Unopposed MOTION for Leave to Exceed Page Limitation for
                 Opposition to Defendants' Motion to Summary Judgment on ADA
                 and Rehabilitation Act Claims by Houston Area Urban League, La
                 Union Del Pueblo Entero, OCA-Greater Houston. (Stewart,
                 Sarah) (Entered: 06/19/2023)
06/20/2023        Text Order GRANTING 629 Motion for Leave to File Excess Pages
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 06/20/2023)
06/21/2023   630 Opposed MOTION to Compel Production of Documents from
                 Defendants Jane Nelson and John Scott by Fiel Houston, Inc.,
                 JOLT Action, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, William C. Velasquez Institute. (Attachments: # 1
                 Proposed Order Proposed Order, # 2 Exhibit Exhibit A, # 3
                 Exhibit Exhibit B, # 4 Exhibit Exhibit C, # 5 Exhibit Exhibit D, # 6
                 Exhibit Exhibit E, # 7 Exhibit Exhibit F, # 8 Exhibit Exhibit G, # 9



                                                                                23-50885.198
        Case: 23-50885    Document: 144    Page: 202    Date Filed: 06/19/2024

                  Exhibit Exhibit H, # 10 Exhibit Exhibit I, # 11 Exhibit Exhibit J, #
                  12 Exhibit Exhibit K)(Perales, Nina) (Entered: 06/21/2023)
06/21/2023   631 ORDERED that Counsel for the SOS and OAG are hereby
                 ORDERED to file a response to Plaintiffs motion no later than
                 June 26, 2023. Any reply must be filed no later than June 28,
                 2023. :re 630 Opposed MOTION to Compel Production of
                 Documents from Defendants Jane Nelson and John Scott filed by
                 Texas Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute, Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Southwest Voter Registration
                 Education Project, Mexican American Bar Association of Texas,
                 Set Motion Hearing for 630 Opposed MOTION to Compel
                 Production of Documents from Defendants Jane Nelson and John
                 Scott ( Motion Hearing set In-Person for 6/29/2023 01:30 PM
                 before Judge Xavier Rodriguez,) Signed by Judge Xavier
                 Rodriguez. (wg) (Entered: 06/21/2023)
06/21/2023   632 Opposed MOTION for Extension of Time to File LUPE Plaintiffs'
                 Motion to Compel Production of Documents from Defendants
                 Jane Nelson and John Scott by Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute. (Attachments: # 1 Proposed
                 Order Proposed Order)(Perales, Nina) (Entered: 06/21/2023)
06/21/2023        Text Order GRANTING 632 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 06/21/2023)
06/23/2023   633 MOTION for Leave to Exceed Page Limitation on Response to
                 OCA Plaintiffs' Motion for Partial Summary Judgment by Gregory
                 W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF TEXAS.
                 (Attachments: # 1 Proposed Order)(Hunker, Kathleen) (Entered:
                 06/23/2023)
06/23/2023   634 Memorandum in Opposition to Motion, filed by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee, re 609
                 MOTION for Summary Judgment filed by Consol Plaintiff United
                 States Of America (Attachments: # 1 Exhibit Exhibit A, # 2
                 Exhibit Exhibit B, # 3 Exhibit Exhibit C)(Gore, John) (Entered:
                 06/23/2023)
06/23/2023   635 Memorandum in Opposition to Motion, filed by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee, re 611


                                                                                  23-50885.199
        Case: 23-50885    Document: 144    Page: 203   Date Filed: 06/19/2024

                  MOTION for Partial Summary Judgment filed by Consol Plaintiff
                  REVUP-Texas, Consol Plaintiff League of Women Voters of Texas,
                  Consol Plaintiff OCA-Greater Houston (Attachments: # 1 Exhibit
                  Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C)(Gore, John)
                  (Entered: 06/23/2023)
06/23/2023   636 Response in Opposition to Motion, filed by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas, re 608
                 MOTION for Summary Judgment filed by Defendant National
                 Republican Congressional Committee, Defendant Harris County
                 Republican Party, Defendant Dallas County Republican Party,
                 Movant Republican National Committee, Defendant National
                 Republican Senatorial Committee (Dolling, Zachary) (Entered:
                 06/23/2023)
06/23/2023   637 Response in Opposition to Motion, filed by United States Of
                 America, re 608 MOTION for Summary Judgment filed by
                 Defendant National Republican Congressional Committee,
                 Defendant Harris County Republican Party, Defendant Dallas
                 County Republican Party, Movant Republican National
                 Committee, Defendant National Republican Senatorial
                 Committee (Attachments: # 1 Supplemental Statement of Facts,
                 # 2 Exhibit Index and Exhibits 107-112)(Stewart, Michael)
                 (Entered: 06/23/2023)
06/23/2023   638 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, The Arc of Texas, re 614 MOTION for Summary
                 Judgment on All Claims filed by Defendant Kim Ogg
                 (Attachments: # 1 Exhibit Index of Exhibits, # 2 Exhibit Exhibits A
                 - G, # 3 Exhibit Exhibit H Part 1, # 4 Exhibit Exhibit H Part 2)
                 (Showalter, James) (Entered: 06/23/2023)
06/23/2023   639 Response in Opposition to Motion, filed by LULAC Texas, Texas
                 AFT, Texas Alliance for Retired Americans, Voto Latino, re 608
                 MOTION for Summary Judgment filed by Defendant National
                 Republican Congressional Committee, Defendant Harris County
                 Republican Party, Defendant Dallas County Republican Party,
                 Movant Republican National Committee, Defendant National
                 Republican Senatorial Committee (Attachments: # 1 Exhibit A -
                 AFT Declaration, # 2 Exhibit B - LULAC Declaration, # 3 Exhibit C
                 - TARA Declaration, # 4 Exhibit D - Voto Latino Declaration, # 5
                 Exhibit E - Declaration of Christopher D. Dodge, # 6 Appendix 1,
                 # 7 Appendix 2, # 8 Appendix 3, # 9 Appendix 4, # 10 Appendix
                 5, # 11 Appendix 6, # 12 Appendix 7, # 13 Appendix 8, # 14
                 Appendix 9, # 15 Appendix 10, # 16 Appendix 11, # 17
                 Appendix 12, # 18 Appendix 13, # 19 Appendix 14)(Dodge,
                 Christopher) (Entered: 06/23/2023)
06/23/2023   640 Unopposed Motion for leave to File Sealed Document
                 (Attachments: # 1 Exhibit Exhibit to be filed under seal, # 2


                                                                                23-50885.200
        Case: 23-50885   Document: 144   Page: 204   Date Filed: 06/19/2024

                  Proposed Order Proposed order granting motion to file sealed
                  evidence) (Dolling, Zachary) (Entered: 06/23/2023)
06/23/2023   641 BRIEF Statement of Interest Regarding Section 208 of the Voting
                 Rights Act by United States Of America. (Stewart, Michael)
                 (Entered: 06/23/2023)
06/23/2023   642 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Friendship-West
                 Baptist Church, Houston Area Urban League, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, OCA-Greater Houston, Southwest Voter Registration
                 Education Project, Texas Hispanics Organized for Political
                 Education, Texas Impact, The Arc of Texas, re 616 MOTION for
                 Summary Judgment filed by Defendant Warren K. Paxton,
                 Defendant Gregory W. Abbott, Consol Defendant Jane Nelson,
                 Consol Defendant STATE OF TEXAS, 614 MOTION for Summary
                 Judgment on All Claims filed by Defendant Kim Ogg
                 (Attachments: # 1 Affidavit, # 2 Appendix)(Stewart, Sarah)
                 (Entered: 06/23/2023)
06/23/2023   643 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Marla Lopez, Marlon Lopez, Mi Familia Vota, Paul
                 Rutledge, The Arc of Texas, re 608 MOTION for Summary
                 Judgment filed by Defendant National Republican Congressional
                 Committee, Defendant Harris County Republican Party,
                 Defendant Dallas County Republican Party, Movant Republican
                 National Committee, Defendant National Republican Senatorial
                 Committee (Attachments: # 1 Index of Exhibits, # 2 Exhibit A -
                 Expert Report by Franita Tolson, # 3 Exhibit B - Expert Report by
                 Prof. Douglas L. Kruse, # 4 Exhibit C - Excerpts from Deposition
                 of Keith Ingram (Secretary of State 30(b)(6)), # 5 Exhibit D -
                 Excerpts from Deposition of Bridgette Escobedo, # 6 Exhibit E -
                 Excerpts from Deposition of Jacquelyn Callanen - 4/4/22, # 7
                 Exhibit F - Excerpts from Deposition of Jacquelyn Callanen -
                 2/28/23, # 8 Exhibit G - Excerpts from Deposition of Alan Vera, #
                 9 Exhibit H - Excerpts from Deposition of Jacquelyn Callanen -
                 4/20/22, # 10 Exhibit I - Declaration of Jeffrey Clemmons, # 11
                 Exhibit J - Excerpts from Deposition of Rachelle Obakozuwa, #
                 12 Exhibit K - Excerpts from Deposition of Jeffrey Clemmons, #
                 13 Exhibit L - Excerpts from Deposition of Bob Kafka, # 14
                 Exhibit M - Excerpts from Deposition of Jennifer Martinez, # 15
                 Exhibit N - Excerpts from Deposition of Maria Gomez, # 16
                 Exhibit O - Excerpts from Deposition of Michelle Brown, # 17
                 Exhibit P - Excerpts from Deposition of Juanita Valdez-Cox, # 18
                 Exhibit Q - Excerpts from Deposition of Ray Shackelford, # 19
                 Exhibit R - Excerpts from Deposition of Grace Chimene, # 20
                 Exhibit S - Excerpts from Deposition of Angelica Razo, # 21
                 Exhibit T - Exhibit 15 to Deposition of Jennifer Colvin (Excerpts


                                                                              23-50885.201
        Case: 23-50885   Document: 144    Page: 205   Date Filed: 06/19/2024

                  from Tatum_005332), # 22 Exhibit U - Excerpts from Deposition
                  of Toby Cole, # 23 Exhibit V - Declaration of Jodi Lydia Nunez
                  Landry, # 24 Exhibit W - Declaration of Nancy Crowther, # 25
                  Exhibit X - Declaration of Teri Saltzman, # 26 Exhibit Y -
                  Declaration of Laura Halvorson, # 27 Exhibit Z - Declaration of
                  Amy Litzinger)(Holmes, Jennifer) (Entered: 06/23/2023)
06/23/2023   644 Response in Opposition to Motion, filed by Friendship-West
                 Baptist Church, James Lewin, Texas Impact, re 608 MOTION for
                 Summary Judgment filed by Defendant National Republican
                 Congressional Committee, Defendant Harris County Republican
                 Party, Defendant Dallas County Republican Party, Movant
                 Republican National Committee, Defendant National Republican
                 Senatorial Committee (Attachments: # 1 Index of Exhibits, # 2
                 Exhibit 1 - Keith Ingram Deposition dated April 26, 2022, # 3
                 Exhibit 2 - Isabel Longoria Morning Deposition dated April 20,
                 2022, # 4 Exhibit 3 - Angelica Razo Deposition dated April 5,
                 2022, # 5 Exhibit 4 - Michelle Brown Deposition dated April 23,
                 2022, # 6 Exhibit 5 - Emily Timm Deposition dated April 22,
                 2022, # 7 Exhibit 6 - Expert Report of Dr. Allan J. Lichtman dated
                 February 28, 2022, # 8 Exhibit 7 - Lisa Wise Deposition dated
                 April 15, 2022, # 9 Exhibit 8 - Jacquelyn Callanen Deposition
                 dated April 20, 2022, # 10 Exhibit 9 - Ray Shackelford Deposition
                 dated April 29, 2022, # 11 Exhibit 10 - Toby Cole Deposition
                 dated June 28, 2022, # 12 Exhibit 11 - Nancy Crowther
                 Deposition dated June 17, 2022, # 13 Exhibit 12 - Jonathan
                 White Deposition dated April 27, 2022, # 14 Exhibit 13 - Deborah
                 Chen Deposition dated March 28, 2022, # 15 Exhibit 14 - Expert
                 Report of Professor Douglas L. Kruse, Ph.D. dated February 28,
                 2022, # 16 Exhibit 15 - Expert Report of Henry Flores, Ph.D.
                 dated February 28, 2022, # 17 Exhibit 16 - James Lewin
                 Deposition dated April 27, 2022, # 18 Exhibit 17 - Declaration of
                 James Lewin dated June 22, 2023, # 19 Exhibit 18 - Juanita
                 Valdez-Cox Deposition dated March 4, 2022, # 20 Exhibit 19 -
                 Maria Gomez Deposition dated April 25, 2023, # 21 Exhibit 20 -
                 Tania Chavez Deposition dated June 15, 2023 [Redacted
                 pursuant to the Protective Order], # 22 Exhibit 21 - Amatullah
                 Contractor Deposition dated July 20, 2022, # 23 Exhibit 22 -
                 Supplemental Declaration of Deborah Chen dated June 22,
                 2023, # 24 Exhibit 23 - Grace Chimene Deposition dated April
                 26, 2022, # 25 Exhibit 24 - Declaration of Richard Ertel dated
                 June 23, 2023, # 26 Exhibit 25 - Declaration of Tanesa Lee dated
                 June 22, 2023, # 27 Exhibit 26 - Alan Vera Deposition dated
                 February 27, 2023, # 28 Exhibit 27 - Rachelle Obakozuwa
                 Deposition dated March 21, 2023, # 29 Exhibit 28 - Jonathan
                 White Deposition dated May 5, 2022, # 30 Exhibit 29 - Isabel
                 Longoria Afternoon Deposition dated April 20, 2022, # 31
                 Proposed Order)(Ryan, Elizabeth) (Entered: 06/23/2023)



                                                                               23-50885.202
        Case: 23-50885   Document: 144   Page: 206   Date Filed: 06/19/2024


06/24/2023   645 Response in Opposition to Motion, filed by Gregory W. Abbott,
                 Jane Nelson, Warren K. Paxton, STATE OF TEXAS, re 609
                 MOTION for Summary Judgment filed by Consol Plaintiff United
                 States Of America (Attachments: # 1 Exhibit, # 2 Appendix, # 3
                 Appendix, # 4 Appendix, # 5 Appendix, # 6 Appendix, # 7
                 Appendix)(Hunker, Kathleen) (Entered: 06/24/2023)
06/24/2023   646 Response in Opposition to Motion, filed by Gregory W. Abbott,
                 Jane Nelson, Warren K. Paxton, STATE OF TEXAS, re 611
                 MOTION for Partial Summary Judgment filed by Consol Plaintiff
                 REVUP-Texas, Consol Plaintiff League of Women Voters of Texas,
                 Consol Plaintiff OCA-Greater Houston (Attachments: # 1
                 Appendix, # 2 Appendix, # 3 Appendix, # 4 Appendix)(Hunker,
                 Kathleen) (Entered: 06/24/2023)
06/25/2023   647 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 646 Response in Opposition to Motion, by
                 Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS. (Attachments: # 1 Proposed Order)(Hunker, Kathleen)
                 (Entered: 06/25/2023)
06/25/2023   648 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 645 Response in Opposition to Motion, by
                 Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS. (Attachments: # 1 Proposed Order)(Hunker, Kathleen)
                 (Entered: 06/25/2023)
06/26/2023        Text Order GRANTING 633 Motion for Leave to File Excess Pages
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 06/26/2023)
06/26/2023        Text Order GRANTING 640 OCA Plaintiffs' Unopposed Motion for
                  Leave to File Sealed Document entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  06/26/2023)
06/26/2023        Text Order GRANTING 647 Motion for Extension of Time to File
                  Response in Opposition to 611 OCA-Greater Houston Plaintiffs'
                  MOTION for Summary Judgment filed entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  06/26/2023)
06/26/2023        Text Order GRANTING 648 Motion for Extension of Time to File
                  Response in Opposition to 609 the United States of America's
                  MOTION for Summary Judgment entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  06/26/2023)


                                                                              23-50885.203
        Case: 23-50885    Document: 144     Page: 207   Date Filed: 06/19/2024


06/26/2023   649 ORDER RESETTING MOTION HAERING re 630 Opposed MOTION
                 to Compel Production of Documents from Defendants Jane
                 Nelson and John Scott filed by Texas Hispanics Organized for
                 Political Education, Texas Impact, William C. Velasquez Institute,
                 Fiel Houston, Inc., JOLT Action, La Union Del Pueblo Entero,
                 Southwest Voter Registration Education Project, Mexican
                 American Bar Association of Texas, Set Motion Hearing for 630
                 Opposed MOTION to Compel Production of Documents from
                 Defendants Jane Nelson and John Scott ( Motion Hearing Re-set
                 for 7/11/2023 01:30 PM in San Antonio before Judge Xavier
                 Rodriguez,). Signed by Judge Xavier Rodriguez. (wg) (Entered:
                 06/26/2023)
06/26/2023   650 State Defendant's Response in Opposition to Motion, filed by
                 Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS, re 630 Opposed MOTION to Compel Production of
                 Documents from Defendants Jane Nelson and John Scott filed by
                 Plaintiff Texas Hispanics Organized for Political Education,
                 Plaintiff Texas Impact, Plaintiff William C. Velasquez Institute,
                 Plaintiff Fiel Houston, Inc., Plaintiff JOLT Action, Plaintiff La Union
                 Del Pueblo Entero, Plaintiff Southwest Voter Registration
                 Education Project, Plaintiff Mexican American Bar Association of
                 Texas (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                 Exhibit)(Hunker, Kathleen) Modified on 6/27/2023 (wg). (Entered:
                 06/26/2023)
06/28/2023   651 LUPE Plaintiff's Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 630 Opposed MOTION to Compel
                 Production of Documents from Defendants Jane Nelson and John
                 Scott by Fiel Houston, Inc., Friendship-West Baptist Church,
                 Houston Area Urban League, JOLT Action, James Lewin, La Union
                 Del Pueblo Entero, Mexican American Bar Association of Texas,
                 Southwest Voter Registration Education Project, Texas Hispanics
                 Organized for Political Education, The Anti-Defamation League
                 Austin, Southwest, and Texoma, William C. Velasquez Institute.
                 (Attachments: # 1 Proposed Order)(Perales, Nina) (Entered:
                 06/28/2023)
06/28/2023         Text Order GRANTING 651 Motion for Extension of Time to File
                   Reply as to 630 Opposed MOTION to Compel Production of
                   Documents from Defendants Jane Nelson and John Scott
                   entered by Judge Xavier Rodriguez. The LUPE Plaintiffs' deadline
                   to file a reply in support of their motion to compel is hereby
                   extended to July 7, 2023. (This is a text-only entry generated by
                   the court. There is no document associated with this entry.) (cb)
                   (Entered: 06/28/2023)
07/07/2023   652 ORDER--The SOS and OAG are ORDERED to make available to
                 the Court all documents that they seek protection from
                 disclosure at this hearing for an in-camera inspection. The SOS


                                                                                  23-50885.204
        Case: 23-50885    Document: 144   Page: 208   Date Filed: 06/19/2024

                  and OAG are further ordered to produce a privilege log. Signed
                  by Judge Xavier Rodriguez. (tm2) (Entered: 07/07/2023)
07/07/2023   653 NOTICE by Gregory W. Abbott, Jane Nelson, Warren K. Paxton,
                 STATE OF TEXAS re 652 Order, (Wassdorf, William) (Entered:
                 07/07/2023)
07/07/2023   654 Unopposed MOTION to Withdraw as Attorney Megan Cloud by La
                 Union Del Pueblo Entero. (Attachments: # 1 Proposed Order)
                 (Ryan, Elizabeth) (Entered: 07/07/2023)
07/07/2023   655 REPLY to Response to Motion, filed by Fiel Houston, Inc., JOLT
                 Action, La Union Del Pueblo Entero, Mexican American Bar
                 Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute, re 630 Opposed MOTION to
                 Compel Production of Documents from Defendants Jane Nelson
                 and John Scott filed by Plaintiff Texas Hispanics Organized for
                 Political Education, Plaintiff Texas Impact, Plaintiff William C.
                 Velasquez Institute, Plaintiff Fiel Houston, Inc., Plaintiff JOLT
                 Action, Plaintiff La Union Del Pueblo Entero, Plaintiff Southwest
                 Voter Registration Education Project, Plaintiff Mexican American
                 Bar Association of Texas to Compel Production of Documents
                 from Defendants Jane Nelson and John Scott (Dkt. 630)
                 (Attachments: # 1 Exhibit Reply Ex. A, # 2 Exhibit Reply Ex. B, #
                 3 Exhibit Reply Ex. C, # 4 Exhibit Reply Ex. D, # 5 Exhibit
                 Amended Ex. G - Attorney-Client Privilege (Primary Purpose), #
                 6 Exhibit Amended Ex. H - Attorney Client Privilege (Facts), # 7
                 Exhibit Amended Ex. I - Attorney Client Privilege (No Client), # 8
                 Exhibit Amended Ex. J - Deliberative Process Privilege, # 9
                 Exhibit Amended Ex. K - Investigative Privilege)(Perales, Nina)
                 (Entered: 07/07/2023)
07/10/2023        Text Order GRANTING 654 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Megan Cloud is hereby
                  withdrawn as counsel of record for Friendship-West Baptist
                  Church, Texas Impact, and James Lewin, who will continue to be
                  represented by remaining counsel of record. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 07/10/2023)
07/10/2023   656 NOTICE Related to Waiver of Privilege in the Declaration of
                 Jonathan White by United States Of America (Attachments: # 1
                 Exhibit Deposition of Jonathan White, # 2 Exhibit Declaration of
                 Jonathan White)(Paikowsky, Dana) (Entered: 07/10/2023)
07/10/2023   658 Certified copy of USCA JUDGMENT/MANDATE Reversing 426
                 Notice of Appeal (E-Filed), filed by Paul Bettencourt, Briscoe
                 Cain, Andrew Murr, Bryan Hughes.***This cause was considered
                 on the record on appeal and was argued by counsel. IT IS
                 ORDERED and ADJUDGED that the judgment of the District Court


                                                                               23-50885.205
        Case: 23-50885    Document: 144    Page: 209   Date Filed: 06/19/2024

                  is REVERSED. IT IS FURTHER ORDERED that each party bear its
                  own costs on appeal.*** (Attachments: # 1 TRANSMITTAL
                  LETTER FROM USCA5)(dtg) (Entered: 07/12/2023)
07/11/2023   657 NOTICE of Designation of Lead Counsel by Gregory W. Abbott,
                 Jane Nelson, Warren K. Paxton, STATE OF TEXAS (Kercher, Ryan)
                 (Entered: 07/11/2023)
07/11/2023   662 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Motion Hearing held on 7/11/2023 re 630 Opposed
                 MOTION to Compel Production of Documents from Defendants
                 Jane Nelson and John Scott filed by Texas Hispanics Organized
                 for Political Education, Texas Impact, William C. Velasquez
                 Institute, Fiel Houston, Inc., JOLT Action, La Union Del Pueblo
                 Entero, Southwest Voter Registration Education Project, Mexican
                 American Bar Association of Texas (Minute entry documents are
                 not available electronically.). (Court Reporter Gigi Simcox.)(tm2)
                 (Entered: 07/13/2023)
07/12/2023   659 TRANSCRIPT REQUEST by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS for proceedings held on
                 07/11/2023. Proceedings Transcribed: LUPE Plfs' Motion to
                 Compel Hr'g. Court Reporter: Gigi Simcox. (Hunker, Kathleen)
                 (Entered: 07/12/2023)
07/13/2023   660 Unopposed MOTION for Leave to Exceed Page Limitation to file
                 consolidated reply brief in support of motion for summary
                 judgment by League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas. (Attachments: # 1 Proposed Order)
                 (Dolling, Zachary) (Entered: 07/13/2023)
07/13/2023        Text Order GRANTING 660 Motion for Leave to File Excess Pages
                  entered by Judge Xavier Rodriguez. The page limit for OCA
                  Plaintiffs' consolidated reply in support of their motion for
                  summary judgment is extended to 40 pages. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 07/13/2023)
07/13/2023   661 Transcript filed of Proceedings held on 7-11-23, Proceedings
                 Transcribed: Motion to Compel. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 8/3/2023,
                 Redacted Transcript Deadline set for 8/14/2023, Release of


                                                                                23-50885.206
        Case: 23-50885   Document: 144   Page: 210   Date Filed: 06/19/2024

                  Transcript Restriction set for 10/11/2023, Appeal Record due by
                  7/28/2023, (gs) (Entered: 07/13/2023)
07/14/2023   663 REPLY to Response to Motion, filed by Dallas County Republican
                 Party, Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee, re 608 MOTION for
                 Summary Judgment filed by Defendant National Republican
                 Congressional Committee, Defendant Harris County Republican
                 Party, Defendant Dallas County Republican Party, Movant
                 Republican National Committee, Defendant National Republican
                 Senatorial Committee (Gore, John) (Entered: 07/14/2023)
07/14/2023   664 NOTICE of Attorney Appearance by Kathleen Hunker on behalf
                 of STATE OF TEXAS (Hunker, Kathleen) (Entered: 07/14/2023)
07/14/2023   665 OCA PLAINTIFF'S REPLY to Response to Motion, filed by League
                 of Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                 re 611 MOTION for Partial Summary Judgment filed by Consol
                 Plaintiff REVUP-Texas, Consol Plaintiff League of Women Voters
                 of Texas, Consol Plaintiff OCA-Greater Houston in support of OCA
                 Plaintiffs' motion for summary judgment (Attachments: # 1
                 Appendix OCA Plaintiffs' Reply Appendix)(Dolling, Zachary)
                 (Entered: 07/14/2023)
07/14/2023   666 NOTICE OF SUPPLEMENTAL DECLARATIONS IN SUPPORT OF
                 DEFENDANTS RESPONSE TO LUPE PLAINTIFFS MOTION TO
                 COMPEL (ECF NO. 650) by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS (Attachments: # 1 Exhibit A,
                 # 2 Exhibit B, # 3 Exhibit C)(Kercher, Ryan) (Entered:
                 07/14/2023)
07/14/2023   667 ADVISORY TO THE COURT by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS -Joint. (Attachments: # 1
                 Exhibit A, # 2 Exhibit B)(Kercher, Ryan) (Entered: 07/14/2023)
07/14/2023   668 UNITED STATE'S REPLY to Response to Motion, filed by United
                 States Of America, re 609 MOTION for Summary Judgment filed
                 by Consol Plaintiff United States Of America (Attachments: # 1
                 Exhibit 113-116)(Freeman, Daniel) Modified on 7/17/2023 (wg).
                 (Entered: 07/14/2023)
07/14/2023   669 DEFENDANT'S HARRIS COUNTY & KIM OGG REPLY to Response
                 to Motion, filed by Kim Ogg, re 614 MOTION for Summary
                 Judgment on All Claims filed by Defendant Kim Ogg
                 (Attachments: # 1 Exhibit 6)(Liu, Cory) Modified on 7/17/2023
                 (wg). (Entered: 07/14/2023)
07/14/2023   670 REPLY to Response to Motion, filed by United States Of America,
                 re 609 MOTION for Summary Judgment filed by Consol Plaintiff




                                                                              23-50885.207
        Case: 23-50885   Document: 144   Page: 211   Date Filed: 06/19/2024

                  United States Of America (Corrected) (Attachments: # 1 Exhibit
                  113-116)(Freeman, Daniel) (Entered: 07/14/2023)
07/14/2023   671 REPLY to Response to Motion, filed by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS, re 616 MOTION for
                 Summary Judgment filed by Defendant Warren K. Paxton,
                 Defendant Gregory W. Abbott, Consol Defendant Jane Nelson,
                 Consol Defendant STATE OF TEXAS (Kercher, Ryan) (Entered:
                 07/14/2023)
07/17/2023   672 MOTION for Extension of Time to File ADVISORY REGARDING
                 MOTION TO COMPEL by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, The Anti-Defamation
                 League Austin, Southwest, and Texoma, William C. Velasquez
                 Institute. (Attachments: # 1 Proposed Order)(Longoria, Julia)
                 (Entered: 07/17/2023)
07/17/2023        Text Order GRANTING 672 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. The LUPE Plaintiffs' deadline
                  to file an advisory regarding their motion to compel 630 is
                  hereby extended to July 19, 2023. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (cb) (Entered: 07/17/2023)
07/19/2023   673 Unopposed MOTION to Withdraw as Attorney - Stephen J. Kenny
                 by Dallas County Republican Party, Harris County Republican
                 Party, National Republican Congressional Committee, National
                 Republican Senatorial Committee, Republican National
                 Committee. (Attachments: # 1 Proposed Order)(Gore, John)
                 (Entered: 07/19/2023)
07/19/2023        Text Order GRANTING 673 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Stephen J. Kenny is hereby
                  WITHDRAWN as counsel for Intervenor-Defendants Harris
                  County Republican Party, Dallas County Republican Party,
                  Republican National Committee, National Republican Senatorial
                  Committee, and National Republican Congressional Committee,
                  which shall continue to be represented by remaining counsel of
                  record. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  07/19/2023)
07/19/2023   674 ADVISORY TO THE COURT by Fiel Houston, Inc., JOLT Action, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, William C. Velasquez
                 Institute Regarding LUPE Plaintiffs' Motion to Compel (Dkt. 630).
                 (Attachments: # 1 Exhibit Ex. A - Excerpt from July 11 2023


                                                                              23-50885.208
        Case: 23-50885    Document: 144   Page: 212    Date Filed: 06/19/2024

                  Hearing, # 2 Exhibit Ex. B - List of Contested Documents (Dkt.
                  667-2) with Privilege Challenges, # 3 Exhibit Ex. C - Excerpt from
                  July 12 2023 LUPE v. Nelson Oral Argument)(Perales, Nina)
                  (Entered: 07/19/2023)
07/19/2023        (Court only) *** Attorney Stephen J. Kenny terminated. (wg)
                  (Entered: 07/21/2023)
07/25/2023   675 Pretrial Disclosures Rule 26(a)(3) by John Creuzot, Michael
                 Scarpello. (Stool, Ben) (Entered: 07/25/2023)
07/28/2023   676 Pretrial Disclosures DEFENDANT LISA WISE RULE 26(a)(3)
                 PRETRIAL DISCLOSURES by Lisa Wise. (Hartnett, Kathleen)
                 (Entered: 07/28/2023)
07/28/2023   677 Pretrial Disclosures under Rule 26(a)(3) by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. (Gore,
                 John) (Entered: 07/28/2023)
07/28/2023   678 Pretrial Disclosures under Rule 26(a)(3) by Jose Garza, Dyana
                 Limon-Mercado. (Nelson, Anthony) (Entered: 07/28/2023)
07/28/2023   679 Pretrial Disclosures under Rule 26(a)(3) by Hilda A Salinas by
                 Yvonne Ramon. (Ramirez, Josephine) (Entered: 07/28/2023)
07/28/2023   680 Pretrial Disclosures by Jacque Callanen, Joe Gonzales. (Cubriel,
                 Lisa) (Entered: 07/28/2023)
07/28/2023   681 Pretrial Disclosures under Rule 26(a)(3) by Kim Ogg. (Liu, Cory)
                 (Entered: 07/28/2023)
07/28/2023   682 Pretrial Disclosures under Rule 26(a)(3) by Clifford Tatum.
                 (Bingham, Tiffany) (Entered: 07/28/2023)
07/28/2023   683 NOTICE Regarding Trial Procedures by United States Of America
                 (Freeman, Daniel) (Entered: 07/28/2023)
07/28/2023   684 Pretrial Disclosures by United States Of America. (Attachments:
                 # 1 Exhibit 1: Witness List, # 2 Exhibit 2: Deposition
                 Designations, # 3 Exhibit 3: Exhibit List)(Freeman, Daniel)
                 (Entered: 07/28/2023)
07/28/2023   685 Pretrial Disclosures by Toribio "Terry" Palacios by Ricardo
                 Rodriguez, Jr.. (Villarreal, Jacqueline) (Entered: 07/28/2023)
07/28/2023   686 Pretrial Disclosures by League of Women Voters of Texas, OCA-
                 Greater Houston, REVUP-Texas. (Attachments: # 1 Exhibit OCA
                 Plaintiffs' Deposition Designations, # 2 Exhibit OCA Plaintiffs'
                 Exhibit List)(Dolling, Zachary) (Entered: 07/28/2023)
07/28/2023   687 NOTICE Private Plaintiffs' Joint Disclosure of Witnesses Under
                 FRCP26a3 by Fiel Houston, Inc., Friendship-West Baptist Church,



                                                                                  23-50885.209
        Case: 23-50885    Document: 144   Page: 213    Date Filed: 06/19/2024

                  JOLT Action, James Lewin, La Union Del Pueblo Entero, Mexican
                  American Bar Association of Texas, Southwest Voter Registration
                  Education Project, Texas Hispanics Organized for Political
                  Education, William C. Velasquez Institute (Attachments: # 1
                  Exhibit Private Plaintiffs' Joint Trial Witness List)(Perales, Nina)
                  (Entered: 07/28/2023)
07/28/2023   688 Pretrial Disclosures by Gregory W. Abbott, Jane Nelson, Warren
                 K. Paxton, STATE OF TEXAS. (Attachments: # 1 Exhibit, # 2
                 Exhibit, # 3 Exhibit)(Hunker, Kathleen) (Entered: 07/28/2023)
07/28/2023   689 Pretrial Disclosures by LULAC Texas, Texas AFT, Texas Alliance
                 for Retired Americans, Voto Latino. (Attachments: # 1 Exhibit A)
                 (Dodge, Christopher) (Entered: 07/28/2023)
07/28/2023   690 Pretrial Disclosures by Jeffrey Lamar Clemmons, Delta Sigma
                 Theta Sorority Inc., Houston Area Urban League, Marla Lopez,
                 Marlon Lopez, Paul Rutledge, The Arc of Texas. (Holmes,
                 Jennifer) (Entered: 07/28/2023)
07/28/2023   691 Pretrial Disclosures by Fiel Houston, Inc., Friendship-West Baptist
                 Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, Texas Impact, William C. Velasquez Institute.
                 (Attachments: # 1 Exhibit, # 2 Exhibit)(Tulin, Leah) (Entered:
                 07/28/2023)
07/29/2023   692 Pretrial Disclosures Supplemental Deposition Designations by
                 Fiel Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 La Union Del Pueblo Entero, Mexican American Bar Association
                 of Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, William C. Velasquez
                 Institute. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C, # 4 Exhibit D, # 5 Exhibit E, # 6 SEALED Exhibit F)(Perales,
                 Nina) (Attachment 6 replaced on 8/4/2023) (wg). (Entered:
                 07/29/2023)
07/31/2023   693 Pretrial Disclosures Corrected Exhibit List by United States Of
                 America. (Freeman, Daniel) (Entered: 07/31/2023)
07/31/2023   694 ORDER ON MOTION TO COMPEL PRODUCTION OF DOCUMENTS-
                 - LUPE Plaintiffs motion to compel (ECF No. 630) is GRANTED IN
                 PART AND DENIED IN PART. The State Defendants are ORDERED
                 to produce the documents listed above within seven (7) days of
                 this order. The Court finds that the remainder of the challenged
                 documents are privileged, and Defendants are accordingly not
                 required to produce those documents. Signed by Judge Xavier
                 Rodriguez. (tm2) (Entered: 08/01/2023)
08/01/2023   695 COURTS ORDER & ADVISORY. Signed by Judge Xavier Rodriguez.



                                                                                23-50885.210
        Case: 23-50885   Document: 144   Page: 214    Date Filed: 06/19/2024

                  (wg) (Entered: 08/01/2023)
08/01/2023   696 Unopposed Motion for leave to File Sealed Document
                 (Attachments: # 1 Proposed Order, # 2 Exhibit F - SEALED
                 DOCUMENT) (Perales, Nina) (Entered: 08/01/2023)
08/04/2023        Text Order GRANTING 696 Motion for Leave to File Sealed
                  Document entered by Judge Xavier Rodriguez. The Clerk is
                  DIRECTED to file and maintain under SEAL Exhibit F of the LUPE
                  Plaintiff's Supplemental Pre-Trial Disclosures 692 , attached as
                  Exhibit 2 to the motion. (This is a text-only entry generated by
                  the court. There is no document associated with this entry.) (cb)
                  (Entered: 08/04/2023)
08/07/2023   697 Unopposed MOTION to Withdraw as Attorney Patrick T. Pope by
                 Jose Garza, Rebecca Guerrero, Dyana Limon-Mercado. (Nelson,
                 Anthony) (Entered: 08/07/2023)
08/07/2023   698 NOTICE of Attorney Appearance by Amy Stoeckl Ybarra on
                 behalf of Jose Garza, Dyana Limon-Mercado. Attorney Amy
                 Stoeckl Ybarra added to party Jose Garza(pty:dft), Attorney Amy
                 Stoeckl Ybarra added to party Dyana Limon-Mercado(pty:dft)
                 (Ybarra, Amy) (Entered: 08/07/2023)
08/07/2023        Text Order GRANTING 697 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Patrick Pope is hereby
                  WITHDRAWN as counsel of record for Defendants Dyana Limon-
                  Mercado and Jose Garza, who will continue to be represented by
                  remaining counsel of record. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 08/07/2023)
08/07/2023        (Court only) *** Attorney Patrick T. Pope terminated. (tm2)
                  (Entered: 08/07/2023)
08/07/2023   699 NOTICE Re 26(a)(3) Disclosure Objection Deadline by Gregory W.
                 Abbott, Jane Nelson, Warren K. Paxton, STATE OF TEXAS
                 (Wassdorf, William) (Entered: 08/07/2023)
08/08/2023   700 AMENDED ORDER--The Court has reviewed the Joint Notice
                 Regarding Trial Procedures (ECF No. 683) and the various
                 submissions filed by the parties in connection with the bench
                 trial set to begin on September 11, 2023. See ECF Nos. 67592..
                 Signed by Judge Xavier Rodriguez. (tm2) (Entered: 08/08/2023)
08/09/2023   701 ADVISORY TO THE COURT by United States Of America
                 Regarding Section 101 Materiality Provision Claims. (Stewart,
                 Michael) (Entered: 08/09/2023)
08/10/2023   702 Unopposed MOTION to Withdraw as Attorney by Fiel Houston,
                 Inc., JOLT Action, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,


                                                                                23-50885.211
        Case: 23-50885   Document: 144    Page: 215   Date Filed: 06/19/2024

                  William C. Velasquez Institute. (Attachments: # 1 Proposed
                  Order)(Zhen, Kevin) (Entered: 08/10/2023)
08/10/2023        Text Order GRANTING 702 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Kevin Zhen is hereby
                  WITHDRAWN as counsel for Plaintiffs La Union Del Pueblo
                  Entero, Southwest Voter Registration Education Project, Mexican
                  American Bar Association of Texas, Texas Hispanics Organized
                  for Political Education, JOLT Action, William C. Velasquez
                  Institute, and Fiel Houston, Inc. (collectively, the "LUPE
                  Plaintiffs").The LUPE Plaintiffs will continue to be represented by
                  remaining counsel of record. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (cb) (Entered: 08/10/2023)
08/10/2023        (Court only) *** Attorney Kevin Zhen terminated. (wg) (Entered:
                  08/10/2023)
08/10/2023   703 MOTION for Extension of Time to File and Miscellaneous Relief
                 by Mi Familia Vota. (Attachments: # 1 Proposed Order Proposed
                 Order)(Olson, Wendy) (Entered: 08/10/2023)
08/10/2023   704 Response in Opposition to Motion, filed by Gregory W. Abbott,
                 Dallas County Republican Party, Harris County Republican Party,
                 National Republican Congressional Committee, National
                 Republican Senatorial Committee, Jane Nelson, Warren K.
                 Paxton, Republican National Committee, STATE OF TEXAS, re
                 703 MOTION for Extension of Time to File and Miscellaneous
                 Relief filed by Plaintiff Mi Familia Vota (Wassdorf, William)
                 (Entered: 08/10/2023)
08/11/2023   705 Response in Opposition to Motion, filed by Kim Ogg, re 703
                 MOTION for Extension of Time to File and Miscellaneous Relief
                 filed by Plaintiff Mi Familia Vota (Nichols, Eric) (Entered:
                 08/11/2023)
08/11/2023   706 ADVISORY TO THE COURT by United States Of America
                 Regarding Witness List & Trial Presentation. (Stewart, Michael)
                 (Entered: 08/11/2023)
08/11/2023   707 PRIVATE PLAINTIFFS JOINT RESPONSE TO THE COURTS AUGUST
                 8 AMENDED ORDER RE TRIAL by LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Voto Latino . (Attachments: # 1
                 Proposed Order)(Nkwonta, Uzoma) Modified on 8/14/2023, to
                 edit text (bt). (Entered: 08/11/2023)
08/11/2023   708 ADVISORY TO THE COURT by Kim Ogg . (Liu, Cory) (Entered:
                 08/11/2023)
08/11/2023   709 ADVISORY TO THE COURT by Gregory W. Abbott, Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican



                                                                               23-50885.212
        Case: 23-50885   Document: 144   Page: 216   Date Filed: 06/19/2024

                  Senatorial Committee, Jane Nelson, Warren K. Paxton,
                  Republican National Committee, STATE OF TEXAS . (Kercher,
                  Ryan) (Entered: 08/11/2023)
08/14/2023        Notice of Correction: ENTRY WAS EDITED TO REFLECT AS THE
                  TITLED DOCUMENT re 707 Advisory to the Court,. (bt) (Entered:
                  08/14/2023)
08/15/2023   710 RESPONSE to 686 Pretrial Disclosures by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. (Gore,
                 John) (Entered: 08/15/2023)
08/15/2023   711 RESPONSE to 689 Pretrial Disclosures by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. (Gore,
                 John) (Entered: 08/15/2023)
08/15/2023   712 RESPONSE to 690 Pretrial Disclosures by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. (Gore,
                 John) (Entered: 08/15/2023)
08/15/2023   713 RESPONSE to 691 Pretrial Disclosures, by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. (Gore,
                 John) (Entered: 08/15/2023)
08/15/2023   714 RESPONSE to 684 Pretrial Disclosures by Dallas County
                 Republican Party, Harris County Republican Party, National
                 Republican Congressional Committee, National Republican
                 Senatorial Committee, Republican National Committee. (Gore,
                 John) (Entered: 08/15/2023)
08/15/2023   715 RESPONSE and Objections to Pretrial Disclosures by United
                 States Of America. (Attachments: # 1 Exhibit Objections and
                 Counter-Designations to State Defendants' and Intervenor-
                 Defendants' Deposition Designations, # 2 Exhibit Objections to
                 State Defendants' Exhibit List)(Stewart, Michael) (Entered:
                 08/15/2023)
08/15/2023   716 RESPONSE to Pretrial Disclosures to 688 Pretrial Disclosures by
                 Mi Familia Vota. (Olson, Wendy) (Entered: 08/15/2023)
08/15/2023   717 RESPONSE and Objections to Pretrial Disclosures by League of
                 Women Voters of Texas, OCA-Greater Houston, REVUP-Texas.
                 (Attachments: # 1 Exhibit OCA Ps' Exhibit List Objections, # 2
                 Exhibit OCA Ps' Objections and Counter-Designations to



                                                                              23-50885.213
        Case: 23-50885    Document: 144   Page: 217   Date Filed: 06/19/2024

                  Deposition Designations)(Dolling, Zachary) (Entered:
                  08/15/2023)
08/15/2023   718 RESPONSE and Objections to Rule26(a)(3) Pretrial Disclosures by
                 Lisa Wise. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C)(Hartnett, Kathleen) (Entered: 08/15/2023)
08/15/2023   719 RESPONSE and Objections to Defendants' Rule 26(a)(3)
                 Disclosures by LULAC Texas, Texas AFT, Texas Alliance for
                 Retired Americans, Voto Latino. (Nkwonta, Uzoma) (Entered:
                 08/15/2023)
08/15/2023   720 RESPONSE and Objections to 677 Pretrial Disclosures, 688
                 Pretrial Disclosures, 681 Pretrial Disclosures by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, The Arc of Texas. (Holmes, Jennifer) (Entered:
                 08/15/2023)
08/15/2023   721 RESPONSE and Objections to 688 Pretrial Disclosures, 677
                 Pretrial Disclosures by Fiel Houston, Inc., Friendship-West Baptist
                 Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, Texas Impact, William C. Velasquez Institute.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Tulin, Leah) (Entered:
                 08/15/2023)
08/15/2023   722 RESPONSE and Objections to Pretrial Disclosures by Kim Ogg.
                 (Attachments: # 1 Exhibit Objections to HAUL and MFV Exhibits,
                 # 2 Exhibit Objections to LULAC Exhibits, # 3 Exhibit Objections
                 to LUPE Exhibits, # 4 Exhibit Objections to OCA Exhibits, # 5
                 Exhibit Objections to DOJ Exhibits, # 6 Exhibit Objections to
                 Deposition Designations)(Giese, Victoria) (Entered: 08/15/2023)
08/15/2023   723 RESPONSE and Objections to Plaintiffs' Pretrial Disclosures to
                 687 Notice (Other), 684 Pretrial Disclosures, 690 Pretrial
                 Disclosures, 692 Pretrial Disclosures,, 686 Pretrial Disclosures,
                 691 Pretrial Disclosures, 689 Pretrial Disclosures, 693 Pretrial
                 Disclosures by Gregory W. Abbott, Jane Nelson, Warren K.
                 Paxton, STATE OF TEXAS. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Hunker, Kathleen)
                 (Entered: 08/15/2023)
08/17/2023   724 ORDER GRANTING IN PART/DENYING IN PART re 611 MOTION for
                 Partial Summary Judgment filed by REVUP-Texas, League of
                 Women Voters of Texas, OCA-Greater Houston, GRANTED 609
                 MOTION for Summary Judgment filed by United States Of
                 America, GRANTED IN PART/DENIED IN PART 703 MOTION for
                 Extension of Time to File and Miscellaneous Relief filed by Mi
                 Familia Vota. The parties are DIRECTED to provide an advisory
                 on or before August 25, 2023 indicating which witnesses they



                                                                               23-50885.214
        Case: 23-50885   Document: 144    Page: 218   Date Filed: 06/19/2024

                  expect to call. Thereafter, the parties shall, on three-days notice
                  to the Court and remaining parties, identify which witnesses will
                  be called on each day of trial on a rolling basis. Signed by Judge
                  Xavier Rodriguez. (wg) (Entered: 08/17/2023)
08/17/2023   725 Unopposed MOTION to Withdraw as Attorney Michael J. Garza by
                 Ricardo Rodriguez, Jr.. (Villarreal, Jacqueline) (Entered:
                 08/17/2023)
08/17/2023   726 MOTION to Appear Pro Hac Vice by Jacqueline Lysette Villarreal
                 for Alex Benavides ( Filing fee $ 100 receipt number ATXWDC-
                 17784069) by on behalf of Ricardo Rodriguez, Jr.. (Attachments:
                 # 1 Proposed Order Proposed Order for Admission Pro Hac
                 Vice-Alex Benavides)(Villarreal, Jacqueline) (Entered:
                 08/17/2023)
08/18/2023   727 MOTION for Extension of Time to File Joint Pretrial Order by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, William C. Velasquez Institute. (Attachments: # 1
                 Proposed Order)(Perales, Nina) (Entered: 08/18/2023)
08/18/2023        Text Order GRANTING 726 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  08/18/2023)
08/18/2023   728 ADVISORY TO THE COURT by United States Of America
                 Regarding Trial Preparation. (Stewart, Michael) (Entered:
                 08/18/2023)
08/18/2023        Text Order GRANTING 725 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Michael J. Garza is hereby
                  WITHDRAWN as counsel of record for Ricardo Rodriguez, Jr., who
                  will continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 08/18/2023)
08/18/2023        (Court only) *** Attorney Michael J. Garza terminated. (bt)
                  (Entered: 08/18/2023)
08/21/2023   729 Unopposed MOTION by Private Plaintiffs Seeking Court Status
                 Conference on or before August 24, 2023 by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League. (Attachments: # 1 Proposed Order Proposed Order


                                                                                23-50885.215
        Case: 23-50885   Document: 144    Page: 219   Date Filed: 06/19/2024

                  Granting Private Plaintiffs' Motion for Status Conference)
                  (Showalter, James) (Entered: 08/21/2023)
08/21/2023   730 CORRECTED MOTION by Private Plaintiffs Seeking Court Status
                 Conference on or before August 24, 2023 re 729 Unopposed
                 MOTION by Private Plaintiffs Seeking Court Status Conference
                 on or before August 24, 2023 by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League.
                 (Attachments: # 1 Proposed Order Proposed Order Granting
                 Private Plaintiffs' Motion for Status Conference)(Showalter,
                 James) (Entered: 08/21/2023)
08/22/2023   731 Unopposed MOTION to Withdraw as Attorney Destiny R. Lopez
                 by Houston Area Urban League. (Broughton, Kenneth) (Entered:
                 08/22/2023)
08/22/2023        Text Order MOOTING 729 Motion for Status Conference entered
                  by Judge Xavier Rodriguez in light of the filing of a corrected
                  motion 730 . (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  08/22/2023)
08/22/2023        Text Order GRANTING 731 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Destiny R. Lopez is hereby
                  WITHDRAWN as counsel of record for Plaintiffs Houston Area
                  Urban League, Delta Sigma Theta Sorority, Inc., The Arc of
                  Texas, and Jeffrey Lamar Clemmons, who will continue to be
                  represented by remaining counsel of record. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 08/22/2023)
08/22/2023        (Court only) *** Attorney Destiny Lopez terminated. (wg)
                  (Entered: 08/22/2023)
08/22/2023        Text Order TERMINATING 730 Motion for Status Conference
                  entered by Judge Xavier Rodriguez in light of the conference
                  held by Zoom on August 22, 2023 at 1:30 p.m. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 08/22/2023)
08/22/2023   732 TRANSCRIPT REQUEST by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS for proceedings held on
                 08/22/2023. Proceedings Transcribed: Status Conference. Court
                 Reporter: Gigi Simcox. (Hunker, Kathleen) (Entered: 08/22/2023)
08/22/2023   733 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 8/22/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(wg) (Entered: 08/23/2023)
08/23/2023        Text Order GRANTING 727 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. As stated in open court, the



                                                                               23-50885.216
        Case: 23-50885    Document: 144    Page: 220   Date Filed: 06/19/2024

                  parties shall file a joint pretrial order in accordance with the
                  Court's instructions by September 5, 2023. It is further
                  ORDERED that the pretrial conference set for August 31, 2023 is
                  hereby CANCELED. It is further ORDERED that any motions in
                  limine shall be filed by no later than September 1, 2023, with
                  any responses due September 8, 2023, and arguments to be
                  held on the first day of trial, September 11, 2023. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 08/23/2023)
08/23/2023        (Court only) Pretrial Conference Cancelled for
                  8/31/2023***Deadlines and Hearings terminated. (wg) (Entered:
                  08/23/2023)
08/24/2023   734 NOTICE of Attorney Appearance by Robert William Piatt, III on
                 behalf of Jacque Callanen, Joe Gonzales. Attorney Robert William
                 Piatt, III added to party Jacque Callanen(pty:condft), Attorney
                 Robert William Piatt, III added to party Joe Gonzales(pty:dft)
                 (Piatt, Robert) (Entered: 08/24/2023)
08/24/2023   735 NOTICE of Attorney Appearance by Adriana Cecilia Pinon on
                 behalf of League of Women Voters of Texas, OCA-Greater
                 Houston, REVUP-Texas. Attorney Adriana Cecilia Pinon added to
                 party League of Women Voters of Texas(pty:conpla), Attorney
                 Adriana Cecilia Pinon added to party OCA-Greater
                 Houston(pty:conpla), Attorney Adriana Cecilia Pinon added to
                 party REVUP-Texas(pty:conpla) (Pinon, Adriana) (Entered:
                 08/24/2023)
08/25/2023   736 Transcript filed of Proceedings held on 8-22-23, Proceedings
                 Transcribed: Status Conference. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: 210-244-5037,
                 gigi_simcox@txwd.uscourts.gov. Parties are notified of their duty
                 to review the transcript to ensure compliance with the FRCP
                 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court
                 reporter or viewed at the clerk's office public terminal. If
                 redaction is necessary, a Notice of Redaction Request must be
                 filed within 21 days. If no such Notice is filed, the transcript will
                 be made available via PACER without redaction after 90
                 calendar days. The clerk will mail a copy of this notice to parties
                 not electronically noticed Redaction Request due 9/15/2023,
                 Redacted Transcript Deadline set for 9/25/2023, Release of
                 Transcript Restriction set for 11/24/2023, Appeal Record due by
                 9/11/2023, (gs) (Entered: 08/25/2023)
08/25/2023   737 MOTION to Appear Pro Hac Vice by Leigh Ann Tognetti for Victor
                 M Garza ( Filing fee $ 100 receipt number ATXWDC-17812640)
                 by on behalf of Yvonne Ramon. (Attachments: # 1 Proposed
                 Order)(Tognetti, Leigh) (Entered: 08/25/2023)




                                                                                23-50885.217
        Case: 23-50885   Document: 144    Page: 221   Date Filed: 06/19/2024


08/29/2023   738 Unopposed MOTION to Withdraw as Attorney , Andre Segura
                 and Samantha Osaki, by League of Women Voters of Texas,
                 OCA-Greater Houston, REVUP-Texas. (Attachments: # 1
                 Proposed Order)(Dolling, Zachary) (Entered: 08/29/2023)
08/30/2023        Text Order GRANTING 738 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Andre Segura and
                  Samantha Osaki are hereby WITHDRAWN as counsel for
                  Plaintiffs OCA-Greater Houston, League of Women Voters of
                  Texas, and REVUP-Texas (collectively, the "OCA Plaintiffs"). The
                  OCA Plaintiffs will continue to be represented by remaining
                  counsel of record. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 08/30/2023)
08/30/2023        Text Order GRANTING 737 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  08/30/2023)
08/30/2023        (Court only) *** Attorney Samantha Osaki and Andre I. Segura
                  terminated. (mgr) (Entered: 08/30/2023)
09/01/2023   739 NOTICE Regarding Motions In Limine by Lisa Wise (Hartnett,
                 Kathleen) (Entered: 09/01/2023)
09/01/2023   740 NOTICE Regarding Motions in Limine by Jose Garza, Dyana
                 Limon-Mercado re Order on Motion for Extension of Time to
                 File,, (Nelson, Anthony) (Entered: 09/01/2023)
09/01/2023   741 NOTICE of Filing Defendants Jacquelyn Callanen and Joe D.
                 Gonzales' Notice Regarding Motions in Limine by Jacque
                 Callanen, Joe Gonzales (Cubriel, Lisa) (Entered: 09/01/2023)
09/01/2023   742 NOTICE Regarding Motions in Limine by Yvonne Ramon
                 (Tognetti, Leigh) (Entered: 09/01/2023)
09/01/2023   743 MOTION in Limine per text Order on 08/23/2023 by Michael
                 Scarpello. (Stool, Ben) (Entered: 09/01/2023)
09/01/2023   744 MOTION in Limine per text Order on 08/23/2023 by John
                 Creuzot. (Stool, Ben) (Entered: 09/01/2023)
09/01/2023   745 STIPULATION Concerning the Questioning of Witnesses About
                 Their Political Affiliations by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, The Arc
                 of Texas. (Genecin, Victor) (Entered: 09/01/2023)



                                                                               23-50885.218
        Case: 23-50885    Document: 144    Page: 222    Date Filed: 06/19/2024


09/01/2023   746 MOTION in Limine by Gregory W. Abbott, Jane Nelson, Warren K.
                 Paxton, STATE OF TEXAS. (Attachments: # 1 Proposed Order, #
                 2 Exhibit)(Hunker, Kathleen) (Entered: 09/01/2023)
09/01/2023   747 Unopposed MOTION for Leave to Exceed Page Limitation by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, William C. Velasquez Institute. (Attachments: # 1
                 Proposed Order, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit,
                 # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, #
                 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit,
                 # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20
                 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, #
                 25 Exhibit, # 26 Exhibit, # 27 Exhibit, # 28 Proposed Order)
                 (Longoria, Julia) (Entered: 09/02/2023)
09/02/2023   748 MOTION in Limine Partially Opposed Request for Judicial Notice
                 by LULAC Texas, Texas AFT, Texas Alliance for Retired
                 Americans, Voto Latino. (Attachments: # 1 Proposed Order, # 2
                 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5,
                 # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11
                 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, #
                 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17)
                 (Nkwonta, Uzoma) (Entered: 09/02/2023)
09/02/2023   749 MOTION for Leave to File Motion nunc pro tunc by Fiel Houston,
                 Inc., JOLT Action, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute. (Attachments: # 1 Proposed
                 Order)(Perales, Nina) (Entered: 09/02/2023)
09/05/2023   750 RESPONSE in Opposition to 748 MOTION in Limine Partially
                 Opposed Request for Judicial Notice by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS. (Attachments: # 1
                 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E)(Hunker, Kathleen) (Entered: 09/05/2023)
09/05/2023   751 MOTION to Appear Pro Hac Vice by Elizabeth Yvonne Ryan for
                 Aaron J. Curtis ( Filing fee $ 100 receipt number ATXWDC-
                 17844082) by on behalf of La Union Del Pueblo Entero.
                 (Attachments: # 1 Proposed Order)(Ryan, Elizabeth) (Entered:
                 09/05/2023)
09/05/2023         Text Order GRANTING 751 Motion to Appear Pro Hac Vice
                   entered by Judge Xavier Rodriguez. Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the
                   attorney hereby granted permission to practice pro hac vice in
                   this case must register for electronic filing with our court within


                                                                                 23-50885.219
        Case: 23-50885    Document: 144    Page: 223   Date Filed: 06/19/2024

                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  09/05/2023)
09/05/2023        Text Order TERMINATING 743 Motion in Limine entered by Judge
                  Xavier Rodriguez. Defendant Scarpello's notice was erroneously
                  filed as a motion. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 09/05/2023)
09/05/2023        Text Order TERMINATING 744 Motion in Limine entered by Judge
                  Xavier Rodriguez. Defendant Creuzot's notice was erroneously
                  filed as a motion. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.) (cb)
                  (Entered: 09/05/2023)
09/05/2023   752 NOTICE of Attorney Appearance by Monroe David Bryant, Jr on
                 behalf of Gregory W. Abbott, Jane Nelson, Warren K. Paxton,
                 STATE OF TEXAS. Attorney Monroe David Bryant, Jr added to
                 party Gregory W. Abbott(pty:dft), Attorney Monroe David Bryant,
                 Jr added to party Jane Nelson(pty:condft), Attorney Monroe
                 David Bryant, Jr added to party Warren K. Paxton(pty:dft),
                 Attorney Monroe David Bryant, Jr added to party STATE OF
                 TEXAS(pty:condft) (Bryant, Monroe) (Entered: 09/05/2023)
09/05/2023   753 ADVISORY TO THE COURT by Mi Familia Vota Joint Pretrial Order.
                 (Attachments: # 1 Appendix A to Joint Pretrial Order, # 2
                 Appendix B to Joint Pretrial Order, # 3 Appendix C to Joint
                 Pretrial Order, # 4 Exhibit 1 to Joint Pretrial Order, # 5 Exhibit 2
                 to Joint Pretrial Order, # 6 Exhibit 3 to Joint Pretrial Order, # 7
                 Exhibit 4 to Joint Pretrial Order, # 8 Exhibit 5 to Joint Pretrial
                 Order, # 9 Exhibit 6 to Joint Pretrial Order, # 10 Exhibit 7 to Joint
                 Pretrial Order, # 11 Exhibit 8 to Joint Pretrial Order, # 12 Exhibit
                 9 to Joint Pretrial Order, # 13 Exhibit 10 to Joint Pretrial Order)
                 (Olson, Wendy) (Entered: 09/05/2023)
09/05/2023   754 NOTICE of LULAC Plaintiffs' Supplemental Filings to Parties' Joint
                 Pretrial Order by LULAC Texas, Texas AFT, Texas Alliance for
                 Retired Americans, Voto Latino (Dodge, Christopher) (Entered:
                 09/05/2023)
09/05/2023   755 NOTICE of OCA Plaintiffs' Supplemental Filings to Parties' Joint
                 Pretrial Order by League of Women Voters of Texas, OCA-
                 Greater Houston, REVUP-Texas (Attachments: # 1 Exhibit OCA
                 Ps' Exhibit List with Objections, # 2 Exhibit OCA Ps' Witnesses
                 Expected to Support Claims, # 3 Exhibit OCA Ps' Exhibits
                 Expected to Support Claims)(Dolling, Zachary) (Entered:
                 09/05/2023)




                                                                                23-50885.220
        Case: 23-50885   Document: 144   Page: 224    Date Filed: 06/19/2024


09/05/2023   756 SUPPLEMENT to 753 Advisory to the Court,, HAUL and MFV
                 Plaintiffs Addendum to the Joint Pretrial Order by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, The Arc of Texas. (Attachments: # 1 Exhibit A - State
                 Defendants' Objections to HAUL-MFV Exhibits, # 2 Exhibit B -
                 HAUL Plaintiffs' Trial Outline)(Holmes, Jennifer) (Entered:
                 09/05/2023)
09/05/2023   757 SUPPLEMENT to 753 Advisory to the Court,, by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B)(Tulin, Leah) (Entered: 09/05/2023)
09/06/2023   758 MOTION to Substitute Party OCA, HAUL, and LULAC Plaintiffs'
                 Partially Unopposed Motion to Substitute Defendant Harris
                 County Elections Administrator for Harris County Clerk by
                 League of Women Voters of Texas, OCA-Greater Houston,
                 REVUP-Texas. (Attachments: # 1 Proposed Order)(Dolling,
                 Zachary) (Entered: 09/06/2023)
09/06/2023   759 NOTICE of Attorney Appearance by Ethan Quinn Szumanski on
                 behalf of Gregory W. Abbott, Jane Nelson, Warren K. Paxton,
                 STATE OF TEXAS. Attorney Ethan Quinn Szumanski added to
                 party Gregory W. Abbott(pty:dft), Attorney Ethan Quinn
                 Szumanski added to party Jane Nelson(pty:condft), Attorney
                 Ethan Quinn Szumanski added to party Warren K.
                 Paxton(pty:dft), Attorney Ethan Quinn Szumanski added to party
                 STATE OF TEXAS(pty:condft) (Szumanski, Ethan) (Entered:
                 09/06/2023)
09/06/2023   760 NOTICE of Attorney Appearance by Jameson C Joyce on behalf
                 of Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS. Attorney Jameson C Joyce added to party Gregory W.
                 Abbott(pty:dft), Attorney Jameson C Joyce added to party Jane
                 Nelson(pty:condft), Attorney Jameson C Joyce added to party
                 Warren K. Paxton(pty:dft), Attorney Jameson C Joyce added to
                 party STATE OF TEXAS(pty:condft) (Joyce, Jameson) (Entered:
                 09/06/2023)
09/06/2023        Text Order GRANTING 749 Motion for Leave to File entered by
                  Judge Xavier Rodriguez. (This is a text-only entry generated by
                  the court. There is no document associated with this entry.) (cb)
                  (Entered: 09/06/2023)
09/06/2023        Text Order GRANTING 747 Motion for Leave to File Excess Pages
                  entered by Judge Xavier Rodriguez. The Clerk is DIRECTED to file
                  Plaintiffs' Opposed Motion to strike the Declaration of Jonathan
                  White and Motion in Limine to Exclude Testimony About Non-


                                                                               23-50885.221
        Case: 23-50885   Document: 144    Page: 225   Date Filed: 06/19/2024

                  Public Information Relating to Investigationsand Prosecutions of
                  Alleged Voter Fraud (ECF No. 747-2) and the exhibits attached
                  thereto (ECF Nos. 747-3 to 747-28). (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (Entered: 09/06/2023)
09/06/2023   761 MOTION to Strike, MOTION in Limine by La Union Del Pueblo
                 Entero. (Attachments: # 1 Appendix BB, # 2 Plaintiff's First Set
                 of Requests for Production, # 3 Attorney General's Objections &
                 Responses, # 4 STATE001144, # 5 STATE087323, # 6
                 STATE112177, # 7 STATE112160, # 8 SOS Referrals, # 9
                 STATE112155, # 10 Oral Deposition of Jonathan Sherman White
                 April 27, 2022, # 11 Oral Deposition of Jonathan White May 5,
                 2022, # 12 Exhibit, # 13 Exhibit, # 14 LUPE Plantiff's Second Set
                 of Requests for Production to Defendant Kenneth Paxton, # 15
                 Objections to the LUPE Plaintiff's Second Set of Requests for
                 Production to Attorney General Kenneth Paxton, # 16 Privilege
                 Log May 12, 2023, # 17 Privilege Log May 19, 2023, # 18
                 Plaintiff's First Set of Requests for Production, # 19 The
                 Secretary's Objections and Responses, # 20 Oral Deposition of
                 Brian Keith Ingram, J.D. April 28, 2022, # 21 Transcript of Motion
                 to Compel Proceedings, # 22 Exhibit 1, # 23 Oral Deposition of
                 Jonathan White August 11, 2023, # 24 Exhibit 4, # 25 Press
                 Release October 8, 2020, # 26 Proposed Order)(bt) (Entered:
                 09/08/2023)
09/08/2023   762 NOTICE of Attorney Appearance by Ann Helen MacDonald on
                 behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority
                 Inc., Houston Area Urban League, The Arc of Texas. Attorney
                 Ann Helen MacDonald added to party Jeffrey Lamar
                 Clemmons(pty:conpla), Attorney Ann Helen MacDonald added to
                 party Delta Sigma Theta Sorority Inc.(pty:conpla), Attorney Ann
                 Helen MacDonald added to party Houston Area Urban
                 League(pty:conpla), Attorney Ann Helen MacDonald added to
                 party The Arc of Texas(pty:conpla) (MacDonald, Ann) (Entered:
                 09/08/2023)
09/08/2023   763 NOTICE of Attorney Appearance by Victor Manuel Garza on
                 behalf of Yvonne Ramon. Attorney Victor Manuel Garza added
                 to party Yvonne Ramon(pty:condft) (Garza, Victor) (Entered:
                 09/08/2023)
09/08/2023   764 Response in Opposition to Motion, filed by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, The Arc of Texas, re 746 MOTION in Limine filed by
                 Defendant Warren K. Paxton, Defendant Gregory W. Abbott,
                 Consol Defendant Jane Nelson, Consol Defendant STATE OF
                 TEXAS (Attachments: # 1 Exhibit A - Daniel Smith (Third Suppl
                 Addendum August 16 2023), # 2 Exhibit B - Daniel Smith (3rd
                 Suppl Expert Report June 7 2023), # 3 Exhibit C - Dan Smith


                                                                               23-50885.222
        Case: 23-50885    Document: 144    Page: 226   Date Filed: 06/19/2024

                  (Suppl Report to 2nd Expert Report March 20 2023))(Genecin,
                  Victor) (Entered: 09/08/2023)
09/08/2023   765 RESPONSE to Motion, filed by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS, re 761 MOTION to Strike
                 MOTION in Limine filed by Plaintiff La Union Del Pueblo Entero
                 (Hunker, Kathleen) (Entered: 09/08/2023)
09/09/2023   766 Unopposed MOTION to Dismiss Voluntarily Certain Claims
                 Without Prejudice by Fiel Houston, Inc., Friendship-West Baptist
                 Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, Texas Impact, William C. Velasquez Institute.
                 (Attachments: # 1 Proposed Order)(Berry, Patrick) (Entered:
                 09/09/2023)
09/09/2023   767 NOTICE of Corrected Appendix A to Joint Pretrial Order by
                 Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas re 753 Advisory
                 to the Court,, (Attachments: # 1 Appendix A to Joint Pretrial
                 Order (Corrected))(Holmes, Jennifer) (Entered: 09/09/2023)
09/10/2023   768 SUPPLEMENT to 691 Pretrial Disclosures, by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute. (Attachments: # 1 Exhibit LUPE
                 Plaintiffs' First Amended Exhibit List, # 2 Exhibit LUPE Plaintiffs'
                 Amended Objections and Responses to Defendants' Exhibit Lists)
                 (Tulin, Leah) (Entered: 09/10/2023)
09/11/2023   769 MOTION to Dismiss Voluntarily Certain Claims Without Prejudice
                 by Mi Familia Vota. (Olson, Wendy) (Entered: 09/11/2023)
09/11/2023        Text Order GRANTING 758 Motion to Substitute Party entered by
                  Judge Xavier Rodriguez. As stated in open court, it is ORDERED
                  that Teneshia Hudspeth, in her official capacity as Harris County
                  Clerk, is hereby SUBSTITUTED as a Defendant in place of Clifford
                  Tatum, in his Official Harris County Elections Administrator. (This
                  is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 09/11/2023)
09/11/2023        Text Order GRANTING IN PART AND DENYING IN PART 748
                  Request for Judicial Notice entered by Judge Xavier Rodriguez.
                  As stated in open court, LULAC Plaintiffs' motion is GRANTED as
                  to the population data produced by the U.S. Census Bureau, and
                  the Court hereby takes judicial notice of the census data set
                  forth in paragraphs 1-15 of the motion. The motion is DENIED as
                  to the election data produced by the Election Assistance



                                                                                23-50885.223
        Case: 23-50885   Document: 144    Page: 227   Date Filed: 06/19/2024

                  Commission ("EAC"). Although the LULAC Plaintiffs may proffer
                  the EAC data at trial, judicial notice is not warranted here
                  because the State Defendants reasonably dispute the accuracy
                  of the data based on conflicting calculations produced by the
                  Secretary of State and the United States' expert. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 09/11/2023)
09/11/2023   771 ORDER GRANTING re 766 Unopposed MOTION to Dismiss
                 Voluntarily Certain Claims Without Prejudice filed by Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute, Fiel Houston, Inc., JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Southwest Voter
                 Registration Education Project, Mexican American Bar
                 Association of Texas, Friendship-West Baptist Church. IT IS
                 FURTHER ORDERED that all other additional claims remain live
                 and unaffected by this Order. Signed by Judge Xavier Rodriguez.
                 (wg) (Entered: 09/12/2023)
09/11/2023   772 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial begun on 9/11/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(wg) (Main Document 772 replaced on 9/28/2023) (wg).
                 (Entered: 09/12/2023)
09/12/2023   770 NOTICE of Attorney Appearance by Eitan G. Berkowitz on behalf
                 of Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas. Attorney Eitan G.
                 Berkowitz added to party Jeffrey Lamar Clemmons(pty:conpla),
                 Attorney Eitan G. Berkowitz added to party Delta Sigma Theta
                 Sorority Inc.(pty:conpla), Attorney Eitan G. Berkowitz added to
                 party Houston Area Urban League(pty:conpla), Attorney Eitan G.
                 Berkowitz added to party The Arc of Texas(pty:conpla)
                 (Berkowitz, Eitan) (Entered: 09/12/2023)
09/12/2023        Text Order GRANTING 769 Motion to Dismiss entered by Judge
                  Xavier Rodriguez, as stated in open court. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (Entered: 09/12/2023)
09/12/2023   773 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 9/12/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox & Angela Hailey.)(wg) (Main Document 773 replaced on
                 9/28/2023) (wg). (Entered: 09/13/2023)
09/13/2023   776 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 9/13/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(wg) (Main Document 776 replaced on 9/28/2023) (wg).
                 (Entered: 09/15/2023)


                                                                               23-50885.224
        Case: 23-50885   Document: 144    Page: 228   Date Filed: 06/19/2024


09/14/2023   774 MOTION to Appear Pro Hac Vice by Sean Michael Lyons ( Filing
                 fee $ 100 receipt number ATXWDC-17881728) by on behalf of
                 Mi Familia Vota. (Lyons, Sean) (Entered: 09/14/2023)
09/14/2023        Text Order GRANTING 774 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  09/14/2023)
09/14/2023   775 NOTICE of Attorney Appearance by Derek H. Ha on behalf of
                 Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas. Attorney Derek
                 H. Ha added to party Jeffrey Lamar Clemmons(pty:conpla),
                 Attorney Derek H. Ha added to party Delta Sigma Theta Sorority
                 Inc.(pty:conpla), Attorney Derek H. Ha added to party Houston
                 Area Urban League(pty:conpla), Attorney Derek H. Ha added to
                 party The Arc of Texas(pty:conpla) (Ha, Derek) (Entered:
                 09/14/2023)
09/14/2023   777 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial Resumes on September 19, 2023 @ 9:30
                 AMBench Trial held on 9/14/2023 (Minute entry documents are
                 not available electronically.). (Court Reporter Gigi Simcox.)(wg)
                 (Entered: 09/15/2023)
09/17/2023   778 NOTICE OF FILING OF CORRECTED EXHIBITS TO MOTION TO
                 STRIKE THE DECLARATION OF JONATHAN WHITE AND MOTION
                 IN LIMINE TO EXCLUDE TESTIMONY ABOUT NON-PUBLIC
                 INFORMATION RELATING TO INVESTIGATIONS AND
                 PROSECUTIONS OF ALLEGED VOTER FRAUD (DKT. 761) by Fiel
                 Houston, Inc., JOLT Action, La Union Del Pueblo Entero, Mexican
                 American Bar Association of Texas, Southwest Voter Registration
                 Education Project, Texas Hispanics Organized for Political
                 Education, William C. Velasquez Institute re 761 MOTION to
                 Strike MOTION in Limine (Attachments: # 1 Exhibit Ex. 1 - Index
                 of Exhibits to Dkt. 761, # 2 Exhibit Corrected Ex. J (Replacing
                 Dkt. 761-10) - Excerpts from the April 27, 2022 Deposition of
                 Jonathan White, # 3 Exhibit Corrected Ex. K (Replacing Dkt. 761-
                 11) - Excerpts from the May 5, 2022 Deposition of Jonathan
                 White, # 4 Exhibit Corrected Ex. W (Replacing Dkt. 761-23) -
                 Excerpts from the August 11, 2023 Deposition of Jonathan
                 White)(Perales, Nina) (Entered: 09/17/2023)
09/18/2023   779 NOTICE of Filing LUPE Plaintiffs' Deposition Designations of
                 County Election Administrators to Complete Their Hybrid Direct



                                                                               23-50885.225
        Case: 23-50885    Document: 144   Page: 229   Date Filed: 06/19/2024

                  Examinations by Fiel Houston, Inc., Friendship-West Baptist
                  Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                  Mexican American Bar Association of Texas, Southwest Voter
                  Registration Education Project, Texas Hispanics Organized for
                  Political Education, Texas Impact, William C. Velasquez Institute
                  (Attachments: # 1 Sealed Exhibit, # 2Sealed Exhibit, # 3 Sealed
                  Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                  Exhibit, # 9 Exhibit)(Longoria, Julia) Modified on 10/20/2023 (wg).
                  (Entered: 09/18/2023)
09/19/2023   780 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial Resumes on 9/19/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox & Tish Moncivias.)(wg) (Entered: 09/20/2023)
09/20/2023   781 STIPULATION by Kim Ogg. (Nichols, Eric) (Entered: 09/20/2023)
09/20/2023   782 Unopposed MOTION to Withdraw as Attorney Paul R. Genender
                 by La Union Del Pueblo Entero. (Attachments: # 1 Proposed
                 Order)(Ryan, Elizabeth) (Entered: 09/20/2023)
09/20/2023   784 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: BENCH TRIAL RECESSES FOR THE DAY, RETURNING
                 ON: Thursday, September 21, 2023 at 9:00 am.Bench Trial held
                 on 9/20/2023 (Minute entry documents are not available
                 electronically.). (Court Reporter Gigi Simcox, Angela Hailey.)(wg)
                 (Entered: 09/22/2023)
09/21/2023   783 NOTICE of Attorney Appearance by James David Cromley on
                 behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority
                 Inc., Houston Area Urban League, The Arc of Texas. Attorney
                 James David Cromley added to party Jeffrey Lamar
                 Clemmons(pty:conpla), Attorney James David Cromley added to
                 party Delta Sigma Theta Sorority Inc.(pty:conpla), Attorney
                 James David Cromley added to party Houston Area Urban
                 League(pty:conpla), Attorney James David Cromley added to
                 party The Arc of Texas(pty:conpla) (Cromley, James) (Entered:
                 09/21/2023)
09/21/2023        Text Order GRANTING 782 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Paul R. Genender is hereby
                  WITHDRAWN as counsel for Friendship-West Baptist Church,
                  Texas Impact, and James Lewin, who will continue to be
                  represented by remaining counsel of record. (This is a text-only
                  entry generated by the court. There is no document associated
                  with this entry.) (cb) (Entered: 09/21/2023)
09/21/2023        (Court only) *** Attorney Paul R. Genender terminated. (bt)
                  (Entered: 09/21/2023)
09/21/2023   785 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 9/21/2023 (Minute entry


                                                                                23-50885.226
        Case: 23-50885   Document: 144    Page: 230   Date Filed: 06/19/2024

                  documents are not available electronically.). (Court Reporter Gigi
                  Simcox, Angela Hailey.)(wg) (Entered: 09/22/2023)
09/22/2023   787 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 9/22/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox, Angela Hailey.)(wg) (Entered: 09/28/2023)
09/25/2023   786 MOTION to Appear Pro Hac Vice by Derek H. Ha on behalf of
                 William D'Angelo III ( Filing fee $ 100 receipt number ATXWDC-
                 17916446) by on behalf of Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, The Arc
                 of Texas. (Ha, Derek) (Entered: 09/25/2023)
09/26/2023        Text Order GRANTING 786 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (Entered:
                  09/26/2023)
09/28/2023   788 MOTION to Appear Pro Hac Vice by Thomas Paul Buser-Clancy
                 for Elissa Gershon ( Filing fee $ 100 receipt number ATXWDC-
                 17933230) by on behalf of League of Women Voters of Texas,
                 OCA-Greater Houston, REVUP-Texas. (Buser-Clancy, Thomas)
                 (Entered: 09/28/2023)
09/28/2023        Text Order GRANTING 788 Motion to Appear Pro Hac Vice
                  entered by Judge Xavier Rodriguez. Pursuant to our
                  Administrative Policies and Procedures for Electronic Filing, the
                  attorney hereby granted permission to practice pro hac vice in
                  this case must register for electronic filing with our court within
                  10 days of this order. Registration is managed by the PACER
                  Service Center. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (Entered:
                  09/28/2023)
10/02/2023   789 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/2/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(wg) (Main Document 789 replaced on 10/3/2023) (wg).
                 (Entered: 10/03/2023)
10/03/2023   790 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/3/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox, Chris Poage.)(je3) (Entered: 10/04/2023)




                                                                               23-50885.227
        Case: 23-50885   Document: 144    Page: 231   Date Filed: 06/19/2024


10/04/2023   791 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/4/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox, Chris Poage.)(je3) (Entered: 10/05/2023)
10/05/2023        Text Order MOOTING 761 LUPE Plaintiffs' Motion to Strike and
                  GRANTING 761 LUPE Plaintiffs' Motion in Limine entered by Judge
                  Xavier Rodriguez. LUPE Plaintiffs' Motion to Strike the
                  Declaration of Jonathan White is MOOT in light of the State
                  Defendants' representation in open court that they do not intend
                  to rely on the declaration at trial. LUPE Plaintiffs' Motion in
                  Limine as to the testimony of Jonathan White and Keith Ingram
                  is GRANTED for the reasons stated in open court on September
                  20, 2023. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (Entered:
                  10/05/2023)
10/05/2023        Text Order MOOTING 746 State Defendants' Motion in Limine
                  entered by Judge Xavier Rodriguez. The State Defendants'
                  motion to exclude the testimony of Dr. Kara Ayers is MOOT in
                  light of the Private Plaintiffs' representation in open court on
                  September 11, 2023, that Dr. Ayers will not testify in this matter.
                  The remaining objections to the testimony of Ameer Patel and
                  Dr. Daniel Smith's Addendum to his Third Supplemental Report
                  are MOOT because they were withdrawn by the State
                  Defendants in open court on September 11, 2023 and October
                  5, 2023, respectively. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.)
                  (Entered: 10/05/2023)
10/05/2023   792 NOTICE OF FILING SUBSTITUTE EXHIBITS (ECF 692 AND 779) by
                 Fiel Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute (Attachments: # 1 Exhibit, # 2
                 Exhibit, # 3 Exhibit, # 4 Exhibit)(Longoria, Julia) (Entered:
                 10/05/2023)
10/05/2023   793 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/5/2023. (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox, Chris Poage.)(jb3) (Main Document 793 replaced on
                 10/17/2023) (mgr). (Entered: 10/06/2023)
10/05/2023        ORAL MOTION to Amend and Resubmit Exhibits by La Union Del
                  Pueblo Entero. (jb3) (Entered: 10/06/2023)
10/05/2023        ORDER GRANTING [] Motion to Amend and Resubmit Exhibits
                  Signed by Judge Xavier Rodriguez. (jb3) (Entered: 10/06/2023)



                                                                               23-50885.228
        Case: 23-50885   Document: 144    Page: 232   Date Filed: 06/19/2024


10/06/2023   795 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/6/2023 (Minute entry
                 documents are not available electronically.) (Court Reporter Gigi
                 Simcox.)(je3) (Entered: 10/10/2023)
10/10/2023   794 WITNESS/EXHIBIT LIST by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS. (Hunker, Kathleen)
                 (Entered: 10/10/2023)
10/10/2023   796 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/10/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox and Chris Poage.)(je3) (Entered: 10/11/2023)
10/11/2023   797 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/11/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox and Chris Poage.)(je3) (Entered: 10/11/2023)
10/12/2023   798 Exhibit List and Supplemental Pretrial Disclosures by Dallas
                 County Republican Party, Harris County Republican Party,
                 National Republican Congressional Committee, National
                 Republican Senatorial Committee, Republican National
                 Committee.. (Gore, John) (Entered: 10/12/2023)
10/12/2023   799 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/12/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(je3) (Entered: 10/12/2023)
10/12/2023   800 NOTICE of HAUL Plaintiffs Amended Deposition Designations by
                 Jeffrey Lamar Clemmons, Delta Sigma Theta Sorority Inc.,
                 Houston Area Urban League, The Arc of Texas re 690 Pretrial
                 Disclosures (Attachments: # 1 Exhibit A - Colvin, Jennifer 03-21-
                 2023 Designations, # 2 Exhibit B - Smith, Lauren 03-21-2023
                 Designations, # 3 Exhibit C - Cain, Briscoe 04-21-2022
                 Designations, # 4 Exhibit D - Hughes, Bryan 04-19-2022, # 5
                 Exhibit E - Gomez, Maria 04-25-2023 Designations, # 6 Exhibit F
                 - Murr, Andrew 05-22-2022 Deposition, # 7 Exhibit G - Anchia,
                 Rafael 08-22-2022 Designations, # 8 Exhibit H - Alvarado, Carol
                 10-06-2022 Designations, # 9 Exhibit I - Vera, Alan 02-27-2023
                 Designations, # 10 Exhibit J - Collier, Nicole 01-30-2023
                 Designations, # 11 Exhibit K - Crowther, Nancy 06-17-2022
                 Designations, # 12 Exhibit L - Scott, Anne 04-18-2023
                 Designations, # 13 Errata M - Scott, Taylor 04-18-2023
                 Designations, # 14 Exhibit N - Iglesias, Yvonne 04-17-2023
                 Designations)(Holmes, Jennifer) (Entered: 10/12/2023)
10/15/2023   801 Opposed MOTION FOR JUDICIAL NOTICE by League of Women
                 Voters of Texas, OCA-Greater Houston, REVUP-Texas.
                 (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3


                                                                                23-50885.229
        Case: 23-50885   Document: 144     Page: 233   Date Filed: 06/19/2024

                  Exhibit Exhibit 3, # 4 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6
                  Exhibit Exhibit 6, # 7 Exhibit Exhibit 7, # 8 Exhibit Exhibit 8, # 9
                  Exhibit Exhibit 9, # 10 Exhibit Exhibit 10, # 11 Exhibit Exhibit 11,
                  # 12 Exhibit Exhibit 12, # 13 Exhibit Exhibit 13, # 14 Proposed
                  Order Proposed Order Granting OCA Plaintiffs' Request for
                  Judicial Notice)(Dolling, Zachary) (Entered: 10/15/2023)
10/16/2023   802 Amended MOTION FOR JUDICIAL NOTICE re 801 Opposed
                 MOTION FOR JUDICIAL NOTICE by League of Women Voters of
                 Texas, OCA-Greater Houston, REVUP-Texas. (Attachments: # 1
                 Exhibit Exhibit 1, # 2 Proposed Order Proposed Order Granting
                 OCA Plaintiffs' Amended Request for Judicial Notice)(Dolling,
                 Zachary) (Entered: 10/16/2023)
10/16/2023   803 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/16/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox, Angela Hailey.)(je3) (Entered: 10/17/2023)
10/17/2023        Text Order MOOTING 801 Motion for Judicial Notice entered by
                  Judge Xavier Rodriguez in light of the filing of an amended
                  motion 802 . (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (cb) (Entered:
                  10/17/2023)
10/17/2023   804 MOTION for Judgment on Partial Findings by Kim Ogg.
                 (Attachments: # 1 Exhibit)(Nichols, Eric) (Entered: 10/17/2023)
10/17/2023   805 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/17/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox and Angela Hailey.)(je3) (Entered: 10/18/2023)
10/18/2023   806 STIPULATION to Certain Facts by Fiel Houston, Inc., Friendship-
                 West Baptist Church, JOLT Action, James Lewin, La Union Del
                 Pueblo Entero, Mexican American Bar Association of Texas,
                 Southwest Voter Registration Education Project, Texas Hispanics
                 Organized for Political Education, Texas Impact, William C.
                 Velasquez Institute. (Attachments: # 1 Appendix A, # 2 Appendix
                 B, # 3 Affidavit C)(Morales-Doyle, Sean) (Entered: 10/18/2023)
10/18/2023   808 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/18/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(je3) (Entered: 10/19/2023)
10/19/2023   807 Unopposed MOTION Judicial Notice by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS. (Attachments: # 1
                 Appendix Appendix A, # 2 Appendix Appendix B)(Hunker,
                 Kathleen) (Entered: 10/19/2023)




                                                                                 23-50885.230
        Case: 23-50885    Document: 144   Page: 234    Date Filed: 06/19/2024


10/19/2023   809 Unopposed MOTION to Seal ECF Nos. 779-1, 779-2, and 779-3
                 Pursuant to Protective Order by Lisa Wise. (Hartnett, Kathleen)
                 (Entered: 10/19/2023)
10/19/2023        Text Order GRANTING 807 Motion entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (XR) (Entered:
                  10/19/2023)
10/19/2023        Text Order GRANTING 809 Motion entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (XR) (Entered:
                  10/19/2023)
10/19/2023        Text Order GRANTING 802 Motion entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (XR) (Entered:
                  10/19/2023)
10/19/2023   812 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/19/2023 (Minute entry
                 documents are not available electronically.) (Court Reporter Gigi
                 Simcox.)(je3) (Entered: 10/20/2023)
10/20/2023   810 NOTICE St. Def. Amended Depo Designations by Gregory W.
                 Abbott, Jane Nelson, Warren K. Paxton, STATE OF TEXAS
                 (Attachments: # 1 Exhibit Exhibit 431, # 2 Exhibit Exhibit 432, #
                 3 Exhibit Exhibit 433, # 4 Exhibit Exhibit 434, # 5 Exhibit Exhibit
                 435, # 6 Exhibit Exhibit 436, # 7 Exhibit Exhibit 437, # 8 Exhibit
                 Exhibit 438, # 9 Exhibit Exhibit 439, # 10 Exhibit Exhibit 440, #
                 11 Exhibit Exhibit 441, # 12 Exhibit Exhibit 442, # 13 Exhibit
                 Exhibit 443, # 14 Exhibit Exhibit 444)(Hunker, Kathleen)
                 (Entered: 10/20/2023)
10/20/2023   811 Unopposed MOTION Request for Judicial Notice by Gregory W.
                 Abbott, Jane Nelson, Warren K. Paxton, STATE OF TEXAS.
                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)
                 (Kercher, Ryan) (Entered: 10/20/2023)
10/20/2023   813 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: STATE DEFENDANTS AND INTERVENORS REST AS TO
                 PHASE I OF THE TRIAL.Bench Trial held on 10/20/2023 (Minute
                 entry documents are not available electronically.). (Court
                 Reporter Gigi Simcox.)(wg) (Entered: 10/20/2023)
10/20/2023   814 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Bench Trial held on 10/20/2023 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(je3) (Entered: 10/20/2023)
10/20/2023   815 Plaintiff's & Defendant's Witness List by Gregory W. Abbott, John
                 Creuzot, Dallas County Republican Party, Jose A. Esparza, Fiel


                                                                                23-50885.231
        Case: 23-50885    Document: 144   Page: 235   Date Filed: 06/19/2024

                  Houston, Inc., Friendship-West Baptist Church, Jose Garza, Joe
                  Gonzales, Rebecca Guerrero, Harris County Republican Party,
                  Teneshia Hudspeth, JOLT Action, James Lewin, La Union Del
                  Pueblo Entero, Dyana Limon-Mercado, Marla Lopez, Marlon
                  Lopez, Mexican American Bar Association of Texas, Mi Familia
                  Vota, National Republican Congressional Committee, National
                  Republican Senatorial Committee, Kim Ogg, Warren K. Paxton,
                  Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Southwest
                  Voter Registration Education Project, Texas Hispanics Organized
                  for Political Education, Texas Impact, Lupe C. Torres, William C.
                  Velasquez Institute, Lisa Wise. (wg) (Entered: 10/20/2023)
10/20/2023   816 List of Witnesses. (je3) (Entered: 10/20/2023)
10/20/2023   818 Exhibit List. (je3) (Entered: 11/06/2023)
10/22/2023        Text Order GRANTING 811 Unopposed Motion for Judicial Notice
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (Entered: 10/22/2023)
10/31/2023   817 COPY of Letter of transmittal from USCA to Ms. Lanora Christine
                 Pettit received for 457 458 459 Notice of Appeal - Interlocutory,
                 filed by Warren K. Paxton, Gregory W. Abbott, Jose A. Esparza,
                 Jane Nelson, STATE OF TEXAS.***Attached is a revised case
                 caption, which should be used on all future filings in this case.
                 Ken Paxton has replaced Angela Colmenero as Attorney
                 General, State of Texas.*** (dtg) (Entered: 10/31/2023)
11/28/2023   819 MOTION for Extension of Time to File For All Parties to FIle
                 Proposed Findings of Fact and Conclusions of Law by Fiel
                 Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 James Lewin, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education, Texas
                 Impact, The Anti-Defamation League Austin, Southwest, and
                 Texoma. (Attachments: # 1 Proposed Order)(Perales, Nina)
                 (Entered: 11/28/2023)
11/28/2023        Text Order GRANTING 819 Motion for Extension of Time to File
                  Proposed Findings of Fact and Conclusions of Law entered by
                  Judge Xavier Rodriguez. The deadline for all parties to file their
                  proposed findings of fact and conclusions of law is hereby
                  extended to January 12, 2024, and oral argument in this matter
                  is hereby re-set to February 13, 2024 at 10:00 a.m. (This is a
                  text-only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 11/28/2023)
11/29/2023   820 MEMORANDUM OPINION AND ORDER, GRANTED IN
                 PART/DENIED IN PART re 611 Motion for Partial Summary
                 Judgment filed by REVUP-Texas, League of Women Voters of



                                                                               23-50885.232
        Case: 23-50885   Document: 144    Page: 236   Date Filed: 06/19/2024

                  Texas, OCA-Greater Houston, GRANTED 609 Motion for
                  Summary Judgment, filed by United States Of America, It is
                  ORDERED that the State Defendants, the Harris County Elections
                  Administrator, and the Travis County Clerk, their agents and
                  successors in office, and all persons acting in concert with them
                  are PERMANENTLY ENJOINED from enforcing the requirements
                  of Section 5.07 and 5.13 of Senate Bill 1 that violate Section 101
                  of the Civil Rights Act of 1964,52 U.S.C. § 10101(a)(2)(B). The
                  United States, the OCA Plaintiffs, and the State Defendants, are
                  hereby ORDERED to meet and confer concerning an appropriate
                  remedial plan and, by no later than December 15, 2023, to file a
                  proposed order or a joint advisory indicating points of
                  disagreement. Signed by Judge Xavier Rodriguez. (wg) (Entered:
                  11/29/2023)
11/29/2023   821 MEMORANDUM OPINION AND ORDER GRANTING IN PART AND
                 DENYING IN PART re 611 Motion for Partial Summary Judgment
                 filed by REVUP-Texas, League of Women Voters of Texas, OCA-
                 Greater Houston, GRANTING 609 Motion for Summary
                 Judgment, filed by United States Of America. The United States,
                 the OCA Plaintiffs, and the State Defendants, are hereby
                 ORDERED to meet and confer concerning an appropriate
                 remedial plan and, by no later than December 15,2023, to file a
                 proposed order or a joint advisory indicating points of
                 disagreement. Signed by Judge Xavier Rodriguez. (mgr)
                 (Entered: 11/30/2023)
12/01/2023   822 Unopposed MOTION to Withdraw as Attorney Noah B. Baron by
                 LULAC Texas, Texas AFT, Texas Alliance for Retired Americans,
                 Voto Latino. (Baron, Noah) (Entered: 12/01/2023)
12/01/2023   823 Appeal of Final Judgment 821 by STATE OF TEXAS. No filing fee
                 submitted (Kercher, Ryan) (Entered: 12/01/2023)
12/01/2023        NOTICE OF APPEAL following 823 Notice of Appeal (E-Filed) by
                  Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                  TEXAS. Per 5th Circuit rules, the appellant has 14 days, from the
                  filing of the Notice of Appeal, to order the transcript. To order a
                  transcript, the appellant should fill out a (Transcript Order) and
                  follow the instructions set out on the form. This form is available
                  in the Clerk's Office or by clicking the hyperlink above. (wg)
                  (Entered: 12/04/2023)
12/02/2023   824 Opposed MOTION to Stay Court's Order Pending Appeal or, in
                 the Alternative, for Administrative Stay Pending Appeal and
                 Request for Expedited Consideration by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS. (Attachments: # 1
                 Proposed Order)(Kercher, Ryan) (Entered: 12/02/2023)
12/04/2023   825 Response in Opposition to Motion, filed by United States Of
                 America, re 824 Opposed MOTION to Stay Court's Order


                                                                               23-50885.233
        Case: 23-50885   Document: 144    Page: 237    Date Filed: 06/19/2024

                  Pending Appeal or, in the Alternative, for Administrative Stay
                  Pending Appeal and Request for Expedited Consideration filed by
                  Defendant Warren K. Paxton, Defendant Gregory W. Abbott,
                  Consol Defendant Jane Nelson, Consol Defendant STATE OF
                  TEXAS (Paikowsky, Dana) (Entered: 12/04/2023)
12/04/2023        Text Order GRANTING 822 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Noah B. Baron is hereby
                  WITHDRAWN as counsel for Plaintiffs LULAC Texas, Voto Latino,
                  Texas Alliance for Retired Americans, and Texas AFT, which will
                  continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (cb) (Entered: 12/04/2023)
12/04/2023   826 OCA Plaintiff's Response in Opposition to Motion, filed by League
                 of Women Voters of Texas, OCA-Greater Houston, REVUP-Texas,
                 re 824 Opposed MOTION to Stay Court's Order Pending Appeal
                 or, in the Alternative, for Administrative Stay Pending Appeal
                 and Request for Expedited Consideration filed by Defendant
                 Warren K. Paxton, Defendant Gregory W. Abbott, Consol
                 Defendant Jane Nelson, Consol Defendant STATE OF TEXAS
                 (Mirza, Hani) (Entered: 12/04/2023)
12/04/2023        (Court only) *** Attorney Noah B. Baron terminated. (wg)
                  (Entered: 12/04/2023)
12/04/2023   827 Appeal of Order entered by District Judge 821 , 820 by Dallas
                 County Republican Party, Harris County Republican Party,
                 National Republican Congressional Committee, National
                 Republican Senatorial Committee, Republican National
                 Committee. No filing fee submitted (Gore, John) (Entered:
                 12/04/2023)
12/04/2023   828 MOTION to Stay Court's Order Pending Appeal or, in the
                 Alternative, for Administrative Stay Pending Appeal and Request
                 for Expedited Consideration by Dallas County Republican Party,
                 Harris County Republican Party, National Republican
                 Congressional Committee, National Republican Senatorial
                 Committee, Republican National Committee. (Gore, John)
                 (Entered: 12/04/2023)
12/04/2023        NOTICE OF APPEAL following 827 Notice of Appeal (E-Filed), by
                  Dallas County Republican Party, Harris County Republican Party,
                  National Republican Congressional Committee, National
                  Republican Senatorial Committee, Republican National
                  Committee. Per 5th Circuit rules, the appellant has 14 days,
                  from the filing of the Notice of Appeal, to order the transcript. To
                  order a transcript, the appellant should fill out a (Transcript
                  Order) and follow the instructions set out on the form. This form
                  is available in the Clerk's Office or by clicking the hyperlink
                  above. (wg) (Entered: 12/04/2023)


                                                                                23-50885.234
        Case: 23-50885   Document: 144   Page: 238   Date Filed: 06/19/2024


12/04/2023   829 NOTICE of Attorney Appearance by Sameer Singh Birring on
                 behalf of Jose Garza, Dyana Limon-Mercado. Attorney Sameer
                 Singh Birring added to party Jose Garza(pty:dft), Attorney
                 Sameer Singh Birring added to party Dyana Limon-
                 Mercado(pty:dft) (Birring, Sameer) (Entered: 12/04/2023)
12/04/2023   830 ORDER DENYING 828 Motion to Stay, DENYING 824 Motion to
                 Stay Consideration Signed by Judge Xavier Rodriguez. (mgr)
                 Modified on 12/6/2023, to edit text (mgr). (Entered: 12/04/2023)
12/04/2023        (Court only) ***Motions terminated: See de #830 824 Opposed
                  MOTION to Stay Court's Order Pending Appeal or, in the
                  Alternative, for Administrative Stay Pending Appeal and Request
                  for Expedited Consideration filed by Warren K. Paxton, Gregory
                  W. Abbott, Jane Nelson, STATE OF TEXAS. (mgr) (Entered:
                  12/06/2023)
12/05/2023   831 COPY of Letter of transmittal from USCA to Ms. Kathleen
                 Theresa Hunker, Mr. Ryan Glen Kercher, Mr. William D. Wassdorf
                 received for 823 Notice of Appeal, filed by Warren K. Paxton,
                 Gregory W. Abbott, Jane Nelson, STATE OF TEXAS.***We have
                 docketed the appeal and ask you to use the case number above
                 in future inquiries.*** (dtg) (Entered: 12/06/2023)
12/05/2023        (Court only) USCA Case Number 23-50885 (Doc. 823) for 823
                  Notice of Appeal, filed by Warren K. Paxton, Gregory W. Abbott,
                  Jane Nelson, STATE OF TEXAS. (dtg) (Entered: 12/06/2023)
12/05/2023   832 COPY of Letter of transmittal from USCA to Mr. John Matthew
                 Gore received for 827 Notice of Appeal, filed by National
                 Republican Congressional Committee, Harris County Republican
                 Party, Dallas County Republican Party, Republican National
                 Committee, National Republican Senatorial Committee.***We
                 have docketed the appeal as shown above, and ask you to use
                 the case number above in future inquiries.*** (dtg) (Entered:
                 12/06/2023)
12/05/2023        (Court only) ADDITIONAL USCA Case Number 23-50887 (Doc.
                  827) for 827 Notice of Appeal, filed by National Republican
                  Congressional Committee, Harris County Republican Party,
                  Dallas County Republican Party, Republican National Committee,
                  National Republican Senatorial Committee.***MAIN/LEAD USCA
                  #23-50885.*** (dtg) (Entered: 12/06/2023)
12/06/2023   833 ORDER of USCA (certified copy). re 823 Notice of Appeal, 827
                 Notice of Appeal.***IT IS ORDERED that Appellants opposed
                 motion for a temporary administrative stay is GRANTED.
                 Appellees shall file a response to the emergency motion to stay
                 the District Courts order and for a permanent injunction pending
                 appeal no later than 9:00 a.m. on Monday, December 11, 2023.
                 Appellants shall file a reply no later than noon on Tuesday,


                                                                              23-50885.235
        Case: 23-50885   Document: 144    Page: 239   Date Filed: 06/19/2024

                  December 12, 2023.*** (Attachments: # 1 TRANSMITTAL
                  LETTER FROM USCA5)(dtg) (Entered: 12/06/2023)
12/08/2023   834 TRANSCRIPT REQUEST by Dallas County Republican Party, Harris
                 County Republican Party, National Republican Congressional
                 Committee, National Republican Senatorial Committee,
                 Republican National Committee. (Gore, John)***Modified TEXT
                 on 12/11/2023 (dtg).***NO HEARINGS.***TRANSCRIPT IS
                 UNNECESSARY FOR APPEAL PURPOSES.*** (Entered:
                 12/08/2023)
12/11/2023   835 TRANSCRIPT REQUEST by Jane Nelson, Warren K. Paxton, STATE
                 OF TEXAS. Proceedings Transcribed: n/a. Court Reporter: Gigi
                 Simcox.. (Hunker, Kathleen)***Modified TEXT on 12/12/2023
                 (dtg).***NO HEARINGS.***TRANSCRIPT IS UNNECESSARY FOR
                 APPEAL PURPOSES.*** (Entered: 12/11/2023)
12/15/2023   836 ADVISORY TO THE COURT by United States Of America .
                 (Freeman, Daniel) (Entered: 12/15/2023)
12/15/2023   837 MOTION to Withdraw as Attorney Dana Paikowsky by United
                 States Of America. (Attachments: # 1 Proposed Order)
                 (Paikowsky, Dana) (Entered: 12/15/2023)
12/15/2023   838 ORDER of USCA (certified copy). re 823 Notice of Appeal, 827
                 Notice of Appeal.***ORDER GRANTING STAY PENDING
                 APPEAL***We GRANT Appellants motion for the reasons
                 discussed above and exercise our discretion to STAY the district
                 courts order and injunction pending appeal.*** (Attachments: #
                 1 TRANSMITTAL LETTER FROM USCA5)(dtg) (Entered:
                 12/15/2023)
12/19/2023        Text Order GRANTING 837 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Dana Paikowsky to withdraw
                  as counsel of record for the United States, which will continue to
                  be represented by remaining counsel of record. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (cb) (Entered: 12/19/2023)
12/19/2023        (Court only) *** Attorney Dana Paikowsky terminated. (wg)
                  (Entered: 12/19/2023)
12/20/2023   839 Letter of transmittal from USCA received for 823 Notice of
                 Appeal, filed by Warren K. Paxton, Gregory W. Abbott, Jane
                 Nelson, STATE OF TEXAS, 827 Notice of Appeal, filed by National
                 Republican Congressional Committee, Harris County Republican
                 Party, Dallas County Republican Party, Republican National
                 Committee, National Republican Senatorial Committee.***The
                 court has taken the following action in this case: Motion for
                 extension of time to file the electronic record on appeal is
                 granted to 2/5/2024.*** (dtg) (Entered: 12/21/2023)



                                                                               23-50885.236
        Case: 23-50885   Document: 144    Page: 240   Date Filed: 06/19/2024


01/09/2024   840 Unopposed MOTION for Extension of Time to File Proposed
                 Findings of Fact and Conclusions of Law by Gregory W. Abbott,
                 Jane Nelson, Warren K. Paxton, STATE OF TEXAS. (Attachments:
                 # 1 Exhibit, # 2 Proposed Order)(Kercher, Ryan) (Entered:
                 01/09/2024)
01/10/2024        Text Order GRANTING 840 Motion for Extension of Time to File
                  entered by Judge Xavier Rodriguez. The deadline for the parties
                  to file proposed findings of fact and conclusions of law is hereby
                  extended to January 19, 2024. All other deadlines remain
                  unchanged. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (Entered:
                  01/10/2024)
01/10/2024   841 MOTION to Amend/Correct Trial Transcript by Fiel Houston, Inc.,
                 Friendship-West Baptist Church, JOLT Action, James Lewin, La
                 Union Del Pueblo Entero, Mexican American Bar Association of
                 Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute. (Attachments: # 1 Proposed
                 Order, # 2 Exhibit Ex. 1 Tania Chavez Errata, # 3 Exhibit Ex. 2
                 Juanita Valdez -Cox Errata, # 4 Exhibit Ex. 3 Cris Rocha Errata, #
                 5 Exhibit Ex. 4 Toby Cole Errata, # 6 Exhibit Ex. 5 Louis Perales
                 Errata, # 7 Exhibit Ex. 6 Cesar Espinosa Errata, # 8 Exhibit Ex. 7
                 Joe Cardenas Errata, # 9 Exhibit Ex. 8 Jana Ortega Errata, # 10
                 Exhibit Ex. 9 Lisa Wise Errata, # 11 Exhibit Ex. 10 Michael
                 Scarpello Errata, # 12 Exhibit Ex. 11 Tacoma Phillips Errata, # 13
                 Exhibit Ex. 12 Remi Garza Errata, # 14 Exhibit Ex. 13 Yvonne
                 Ramon Errata, # 15 Exhibit Ex. 14 Dana DeBeauvoir Errata, #
                 16 Exhibit Ex. 15 Danielle Ayers Errata, # 17 Exhibit Ex. 16
                 James Lewin Errata, # 18 Exhibit Ex. 17 Joshua Houston Errata,
                 # 19 Exhibit Ex. 18 Richard Ertel Errata, # 20 Exhibit Ex. 19
                 Douglas Kruse Errata)(Perales, Nina) (Entered: 01/10/2024)
01/11/2024   842 Unopposed MOTION to Withdraw as Attorney Megan Ashley
                 Rusciano by Delta Sigma Theta Sorority Inc., Houston Area
                 Urban League, The Arc of Texas. (Attachments: # 1 Proposed
                 Order Text of Proposed Order)(Rusciano, Megan) (Entered:
                 01/11/2024)
01/15/2024        Text Order DENYING 841 Motion to Amend/Correct the Trial
                  Transcript entered by Judge Xavier Rodriguez. Although the trial
                  transcript itself will not be amended, the Court adopts the
                  corrections identified in the errata sheets and will reference
                  those corrections in any applicable citations to the trial
                  transcript. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (Entered:
                  01/15/2024)




                                                                               23-50885.237
        Case: 23-50885   Document: 144   Page: 241   Date Filed: 06/19/2024


01/15/2024        Text Order GRANTING 842 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Megan Ashley Rusciano is
                  hereby WITHDRAWN as counsel for Houston Area Urban League,
                  Delta Sigma Theta Sorority, The Arc of Texas, and Jeffrey Lamar
                  Clemmons (the "HAUL Plaintiffs"). The HAUL Plaintiffs will
                  continue to be represented by remaining counsel of record.
                  (This is a text-only entry generated by the court. There is no
                  document associated with this entry.) (Entered: 01/15/2024)
01/15/2024        (Court only) *** Attorney Megan Ashley Rusciano terminated.
                  (wg) (Entered: 01/16/2024)
01/19/2024   843 Proposed Findings of Fact by John Creuzot, Michael Scarpello.
                 (Attachments: # 1 Proposed Order findings of fact & conclusion
                 of law, # 2 Proposed Order finding of fact & conclusion of law)
                 (Stool, Ben) (Entered: 01/19/2024)
01/19/2024   844 Proposed Order for destruction of election records to 207
                 Amended Complaint, 208 Amended Complaint, by Michael
                 Scarpello. (Attachments: # 1 Proposed Order destruction of
                 election records)(Stool, Ben) (Entered: 01/19/2024)
01/19/2024   845 Proposed Findings of Fact by Kim Ogg. (Liu, Cory) (Entered:
                 01/19/2024)
01/19/2024   846 Proposed Findings of Fact by Mi Familia Vota. (Olson, Wendy)
                 (Entered: 01/19/2024)
01/19/2024   847 Proposed Findings of Fact by Gregory W. Abbott, Dallas County
                 Republican Party, Jose A. Esparza, Harris County Republican
                 Party, National Republican Congressional Committee, National
                 Republican Senatorial Committee, Jane Nelson, Warren K.
                 Paxton, STATE OF TEXAS. (Wassdorf, William) (Entered:
                 01/19/2024)
01/19/2024   848 Proposed Findings of Fact by League of Women Voters of Texas,
                 OCA-Greater Houston, REVUP-Texas. (Campbell-Harris, Dayton)
                 (Entered: 01/19/2024)
01/19/2024   849 Proposed Findings of Fact by LULAC Texas, Texas AFT, Texas
                 Alliance for Retired Americans, Voto Latino. (Nkwonta, Uzoma)
                 (Entered: 01/19/2024)
01/19/2024   850 Proposed Findings of Fact by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, William C. Velasquez
                 Institute. (Perales, Nina) (Entered: 01/19/2024)
01/19/2024   851 Proposed Findings of Fact by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS. (Kercher, Ryan) (Entered:



                                                                               23-50885.238
        Case: 23-50885    Document: 144   Page: 242   Date Filed: 06/19/2024

                  01/19/2024)
01/19/2024   852 Proposed Findings of Fact by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, The Arc
                 of Texas. (Ha, Derek) (Entered: 01/19/2024)
01/19/2024   853 Proposed Findings of Fact by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS. (Kercher, Ryan) (Entered:
                 01/19/2024)
01/20/2024   854 Proposed Findings of Fact by Fiel Houston, Inc., Friendship-West
                 Baptist Church, JOLT Action, James Lewin, La Union Del Pueblo
                 Entero, Mexican American Bar Association of Texas, Southwest
                 Voter Registration Education Project, Texas Hispanics Organized
                 for Political Education, Texas Impact, William C. Velasquez
                 Institute. (Tulin, Leah) (Entered: 01/20/2024)
01/20/2024   855 SUPPLEMENT to 854 Proposed Findings of Fact, by Fiel Houston,
                 Inc., JOLT Action, La Union Del Pueblo Entero, Mexican American
                 Bar Association of Texas, Southwest Voter Registration Education
                 Project, Texas Hispanics Organized for Political Education,
                 William C. Velasquez Institute. (Perales, Nina) (Entered:
                 01/20/2024)
01/20/2024   856 Proposed Findings of Fact by Jeffrey Lamar Clemmons, Delta
                 Sigma Theta Sorority Inc., Houston Area Urban League, Marla
                 Lopez, Marlon Lopez, Mi Familia Vota, The Arc of Texas. (Holmes,
                 Jennifer) (Entered: 01/20/2024)
01/20/2024   857 NOTICE of Joinder by Dallas County Republican Party, Harris
                 County Republican Party, National Republican Congressional
                 Committee, National Republican Senatorial Committee,
                 Republican National Committee (Gore, John) (Entered:
                 01/20/2024)
01/20/2024   858 Unopposed MOTION to Amend/Correct 851 Proposed Findings of
                 Fact, 853 Proposed Findings of Fact by Gregory W. Abbott, Jane
                 Nelson, Warren K. Paxton, STATE OF TEXAS. (Attachments: # 1
                 Proposed Order)(Kercher, Ryan) (Entered: 01/20/2024)
01/21/2024   859 MOTION for Leave to File Motion for Leave to File out of. Time
                 Dkt. 854, Dkt. 855 by Fiel Houston, Inc., Friendship-West Baptist
                 Church, JOLT Action, James Lewin, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, William C. Velasquez Institute. (Attachments:
                 # 1 Proposed Order)(Perales, Nina) (Entered: 01/21/2024)
01/21/2024   860 Unopposed MOTION for Leave to File Out of Time Proposed
                 Findings of Fact and Conclusions of Law by Jeffrey Lamar
                 Clemmons, Delta Sigma Theta Sorority Inc., Houston Area Urban
                 League, Marla Lopez, Marlon Lopez, Mi Familia Vota, The Arc of



                                                                               23-50885.239
        Case: 23-50885   Document: 144   Page: 243   Date Filed: 06/19/2024

                  Texas. (Attachments: # 1 Proposed Order)(Holmes, Jennifer)
                  (Entered: 01/21/2024)
01/21/2024   861 Proposed Findings of Fact by Gregory W. Abbott, Jane Nelson,
                 Warren K. Paxton, STATE OF TEXAS. (Kercher, Ryan) (Entered:
                 01/21/2024)
01/21/2024   862 Proposed Findings of Fact by Gregory W. Abbott, Dallas County
                 Republican Party, Jose A. Esparza, Harris County Republican
                 Party, National Republican Congressional Committee, National
                 Republican Senatorial Committee, Warren K. Paxton, STATE OF
                 TEXAS. (Attachments: # 1 Exhibit A)(Kercher, Ryan) (Entered:
                 01/21/2024)
01/22/2024        Text Order GRANTING 860 Unopposed Motion for Leave to File
                  Out of Time Proposed Findings of Fact and Conclusions of Law
                  entered by Judge Xavier Rodriguez. (This is a text-only entry
                  generated by the court. There is no document associated with
                  this entry.) (Entered: 01/22/2024)
01/22/2024        Text Order GRANTING 859 Unopposed Motion for Leave to File
                  Out of Time entered by Judge Xavier Rodriguez. (This is a text-
                  only entry generated by the court. There is no document
                  associated with this entry.) (Entered: 01/22/2024)
01/22/2024        Text Order GRANTING 858 Motion to Amend Proposed Findings
                  of Fact and Conclusions of Law entered by Judge Xavier
                  Rodriguez. (This is a text-only entry generated by the court.
                  There is no document associated with this entry.) (Entered:
                  01/22/2024)
01/22/2024   863 ATTACHMENT Corrected Signature Block to 852 Proposed
                 Findings of Fact by Jeffrey Lamar Clemmons, Delta Sigma Theta
                 Sorority Inc., Houston Area Urban League, The Arc of Texas.
                 (Attachments: # 1 Corrected Signature Block)(Ha, Derek)
                 (Entered: 01/22/2024)
01/23/2024   864 BENCH TRIAL EXHIBITS by Houston Area Urban League.
                 (Attachments: # 1 Pla-HAUL-009, # 2 Pla-HAUL-016, # 3 Pla-
                 HAUL-017, # 4 Pla-HAUL-038, # 5 Pla-HAUL-044, # 6 Pla-HAUL-
                 059, # 7 Pla-HAUL-060, # 8 Pla-HAUL-083, # 9 Pla-HAUL-089, #
                 10 Pla-HAUL-090)(dtg) (Entered: 01/23/2024)
01/23/2024   865 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-091*** (Attachments: # 1 Pla-HAUL-094, # 2 Pla-HAUL-
                 095, # 3 Pla-HAUL-096, # 4 Pla-HAUL-097, # 5 Pla-HAUL-098, #
                 6 Pla-HAUL-099, # 7 Pla-HAUL-100, # 8 Pla-HAUL-101, # 9 Pla-
                 HAUL-102, # 10 Pla-HAUL-103)(dtg) (Entered: 01/23/2024)
01/23/2024   866 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-104*** (Attachments: # 1 Pla-HAUL-105, # 2 Pla-HAUL-




                                                                              23-50885.240
        Case: 23-50885   Document: 144   Page: 244   Date Filed: 06/19/2024

                  106, # 3 Pla-HAUL-107, # 4 Pla-HAUL-108)(dtg) (Entered:
                  01/23/2024)
01/23/2024   867 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-109*** (dtg) (Entered: 01/23/2024)
01/23/2024   868 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-110*** (dtg) (Entered: 01/23/2024)
01/23/2024   869 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-111*** (Attachments: # 1 Pla-HAUL-112, # 2 Pla-HAUL-
                 113)(dtg) (Attachment 1 replaced on 1/23/2024) (dtg).
                 (Attachment 1 replaced on 1/23/2024) (dtg). (Attachment 1
                 replaced on 3/14/2024) (dtg). (Attachment 1 replaced on
                 3/14/2024) (dtg). (Entered: 01/23/2024)
01/23/2024   870 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-111*** (dtg) (Entered: 01/23/2024)
01/23/2024   871 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-112*** (dtg) (Main Document 871 replaced on 3/15/2024)
                 (dtg). (Main Document 871 replaced on 3/18/2024) (dtg). (Main
                 Document 871 replaced on 3/21/2024) (dtg). (Entered:
                 01/23/2024)
01/23/2024   872 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-113*** (dtg) (Entered: 01/23/2024)
01/23/2024   873 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-114***(dtg) (Entered: 01/23/2024)
01/23/2024   874 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-115*** (dtg) (Entered: 01/23/2024)
01/23/2024   875 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-116*** (Attachments: # 1 Pla-HAUL-117)(dtg) (Entered:
                 01/23/2024)
01/24/2024   876 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-118, Part 1***(dtg) (Main Document 876 replaced on
                 1/24/2024) (dtg). (Entered: 01/24/2024)
01/24/2024   877 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-118, Part 2*** (dtg) (Entered: 01/24/2024)
01/24/2024   878 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-118, Part 3***(dtg) (Entered: 01/24/2024)
01/24/2024   879 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-118, Part 4*** (dtg) (Entered: 01/24/2024)
01/24/2024   880 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-119*** (dtg) (Entered: 01/24/2024)




                                                                              23-50885.241
        Case: 23-50885   Document: 144   Page: 245   Date Filed: 06/19/2024


01/24/2024   881 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-120***(dtg) (Entered: 01/24/2024)
01/24/2024   882 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-123*** (Attachments: # 1 Pla-HAUL-124, # 2 Pla-HAUL-
                 125, # 3 Pla-HAUL-126, # 4 Pla-HAUL-128, # 5 Pla-HAUL-129, #
                 6 Pla-HAUL-130)(dtg) (Entered: 01/24/2024)
01/24/2024   883 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-131*** (Attachments: # 1 Pla-HAUL-133, # 2 Pla-HAUL-
                 134, # 3 Pla-HAUL-135, # 4 Pla-HAUL-136, # 5 Pla-HAUL-167, #
                 6 Pla-HAUL-169)(dtg) (Entered: 01/24/2024)
01/24/2024   884 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-174*** (dtg) (Entered: 01/24/2024)
01/24/2024   885 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-175*** (dtg) (Entered: 01/24/2024)
01/24/2024   886 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-176*** (dtg) (Entered: 01/24/2024)
01/24/2024   887 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-177*** (Attachments: # 1 Pla-HAUL-178)(dtg) (Entered:
                 01/24/2024)
01/24/2024   888 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-179*** (dtg) (Entered: 01/24/2024)
01/24/2024   889 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-180*** (Attachments: # 1 Pla-HAUL-181, # 2 Pla-HAUL-
                 182)(dtg) (Entered: 01/24/2024)
01/24/2024   890 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-183*** (dtg) (Entered: 01/24/2024)
01/24/2024   891 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-184*** (Attachments: # 1 Pla-HAUL-186, # 2 Pla-HAUL-
                 188, # 3 Pla-HAUL-189)(dtg) (Entered: 01/24/2024)
01/24/2024   892 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-190*** (Attachments: # 1 Pla-HAUL-194, # 2 Pla-HAUL-
                 195, # 3 Pla-HAUL-196, # 4 Pla-HAUL-197, # 5 Pla-HAUL-198, #
                 6 Pla-HAUL-199)(dtg) (Entered: 01/24/2024)
01/24/2024   893 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-200*** (Attachments: # 1 Pla-HAUL-201, # 2 Pla-HAUL-
                 202, # 3 Pla-HAUL-203, # 4 Pla-HAUL-204, # 5 Pla-HAUL-205, #
                 6 Pla-HAUL-206, # 7 Pla-HAUL-207, # 8 Pla-HAUL-208, # 9 Pla-
                 HAUL-209)(dtg) (Entered: 01/24/2024)
01/24/2024   894 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-210*** (Attachments: # 1 Pla-HAUL-211, # 2 Pla-HAUL-



                                                                              23-50885.242
        Case: 23-50885   Document: 144   Page: 246   Date Filed: 06/19/2024

                  212, # 3 Pla-HAUL-213, # 4 Pla-HAUL-214, # 5 Pla-HAUL-215, #
                  6 Pla-HAUL-216)(dtg) (Entered: 01/24/2024)
01/24/2024   895 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-223*** (Attachments: # 1 Pla-HAUL-224, # 2 Pla-HAUL-
                 225, # 3 Pla-HAUL-226, # 4 Pla-HAUL-227, # 5 Pla-HAUL-228, #
                 6 Pla-HAUL-229)(dtg) (Entered: 01/24/2024)
01/24/2024   896 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-233*** (Attachments: # 1 Pla-HAUL-235, # 2 Pla-HAUL-
                 236)(dtg) (Entered: 01/24/2024)
01/25/2024   897 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-260*** (Attachments: # 1 Pla-HAUL-263, # 2 Pla-HAUL-
                 264, # 3 Pla-HAUL-265, # 4 Pla-HAUL-266, # 5 Pla-HAUL-269)
                 (dtg) (Entered: 01/25/2024)
01/25/2024   898 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-270*** (Attachments: # 1 Pla-HAUL-271, # 2 Pla-HAUL-
                 273, # 3 Pla-HAUL-274, # 4 Pla-HAUL-276, # 5 Pla-HAUL-277, #
                 6 Pla-HAUL-279)(dtg) (Entered: 01/25/2024)
01/25/2024   899 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-283*** (dtg) (Entered: 01/25/2024)
01/25/2024   900 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-290*** (Attachments: # 1 Pla-HAUL-290, # 2 Pla-HAUL-
                 293, # 3 Pla-HAUL-296, # 4 Pla-HAUL-297, # 5 Pla-HAUL-298, #
                 6 Pla-HAUL-299)(dtg) (Entered: 01/25/2024)
01/25/2024   901 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-302*** (dtg) (Entered: 01/25/2024)
01/25/2024   902 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-310*** (Attachments: # 1 Pla-HAUL-311, # 2 Pla-HAUL-
                 313)(dtg) (Entered: 01/25/2024)
01/25/2024   903 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-332*** (Attachments: # 1 Pla-HAUL-333)(dtg) (Entered:
                 01/25/2024)
01/25/2024   904 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-343*** (Attachments: # 1 Pla-HAUL-345, # 2 Pla-HAUL-
                 347)(dtg) (Entered: 01/25/2024)
01/25/2024   905 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-350*** (Attachments: # 1 Pla-HAUL-353)(dtg) (Entered:
                 01/25/2024)
01/25/2024   906 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-370*** (Attachments: # 1 Pla-HAUL-372)(dtg) (Entered:
                 01/25/2024)




                                                                              23-50885.243
        Case: 23-50885   Document: 144   Page: 247   Date Filed: 06/19/2024


01/25/2024   907 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-387*** (Attachments: # 1 Pla-HAUL-388)(dtg) (Entered:
                 01/25/2024)
01/25/2024   908 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-390*** (Attachments: # 1 Pla-HAUL-391, # 2 Pla-HAUL-
                 392, # 3 Pla-HAUL-393, # 4 Pla-HAUL-394, # 5 Pla-HAUL-395)
                 (dtg) (Entered: 01/25/2024)
01/25/2024   909 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-396-A*** (Attachments: # 1 Pla-HAUL-396-B)(dtg)
                 (Entered: 01/25/2024)
01/25/2024   910 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-397-A*** (Attachments: # 1 Pla-HAUL-397-B, # 2 Pla-
                 HAUL-397-C, # 3 Pla-HAUL-397-D, # 4 Pla-HAUL-397-E)(dtg)
                 (Entered: 01/25/2024)
01/25/2024   911 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-398-A*** (Attachments: # 1 Pla-HAUL-398-B, # 2 Pla-
                 HAUL-399)(dtg) (Entered: 01/25/2024)
01/25/2024   912 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-400*** (Attachments: # 1 Pla-HAUL-401, # 2 Pla-HAUL-
                 402)(dtg) (Entered: 01/25/2024)
01/25/2024   913 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-403*** (dtg) (Entered: 01/25/2024)
01/25/2024   914 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-404*** (dtg) (Entered: 01/25/2024)
01/25/2024   915 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-405*** (dtg) (Entered: 01/25/2024)
01/25/2024   916 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-406***(dtg) (Entered: 01/25/2024)
01/25/2024   917 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-407*** (dtg) (Entered: 01/25/2024)
01/25/2024   918 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-408*** (dtg) (Entered: 01/25/2024)
01/25/2024   919 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-409*** (dtg) (Entered: 01/25/2024)
01/25/2024   920 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-410*** (dtg) (Entered: 01/25/2024)
01/25/2024   921 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-411*** (dtg) (Entered: 01/25/2024)




                                                                              23-50885.244
        Case: 23-50885   Document: 144   Page: 248   Date Filed: 06/19/2024


01/25/2024   922 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-412***(dtg) (Entered: 01/25/2024)
01/25/2024   923 BENCH TRIAL EXHIBITS by Houston Area Urban League.***Pla-
                 HAUL-413*** (Attachments: # 1 Pla-HAUL-414, # 2 Pla-HAUL-
                 415, # 3 Pla-HAUL-416)(dtg) (Entered: 01/25/2024)
01/25/2024   924 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-2*** (dtg)
                 (Entered: 01/25/2024)
01/25/2024   925 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-3***(dtg)
                 (Entered: 01/25/2024)
01/25/2024   926 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-4***(dtg)
                 (Entered: 01/25/2024)
01/25/2024   927 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-5*** (dtg)
                 (Entered: 01/25/2024)
01/25/2024   928 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-15***
                 (Attachments: # 1 Pla-LULAC-16, # 2 Pla-LULAC-18, # 3 Pla-
                 LULAC-19)(dtg) (Entered: 01/25/2024)
01/25/2024   929 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-22***
                 (Attachments: # 1 Pla-LULAC-25, # 2 Pla-LULAC-26, # 3 Pla-
                 LULAC-29)(dtg) (Entered: 01/25/2024)
01/25/2024   930 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-39*** (dtg)
                 (Entered: 01/25/2024)
01/25/2024   931 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-40***
                 (Attachments: # 1 Pla-LULAC-41, # 2 Pla-LULAC-42, # 3 Pla-
                 LULAC-44, # 4 Pla-LULAC-45, # 5 Pla-LULAC-46, # 6 Pla-LULAC-
                 49)(dtg) (Entered: 01/25/2024)
01/25/2024   932 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-51***
                 (Attachments: # 1 Pla-LULAC-52, # 2 Pla-LULAC-55)(dtg)
                 (Entered: 01/25/2024)
01/25/2024   933 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-61***
                 (Attachments: # 1 Pla-LULAC-66)(dtg) (Entered: 01/25/2024)
01/25/2024   934 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-75***
                 (Attachments: # 1 Pla-LULAC-78, # 2 Pla-LULAC-79)(dtg)
                 (Entered: 01/25/2024)
01/25/2024   935 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-82***
                 (Attachments: # 1 Pla-LULAC-83, # 2 Pla-LULAC-85, # 3 Pla-
                 LULAC-86, # 4 Pla-LULAC-87, # 5 Pla-LULAC-89)(dtg) (Entered:
                 01/25/2024)
01/25/2024   936 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-90***
                 (Attachments: # 1 Pla-LULAC-93, # 2 Pla-LULAC-94, # 3 Pla-




                                                                              23-50885.245
        Case: 23-50885    Document: 144   Page: 249   Date Filed: 06/19/2024

                  LULAC-95, # 4 Pla-LULAC-96, # 5 Pla-LULAC-97, # 6 Pla-LULAC-
                  98)(dtg) (Entered: 01/25/2024)
01/25/2024   937 BENCH TRIAL EXHIBITS by LULAC Texas.***Pla-LULAC-100***
                 (Attachments: # 1 Pla-LULAC-101, # 2 Pla-LULAC-102, # 3 Pla-
                 LULAC-103, # 4 Pla-LULAC-106, # 5 Pla-LULAC-107)(dtg)
                 (Entered: 01/25/2024)
01/25/2024   938 Unopposed MOTION to Withdraw as Attorney Chris D. Hilton by
                 Gregory W. Abbott, Jane Nelson, Warren K. Paxton, STATE OF
                 TEXAS. (Attachments: # 1 Proposed Order)(Kercher, Ryan)
                 (Entered: 01/25/2024)
01/30/2024        Text Order GRANTING 938 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Christopher D. Hilton is
                  hereby withdrawn as counsel of record for Defendants Gregory
                  W. Abbott, in his official capacity as Governor of Texas, Jane
                  Nelson, in her official capacity as Secretary of State Texas,
                  Warren K. Paxton, in his official capacity as Attorney General of
                  Texas, and the State of Texas (the "State Defendants"). The
                  State Defendants will continue to be represented by remaining
                  counsel of record. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.)
                  (Entered: 01/30/2024)
01/30/2024        (Court only) *** Attorney Christopher D. Hilton terminated. (wg)
                  (Entered: 01/30/2024)
02/01/2024   939 Unopposed MOTION to Withdraw as Attorney Kenneth Parreno
                 by Fiel Houston, Inc., JOLT Action, La Union Del Pueblo Entero,
                 Mexican American Bar Association of Texas, Southwest Voter
                 Registration Education Project, Texas Hispanics Organized for
                 Political Education, William C. Velasquez Institute. (Attachments:
                 # 1 Proposed Order)(Parreno, Kenneth) (Entered: 02/01/2024)
02/05/2024   940 Unopposed MOTION for Leave to File Amended Conclusions of
                 Law by Gregory W. Abbott, Jane Nelson, Warren K. Paxton,
                 STATE OF TEXAS. (Attachments: # 1 Brief, # 2 Exhibit A, # 3
                 Proposed Order)(Kercher, Ryan) (Entered: 02/05/2024)
02/06/2024   941 ADVISORY TO THE COURT by Mi Familia Vota and All Parties.
                 (Olson, Wendy) (Entered: 02/06/2024)
02/06/2024        Text Order GRANTING 940 Motion for Leave to File entered by
                  Judge Xavier Rodriguez. The Clerk is DIRECTED to file
                  Defendant's Amended Post-Trial Proposed Conclusions of Law
                  and Exhibit A thereto. (This is a text-only entry generated by the
                  court. There is no document associated with this entry.)
                  (Entered: 02/06/2024)
02/06/2024        Text Order GRANTING 939 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Kenneth Parreno is hereby



                                                                               23-50885.246
        Case: 23-50885    Document: 144   Page: 250    Date Filed: 06/19/2024

                  WITHDRAWN as counsel for Plaintiffs La Union Del Pueblo
                  Entero, Southwest Voter Registration Education Project, Mexican
                  American Bar Association of Texas, Texas Hispanics Organized
                  for Political Education, JOLT Action, William C. Velasquez
                  Institute, and Fiel Houston, Inc. (collectively, the "LUPE
                  Plaintiffs"). The LUPE Plaintiffs will continue to be represented by
                  remaining counsel of record. (This is a text-only entry generated
                  by the court. There is no document associated with this entry.)
                  (Entered: 02/06/2024)
02/06/2024   943 STATE DEFENDANTS AND INTERVENOR-DEFENDANTS
                 UNOPPOSED MOTION FOR LEAVE TO AMEND THEIR POST-TRIAL
                 PROPOSED CONCLUSIONS OF LAW and EXHIBIT A(bt) (Entered:
                 02/07/2024)
02/06/2024        (Court only) *** Attorney Kenneth Parreno terminated. (bt)
                  (Entered: 02/07/2024)
02/06/2024   965 Letter of transmittal from USCA received for 823 Notice of
                 Appeal, filed by Warren K. Paxton, Gregory W. Abbott, Jane
                 Nelson, STATE OF TEXAS, 827 Notice of Appeal, filed by National
                 Republican Congressional Committee, Harris County Republican
                 Party, Dallas County Republican Party, Republican National
                 Committee, National Republican Senatorial Committee.***The
                 court has granted an extension of time to and including March
                 6, 2024 for filing the electronic record on appeal in this case.***
                 (dtg) (Entered: 02/08/2024)
02/07/2024   942 ORDER SETTING STATUS CONFERENCE signed by Judge Xavier
                 Rodriguez. This case is hereby SET for a status conference, to
                 be conducted via Zoom, on Wednesday, February 7, 2024, at
                 3:00 p.m. (cb) (Entered: 02/07/2024)
02/07/2024   944 Transcript filed of Proceedings held on 9-11-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   945 Transcript filed of Proceedings held on 9-12-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi


                                                                                23-50885.247
        Case: 23-50885   Document: 144    Page: 251   Date Filed: 06/19/2024

                  Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                  210-244-5037. Parties are notified of their duty to review the
                  transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                  49.1(a). A copy may be purchased from the court reporter or
                  viewed at the clerk's office public terminal. If redaction is
                  necessary, a Notice of Redaction Request must be filed within 21
                  days. If no such Notice is filed, the transcript will be made
                  available via PACER without redaction after 90 calendar days.
                  The clerk will mail a copy of this notice to parties not
                  electronically noticed Redaction Request due 2/28/2024,
                  Redacted Transcript Deadline set for 3/11/2024, Release of
                  Transcript Restriction set for 5/7/2024, Appeal Record due by
                  2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   946 Transcript filed of Proceedings held on 9-13-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   947 Transcript filed of Proceedings held on 9-14-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   948 Transcript filed of Proceedings held on 9-19-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the


                                                                               23-50885.248
        Case: 23-50885   Document: 144   Page: 252   Date Filed: 06/19/2024

                  transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                  49.1(a). A copy may be purchased from the court reporter or
                  viewed at the clerk's office public terminal. If redaction is
                  necessary, a Notice of Redaction Request must be filed within 21
                  days. If no such Notice is filed, the transcript will be made
                  available via PACER without redaction after 90 calendar days.
                  The clerk will mail a copy of this notice to parties not
                  electronically noticed Redaction Request due 2/28/2024,
                  Redacted Transcript Deadline set for 3/11/2024, Release of
                  Transcript Restriction set for 5/7/2024, Appeal Record due by
                  2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   949 Transcript filed of Proceedings held on 9-20-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   950 Transcript filed of Proceedings held on 9-21-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   951 Transcript filed of Proceedings held on 9-22-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or


                                                                              23-50885.249
        Case: 23-50885   Document: 144   Page: 253   Date Filed: 06/19/2024

                  viewed at the clerk's office public terminal. If redaction is
                  necessary, a Notice of Redaction Request must be filed within 21
                  days. If no such Notice is filed, the transcript will be made
                  available via PACER without redaction after 90 calendar days.
                  The clerk will mail a copy of this notice to parties not
                  electronically noticed Redaction Request due 2/28/2024,
                  Redacted Transcript Deadline set for 3/11/2024, Release of
                  Transcript Restriction set for 5/7/2024, Appeal Record due by
                  2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   952 Transcript filed of Proceedings held on 10-2-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   953 Transcript filed of Proceedings held on 10-3-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   954 Transcript filed of Proceedings held on 10-4-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21


                                                                              23-50885.250
        Case: 23-50885   Document: 144   Page: 254   Date Filed: 06/19/2024

                  days. If no such Notice is filed, the transcript will be made
                  available via PACER without redaction after 90 calendar days.
                  The clerk will mail a copy of this notice to parties not
                  electronically noticed Redaction Request due 2/28/2024,
                  Redacted Transcript Deadline set for 3/11/2024, Release of
                  Transcript Restriction set for 5/7/2024, Appeal Record due by
                  2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   955 Transcript filed of Proceedings held on 10-5-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   956 Transcript filed of Proceedings held on 10-6-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   957 Transcript filed of Proceedings held on 10-10-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.


                                                                              23-50885.251
        Case: 23-50885   Document: 144   Page: 255   Date Filed: 06/19/2024

                  The clerk will mail a copy of this notice to parties not
                  electronically noticed Redaction Request due 2/28/2024,
                  Redacted Transcript Deadline set for 3/11/2024, Release of
                  Transcript Restriction set for 5/7/2024, Appeal Record due by
                  2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   958 Transcript filed of Proceedings held on 10-11-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   959 Transcript filed of Proceedings held on 10-12-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   960 Transcript filed of Proceedings held on 10-16-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,


                                                                              23-50885.252
        Case: 23-50885   Document: 144   Page: 256   Date Filed: 06/19/2024

                  Redacted Transcript Deadline set for 3/11/2024, Release of
                  Transcript Restriction set for 5/7/2024, Appeal Record due by
                  2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   961 Transcript filed of Proceedings held on 10-17-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   962 Transcript filed of Proceedings held on 10-18-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   963 Transcript filed of Proceedings held on 10-19-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of



                                                                              23-50885.253
         Case: 23-50885   Document: 144   Page: 257   Date Filed: 06/19/2024

                   Transcript Restriction set for 5/7/2024, Appeal Record due by
                   2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   964 Transcript filed of Proceedings held on 10-20-23, Proceedings
                 Transcribed: Bench Trial. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 2/28/2024,
                 Redacted Transcript Deadline set for 3/11/2024, Release of
                 Transcript Restriction set for 5/7/2024, Appeal Record due by
                 2/22/2024, (gs) (Entered: 02/07/2024)
02/07/2024   966 Minute Entry for proceedings held before Judge Xavier
                 Rodriguez: Status Conference held on 2/7/2024 (Minute entry
                 documents are not available electronically.). (Court Reporter Gigi
                 Simcox.)(mgr) (Entered: 02/08/2024)
02/09/2024   967 Transcript filed of Proceedings held on 2-7-24, Proceedings
                 Transcribed: Status Conference. Court Reporter/Transcriber: Gigi
                 Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                 210-244-5037. Parties are notified of their duty to review the
                 transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                 49.1(a). A copy may be purchased from the court reporter or
                 viewed at the clerk's office public terminal. If redaction is
                 necessary, a Notice of Redaction Request must be filed within 21
                 days. If no such Notice is filed, the transcript will be made
                 available via PACER without redaction after 90 calendar days.
                 The clerk will mail a copy of this notice to parties not
                 electronically noticed Redaction Request due 3/1/2024, Redacted
                 Transcript Deadline set for 3/11/2024, Release of Transcript
                 Restriction set for 5/9/2024, Appeal Record due by 2/26/2024,
                 (gs) (Entered: 02/09/2024)
02/12/2024   968 MOTION to Withdraw as Attorney Elissa Gershon by OCA-
                 Greater Houston. (Attachments: # 1 Proposed Order Granting
                 Motion to Withdraw as Counsel)(Dimmick, Brian) (Entered:
                 02/12/2024)
02/13/2024 1070 Minute Entry for proceedings held before Judge Xavier
                Rodriguez: Status Conference held on 2/13/2024 (Minute entry
                documents are not available electronically.). (Court Reporter Gigi
                Simcox.)(bt) (Entered: 03/04/2024)




                                                                               23-50885.254
        Case: 23-50885   Document: 144    Page: 258   Date Filed: 06/19/2024


02/14/2024        Text Order GRANTING 968 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Elissa Gershon is hereby
                  WITHDRAWN as counsel for Plaintiff OCA-Greater Houston,
                  which will continue to be represented by remaining counsel of
                  record. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  02/14/2024)
02/14/2024        (Court only) *** Attorney Elissa Gershon terminated. (wg)
                  (Entered: 02/14/2024)
02/14/2024   969 STIPULATED ORDER REGARDING DESTRUCTION OF CERTAIN
                 BALLOTS ANDELECTION-RELATED RECORDS AND DOCUMENTS,
                 All Parties agree that the Affected Election Materials may be
                 disposed of or destroyed unless they must bepreserved in
                 connection with another matter.2 This agreement is not in
                 violation of any order in the above-captioned case. Signed by
                 Judge Xavier Rodriguez. (wg) (Entered: 02/15/2024)
02/16/2024   970 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.
                 (Attachments: # 1 Pla-LUPE-1, # 2 Pla-LUPE-2, # 3 Pla-LUPE-9)
                 (dtg) (Entered: 02/16/2024)
02/16/2024   971 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-10*** (Attachments: # 1 Pla-LUPE-11, # 2 Pla-LUPE-13, #
                 3 Pla-LUPE-16, # 4 Pla-LUPE-18, # 5 Pla-LUPE-19)(dtg) (Entered:
                 02/16/2024)
02/16/2024   972 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-20*** (Attachments: # 1 Pla-LUPE-25, # 2 Pla-LUPE-26, #
                 3 Pla-LUPE-27)(dtg) (Entered: 02/16/2024)
02/16/2024   973 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-30*** (Attachments: # 1 Pla-LUPE-30, # 2 Pla-LUPE-31, #
                 3 Pla-LUPE-32)(dtg) (Entered: 02/16/2024)
02/16/2024   974 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-40*** (Attachments: # 1 Pla-LUPE-40, # 2 Pla-LUPE-41, #
                 3 Pla-LUPE-41, # 4 Pla-LUPE-46, # 5 Pla-LUPE-46, # 6 Pla-LUPE-
                 47, # 7 Pla-LUPE-47, # 8 Pla-LUPE-48, # 9 Pla-LUPE-48, # 10
                 Pla-LUPE-49, # 11 Pla-LUPE-49)(dtg) (Entered: 02/16/2024)
02/16/2024   975 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-50*** (Attachments: # 1 Pla-LUPE-50, # 2 Pla-LUPE-51, #
                 3 Pla-LUPE-51, # 4 Pla-LUPE-52, # 5 Pla-LUPE-52, # 6 Pla-LUPE-
                 53, # 7 Pla-LUPE-53, # 8 Pla-LUPE-54, # 9 Pla-LUPE-54, # 10
                 Pla-LUPE-55, # 11 Pla-LUPE-55, # 12 Pla-LUPE-56, # 13 Pla-
                 LUPE-56)(dtg) (Entered: 02/16/2024)
02/16/2024   976 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-66*** (Attachments: # 1 Pla-LUPE-66, # 2 Pla-LUPE-67, #



                                                                               23-50885.255
        Case: 23-50885   Document: 144   Page: 259   Date Filed: 06/19/2024

                  3 Pla-LUPE-67, # 4 Pla-LUPE-68, # 5 Pla-LUPE-68, # 6 Pla-LUPE-
                  69, # 7 Pla-LUPE-69)(dtg) (Entered: 02/16/2024)
02/16/2024   977 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-70*** (Attachments: # 1 Pla-LUPE-70, # 2 Pla-LUPE-71, #
                 3 Pla-LUPE-71)(dtg) (Entered: 02/16/2024)
02/16/2024   978 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-90*** (Attachments: # 1 Pla-LUPE-90, # 2 Pla-LUPE-91, #
                 3 Pla-LUPE-91, # 4 Pla-LUPE-92, # 5 Pla-LUPE-92, # 6 Pla-LUPE-
                 93, # 7 Pla-LUPE-93, # 8 Pla-LUPE-94, # 9 Pla-LUPE-94)(dtg)
                 (Entered: 02/16/2024)
02/16/2024   979 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-95*** (Attachments: # 1 Pla-LUPE-95, # 2 Pla-LUPE-96, #
                 3 Pla-LUPE-96, # 4 Pla-LUPE-97, # 5 Pla-LUPE-97, # 6 Pla-LUPE-
                 98, # 7 Pla-LUPE-98, # 8 Pla-LUPE-99, # 9 Pla-LUPE-99)(dtg)
                 (Entered: 02/16/2024)
02/20/2024   980 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-100*** (Attachments: # 1 Pla-LUPE-100, # 2 Pla-LUPE-101,
                 # 3 Pla-LUPE-101, # 4 Pla-LUPE-102, # 5 Pla-LUPE-102, # 6 Pla-
                 LUPE-103, # 7 Pla-LUPE-103, # 8 Pla-LUPE-104, # 9 Pla-LUPE-
                 104)(dtg) (Entered: 02/20/2024)
02/20/2024   981 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-105*** (Attachments: # 1 Pla-LUPE-105, # 2 Pla-LUPE-106,
                 # 3 Pla-LUPE-106, # 4 Pla-LUPE-107, # 5 Pla-LUPE-107, # 6 Pla-
                 LUPE-108, # 7 Pla-LUPE-108, # 8 Pla-LUPE-109, # 9 Pla-LUPE-
                 109)(dtg) (Entered: 02/20/2024)
02/20/2024   982 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-110*** (Attachments: # 1 Pla-LUPE-110, # 2 Pla-LUPE-111,
                 # 3 Pla-LUPE-111, # 4 Pla-LUPE-112, # 5 Pla-LUPE-112, # 6 Pla-
                 LUPE-114, # 7 Pla-LUPE-114, # 8 Pla-LUPE-115, # 9 Pla-LUPE-
                 115)(dtg) (Entered: 02/20/2024)
02/20/2024   983 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-116*** (Attachments: # 1 Pla-LUPE-116, # 2 Pla-LUPE-117,
                 # 3 Pla-LUPE-117, # 4 Pla-LUPE-118, # 5 Pla-LUPE-118, # 6 Pla-
                 LUPE-119, # 7 Pla-LUPE-119)(dtg) (Entered: 02/20/2024)
02/20/2024   984 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-120*** (Attachments: # 1 Pla-LUPE-120, # 2 Pla-LUPE-121,
                 # 3 Pla-LUPE-121, # 4 Pla-LUPE-122, # 5 Pla-LUPE-122, # 6 Pla-
                 LUPE-123, # 7 Pla-LUPE-123, # 8 Pla-LUPE-124, # 9 Pla-LUPE-
                 124)(dtg) (Entered: 02/20/2024)
02/20/2024   985 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-125*** (Attachments: # 1 Pla-LUPE-125, # 2 Pla-LUPE-126,
                 # 3 Pla-LUPE-126, # 4 Pla-LUPE-127, # 5 Pla-LUPE-127, # 6 Pla-




                                                                              23-50885.256
        Case: 23-50885    Document: 144    Page: 260   Date Filed: 06/19/2024

                  LUPE-128, # 7 Pla-LUPE-128, # 8 Pla-LUPE-129, # 9 Pla-LUPE-
                  129)(dtg) (Entered: 02/20/2024)
02/20/2024   986 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-130*** (Attachments: # 1 Pla-LUPE-130, # 2 Pla-LUPE-132,
                 # 3 Pla-LUPE-132, # 4 Pla-LUPE-133, # 5 Pla-LUPE-133, # 6 Pla-
                 LUPE-134, # 7 Pla-LUPE-134, # 8 Pla-LUPE-139, # 9 Pla-LUPE-
                 139)(dtg) (Entered: 02/20/2024)
02/20/2024   987 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-140*** (Attachments: # 1 Pla-LUPE-140, # 2 Pla-LUPE-141,
                 # 3 Pla-LUPE-141, # 4 Pla-LUPE-142, # 5 Pla-LUPE-142, # 6 Pla-
                 LUPE-143, # 7 Pla-LUPE-143)(dtg) (Entered: 02/20/2024)
02/20/2024   988 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-144*** (Attachments: # 1 Pla-LUPE-144, # 2 Pla-LUPE-145,
                 # 3 Pla-LUPE-145, # 4 Pla-LUPE-149, # 5 Pla-LUPE-149)(dtg)
                 (Entered: 02/20/2024)
02/20/2024   989 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.A***Pla-
                 LUPE-150*** (Attachments: # 1 Pla-LUPE-150, # 2 Pla-LUPE-151,
                 # 3 Pla-LUPE-151, # 4 Pla-LUPE-152, # 5 Pla-LUPE-152)(dtg)
                 (Entered: 02/20/2024)
02/20/2024   990 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-157*** (Attachments: # 1 Pla-LUPE-157, # 2 Pla-LUPE-158,
                 # 3 Pla-LUPE-158, # 4 Pla-LUPE-159, # 5 Pla-LUPE-159)(dtg)
                 (Entered: 02/20/2024)
02/20/2024   991 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-160*** (Attachments: # 1 Pla-LUPE-160, # 2 Pla-LUPE-161,
                 # 3 Pla-LUPE-161, # 4 Pla-LUPE-166, # 5 Pla-LUPE-166, # 6 Pla-
                 LUPE-167, # 7 Pla-LUPE-167, # 8 Pla-LUPE-169, # 9 Pla-LUPE-
                 169)(dtg) (Entered: 02/20/2024)
02/20/2024   992 Opposed MOTION to Strike the Declaration of Jonathan White by
                 Fiel Houston, Inc., Friendship-West Baptist Church, JOLT Action,
                 La Union Del Pueblo Entero, Mexican American Bar Association
                 of Texas, Southwest Voter Registration Education Project, Texas
                 Hispanics Organized for Political Education, Texas Impact,
                 William C. Velasquez Institute. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                 F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                 Exhibit K - PART I, # 12 Exhibit K - PART 2, # 13 Exhibit L, # 14
                 Exhibit M, # 15 Exhibit N, # 16 Exhibit O, # 17 Exhibit P, # 18
                 Exhibit Q, # 19 Exhibit R, # 20 Exhibit S, # 21 Exhibit T, # 22
                 Exhibit U, # 23 Exhibit V, # 24 Exhibit W, # 25 Exhibit X, # 26
                 Proposed Order)(Perales, Nina) (Entered: 02/20/2024)
02/21/2024   993 NOTICE of Correction to the Record by REVUP-Texas re 642
                 Response in Opposition to Motion,, (Romano, Lucia) (Entered:



                                                                                23-50885.257
         Case: 23-50885   Document: 144   Page: 261   Date Filed: 06/19/2024

                   02/21/2024)
02/21/2024   994 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-170*** (Attachments: # 1 Pla-LUPE-170, # 2 Pla-LUPE-171,
                 # 3 Pla-LUPE-171, # 4 Pla-LUPE-172, # 5 Pla-LUPE-172)(dtg)
                 (Entered: 02/21/2024)
02/21/2024   995 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-175*** (Attachments: # 1 Pla-LUPE-175, # 2 Pla-LUPE-176,
                 # 3 Pla-LUPE-176, # 4 Pla-LUPE-177, # 5 Pla-LUPE-177)(dtg)
                 (Entered: 02/21/2024)
02/21/2024   996 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-180*** (Attachments: # 1 Pla-LUPE-180, # 2 Pla-LUPE-181,
                 # 3 Pla-LUPE-181, # 4 Pla-LUPE-184, # 5 Pla-LUPE-184, # 6 Pla-
                 LUPE-189, # 7 Pla-LUPE-189)(dtg) (Entered: 02/21/2024)
02/21/2024   997 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-190*** (Attachments: # 1 Pla-LUPE-190, # 2 Pla-LUPE-192,
                 # 3 Pla-LUPE-192, # 4 Pla-LUPE-193, # 5 Pla-LUPE-193, # 6 Pla-
                 LUPE-194, # 7 Pla-LUPE-194, # 8 Pla-LUPE-198, # 9 Pla-LUPE-
                 198)(dtg) (Entered: 02/21/2024)
02/21/2024   998 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-200*** (Attachments: # 1 Pla-LUPE-200, # 2 Pla-LUPE-201,
                 # 3 Pla-LUPE-201, # 4 Pla-LUPE-202, # 5 Pla-LUPE-202, # 6 Pla-
                 LUPE-203, # 7 Pla-LUPE-203)(dtg) (Entered: 02/21/2024)
02/21/2024   999 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                 LUPE-224*** (Attachments: # 1 Pla-LUPE-224, # 2 Pla-LUPE-225,
                 # 3 Pla-LUPE-225, # 4 Pla-LUPE-227, # 5 Pla-LUPE-227, # 6 Pla-
                 LUPE-228, # 7 Pla-LUPE-228, # 8 Pla-LUPE-229, # 9 Pla-LUPE-
                 229)(dtg) (Entered: 02/21/2024)
02/21/2024 1000 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-230*** (Attachments: # 1 Pla-LUPE-230, # 2 Pla-LUPE-231,
                # 3 Pla-LUPE-232, # 4 Pla-LUPE-232, # 5 Pla-LUPE-233, # 6 Pla-
                LUPE-234, # 7 Pla-LUPE-234)(dtg) (Entered: 02/21/2024)
02/21/2024 1001 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-235*** (Attachments: # 1 Pla-LUPE-235, # 2 Pla-LUPE-236,
                # 3 Pla-LUPE-236, # 4 Pla-LUPE-237, # 5 Pla-LUPE-237, # 6 Pla-
                LUPE-238, # 7 Pla-LUPE-238, # 8 Pla-LUPE-239)(dtg) (Entered:
                02/21/2024)
02/21/2024 1002 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-240*** (Attachments: # 1 Pla-LUPE-240, # 2 Pla-LUPE-241,
                # 3 Pla-LUPE-241, # 4 Pla-LUPE-242, # 5 Pla-LUPE-242, # 6 Pla-
                LUPE-243, # 7 Pla-LUPE-243, # 8 Pla-LUPE-244)(dtg) (Entered:
                02/21/2024)
02/21/2024 1003 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-245*** (Attachments: # 1 Pla-LUPE-245, # 2 Pla-LUPE-246,


                                                                               23-50885.258
         Case: 23-50885   Document: 144   Page: 262   Date Filed: 06/19/2024

                   # 3 Pla-LUPE-247, # 4 Pla-LUPE-247, # 5 Pla-LUPE-248, # 6 Pla-
                   LUPE-248, # 7 Pla-LUPE-249, # 8 Pla-LUPE-249)(dtg) (Entered:
                   02/21/2024)
02/21/2024 1004 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-250*** (Attachments: # 1 Pla-LUPE-250, # 2 Pla-LUPE-252,
                # 3 Pla-LUPE-252, # 4 Pla-LUPE-255, # 5 Pla-LUPE-255, # 6 Pla-
                LUPE-256, # 7 Pla-LUPE-256)(dtg) (Entered: 02/21/2024)
02/21/2024 1005 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-257*** (Attachments: # 1 Pla-LUPE-257, # 2 Pla-LUPE-258,
                # 3 Pla-LUPE-258, # 4 Pla-LUPE-259, # 5 Pla-LUPE-259)(dtg)
                (Entered: 02/21/2024)
02/23/2024 1006 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-260*** (Attachments: # 1 Pla-LUPE-260, # 2 Pla-LUPE-261,
                # 3 Pla-LUPE-261, # 4 Pla-LUPE-262, # 5 Pla-LUPE-262, # 6 Pla-
                LUPE-263, # 7 Pla-LUPE-263, # 8 Pla-LUPE-264, # 9 Pla-LUPE-
                264)(dtg) (Entered: 02/23/2024)
02/23/2024 1007 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-265*** (Attachments: # 1 Pla-LUPE-265, # 2 Pla-LUPE-266,
                # 3 Pla-LUPE-266, # 4 Pla-LUPE-267, # 5 Pla-LUPE-267, # 6 Pla-
                LUPE-268, # 7 Pla-LUPE-268, # 8 Pla-LUPE-269, # 9 Pla-LUPE-
                269)(dtg) (Entered: 02/23/2024)
02/23/2024 1008 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-270*** (Attachments: # 1 Pla-LUPE-270, # 2 Pla-LUPE-271,
                # 3 Pla-LUPE-271, # 4 Pla-LUPE-272, # 5 Pla-LUPE-272, # 6 Pla-
                LUPE-279)(dtg) (Entered: 02/23/2024)
02/23/2024 1009 ADVISORY TO THE COURT by Michael Scarpello retired. Heider
                Garcia is the new Elections Administrator of Dallas County,
                Texas. (Stool, Ben) (Entered: 02/23/2024)
02/23/2024 1010 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-280*** (Attachments: # 1 Pla-LUPE-282, # 2 Pla-LUPE-284,
                # 3 Pla-LUPE-285, # 4 Pla-LUPE-286, # 5 Pla-LUPE-287, # 6 Pla-
                LUPE-289)(dtg) (Entered: 02/23/2024)
02/23/2024 1011 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-290*** (Attachments: # 1 Pla-LUPE-291, # 2 Pla-LUPE-292,
                # 3 Pla-LUPE-293, # 4 Pla-LUPE-294, # 5 Pla-LUPE-295, # 6 Pla-
                LUPE-296, # 7 Pla-LUPE-298, # 8 Pla-LUPE-299)(dtg) (Entered:
                02/23/2024)
02/23/2024 1012 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-300*** (Attachments: # 1 Pla-LUPE-301, # 2 Pla-LUPE-302,
                # 3 Pla-LUPE-304, # 4 Pla-LUPE-305, # 5 Pla-LUPE-306, # 6 Pla-
                LUPE-307, # 7 Pla-LUPE-308, # 8 Pla-LUPE-309)(dtg) (Entered:
                02/23/2024)




                                                                               23-50885.259
         Case: 23-50885   Document: 144   Page: 263   Date Filed: 06/19/2024


02/23/2024 1013 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-310*** (Attachments: # 1 Pla-LUPE-311, # 2 Pla-LUPE-312,
                # 3 Pla-LUPE-313, # 4 Pla-LUPE-314, # 5 Pla-LUPE-315, # 6 Pla-
                LUPE-316, # 7 Pla-LUPE-317, # 8 Pla-LUPE-318, # 9 Pla-LUPE-
                319)(dtg) (Entered: 02/23/2024)
02/23/2024 1014 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-320*** (Attachments: # 1 Pla-LUPE-321, # 2 Pla-LUPE-322,
                # 3 Pla-LUPE-323, # 4 Pla-LUPE-324, # 5 Pla-LUPE-325, # 6 Pla-
                LUPE-326, # 7 Pla-LUPE-328, # 8 Pla-LUPE-329)(dtg) (Entered:
                02/23/2024)
02/23/2024 1015 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-330*** (Attachments: # 1 Pla-LUPE-331, # 2 Pla-LUPE-332,
                # 3 Pla-LUPE-333, # 4 Pla-LUPE-334, # 5 Pla-LUPE-335, # 6 Pla-
                LUPE-336, # 7 Pla-LUPE-337, # 8 Pla-LUPE-338, # 9 Pla-LUPE-
                339)(dtg) (Entered: 02/23/2024)
02/23/2024 1016 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-340*** (Attachments: # 1 Pla-LUPE-341, # 2 Pla-LUPE-342,
                # 3 Pla-LUPE-343, # 4 Pla-LUPE-344, # 5 Pla-LUPE-346, # 6 Pla-
                LUPE-347, # 7 Pla-LUPE-348, # 8 Pla-LUPE-349)(dtg) (Entered:
                02/23/2024)
02/23/2024 1017 BENCH TRIAL EXHIBITS by La Union Del Pueblo Entero.***Pla-
                LUPE-351*** (Attachments: # 1 Pla-LUPE-353, # 2 Pla-LUPE-354,
                # 3 Pla-LUPE-355)(dtg) (Entered: 02/23/2024)
02/23/2024 1018 NOTICE Withdrawn Reliance of Certain Citations by Gregory W.
                Abbott, Jane Nelson, Warren K. Paxton, STATE OF TEXAS re 861
                Proposed Findings of Fact (Kercher, Ryan) (Entered: 02/23/2024)
02/26/2024 1019 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-004*** (Attachments: # 1 Pla-LUPE-006, # 2
                Pla-LUPE-007, # 3 Pla-LUPE-008)(dtg) (Entered: 02/26/2024)
02/26/2024 1020 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-5 (Part 1)*** (Attachments: # 1 Pla-LUPE-5
                (Part 2))(dtg) (Entered: 02/26/2024)
02/26/2024 1021 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-5 (Part 3)*** (Attachments: # 1 Pla-LUPE-5
                (Part 4))(dtg) (Entered: 02/26/2024)
02/26/2024 1022 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-5 (Part 5)*** (Attachments: # 1 Pla-LUPE-5
                (Part 6))(dtg) (Entered: 02/26/2024)
02/26/2024 1023 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-5 (Part 7)*** (Attachments: # 1 Pla-LUPE-5
                (Part 8))(dtg) (Entered: 02/26/2024)




                                                                               23-50885.260
         Case: 23-50885   Document: 144   Page: 264   Date Filed: 06/19/2024


02/26/2024 1024 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-12*** (Attachments: # 1 Pla-LUPE-14)(dtg)
                (Entered: 02/26/2024)
02/26/2024 1025 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-21*** (Attachments: # 1 Pla-LUPE-22, # 2
                Pla-LUPE-23, # 3 Pla-LUPE-24, # 4 Pla-LUPE-28, # 5 Pla-LUPE-
                29)(dtg) (Entered: 02/26/2024)
02/26/2024 1026 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-33*** (Attachments: # 1 Pla-LUPE-33, # 2
                Pla-LUPE-34, # 3 Pla-LUPE-34, # 4 Pla-LUPE-35, # 5 Pla-LUPE-35,
                # 6 Pla-LUPE-36, # 7 Pla-LUPE-36, # 8 Pla-LUPE-37, # 9 Pla-
                LUPE-37, # 10 Pla-LUPE-38, # 11 Pla-LUPE-38, # 12 Pla-LUPE-39,
                # 13 Pla-LUPE-39)(dtg) (Entered: 02/26/2024)
02/26/2024 1027 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-42*** (Attachments: # 1 Pla-LUPE-42, # 2
                Pla-LUPE-43, # 3 Pla-LUPE-43, # 4 Pla-LUPE-44, # 5 Pla-LUPE-44,
                # 6 Pla-LUPE-45, # 7 Pla-LUPE-45)(dtg) (Entered: 02/26/2024)
02/26/2024 1028 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-57*** (Attachments: # 1 Pla-LUPE-57, # 2
                Pla-LUPE-58, # 3 Pla-LUPE-58, # 4 Pla-LUPE-59, # 5 Pla-LUPE-
                59)(dtg) (Entered: 02/26/2024)
02/26/2024 1029 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-60*** (Attachments: # 1 Pla-LUPE-60, # 2
                Pla-LUPE-61, # 3 Pla-LUPE-61, # 4 Pla-LUPE-62, # 5 Pla-LUPE-62,
                # 6 Pla-LUPE-63, # 7 Pla-LUPE-63, # 8 Pla-LUPE-64, # 9 Pla-
                LUPE-64, # 10 Pla-LUPE-65, # 11 Pla-LUPE-65)(dtg) (Entered:
                02/26/2024)
02/26/2024 1030 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-72*** (Attachments: # 1 Pla-LUPE-72, # 2
                Pla-LUPE-73, # 3 Pla-LUPE-73, # 4 Pla-LUPE-74, # 5 Pla-LUPE-74,
                # 6 Pla-LUPE-75, # 7 Pla-LUPE-75, # 8 Pla-LUPE-78, # 9 Pla-
                LUPE-78, # 10 Pla-LUPE-79, # 11 Pla-LUPE-79)(dtg) (Entered:
                02/26/2024)
02/26/2024 1031 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-80*** (Attachments: # 1 Pla-LUPE-80, # 2
                Pla-LUPE-81, # 3 Pla-LUPE-81, # 4 Pla-LUPE-82, # 5 Pla-LUPE-82,
                # 6 Pla-LUPE-84, # 7 Pla-LUPE-84)(dtg) (Entered: 02/26/2024)
02/26/2024 1032 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-85*** (Attachments: # 1 Pla-LUPE-85, # 2
                Pla-LUPE-86, # 3 Pla-LUPE-86, # 4 Pla-LUPE-87, # 5 Pla-LUPE-87,
                # 6 Pla-LUPE-89, # 7 Pla-LUPE-89)(dtg) (Entered: 02/26/2024)
02/26/2024 1033 Transcript filed of Proceedings held on 2-13-24, Proceedings
                Transcribed: Closing Arguments. Court Reporter/Transcriber: Gigi


                                                                               23-50885.261
        Case: 23-50885   Document: 144   Page: 265   Date Filed: 06/19/2024

                  Simcox, Telephone number: gigi_simcox@txwd.uscourts.gov,
                  210-244-5037. Parties are notified of their duty to review the
                  transcript to ensure compliance with the FRCP 5.2(a)/FRCrP
                  49.1(a). A copy may be purchased from the court reporter or
                  viewed at the clerk's office public terminal. If redaction is
                  necessary, a Notice of Redaction Request must be filed within 21
                  days. If no such Notice is filed, the transcript will be made
                  available via PACER without redaction after 90 calendar days.
                  The clerk will mail a copy of this notice to parties not
                  electronically noticed Redaction Request due 3/18/2024,
                  Redacted Transcript Deadline set for 3/28/2024, Release of
                  Transcript Restriction set for 5/28/2024, Appeal Record due by
                  3/12/2024, (gs) (Entered: 02/26/2024)
02/27/2024 1034 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-135*** (Attachments: # 1 Pla-LUPE-135, # 2
                Pla-LUPE-136, # 3 Pla-LUPE-136, # 4 Pla-LUPE-137, # 5 Pla-
                LUPE-137, # 6 Pla-LUPE-138, # 7 Pla-LUPE-138)(dtg) (Entered:
                02/27/2024)
02/27/2024 1035 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-146*** (Attachments: # 1 Pla-LUPE-146, # 2
                Pla-LUPE-148, # 3 Pla-LUPE-148)(dtg) (Entered: 02/27/2024)
02/27/2024 1036 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-154*** (Attachments: # 1 Pla-LUPE-154, # 2
                Pla-LUPE-155, # 3 Pla-LUPE-155, # 4 Pla-LUPE-156, # 5 Pla-
                LUPE-156)(dtg) (Entered: 02/27/2024)
02/27/2024 1037 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-162*** (Attachments: # 1 Pla-LUPE-162, # 2
                Pla-LUPE-163, # 3 Pla-LUPE-163, # 4 Pla-LUPE-164, # 5 Pla-
                LUPE-164, # 6 Pla-LUPE-165, # 7 Pla-LUPE-165)(dtg) (Entered:
                02/27/2024)
02/27/2024 1038 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-179*** (Attachments: # 1 Pla-LUPE-179)(dtg)
                (Entered: 02/27/2024)
02/27/2024 1039 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-182*** (Attachments: # 1 Pla-LUPE-183, # 2
                Pla-LUPE-183, # 3 Pla-LUPE-185, # 4 Pla-LUPE-185, # 5 Pla-
                LUPE-187, # 6 Pla-LUPE-187, # 7 Pla-LUPE-188, # 8 Pla-LUPE-
                188)(dtg) (Entered: 02/27/2024)
02/27/2024 1040 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-195*** (Attachments: # 1 Pla-LUPE-195, # 2
                Pla-LUPE-196, # 3 Pla-LUPE-196, # 4 Pla-LUPE-199, # 5 Pla-
                LUPE-199)(dtg) (Entered: 02/27/2024)
02/27/2024 1041 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-218*** (Attachments: # 1 Pla-LUPE-218)(dtg)


                                                                              23-50885.262
         Case: 23-50885   Document: 144    Page: 266   Date Filed: 06/19/2024

                   (Entered: 02/27/2024)
02/27/2024 1042 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-220*** (Attachments: # 1 Pla-LUPE-220, # 2
                Pla-LUPE-223, # 3 Pla-LUPE-223, # 4 Pla-LUPE-226, # 5 Pla-
                LUPE-226)(dtg) (Entered: 02/27/2024)
02/27/2024 1043 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-253*** (Attachments: # 1 Pla-LUPE-253)(dtg)
                (Entered: 02/27/2024)
02/27/2024 1044 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-254 (Part 1)*** (dtg) (Entered: 02/27/2024)
02/27/2024 1045 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-254 (Part 2)*** (dtg) (Entered: 02/27/2024)
02/27/2024 1046 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-254 (Part 3)***(dtg) (Entered: 02/27/2024)
02/27/2024 1047 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-273*** (Attachments: # 1 Pla-LUPE-273, # 2
                Pla-LUPE-274, # 3 Pla-LUPE-275, # 4 Pla-LUPE-275)(dtg)
                (Entered: 02/27/2024)
02/27/2024 1048 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-276*** (Attachments: # 1 Pla-LUPE-276, # 2
                Pla-LUPE-277, # 3 Pla-LUPE-277, # 4 Pla-LUPE-278)(dtg)
                (Entered: 02/27/2024)
02/27/2024 1049 BENCH TRIAL SEALED EXHIBITS by La Union Del Pueblo
                Entero.***Pla-LUPE-297*** (dtg) (Entered: 02/27/2024)
02/27/2024 1050 BENCH TRIAL EXHIBITS by OCA-Greater Houston. (Attachments:
                # 1 Pla-OCA-31, # 2 Pla-OCA-34, # 3 Pla-OCA-36, # 4 Pla-OCA-
                37)(dtg) (Entered: 02/27/2024)
02/27/2024 1051 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                77*** (Attachments: # 1 Pla-OCA-78, # 2 Pla-OCA-79)(dtg)
                (Entered: 02/27/2024)
02/27/2024 1052 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                80*** (Attachments: # 1 Pla-OCA-81)(dtg) (Entered: 02/27/2024)
02/27/2024 1053 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                225***(dtg) (Entered: 02/27/2024)
02/27/2024 1054 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                255***(dtg) (Entered: 02/27/2024)
02/27/2024 1055 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                283*** (dtg) (Entered: 02/27/2024)
02/27/2024 1056 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-



                                                                                23-50885.263
        Case: 23-50885   Document: 144   Page: 267    Date Filed: 06/19/2024

                  290***(dtg) (Entered: 02/27/2024)
02/27/2024 1057 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                347*** (Attachments: # 1 Pla-OCA-348, # 2 Pla-OCA-349)(dtg)
                (Entered: 02/27/2024)
02/27/2024 1058 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                351*** (Attachments: # 1 Pla-OCA-352, # 2 Pla-OCA-353, # 3
                Pla-OCA-354, # 4 Pla-OCA-356, # 5 Pla-OCA-357, # 6 Pla-OCA-
                358, # 7 Pla-OCA-359)(dtg) (Entered: 02/27/2024)
02/27/2024 1059 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                360*** (Attachments: # 1 Pla-OCA-361, # 2 Pla-OCA-362, # 3
                Pla-OCA-363, # 4 Pla-OCA-364)(dtg) (Entered: 02/27/2024)
02/27/2024 1060 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                365*** (Attachments: # 1 Pla-OCA-367, # 2 Pla-OCA-368, # 3
                Pla-OCA-369)(dtg) (Entered: 02/27/2024)
02/27/2024 1061 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                370*** (Attachments: # 1 Pla-OCA-377)(dtg) (Entered:
                02/27/2024)
02/27/2024 1062 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                401*** (Attachments: # 1 Pla-OCA-402, # 2 Pla-OCA-403, # 3
                Pla-OCA-404)(dtg) (Entered: 02/27/2024)
02/27/2024 1063 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                405*** (Attachments: # 1 Pla-OCA-406, # 2 Pla-OCA-407, # 3
                Pla-OCA-409)(dtg) (Entered: 02/27/2024)
02/28/2024 1064 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                410*** (Attachments: # 1 Pla-OCA-414, # 2 Pla-OCA-415, # 3
                Pla-OCA-416)(dtg) (Entered: 02/28/2024)
02/28/2024 1065 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                427*** (dtg) (Entered: 02/28/2024)
02/28/2024 1066 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                442*** (dtg) (Entered: 02/28/2024)
02/28/2024 1067 BENCH TRIAL EXHIBITS by OCA-Greater Houston.***Pla-OCA-
                472*** (Attachments: # 1 Pla-OCA-473)(dtg) (Entered:
                02/28/2024)
02/28/2024 1068 BENCH TRIAL EXHIBITS by Dallas County Republican Party,
                Harris County Republican Party, National Republican
                Congressional Committee, National Republican Senatorial
                Committee, Republican National Committee. (Attachments: # 1
                Def-INTERVENOR-1, # 2 Def-INTERVENOR-3, # 3 Def-
                INTERVENOR-6, # 4 Def-INTERVENOR-7, # 5 Def-INTERVENOR-8,
                # 6 Def-INTERVENOR-9)(dtg) (Entered: 02/28/2024)




                                                                               23-50885.264
        Case: 23-50885   Document: 144    Page: 268   Date Filed: 06/19/2024


02/29/2024 1069 MOTION to Withdraw as Attorney Josephine Ramirez-Solis by
                Yvonne Ramon. (Tognetti, Leigh) (Entered: 02/29/2024)
03/02/2024        Text Order GRANTING 1069 Motion to Withdraw as Attorney
                  entered by Judge Xavier Rodriguez. Josephine Ramirez-Solis is
                  hereby WITHDRAWN as counsel for Defendant Hilda Salinas,
                  who will continue to be represented by remaining counsel of
                  record. (This is a text-only entry generated by the court. There
                  is no document associated with this entry.) (cb) (Entered:
                  03/02/2024)
03/02/2024        (Court only) *** Attorney Josephine L. Ramirez terminated. (wg)
                  (Entered: 03/04/2024)
03/05/2024 1071 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton. (Attachments: # 1 Def-STATE-1, # 2 Def-
                STATE-2, # 3 Def-STATE-5, # 4 Def-STATE-6, # 5 Def-STATE-7, #
                6 Def-STATE-8, # 7 Def-STATE-9)(dtg) (Entered: 03/05/2024)
03/05/2024 1072 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-10*** (Attachments: # 1 Def-
                STATE-11, # 2 Def-STATE-13, # 3 Def-STATE-14, # 4 Def-STATE-
                15, # 5 Def-STATE-16, # 6 Def-STATE-17, # 7 Def-STATE-18, # 8
                Def-STATE-19)(dtg) (Entered: 03/05/2024)
03/05/2024 1073 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-20*** (Attachments: # 1 Def-
                STATE-21, # 2 Def-STATE-23, # 3 Def-STATE-24, # 4 Def-STATE-
                25, # 5 Def-STATE-26, # 6 Def-STATE-27, # 7 Def-STATE-28, # 8
                Def-STATE-29)(dtg) (Entered: 03/05/2024)
03/05/2024 1074 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-30*** (Attachments: # 1 Def-
                STATE-31, # 2 Def-STATE-32, # 3 Def-STATE-33, # 4 Def-STATE-
                34, # 5 Def-STATE-35, # 6 Def-STATE-36, # 7 Def-STATE-37, # 8
                Def-STATE-38, # 9 Def-STATE-39)(dtg) (Entered: 03/05/2024)
03/05/2024 1075 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-40*** (Attachments: # 1 Def-
                STATE-41, # 2 Def-STATE-42, # 3 Def-STATE-43, # 4 Def-STATE-
                44, # 5 Def-STATE-45, # 6 Def-STATE-46, # 7 Def-STATE-47, # 8
                Def-STATE-48, # 9 Def-STATE-49)(dtg) (Entered: 03/05/2024)
03/05/2024 1076 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-50*** (Attachments: # 1 Def-
                STATE-51, # 2 Def-STATE-52, # 3 Def-STATE-53, # 4 Def-STATE-
                54, # 5 Def-STATE-55, # 6 Def-STATE-56, # 7 Def-STATE-57, # 8
                Def-STATE-58, # 9 Def-STATE-59)(dtg) (Entered: 03/05/2024)
03/05/2024 1077 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-60*** (Attachments: # 1 Def-
                STATE-61, # 2 Def-STATE-62, # 3 Def-STATE-63, # 4 Def-STATE-


                                                                               23-50885.265
         Case: 23-50885   Document: 144   Page: 269   Date Filed: 06/19/2024

                   64, # 5 Def-STATE-65, # 6 Def-STATE-66, # 7 Def-STATE-67, # 8
                   Def-STATE-68, # 9 Def-STATE-69)(dtg) (Entered: 03/05/2024)
03/05/2024 1078 RESPONSE to Motion, filed by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton, STATE OF TEXAS, re 992 Opposed MOTION to
                Strike the Declaration of Jonathan White filed by Plaintiff Texas
                Hispanics Organized for Political Education, Plaintiff Texas
                Impact, Plaintiff William C. Velasquez Institute, Plaintiff Fiel
                Houston, Inc., Plaintiff JOLT Action, Plaintiff La Union Del Pueblo
                Entero, Plaintiff Southwest Voter Registration Education Project,
                Plaintiff Mexican American Bar Association of Texas, Plaintiff
                Friendship-West Baptist Church (Attachments: # 1 Exhibit A, # 2
                Exhibit B, # 3 Exhibit C)(Hunker, Kathleen) (Entered: 03/05/2024)
03/06/2024 1079 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-70*** (Attachments: # 1 Def-
                STATE-71, # 2 Def-STATE-72, # 3 Def-STATE-73, # 4 Def-STATE-
                74, # 5 Def-STATE-75, # 6 Def-STATE-76, # 7 Def-STATE-77, # 8
                Def-STATE-78, # 9 Def-STATE-79)(dtg) (Entered: 03/06/2024)
03/06/2024 1080 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-80*** (Attachments: # 1 Def-
                STATE-81, # 2 Def-STATE-82, # 3 Def-STATE-85, # 4 Def-STATE-
                86, # 5 Def-STATE-87, # 6 Def-STATE-89)(dtg) (Entered:
                03/06/2024)
03/06/2024 1081 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-90*** (Attachments: # 1 Def-
                STATE-91, # 2 Def-STATE-92, # 3 Def-STATE-93)(dtg) (Entered:
                03/06/2024)
03/06/2024 1082 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-117***(dtg) (Entered:
                03/06/2024)
03/06/2024 1083 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-123*** (Attachments: # 1 Def-
                STATE-124, # 2 Def-STATE-125, # 3 Def-STATE-127, # 4 Def-
                STATE-128, # 5 Def-STATE-129)(dtg) (Entered: 03/06/2024)
03/06/2024 1084 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-130*** (Attachments: # 1 Def-
                STATE-131, # 2 Def-STATE-132, # 3 Def-STATE-133, # 4 Def-
                STATE-134, # 5 Def-STATE-135, # 6 Def-STATE-136, # 7 Def-
                STATE-137, # 8 Def-STATE-138, # 9 Def-STATE-139)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1085 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-140*** (Attachments: # 1 Def-
                STATE-141, # 2 Def-STATE-142, # 3 Def-STATE-143, # 4 Def-
                STATE-144, # 5 Def-STATE-145, # 6 Def-STATE-146, # 7 Def-



                                                                               23-50885.266
        Case: 23-50885   Document: 144   Page: 270   Date Filed: 06/19/2024

                  STATE-147, # 8 Def-STATE-148, # 9 Def-STATE-149)(dtg)
                  (Entered: 03/06/2024)
03/06/2024 1086 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-150*** (Attachments: # 1 Def-
                STATE-151, # 2 Def-STATE-152, # 3 Def-STATE-153, # 4 Def-
                STATE-154, # 5 Def-STATE-155, # 6 Def-STATE-156, # 7 Def-
                STATE-157, # 8 Def-STATE-158, # 9 Def-STATE-159)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1087 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-160*** (Attachments: # 1 Def-
                STATE-161, # 2 Def-STATE-162, # 3 Def-STATE-163, # 4 Def-
                STATE-164, # 5 Def-STATE-165, # 6 Def-STATE-166, # 7 Def-
                STATE-167, # 8 Def-STATE-168, # 9 Def-STATE-169)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1088 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-170*** (Attachments: # 1 Def-
                STATE-171, # 2 Def-STATE-172, # 3 Def-STATE-173, # 4 Def-
                STATE-174)(dtg) (Entered: 03/06/2024)
03/06/2024 1089 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-188*** (dtg) (Entered:
                03/06/2024)
03/06/2024 1090 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-192*** (Attachments: # 1 Def-
                STATE-193, # 2 Def-STATE-194, # 3 Def-STATE-195, # 4 Def-
                STATE-196, # 5 Def-STATE-197, # 6 Def-STATE-198, # 7 Def-
                STATE-199)(dtg) (Entered: 03/06/2024)
03/06/2024 1091 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-200*** (Attachments: # 1 Def-
                STATE-201, # 2 Def-STATE-202, # 3 Def-STATE-203, # 4 Def-
                STATE-204, # 5 Def-STATE-205, # 6 Def-STATE-206, # 7 Def-
                STATE-207, # 8 Def-STATE-208, # 9 Def-STATE-209)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1092 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-210*** (Attachments: # 1 Def-
                STATE-211, # 2 Def-STATE-212, # 3 Def-STATE-213, # 4 Def-
                STATE-214, # 5 Def-STATE-215, # 6 Def-STATE-216, # 7 Def-
                STATE-217, # 8 Def-STATE-218)(dtg) (Entered: 03/06/2024)
03/06/2024 1093 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-222*** (Attachments: # 1 Def-
                STATE-223, # 2 Def-STATE-224, # 3 Def-STATE-225, # 4 Def-
                STATE-226, # 5 Def-STATE-227, # 6 Def-STATE-228, # 7 Def-
                STATE-229)(dtg) (Entered: 03/06/2024)




                                                                              23-50885.267
        Case: 23-50885   Document: 144   Page: 271   Date Filed: 06/19/2024


03/06/2024 1094 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-230*** (Attachments: # 1 Def-
                STATE-231, # 2 Def-STATE-232, # 3 Def-STATE-234, # 4 Def-
                STATE-235, # 5 Def-STATE-236, # 6 Def-STATE-237, # 7 Def-
                STATE-238, # 8 Def-STATE-239)(dtg) (Entered: 03/06/2024)
03/06/2024 1095 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-240*** (Attachments: # 1 Def-
                STATE-241, # 2 Def-STATE-242, # 3 Def-STATE-243, # 4 Def-
                STATE-244, # 5 Def-STATE-245, # 6 Def-STATE-246, # 7 Def-
                STATE-247, # 8 Def-STATE-248, # 9 Def-STATE-249)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1096 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-250*** (Attachments: # 1 Def-
                STATE-251, # 2 Def-STATE-252, # 3 Def-STATE-253, # 4 Def-
                STATE-254, # 5 Def-STATE-255, # 6 Def-STATE-256, # 7 Def-
                STATE-257, # 8 Def-STATE-258, # 9 Def-STATE-259)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1097 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-260***(Attachments: # 1 Def-
                STATE-263, # 2 Def-STATE-264, # 3 Def-STATE-265, # 4 Def-
                STATE-266, # 5 Def-STATE-267, # 6 Def-STATE-268, # 7 Def-
                STATE-269)(dtg) (Entered: 03/06/2024)
03/06/2024 1098 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-270*** (Attachments: # 1 Def-
                STATE-271, # 2 Def-STATE-272, # 3 Def-STATE-273, # 4 Def-
                STATE-274, # 5 Def-STATE-275, # 6 Def-STATE-276, # 7 Def-
                STATE-277, # 8 Def-STATE-278, # 9 Def-STATE-279)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1099 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-280*** (Attachments: # 1 Def-
                STATE-281, # 2 Def-STATE-282, # 3 Def-STATE-286)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1100 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-290*** (Attachments: # 1 Def-
                STATE-291, # 2 Def-STATE-293, # 3 Def-STATE-294, # 4 Def-
                STATE-295, # 5 Def-STATE-296, # 6 Def-STATE-297, # 7 Def-
                STATE-298, # 8 Def-STATE-299)(dtg) (Entered: 03/06/2024)
03/06/2024 1101 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-300*** (Attachments: # 1 Def-
                STATE-301, # 2 Def-STATE-302, # 3 Def-STATE-303, # 4 Def-
                STATE-304, # 5 Def-STATE-305)(dtg) (Entered: 03/06/2024)
03/06/2024 1102 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-316*** (Attachments: # 1 Def-



                                                                              23-50885.268
         Case: 23-50885   Document: 144   Page: 272   Date Filed: 06/19/2024

                   STATE-317, # 2 Def-STATE-318)(dtg) (Entered: 03/06/2024)
03/06/2024 1103 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-320*** (Attachments: # 1 Def-
                STATE-321)(dtg) (Entered: 03/06/2024)
03/06/2024 1104 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-349***(dtg) (Entered:
                03/06/2024)
03/06/2024 1105 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-371*** (Attachments: # 1 Def-
                STATE-379)(dtg) (Entered: 03/06/2024)
03/06/2024 1106 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-383*** (dtg) (Entered:
                03/06/2024)
03/06/2024 1107 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-393*** (dtg) (Entered:
                03/06/2024)
03/06/2024 1108 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-423*** (Attachments: # 1 Def-
                STATE-424, # 2 Def-STATE-425, # 3 Def-STATE-428, # 4 Def-
                STATE-429)(dtg) (Entered: 03/06/2024)
03/06/2024 1109 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-431*** (Attachments: # 1 Def-
                STATE-432, # 2 Def-STATE-433, # 3 Def-STATE-434, # 4 Def-
                STATE-435, # 5 Def-STATE-436, # 6 Def-STATE-437, # 7 Def-
                STATE-438, # 8 Def-STATE-439)(dtg) (Entered: 03/06/2024)
03/06/2024 1110 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-440*** (Attachments: # 1 Def-
                STATE-441, # 2 Def-STATE-442, # 3 Def-STATE-443, # 4 Def-
                STATE-444, # 5 Def-STATE-445, # 6 Def-STATE-446, # 7 Def-
                STATE-447, # 8 Def-STATE-448, # 9 Def-STATE-449)(dtg)
                (Entered: 03/06/2024)
03/06/2024 1111 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jane Nelson,
                Warren K. Paxton.***Def-STATE-450*** (Attachments: # 1 Def-
                STATE-451)(dtg) (Entered: 03/06/2024)
03/07/2024 1112 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla


                                                                               23-50885.269
         Case: 23-50885   Document: 144    Page: 273   Date Filed: 06/19/2024

                   Lopez, Marlon Lopez, Mexican American Bar Association of
                   Texas, Mi Familia Vota, National Republican Congressional
                   Committee, National Republican Senatorial Committee, Jane
                   Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,
                   REVUP-Texas, Yvonne Ramon, Republican National Committee,
                   Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                   Scarpello, Southwest Voter Registration Education Project, Texas
                   AFT, Texas Alliance for Retired Americans, Texas Hispanics
                   Organized for Political Education, Texas Impact, The Arc of
                   Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                   Lisa Wise. (Attachments: # 1 JOINT-1, # 2 JOINT-2, # 3 JOINT-3,
                   # 4 JOINT-4, # 5 JOINT-5, # 6 JOINT-6, # 7 JOINT-7, # 8 JOINT-8,
                   # 9 JOINT-9)(dtg) (Entered: 03/07/2024)
03/07/2024 1113 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla
                Lopez, Marlon Lopez, Mexican American Bar Association of
                Texas, Mi Familia Vota, National Republican Congressional
                Committee, National Republican Senatorial Committee, Jane
                Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,
                REVUP-Texas, Yvonne Ramon, Republican National Committee,
                Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                Scarpello, Southwest Voter Registration Education Project, Texas
                AFT, Texas Alliance for Retired Americans, Texas Hispanics
                Organized for Political Education, Texas Impact, The Arc of
                Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                Lisa Wise.***JOINT-10*** (Attachments: # 1 JOINT-11, # 2 JOINT-
                12, # 3 JOINT-13, # 4 JOINT-14, # 5 JOINT-15, # 6 JOINT-16, # 7
                JOINT-17, # 8 JOINT-18, # 9 JOINT-19)(dtg) (Entered:
                03/07/2024)
03/07/2024 1114 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla
                Lopez, Marlon Lopez, Mexican American Bar Association of
                Texas, Mi Familia Vota, National Republican Congressional



                                                                                23-50885.270
         Case: 23-50885   Document: 144    Page: 274   Date Filed: 06/19/2024

                   Committee, National Republican Senatorial Committee, Jane
                   Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,
                   REVUP-Texas, Yvonne Ramon, Republican National Committee,
                   Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                   Scarpello, Southwest Voter Registration Education Project, Texas
                   AFT, Texas Alliance for Retired Americans, Texas Hispanics
                   Organized for Political Education, Texas Impact, The Arc of
                   Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                   Lisa Wise.***JOINT-20*** (Attachments: # 1 JOINT-21, # 2 JOINT-
                   22, # 3 JOINT-23, # 4 JOINT-24, # 5 JOINT-25, # 6 JOINT-26, # 7
                   JOINT-27, # 8 JOINT-28, # 9 JOINT-29)(dtg) (Entered:
                   03/07/2024)
03/07/2024 1115 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla
                Lopez, Marlon Lopez, Mexican American Bar Association of
                Texas, Mi Familia Vota, National Republican Congressional
                Committee, National Republican Senatorial Committee, Jane
                Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,
                REVUP-Texas, Yvonne Ramon, Republican National Committee,
                Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                Scarpello, Southwest Voter Registration Education Project, Texas
                AFT, Texas Alliance for Retired Americans, Texas Hispanics
                Organized for Political Education, Texas Impact, The Arc of
                Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                Lisa Wise.***JOINT-30*** (Attachments: # 1 JOINT-31, # 2 JOINT-
                32, # 3 JOINT-33, # 4 JOINT-34, # 5 JOINT-35, # 6 JOINT-36, # 7
                JOINT-37, # 8 JOINT-38, # 9 JOINT-39)(dtg) (Entered:
                03/07/2024)
03/07/2024 1116 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla
                Lopez, Marlon Lopez, Mexican American Bar Association of
                Texas, Mi Familia Vota, National Republican Congressional
                Committee, National Republican Senatorial Committee, Jane



                                                                                23-50885.271
         Case: 23-50885   Document: 144    Page: 275   Date Filed: 06/19/2024

                   Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,
                   REVUP-Texas, Yvonne Ramon, Republican National Committee,
                   Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                   Scarpello, Southwest Voter Registration Education Project, Texas
                   AFT, Texas Alliance for Retired Americans, Texas Hispanics
                   Organized for Political Education, Texas Impact, The Arc of
                   Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                   Lisa Wise.***JOINT-40*** (Attachments: # 1 JOINT-41, # 2 JOINT-
                   42, # 3 JOINT-43, # 4 JOINT-44, # 5 JOINT-45, # 6 JOINT-46, # 7
                   JOINT-47, # 8 JOINT-48, # 9 JOINT-49)(dtg) (Entered:
                   03/07/2024)
03/07/2024 1117 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla
                Lopez, Marlon Lopez, Mexican American Bar Association of
                Texas, Mi Familia Vota, National Republican Congressional
                Committee, National Republican Senatorial Committee, Jane
                Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,
                REVUP-Texas, Yvonne Ramon, Republican National Committee,
                Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                Scarpello, Southwest Voter Registration Education Project, Texas
                AFT, Texas Alliance for Retired Americans, Texas Hispanics
                Organized for Political Education, Texas Impact, The Arc of
                Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                Lisa Wise.***JOINT-50*** (Attachments: # 1 JOINT-51, # 2 JOINT-
                52, # 3 JOINT-53, # 4 JOINT-54, # 5 JOINT-55, # 6 JOINT-56, # 7
                JOINT-57, # 8 JOINT-58, # 9 JOINT-59)(dtg) (Entered:
                03/07/2024)
03/07/2024 1118 BENCH TRIAL EXHIBITS by Gregory W. Abbott, Jacque Callanen,
                Jeffrey Lamar Clemmons, John Creuzot, Dallas County
                Republican Party, Dana DeBeauvoir, Delta Sigma Theta Sorority
                Inc., Jose A. Esparza, Fiel Houston, Inc., Friendship-West Baptist
                Church, Jose Garza, Joe Gonzales, Rebecca Guerrero, Harris
                County Republican Party, Houston Area Urban League, Teneshia
                Hudspeth, Isabel Longoria, JOLT Action, James Lewin, LULAC
                Texas, La Union Del Pueblo Entero, Lawyers Democracy Fund,
                League of Women Voters of Texas, Dyana Limon-Mercado, Marla
                Lopez, Marlon Lopez, Mexican American Bar Association of
                Texas, Mi Familia Vota, National Republican Congressional
                Committee, National Republican Senatorial Committee, Jane
                Nelson, OCA-Greater Houston, Kim Ogg, Warren K. Paxton,



                                                                                23-50885.272
         Case: 23-50885   Document: 144    Page: 276   Date Filed: 06/19/2024

                   REVUP-Texas, Yvonne Ramon, Republican National Committee,
                   Ricardo Rodriguez, Jr., Yvonne Rosales, Paul Rutledge, Michael
                   Scarpello, Southwest Voter Registration Education Project, Texas
                   AFT, Texas Alliance for Retired Americans, Texas Hispanics
                   Organized for Political Education, Texas Impact, The Arc of
                   Texas, Lupe C. Torres, Voto Latino, William C. Velasquez Institute,
                   Lisa Wise.***JOINT-60*** (Attachments: # 1 JOINT-61, # 2 JOINT-
                   62, # 3 JOINT-63, # 4 JOINT-64, # 5 JOINT-65, # 6 JOINT-66, # 7
                   JOINT-67, # 8 JOINT-68, # 9 JOINT-69)(dtg) (Entered:
                   03/07/2024)
03/07/2024 1119 MOTION to Withdraw as Attorney by Mi Familia Vota.
                (Attachments: # 1 Proposed Order)(Watkins, Elijah) (Entered:
                03/07/2024)
03/08/2024 1120 Unopposed MOTION to Withdraw as Attorney Joseph N.
                Posimato by LULAC Texas, Texas AFT, Texas Alliance for Retired
                Americans, Voto Latino. (Posimato, Joseph) (Entered:
                03/08/2024)
03/11/2024 1121 Unopposed MOTION to Withdraw as Attorney Michael E. Stewart
                by United States Of America. (Attachments: # 1 Proposed
                Order)(Stewart, Michael) (Entered: 03/11/2024)
03/11/2024         Text Order GRANTING 1120 Motion to Withdraw as Attorney
                   entered by Judge Xavier Rodriguez. Joseph N. Posimato is hereby
                   WITHDRAWN as counsel for Plaintiffs LULAC Texas, Voto Latino,
                   Texas Alliance for Retired Americans, and Texas AFT, which will
                   continue to be represented by remaining counsel of record.
                   (This is a text-only entry generated by the court. There is no
                   document associated with this entry.) (cb) (Entered: 03/11/2024)
03/11/2024         Text Order GRANTING 1121 Motion to Withdraw as Attorney
                   entered by Judge Xavier Rodriguez. Michael E. Stewart is hereby
                   WITHDRAWN as counsel of record for the UnitedStates, which
                   will continue to be represented by remaining counsel of record.
                   (This is a text-only entry generated by the court. There is no
                   document associated with this entry.) (cb) (Entered: 03/11/2024)
03/11/2024         (Court only) *** Attorney Joseph N. Posimato terminated. (wg)
                   (Entered: 03/11/2024)
03/11/2024 1122 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 992 Opposed MOTION to Strike the
                Declaration of Jonathan White by Fiel Houston, Inc., Friendship-
                West Baptist Church, JOLT Action, James Lewin, La Union Del
                Pueblo Entero, Mexican American Bar Association of Texas,
                Southwest Voter Registration Education Project, Texas Hispanics
                Organized for Political Education, Texas Impact, William C.
                Velasquez Institute. (Attachments: # 1 Proposed Order)
                (Menendez, Fatima) (Entered: 03/11/2024)



                                                                                23-50885.273
         Case: 23-50885    Document: 144   Page: 277   Date Filed: 06/19/2024


03/11/2024         Text Order GRANTING 1122 Motion for Extension of Time to File
                   Response/Reply entered by Judge Xavier Rodriguez. LUPE
                   Plaintiffs' deadline to file a reply in support of their Motion to
                   Strike the Declaration of Jonathan White 992 is hereby extended
                   to March 22, 2024. (This is a text-only entry generated by the
                   court. There is no document associated with this entry.) (cb)
                   (Entered: 03/11/2024)
03/11/2024         Text Order GRANTING 1119 Motion to Withdraw as Attorney
                   entered by Judge Xavier Rodriguez. Elijah Watkins is hereby
                   WITHDRAWN as counsel of record for Mi Familia Vota, Marla
                   Lopez, Marlon Lopez, and Paul Rutledge ("MFV Plaintiffs"). The
                   MFV Plaintiffs will continue to be represented by remaining
                   counsel of record. (This is a text-only entry generated by the
                   court. There is no document associated with this entry.)(cb)
                   (Entered: 03/11/2024)
03/11/2024         (Court only) *** Attorney Elijah M. Watkins terminated. (wg)
                   (Entered: 03/12/2024)
03/11/2024         (Court only) *** Attorney Michael Elliot Stewart terminated. (wg)
                   (Entered: 03/12/2024)
03/11/2024 1125 Certified copy of USCA JUDGMENT/MANDATE Reversing Notice of
                Appeal - Interlocutory, 567 Notice of Appeal (E-Filed), filed by
                Paul Bettencourt, Briscoe Cain.***This cause was considered on
                the record on appeal and was argued by counsel. IT IS
                ORDERED and ADJUDGED that the judgment of the District Court
                is REVERSED, and the cause is REMANDED to the District Court
                for further proceedings in accordance with the opinion of this
                Court. IT IS FURTHER ORDERED that appellees pay to appellants
                the costs on appeal to be taxed by the Clerk of this Court.The
                judgment or mandate of this court shall issue 7 days after the
                time to file a petition for rehearing expires, or 7 days after entry
                of an order denying a timely petition for panel rehearing,
                petition for rehearing en banc, or motion for stay of mandate,
                whichever is later. See Fed. R. App. P. 41(b). The court may
                shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.***
                (Attachments: # 1 TRANSMITTAL LETTER FROM USCA5)(dtg)
                (Entered: 03/15/2024)
03/13/2024 1123 MOTION to Appear Pro Hac Vice by Jennifer A. Holmes for Uruj
                Sheikh ( Filing fee $ 100 receipt number CTXWDC-18526148) by
                on behalf of Jeffrey Lamar Clemmons, Delta Sigma Theta
                Sorority Inc., Houston Area Urban League, The Arc of Texas.
                (Attachments: # 1 Proposed Order)(Holmes, Jennifer) (Entered:
                03/13/2024)
03/14/2024 1124 Unopposed MOTION to Withdraw as Attorney Germaine Habell
                by Lisa Wise. (Attachments: # 1 Proposed Order)(Hartnett,



                                                                                23-50885.274
         Case: 23-50885   Document: 144    Page: 278    Date Filed: 06/19/2024

                   Kathleen) (Entered: 03/14/2024)
03/18/2024         Text Order GRANTING 1123 Motion to Appear Pro Hac Vice
                   entered by Judge Xavier Rodriguez. Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the
                   attorney hereby granted permission to practice pro hac vice in
                   this case must register for electronic filing with our court within
                   10 days of this order. Registration is managed by the PACER
                   Service Center. (This is a text-only entry generated by the court.
                   There is no document associated with this entry.) (cb) (Entered:
                   03/18/2024)
03/18/2024         Text Order GRANTING 1124 Motion to Withdraw as Attorney
                   entered by Judge Xavier Rodriguez. Germaine Habell of Cooley
                   LLP is hereby WITHDRAWN as counsel for Defendant Lisa Wise,
                   who will continue to be represented by remaining counsel of
                   record. (This is a text-only entry generated by the court. There
                   is no document associated with this entry.) (cb) (Entered:
                   03/18/2024)
03/18/2024         (Court only) *** Attorney Germaine Maria Habell terminated. (bt)
                   (Entered: 03/18/2024)
03/18/2024         Text Order TERMINATING 608 Motion for Summary Judgment
                   entered by Judge Xavier Rodriguez. The motion is terminated as
                   carried with the case, with a ruling to follow in the Court's
                   findings of fact and conclusions of law. (This is a text-only entry
                   generated by the court. There is no document associated with
                   this entry.) (cb) (Entered: 03/18/2024)
03/18/2024         Text Order TERMINATING 614 Motion for Summary Judgment
                   entered by Judge Xavier Rodriguez. The motion is terminated as
                   carried with the case, with a ruling to follow in the Court's
                   findings of fact and conclusions of law. (This is a text-only entry
                   generated by the court. There is no document associated with
                   this entry.) (cb) (Entered: 03/18/2024)
03/18/2024         Text Order TERMINATING 616 Motion for Summary Judgment
                   entered by Judge Xavier Rodriguez. The motion is terminated as
                   carried with the case, with a ruling to follow in the Court's
                   findings of fact and conclusions of law. (This is a text-only entry
                   generated by the court. There is no document associated with
                   this entry.) (cb) (Entered: 03/18/2024)
03/22/2024 1126 REPLY to Response to Motion, filed by Fiel Houston, Inc.,
                Friendship-West Baptist Church, JOLT Action, James Lewin, La
                Union Del Pueblo Entero, Mexican American Bar Association of
                Texas, Southwest Voter Registration Education Project, Texas
                Hispanics Organized for Political Education, William C. Velasquez
                Institute, re 992 Opposed MOTION to Strike the Declaration of
                Jonathan White filed by Plaintiff Texas Hispanics Organized for



                                                                                 23-50885.275
Case: 23-50885   Document: 144    Page: 279   Date Filed: 06/19/2024

          Political Education, Plaintiff Texas Impact, Plaintiff William C.
          Velasquez Institute, Plaintiff Fiel Houston, Inc., Plaintiff JOLT
          Action, Plaintiff La Union Del Pueblo Entero, Plaintiff Southwest
          Voter Registration Education Project, Plaintiff Mexican American
          Bar Association of Texas, Plaintiff Friendship-West Baptist Church
          (Perales, Nina) (Entered: 03/22/2024)




                                                                       23-50885.276
Case: 23-50885   Document: 144   Page: 280   Date Filed: 06/19/2024




 Tab 2: Notice of Appeal (ROA. 33297-33299)




                                                                      23-50885.277
       Case: 23-50885          Document: 144       Page: 281   Date Filed: 06/19/2024




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

La Unión Del Pueblo Entero, et al.,            §
                                               §
                  Plaintiffs                   §
                                               §
       v.                                      §       No. 5:21-cv-00844-XR
                                               §
Gregory W. Abbott, et. al.,                    §
                                               §
                  Defendant.
                                               §
                                               §

                  INTERVENOR-DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Intervenor-Defendants Harris County Republican Party,

Dallas County Republican Party, Republican National Committee, National Republican Senatorial

Committee, and National Republican Congressional Committee hereby appeal to the United States

Court of Appeals for the Fifth Circuit from the Court’s November 29, 2023 Order. See ECF No.

821. That order is immediately appealable. See 28 U.S.C. § 1292(a)(1).




                                                                                          23-50885.278
      Case: 23-50885      Document: 144    Page: 282      Date Filed: 06/19/2024




Dated: December 4, 2023                   Respectfully submitted,

                                          /s/ John M. Gore
                                          John M. Gore
                                          E. Stewart Crosland (pro hac vice)
                                          Louis J. Capozzi III (pro hac vice)
                                          JONES DAY
                                          51 Louisiana Avenue, N.W.
                                          Washington, D.C. 20001
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                                          lcapozzi@jonesday.com

                                          Counsel for Intervenor-Defendants




                                                                                   23-50885.279
       Case: 23-50885        Document: 144        Page: 283      Date Filed: 06/19/2024




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2023, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of this filing to all counsel

of record.

                                                    /s/ John M. Gore




                                                                                              23-50885.280
Case: 23-50885   Document: 144   Page: 284   Date Filed: 06/19/2024




 Tab 3: Challenged Order (ROA. 33215-33267)




                                                                      23-50885.281
         Case:
          Case23-50885    Document:
               5:21-cv-00844-XR     144 Page:
                                Document      285 11/29/23
                                         821 Filed  Date Filed: 06/19/2024
                                                             Page  1 of 53




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

    LA UNIÓN DEL PUEBLO ENTERO, et al.,                   §
                 Plaintiffs,                              §
                                                          §
    v.                                                    §                  5:21-CV-0844-XR
                                                          §                 [Consolidated Cases]
    GREGORY W. ABBOTT, et al.,                            §
               Defendants.                                §

                                      MEMORANDUM OPINION 1

         On this date, the Court considered the motions for summary judgment as to the Section 101

Materiality Provision claims filed by the United States (ECF No. 609), the OCA Plaintiffs (ECF

No. 611), and the Intervenor-Defendants (ECF No. 608), and the responses and replies thereto.

After careful consideration, the Court issues the following order.

                                              BACKGROUND

         On September 7, 2021, Texas Governor Greg Abbott signed into law the Election

Protection and Integrity Act of 2021, an omnibus election law commonly referred to as S.B. 1. See

Election Integrity Protection Act of 2021, S.B. 1, 87th Leg., 2d Spec. Sess. (2021). In the weeks

that followed, numerous private plaintiffs, including OCA-Greater Houston, League of Women

Voters of Texas, and REVUP-Texas (collectively, the “OCA Plaintiffs”), and the United States

filed suit, challenging various provisions of S.B. 1 under the United States Constitution and federal

civil rights statutes. 2



1
  This memorandum opinion supplements the Court’s earlier summary ruling on these motions issued in August 2023.
See ECF No. 724.
2
  For the purposes of judicial economy, the Court consolidated these cases under the above-captioned lead case. See
ECF No. 31 (consolidating OCA-Greater Houston v. Esparza, No. 1:21-CV-780-XR (W.D. Tex. 2021); Houston
Justice v. Abbott, No. 5:21-CV-848-XR (W.D. Tex. 2021); LULAC Texas v. Esparza, No. 1:21-CV-786-XR (W.D.
Tex. 2021); and Mi Familia Vota v. Abbott, No. 5:21-CV-920-XR (W.D. Tex. 2021) under La Unión del Pueblo
Entero v. Abbott, No. 5:21-CV-844-XR (W.D. Tex. 2021)); United States v. Texas, No. 5:21-CV-1085-XR (W.D.
Tex. Nov. 4, 2021), ECF No. 13.




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         Case:
          Case23-50885    Document:
               5:21-cv-00844-XR     144 Page:
                                Document      286 11/29/23
                                         821 Filed  Date Filed: 06/19/2024
                                                             Page  2 of 53




         The United States and the OCA Plaintiffs (collectively, “Plaintiffs”) allege that various

provisions of S.B. 1 adding an identification (“ID”) number-matching requirement to Texas’s

mail-in voting process violate Section 1971 of the Civil Rights Act of 1964 (“CRA”), now codified

under 52 U.S.C. § 10101(a)(2) (“Section 101”). See ECF No. 200 at 45–46; ECF No. 131 at 16–

17. 3 The “Materiality Provision” of Section 101 states:

        (2) No person acting under color of law shall—
                 (B) deny the right of any individual to vote in any election because of an
         error or omission on any record or paper relating to any application, registration, or
         other act requisite to voting, if such error or omission is not material in determining
         whether such individual is qualified under State law to vote in such election[.]

52 U.S.C. § 10101(a)(2)(B). The CRA defines the term “vote” broadly: it includes “all action

necessary to make a vote effective including, but not limited to . . . casting a ballot, and having

such ballot counted and included in the appropriate totals of votes cast.” Id. §§ 10101(a)(3)(A),

10101(e). Section 101, therefore, prohibits state actors from denying a person’s right to make their

vote effective based on an error or omission that is not material to determining whether they are

qualified to vote under state law.

         The OCA Plaintiffs attack the number-matching framework as a whole, 4 while the United

States merely challenges the provisions requiring election officials to reject applications to vote

by mail and mail-in ballots bearing ID numbers that do not match voter registration records—

Sections 5.07 and 5.13 of S.B. 1. See ECF No. 200 at 45–46; ECF No. 131 at 16–17. Plaintiffs

seek injunctions barring enforcement of the provisions they challenge and a declaration that the

challenged provisions violate the Materiality Provision. See id.


3
  When citing to the parties’ filings, the Court refers to ECF pagination, which may not reflect the pages numbers of
the underlying documents.
4
  In their motion, the OCA Plaintiffs state that they seek to challenge Sections 5.02, 5.03, 5.07, 5.08, 5.10, 5.12, 5.13,
and 5.14 of S.B. 1 and have voluntarily withdrawn their challenge to Section 5.06. ECF No. 611 at 8 n.1. Although it
will not meaningfully affect the disposition of the Section 101 claims, the Court observes that the Second Amended
Complaint does not appear to include any references to Sections 5.08, 5.13, or 5.14 of S.B. 1.



                                                            2

                                                                                                                      23-50885.283
         Case:
          Case23-50885    Document:
               5:21-cv-00844-XR     144 Page:
                                Document      287 11/29/23
                                         821 Filed  Date Filed: 06/19/2024
                                                             Page  3 of 53




I.       Voter Qualifications and Registration Records

         S.B. 1 did not change voter eligibility requirements in Texas. Texas law defines a “qualified

voter” as an individual who is 18 years of age or older, is a United States citizen, is a resident of

the state of Texas, has not been adjudged mentally incompetent, has not been convicted of a felony

(unless they have completed their term of sentence or received a pardon), and is registered to vote.

TEX. ELEC. CODE (“TEC”) § 11.002(a); see also Tex. Const. art. VI, § 2(a).

         The official Texas voter registration form prepared by the Texas Secretary of State (“SOS”)

enumerates all of these qualifications and asks applicants to confirm their eligibility as to each of

them. 5 See ECF No. 609-3 at 108 (Texas Voter Registration Application). An applicant must

affirm, by checking the applicable boxes on the form, that she is a U.S. citizen and will be 18 years

of age by the date of the next election. See id. The applicant must also provide her date of birth,

residential address, and sign and date a statement, under penalty of perjury, affirming that she is a

resident of the county identified on the form, is a U.S. citizen, and satisfies the requirements related

to felony convictions and mental incompetence. See id. The form also requires the applicant to

provide (1) a Texas Driver’s License or Personal Identification number (“DPS number”), (2) “if

no [DPS number],” the last four digits of her Social Security Number (“SSN4”), or (3) a statement

that she has not been issued either identification number. 6 See id.

         Texas did not require voter-registration applicants to provide an ID number until January

1, 2004, in compliance with the Help America Vote Act (“HAVA”), 52 U.S.C. § 20901 et seq. See

ECF No. 609-1 (DOJ’s Statement of Uncontested Facts (“SUF”)) ¶ 11; TEC § 13.002(c)(8)(A);

52 U.S.C. § 21083(d) (requiring states to comply with relevant HAVA requirements by January 1,


5
  An applicant can submit a registration application in order to register to voter for the first time or to inform the
registrar of a change of address or other information. See ECF No. 609-3 at 108.
6
  The form also contains spaces for “optional” information, including the applicant’s gender and telephone number.
See ECF No. 609-3 at 108.


                                                          3

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       Case:
        Case23-50885    Document:
             5:21-cv-00844-XR     144 Page:
                              Document      288 11/29/23
                                       821 Filed  Date Filed: 06/19/2024
                                                           Page  4 of 53




2004). Congress enacted HAVA in the wake of the November 2000 presidential election and its

attendant controversies. One of HAVA’s main goals was to “modernize and improve registration

nationwide” by “[r]equiring states to develop statewide databases” to track voter registration. H.R.

REP. 107-329(I), 2001 WL 1579545, at *35–36.

       Under HAVA, states were directed to establish “a single, uniform, official, centralized,

interactive computerized statewide voter registration list . . . contain[ing] the name and registration

information of every legally registered voter in the State and assign[ing] a unique identifier to each

legally registered voter in the State.” See 52 U.S.C. § 21083(a)(1)(A). HAVA also imposed

additional ID number requirements on new voter registration applications. Specifically, HAVA

provides that applicants must provide a current and valid driver’s license number or, if they have

not been issued such a number, their SSN4, which the state must then compare with the SSA

database or DOL database. See 52 U.S.C. § 21083(a)(5)(A)(i). Applicants who indicate that they

have neither a driver’s license number nor an SSN4 must be assigned a unique identification

number on the state’s computerized database, which will “serve to identify the applicant for voter

registration purposes.” See id. § 21083(a)(5)(A)(ii).

       Texas’s statewide voter registration database, maintained by the Texas SOS, is known as

the Texas Election Administration Management (“TEAM”) system. SUF ¶ 81. TEAM should

contain only one record for each registered voter in Texas. SUF ¶ 128. Each record is assigned a

Voter Unique Identification Number (“VUID”), which may itself be associated with up to two

other ID numbers. Id. Specifically, each VUID may be associated with (1) one number issued by

the Texas Department of Public Safety (“DPS”) on a driver’s license, personal identification card,

or election identification certificate (collectively, a “DPS number”), (2) one SSN4, (3) both a DPS

number and an SSN4, or (4) neither number. See SUF ¶¶ 129–30.




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       Case:
        Case23-50885    Document:
             5:21-cv-00844-XR     144 Page:
                              Document      289 11/29/23
                                       821 Filed  Date Filed: 06/19/2024
                                                           Page  5 of 53




II.    Voting-by-Mail in Texas Generally

       Texas authorizes several categories of voters to vote by mail. These include voters who are

65 years of age or older, disabled voters who cannot vote in person on Election Day “without the

likelihood of needing personal assistance or injuring [their] health,” voters absent from their home

counties for the entire in-person voting period, and voters who expect to give birth near Election

Day. SUF ¶ 17; TEC §§ 82.001–004, .007–.008.

       A qualified voter seeking to obtain a mail ballot must first submit a signed application for

a ballot by mail (“ABBM”) to their county’s early voting clerk. TEC §§ 84.001, 84.007. The

ABBM includes “the applicant’s name and the address at which the applicant is registered to vote,”

information demonstrating the voter’s eligibility for a mail ballot, “an indication of each election

for which the applicant is applying for a ballot,” and a mailing address, if different from the address

of registration. See TEC § 84.002.

       If the early voting clerk determines that the application does not “fully comply with the

applicable requirements,” the clerk is generally required to mail the applicant a new application

with a written notice that identifies the defects in the application and explains to the applicant how

the defects may be corrected. Id. § 86.008. Upon receiving a timely and non-defective ABBM, the

clerk sends the voter an official ballot by mail (“BBM”), a ballot envelope in which to place the

ballot, and an official carrier envelope in which to place the ballot envelope. Id. §§ 86.001–002,

.012–.013.

       To vote by mail, a voter must then (1) place his BBM in the official ballot envelope, (2)

seal the ballot envelope, (3) place the ballot envelope in the official carrier envelope, (4) seal the

carrier envelope, (5) sign the certificate on the carrier envelope, and (6) return the ballot materials




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        Case:
         Case23-50885    Document:
              5:21-cv-00844-XR     144 Page:
                               Document      290 11/29/23
                                        821 Filed  Date Filed: 06/19/2024
                                                            Page  6 of 53




to the early voting clerk, either by mail or common or contract carrier or in-person on election day,

with an acceptable form of photo identification. Id. § 86.005–.06, .013. 7

        In every election, each county in Texas convenes an Early Voting Ballot Board (“EVBB”),

which opens the carrier envelopes and determines whether to accept individual BBMs based on,

e.g., whether the voter’s ABBM stated a legal ground for voting by mail and whether the signature

on the carrier envelope matches the signature on the ABBM. 8 Id. § 87.041(b). An optional

Signature Verification Committee (“SVC”) may also be appointed to carry out the same functions.

Id. §§ 87.027(a), (i).

        At the direction of the Texas Legislature, the SOS has developed an online tool for tracking

ABBMs and mail ballots, which “must . . . for each carrier envelope, record or assign a serially

numbered and sequentially issued barcode or tracking number that is unique to each envelope.”

See id. § 86.015(c)(2) (the “Ballot Tracker”). Accordingly, carrier envelopes now bear a unique

number that links them to an associated voter and their ABBM. Counties are responsible for

entering the information used to track ABBMs and mail ballots into the Ballot Tracker.

III.    S.B. 1’s Identification-Number Requirements

        S.B. 1’s number-matching framework, codified in Sections 5.02, 5.03, 5.07, 5.08, 5.10,

5.12, 5.13, and 5.14 of S.B. 1, superimposes a new requirement on the mail-in voting process, at

both the application and voting stages. To have their ballots counted under S.B. 1, Texans voting

absentee must write an ID number that matches an ID number in TEAM on both their ABBM and

BBM materials.




7
  Military voters, military family members, and overseas citizens may also use a Federal Post Card Application to
apply for a mail ballot and a Texas-issued signature sheet to accompany a mail ballot in lieu of a carrier envelope,
both of which must comply with SB1’s requirements. See TEC §§ 101.052(e), 101.057, 101.107; SUF ¶¶ 27, 48–49.
8
  The voter’s ABBM and carrier envelope signatures may also be compared with other signatures on file with the
county clerk or voter registrar. TEC §§ 87.027(i), 87.041(e).


                                                         6

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       Case:
        Case23-50885    Document:
             5:21-cv-00844-XR     144 Page:
                              Document      291 11/29/23
                                       821 Filed  Date Filed: 06/19/2024
                                                           Page  7 of 53




       At the application stage, Section 5.02 requires voters to write one of three pieces of

information on their ABBM:

       (1) the applicant’s DPS number;
       (2) if the applicant “has not been issued” a DPS number, his or her SSN4; or
       (3) if the applicant lacks both a DPS ID number and an SSN4, a statement to
           that effect.

TEC § 84.002(a)(1-a). An applicant is permitted to use an expired DPS ID number, if the number

is otherwise valid, for purposes of fulfilling these requirements. Id. § 84.002(b-1). To implement

this new requirement, Section 5.03 of S.B. 1 directs the SOS to create a space for this information

on its “officially prescribed” ABBM. TEC § 84.011(a), (a)(3-a); see id. § 31.002.

       At the voting stage, Section 5.08 further requires that the carrier envelope in which the

ballot envelope is mailed include a space, hidden from view when sealed, for the voter to enter the

same identification number information required under Section 5.02. TEC § 86.002(g).

       Under Sections 5.07 and 5.13 of S.B. 1, an ABBM or mail ballot must be rejected if the

voter fails to provide a DPS number or SSN4 that identifies “the same voter identified on the

applicant’s application for voter registration.” See TEC § 86.001(f) (codifying Section 5.07, which

provides that early voting clerks “shall reject” mail ballot applications that do not include a

matching ID number); TEC § 87.041(b)(8) (codifying Section 5.13, which establishes that a mail

ballot “may be accepted only if” it includes a matching ID number).

       Finally, S.B. 1 establishes notice-and-cure procedures for ABBMs and mail ballots that are

rejected based on the number-matching requirements. Section 5.10 requires the SOS Ballot

Tracker to “allow a voter to add or correct information” on her ABBM or carrier envelope as

required by S.B. 1’s matching-number requirement. TEC § 86.015(c)(4). Sections 5.12 and 5.14

amend the responsibilities of the EVBB (and any SVC, if appointed), to include notifying the voter




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         Case:
          Case23-50885    Document:
               5:21-cv-00844-XR     144 Page:
                                Document      292 11/29/23
                                         821 Filed  Date Filed: 06/19/2024
                                                             Page  8 of 53




of any carrier envelope flagged for rejection for a variety of reasons, including pursuant to S.B.

1’s number-matching requirement. See TEC §§ 87.0411; 87.0271. 9

IV.      Implementation of S.B. 1’s Number-Matching Requirements

         To implement S.B. 1’s number-matching requirement at the application stage, the SOS

prepared an official ABBM with the following instructions:

         YOU MUST PROVIDE ONE of the following numbers. . . Texas Driver’s License,
         Texas Personal Identification Number or Election Identification Certificate
         Number issued by the Department of Public Safety (NOT your voter registration
         VUID#) . . . If you do not have a Texas Driver’s License, Texas Personal
         Identification Number or a Texas Election Identification Certificate Number, give
         the last 4 digits of your Social Security Number[.]

SUF ¶ 92; see also TEC § 84.011(a), (a)(3-a) (codifying Section 5.03’s requirement that the SOS

create a space for this information on its “officially prescribed” ABBM.).

         To implement S.B. 1’s requirements at the voting stage, the SOS prepared a carrier

envelope with identical instructions under the flap of the envelope. SUF ¶ 93; TEC § 86.002(g).

(codifying Section 5.08’s requirement that the carrier envelope in which the ballot envelope is

mailed include a space, hidden from view when sealed, for the voter to enter the same identification

number information required under Section 5.02).

         Following S.B. 1’s effective date, the SOS identified that incomplete records in the TEAM

system could interfere with the ability of many qualified voters to cast a mail ballot that would be

counted under the new requirements. SUF ¶ 131. As of January 3, 2023, nearly 190,000 Texas



9
 When initially enacted, Sections 5.12 and 5.14 instructed the SVC and EVBB, respectively, to determine within two
business days of identifying a defect whether it would be possible for the voter to correct the defect and return the
carrier envelope before polls closed on election day. If so, the SVC and EVBB had the option of returning the carrier
envelope to the voter by mail or to the early-voting clerk, who could contact the voter directly. If not, Sections 5.12
and 5.14 authorized the SVC and EVBB to contact voters by telephone or e-mail and inform them of their options to
either cancel their mail-in ballot and vote in person or to correct the carrier envelope in person at the early voting
clerk’s office within six days after the election. The Legislature has since enacted a provision, effective September 1,
2023, allowing the SVC and EVBB to mail back a corrective action form to the voter as opposed to the carrier
envelope. Tex. S.B. 1599, 88th Legis., R.S., § 8, sec. 87.0271(b), 2023 Tex. Gen. Laws.


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       Case:
        Case23-50885    Document:
             5:21-cv-00844-XR     144 Page:
                              Document      293 11/29/23
                                       821 Filed  Date Filed: 06/19/2024
                                                           Page  9 of 53




voters who have been issued DPS identification still lacked a DPS number in TEAM records, and

more than 90,000 Texas registered voters had neither a DPS number nor a SSN4 affiliated with

their voter registration record. SUF ¶¶ 140–41. In addition, roughly 2.4 million Texas voters have

only one of their multiple DPS numbers in TEAM. SUF ¶ 142. The TEAM database also contains

tens of thousands of errors, including over 60,000 DPS numbers inconsistent with DPS records

and nearly 45,000 SSN4s inconsistencies between TEAM and DPS databases. SUF ¶¶ 143–44. In

light of these inadequacies, both the SOS and county officials have directed duly registered and

qualified Texas voters whose registration records are incomplete or erroneous for S.B. 1 purposes

to submit new voter registration applications. SUF ¶ 105.

       TEAM lacks records adequate to determine the number of ABBMs rejected statewide on

account of S.B. 1. SUF ¶¶ 149, 151. Although the parties disagree about the precise number of

ABBMs and mail ballots that have been rejected (and cured) since S.B. 1’s effective date, it is

undisputed that the total is in the thousands. See, e.g., ECF No. 646 (State Opp. to OCA MSJ)

(asserting that “nearly half of the 11,430 voters whose records indicated an initial rejection on SB

1 grounds were able to cure or vote in-person”). Data produced by Bexar County and Harris

County alone document over 3,000 ABBM rejections in the November 2022 General Election for

failure to meet S.B. 1 requirements, only about 1,200 of which were successfully cured. SUF ¶

152(b)-(c). In the March 2022 primary election, more than 25,000 ballots were rejected statewide

based on a mismatched or missing DPS numbers or SSN4s. SUF ¶¶ 153–54. In the November

2022 general election, S.B. 1 required officials across Texas to reject more than 11,000 mail

ballots. SUF ¶ 161.

       The individual experiences of voters and county officials illustrate S.B. 1’s widespread

effects. For example, in the 2022 primary election, Ms. Pam Gaskin, a 75-year-old voter who had




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       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             294 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 10 of 53




been registered to vote in Fort Bend County for over 40 years, had her ABBM rejected after she

followed the form’s instructions and submitted her Texas Driver License number, which she later

learned was not in the voter registration database. SUF ¶¶ 180–81. And in the general election,

Mr. Roberto Benavides, a 76-year-old voter in Travis County, attempted to respond to a notice of

mail ballot rejection, but his efforts to cure were unsuccessful and his vote went uncounted. SUF

¶¶ 182–85. Local election officials eventually informed Mr. Benavides that the Texas Driver

License number in his voter registration record contained a typo. SUF ¶ 184. County election

officials reported voter confusion and frustration, including cases of voters discarding carrier

envelopes that election officials had returned due to a failure to meet S.B. 1 requirements rather

than taking additional steps to overcome the ballot rejection. SUF ¶¶ 99, 186.

       In response to the pervasive confusion and rejection of ABBMs and mail ballots, election

officials took action to mitigate S.B. 1’s impact on voters. SUF ¶ 122. For example, although S.B.

1’s text establishes a hierarchy of identification—with voters who have a DPS number being

required to provide that number and only voters who lack a DPS number being permitted to provide

a SSN4, see TEC §§ 84.002(a)(1-a), 86.002(g); SUF ¶¶ 32, 50—officials have accepted a SSN4

from voters with a DPS number on file. SUF ¶ 96. Similarly, state officials have recommended

that voters provide both a DPS number and SSN4, and some counties have added inserts to mail

voting materials with similar guidance. SUF ¶¶ 97, 123.

       Election officials confirmed that the DPS numbers and SSN4s required by S.B. 1 are not

used to ensure that voters are qualified to vote or to cast a mail ballot under Texas law, to identify

voters, or to flag potential fraud. Keith Ingram, then serving as Director of the Elections Division

of the SOS, acknowledged in a 2022 deposition that “individual eligibility criteria ha[ve] nothing

to [d]o with the number.” SUF ¶ 15. Nor do election officials ordinarily use these numbers to look




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                                                                                                  23-50885.291
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             295 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 11 of 53




up voter records, and the SOS does not instruct them to do so. SUF ¶¶ 118–20. Rather, election

officials look up voters using other information on mail ballot materials—such as the voter’s name,

date of birth, and address—just as they did before S.B. 1. SUF ¶ 120. Election officials must also

verify a voter’s identity using the signature by which the voter attests to identity and eligibility,

just as they did before S.B. 1. TEC § 87.041(b)(2); SUF ¶ 65. Further, the SOS and county officials

do not consider a DPS number or SSN4 mismatch or omission to be evidence of fraud. SUF ¶¶

187–91. And because matching a DPS number or SSN4 against incomplete and erroneous voter

registration records fails to identify some voters accurately, S.B. 1 requires election officials to

reject mail ballot materials from voters who provided accurate information. SUF ¶¶ 34–36, 51,

92–94, 100–103, 131, 134–37, 139–46, 180–85.

V.     Procedural History

       Plaintiffs allege that S.B. 1’s number-matching provisions violate Section 101 of the CRA

because they require the rejection of vote-by-mail applications and mail ballot carrier envelopes

based on errors or omissions that are not material to determining whether a person is qualified to

vote under Texas law.

       In November 2021, the United States filed an amended complaint, its operative pleading,

against Texas and its Secretary of State (“SOS”) in his official capacity, alleging that Sections 5.07

and 5.13 of S.B. 1 violate Section 101 of the CRA. ECF No. 131. Texas and the SOS filed a motion

to dismiss claims of the United States in December 2021, see ECF No. 145, which the Court denied

in all respects in May 2022. La Union del Pueblo Entero v. Abbott (“LUPE (USA)”), 604 F. Supp.

3d 512, 517 (W.D. Tex. 2022).

       The OCA Plaintiffs filed their Second Amended Complaint in January 2022, asserting eight

claims, including their Section 101 claim, against the Texas SOS and the Texas Attorney General




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                                                                                                  23-50885.292
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               296 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   12 of 53




(together with Texas and the SOS, the “State Defendants”), in their official capacities, and several

county officials in Travis County and Harris County. 10 ECF No. 200. The State Defendants moved

to dismiss the OCA Plaintiffs’ claims in February 2022. ECF No. 240. In August 2022, the Court

entered an order, which, in relevant part, denied the State Defendants’ motion with respect to the

OCA Plaintiffs’ claim under Section 101 of the CRA. La Union del Pueblo Entero v. Abbott

(“LUPE (OCA)”), 618 F. Supp. 3d 388, 398 (W.D. Tex. 2022).

         The OCA Plaintiffs and the United States both moved for summary judgment as to their

Section 101 claims. See ECF No. 609 (DOJ MSJ); ECF No. 611 (OCA MSJ). Plaintiffs’ motions

are opposed by both the State Defendants and the Intervenor-Defendants—the Harris County

Republican Party, the Dallas County Republican Party, the Republican National Committee, the

National Republican Senatorial Committee, and the National Republican Congressional

Committee (collectively, the “Committees” or the “Intervenor-Defendants”). See ECF No. 645

(State Opp. to DOJ MSJ); ECF No. 646 (State Opp. to OCA MSJ); ECF No. 634 (GOP Opp. to

DOJ MSJ); ECF No. 635 (GOP Opp. to OCA MSJ). The Intervenor-Defendants also

independently filed a cross-motion for partial summary judgment, asserting that the Section 101

claims brought by the United States and the OCA Plaintiffs fail as a matter of law. 11 See ECF No.

608 (GOP MSJ) at 13–23.


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   The OCA Plaintiffs have also sued, in their official capacities, Travis County Clerk, Travis County District Attorney,
Harris County Elections Administrator, and Harris County District Attorney. ECF No. 200 ¶¶ 48–51.
11
   The Committees first sought to intervene in this action in October 2021. ECF No. 57. The Court denied their motion,
concluding that the Committees had not established a legally protectable interest at stake in this litigation or that the
State Defendants’ representation of their purported interests would be inadequate. See ECF No. 122 at 2–7. The Fifth
Circuit reversed the Court’s order concluding that the Committees’ interest in S.B. 1’s provisions concerning party-
appointed poll watchers—an interest raised for the first time on appeal—warranted intervention. La Union del Pueblo
Entero v. Abbott, 29 F.4th 299, 306 (5th Cir. 2022). In accordance with the Fifth Circuit’s mandate, in May 2022, the
Court granted the Committees’ renewed motion to intervene. See Text Orders dated May 13, 2022 and May 18, 2022.
It is not clear to the Court that the Committees’ interest in the provisions applicable to partisan poll watchers
establishes a commensurate interest in vote-by-mail procedures. Nonetheless, given that the State Defendants
incorporate many of the Committees’ arguments by reference in their responses to Plaintiffs’ motions, the Court
considers the Intervenor-Defendants’ motion and briefing. The Intervenor-Defendants’ briefing appears to universally
misidentify S.B. 1’s provisions requiring that ABBMs and BBMs be rejected for failure to satisfy the number-


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                                                                                                                     23-50885.293
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              297 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  13 of 53




        In August 2023, in advance of the bench trial of this case scheduled for September 2023,

the Court entered a summary ruling on the parties’ motions for summary judgment as to Plaintiffs’

Section 101 claims. See ECF No. 724. For the reasons stated in the Court’s summary ruling and

set out more fully in this memorandum opinion, the Court granted the United States’ motion for

summary judgment (ECF No. 609) in full and granted the OCA Plaintiffs’ motion for summary

judgment (ECF No. 611) with respect to their challenge to Section 5.07 of S.B. 1 only.

                                            LEGAL STANDARD

        The Court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law. FED. R.

CIV. P. 56. To establish that there is no genuine issue as to any material fact, the movant must

either submit evidence that negates the existence of some material element of the non-moving

party’s claim or defense, or, if the crucial issue is one for which the nonmoving party will bear the

burden of proof at trial, merely point out that the evidence in the record is insufficient to support

an essential element of the nonmovant’s claim or defense. Little v. Liquid Air Corp., 952 F.2d 841,

847 (5th Cir. 1992), on reh’g en banc, 37 F.3d 1069 (5th Cir. 1994) (citing Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986)).

        Once the movant carries its initial burden, the burden shifts to the nonmovant to show that

summary judgment is inappropriate. See Fields v. City of S. Hous., 922 F.2d 1183, 1187 (5th Cir.

1991). Any “[u]nsubstantiated assertions, improbable inferences, and unsupported speculation are

not sufficient to defeat a motion for summary judgment,” Brown v. City of Houston, 337 F.3d 539,

541 (5th Cir. 2003), and neither will “only a scintilla of evidence” meet the nonmovant’s burden.




matching requirement as Sections 5.02 and 5.08. See ECF Nos. 608, 634, 635, 663. The Court construes the Intervenor-
Defendants’ arguments to apply to the correct provisions—Sections 5.07 and 5.13.



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       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             298 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 14 of 53




Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc). Rather, the nonmovant

must “set forth specific facts showing the existence of a ‘genuine’ issue concerning every essential

component of its case.” Morris v. Covan World Wide Moving, Inc., 144 F.3d 377, 380 (5th Cir.

1998). The Court will not assume “in the absence of any proof . . . that the nonmoving party could

or would prove the necessary facts” and will grant summary judgment “in any case where critical

evidence is so weak or tenuous on an essential fact that it could not support a judgment in favor of

the nonmovant.” Little, 37 F.3d at 1075.

       For a court to conclude that there are no genuine issues of material fact, the court must be

satisfied that no reasonable trier of fact could have found for the nonmovant, or, in other words,

that the evidence favoring the nonmovant is insufficient to enable a reasonable jury to return a

verdict for the nonmovant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In

making this determination, the court should review all the evidence in the record, giving credence

to the evidence favoring the nonmovant as well as the “evidence supporting the moving party that

is uncontradicted and unimpeached, at least to the extent that evidence comes from disinterested

witnesses.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 151 (2000). The Court “may

not make credibility determinations or weigh the evidence” in ruling on a motion for summary

judgment, id. at 150, and must review all facts in the light most favorable to the nonmoving party.

First Colony Life Ins. Co. v. Sanford, 555 F.3d 177, 181 (5th Cir. 2009).

                                           DISCUSSION

       To violate Section 101, a state law must (1) deny the right of any individual to “vote” in an

election (as defined), (2) based on an “error or omission” on a “record or paper relating to any

application, registration, or other act requisite to voting,” (3) that is not “material in determining

whether” that “individual is qualified under State law to vote in such election.” 52 U.S.C. §




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                                                                                                  23-50885.295
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               299 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   15 of 53




10101(a)(2)(B); see also Migliori v. Cohen, 36 F.4th 153, 162 & n.56 (3d Cir. 2022) (Section 101

violated when error or omission not material to state-law voter qualifications used as basis not to

count mail ballot), judgment vacated sub nom. Ritter v. Migliori, 143 S. Ct. 297 (2022); 12 see also

Pa. State Conf. of the NAACP v. Schmidt, No. 1:22-cv-339, 2023 WL 3902954, at *5–7 (W.D. Pa.

June 8, 2023) (rejecting nearly identical arguments by Intervenor-Defendants).

         Because there is significant overlap among the parties’ motions and accompanying

responses, the Court will address their arguments bearing on Sections 5.07 and 5.13 of S.B. 1 and

the proper scope of the Materiality Provision collectively. Before turning to the primary question

presented in the parties’ motions—the materiality of the number-matching requirement to voter

qualifications—the Court will briefly address the relevance of certain summary judgment evidence

and several issues specific to the OCA Plaintiffs.

I.       Evidence of the Intent and Impact of the Number-Matching Requirements

         As a preliminary matter, the Court observes that parties on both sides of this dispute have

devoted dozens of pages of briefing to legislative intent and estimates of the past and future impact

of the number-matching requirement on voters in Texas. To the extent that this evidence bears on

the wisdom of the number-matching provisions, it is entirely irrelevant to the Court’s analysis of

Plaintiffs’ Section 101 claims on the merits. 13 Unlike many other causes of action in the voting-


12
   In Migliori, a unanimous Third Circuit panel affirmed the application of the Materiality Provision in the mail ballot
context and held that voters who had omitted an immaterial date on mail-ballot related paperwork must have their
votes counted. 36 F.4th at 156–57. The candidate seeking to prevent qualified voters’ votes from being counted sought
a stay in the U.S. Supreme Court, which rejected the stay application over the dissent of three justices, in effect
allowing the contested votes to be counted. Ritter v. Migliori, 142 S. Ct. 1824 (Mem) (2022). The Supreme Court
vacated Migliori after the underlying dispute became moot. See Ritter v. Migliori, 143 S. Ct. 297 (citing United States
v. Munsingwear, Inc., 340 U.S. 36 (1950)). Despite this vacatur, the substantive analysis in Migliori remains
convincing. See Gutierrez v. Saenz, 565 F. Supp. 3d 892, 903–04 (S.D. Tex. 2021); see also, e.g., United States v.
Ambriz, 727 F.3d 378, 384 n.8 (5th Cir. 2013) (relying on “a case that was vacated for other reasons”); Free Speech
Coal., Inc. v. Att’y Gen. United States, 974 F.3d 408, 427 (3d Cir. 2020) (relying on vacated opinion whose “prior
analysis continues to resonate”).
13
   Defendants lodge a number of objections in response to the Statement of Uncontested Facts attached to the United
States’ motion for summary judgment. See ECF No. 634 at 22–25 (GOP Opp. to DOJ MSJ); ECF No. 645-1 (State
Response to SUF). Many of these “objections” constitute legal arguments in the guise of a factual dispute. See, e.g.,


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                                                                                                                    23-50885.296
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               300 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   16 of 53




rights context, the Materiality Provision is not a burden-interest balancing statute. Materiality

Provision violations are prohibited no matter their policy aim.

         For their part, the State Defendants and, to a lesser extent the Intervenor-Defendants,

repeatedly direct the Court’s attention to the purported purpose of the number-matching

requirement—to prevent voter fraud. See, e.g., ECF No. 646 at 4–13, 24–25, 27, 37. While Texas

undoubtedly has an interest in deterring and preventing voter fraud, that interest must yield to a

qualified voter’s right, under Section 101 of the CRA, to have their ballot counted despite

immaterial paperwork errors. See Schwier v. Cox (Schwier II), 412 F. Supp. 2d 1266, 1276 (N.D.

Ga. 2005) (rejecting contention that any information that “could help to prevent voter fraud” is

material), aff’d, 439 F.3d 1285 (11th Cir. 2006) (adopting district court’s reasoning); Migliori, 36

F.4th at 163 (“[W]hatever sort of fraud deterrence or prevention [a] requirement may serve,” it is

irrelevant under Materiality Provision if it is not material to determining voter qualifications);

Wash. Ass’n of Churches v. Reed, 492 F. Supp. 2d 1264, 1266, 1270 (W.D. Wash. 2022) (rejecting

state’s argument that number-matching voter registration scheme would help prevent voter fraud).




645-1 ¶ 105 (asserting that voters must provide a matching ID number in order to be “qualified” to vote by mail).
Others, as discussed herein are simply irrelevant because they bear on disputes about the magnitude of harm caused
by S.B. 1’s number-matching requirements. See, e.g., ECF No. 634 at 23–25. Others still object to statements in the
SUF without proffering any contradictory evidence. See ECF No. 645-1 ¶ 104 (objecting to the use of the word
“directed” to the extent that it implies the SOS’s advisories or guidance have the force and effect of law or are in any
way authoritative or binding); id. ¶¶ 119–20 (objecting to testimony by county election officials because the United
States did not elicit testimony from officials in every county in Texas, without identifying any contrary testimony
from any other election officials). Defendants’ subjective disagreement with Plaintiffs’ characterization of the
evidence—or the SOS’s guidance—does not create a genuine dispute of fact. Finally, while the State Defendants
contend that the SUF is “incomplete,” the addition of redundant or minimally relevant materials do not establish
genuine issues for trial. See, e.g., ECF No. 645-1 ¶¶ 7, 11–12, 21–22, 26–27, 31, 35–37, 41, 49, 58, 62–63, 67.

To the extent that the Court order does not rely on the United States’ statements of fact, Defendants’ objections are
moot. To the extent that this order does rely on Plaintiffs’ factual assertions, Defendants’ objections are overruled
because they have failed to “do more than simply show that there is some metaphysical doubt as to the material facts.”
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). In short, none of the “factual disputes”
identified in Defendants’ briefing fail in turn to articulate disputes based on actual evidence that could “affect the
outcome of the action” under the appropriate legal standard. Wiley v. State Farm Fire & Cas. Co., 585 F.3d 206, 210
(5th Cir. 2009).


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                                                                                                                    23-50885.297
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             301 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 17 of 53




       Likewise, all of the parties address the substantial measures that elections officials have

taken to reduce S.B. 1’s impact on voters, the adequacy (or inadequacy) of S.B. 1’s cure provisions,

and the relative rejection rates before and after S.B. 1’s enactment and officials’ various mitigation

efforts. See ECF No. 609 at 10 (noting that S.B. 1 “continues to disenfranchise Texas voters at

historic rates” and that the post-cure rejection rate of 2.7% in the November 2022 general election

was “nearly three times the national average and well above historical rejection rates in Texas”);

ECF No. 611 at 20–25 (identifying “massive increases in the number of rejected ABBMs and mail

ballots” in elections after S.B. 1 and observing that, due to deficiencies in the cure process and

“most voters whose ABBMs or ballots were rejected [based on S.B. 1] were not able to cure the

issue and cast an effective vote”). The State Defendants assert that the Materiality Provision cannot

demand “perfection,” because “all systems are prone to some error.” ECF No. 645 at 18. But this

case has nothing to do with election officials’ inadvertent rejection of ABBMs and mail ballots;

Sections 5.07 and 5.13 of S.B. 1 require election officials to reject voting materials for failure to

satisfy the number-matching provisions. The Defendant-Intervenors similarly insist that the Court

should uphold the number-matching requirements because “the sky is not falling in Texas.” ECF

No. 634 at 25. But that is not the standard for relief under Section 101.

       The magnitude of S.B. 1’s impact is simply not relevant to the question of whether the

number-matching provisions require election officials to disenfranchise voters for errors that are

immaterial to their eligibility. The Materiality Provision does not demand that Plaintiffs satisfy a

balancing test or demonstrate some threshold number of votes denied. See 52 U.S.C. §

10101(a)(2)(B). It is a “basic truth that even one disenfranchised voter—let alone several

thousand—is too many.” See, e.g., League of Women Voters of N.C. v. North Carolina, 769 F.3d

224, 244 (4th Cir. 2014); see also Migliori, 36 F.4th at 158, 162–64 (finding Materiality Provision




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                                                                                                  23-50885.298
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               302 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   18 of 53




violation where 257 of about 22,000 ballots rejected). The Court thus reserves any questions as to

the burdens that S.B. 1’s number matching requirements have imposed on voters and the likelihood

of future harm to its analysis of Plaintiffs’ claim for injunctive relief.

         Nor will the Court consider the wisdom of any voting practices beyond the purview of this

litigation, or the theoretical application of the Materiality Provision to those practices. Both the

State Defendants and Defendant-Intervenors suggest that granting Plaintiffs’ requested relief

would have catastrophic consequences on voting in Texas and across the nation, enumerating a

whole host of voting regulations that, in their view, would be “on the chopping block.” See, e.g.,

ECF No. 635 at 16 (addressing prohibitions on overvoting and signature requirements); ECF No.

645 at 7 (addressing ID requirements and signature-comparison procedures in other states).

Although there are reasons to doubt that the Materiality Provision would invalidate the regulations

cited in Defendants’ briefing, 14 the mere existence of other voting requirements in Texas and

elsewhere is simply irrelevant. Those requirements are not currently before the Court and have

not, to the Court’s knowledge, survived a Section 101 challenge in any forum with the authority

to bind this Court.

II.      The OCA Plaintiffs’ Standing and Challenges to §§ 5.02, 5.03, 5.08, 5.10, 5.12–5.14

         Before it can reach the merits of the OCA Plaintiffs’ motion for partial summary judgment,

the Court must be assured of its subject matter jurisdiction over their claims, including their

standing to challenge S.B. 1’s number-matching requirements.




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  See, e.g., ECF No. 637 at 30 (arguing that the Materiality Provision would not apply to prohibitions on overvoting
ballot—marking it for too many candidates—because the voter’s ballot would still be counted in that election, even
though her ballot in that particular contest would be treated as unmarked, since election officials would be unable to
determine the voter’s preference).


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                                                                                                                  23-50885.299
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               303 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   19 of 53




         A. The OCA Plaintiffs have standing to challenge the ID-matching requirements

         The State Defendants do not meaningfully challenge the Article III standing of any of the

OCA Plaintiffs, and largely recycle arguments from their motion to dismiss that have already been

rejected. See ECF No. 646 at 51–55; ECF No. 448 at 49–50. 15 Indeed, in their response to the OCA

Plaintiffs’ motion for partial summary judgment, the State Defendants assert a single sentence that

OCA Plaintiffs have not established associational standing “because there is a triable question of

fact regarding their injury for many of the reasons described in State Defendant’s motion to

dismiss.” ECF No. 646 at 55. As the OCA Plaintiffs point out, however, this argument ignores the

factual evidence demonstrating associational standing raised in their motion and fails to satisfy the

State Defendants’ burden on summary judgment. See ECF No. 665 at 41 n.54. Nonetheless, given

the OCA Plaintiffs’ burden on summary judgment and the Court’s duty to review its subject-matter

jurisdiction, the Court will address the evidence offered in support of the OCA Plaintiffs’ standing

to challenge S.B. 1’s number-matching provisions.

             1. Legal Standard

         It is well settled that a plaintiff invoking a federal court’s jurisdiction must establish

standing by satisfying three irreducible requirements. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992). “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the




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   The Court declines the State Defendants’ and Intervenor-Defendants’ invitations, to reverse its conclusion that the
OCA Plaintiffs can challenge the number-matching provisions directly under both the private right of action created
by Section 101 and 42 U.S.C. § 1983. See ECF No. 646 at 51–56, ECF No. 608 at 14 n.2 (suggesting that only the
Attorney General has a right to sue under Section 101); LUPE (OCA), 618 F. Supp. 3d at 434 (“[C]aselaw clearly
establishes that organizations, like the OCA-GH Plaintiffs, have historically been able to enforce [Section 101].”).A
plaintiff proceeding under § 1983 need only show that the federal law includes a private right; after that, § 1983
presumptively supplies a remedy. See, e.g., Gonzaga Univ. v. Doe, 536 U.S. 273, 284–85 (2002). Indeed, the Supreme
Court recently confirmed that the presumption cannot be rebutted merely by pointing to a parallel government
enforcement scheme that allows suits by the Attorney General. Rather, “§ 1983 can play its textually prescribed role
as a vehicle for enforcing [federal] rights, even alongside a detailed enforcement regime that also protects those
interests, so long as § 1983 enforcement is not ‘incompatible’ with Congress’s handiwork.” Health & Hosp. Corp. of
Marion Cnty. v. Talevski, 599 U.S. 166, 189 (2023).


                                                         19

                                                                                                                  23-50885.300
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             304 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 20 of 53




challenged conduct of the defendant[s], and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

       The elements of standing are “not mere pleading requirements but rather an indispensable

part of the plaintiff’s case.” Lujan, 504 U.S. at 561. Thus, “each element must be supported in the

same way as any other matter on which the plaintiff bears the burden of proof, i.e., with the manner

and degree of evidence required at the successive stages of the litigation.” Id. On summary

judgment, the plaintiff “must ‘set forth’ by affidavit or other evidence ‘specific facts’” showing an

injury resulting from the defendant’s conduct, “which for purposes of the summary judgment

motion will be taken to be true.” Id. (quoting FED. R. CIV. P. 56(e)). Where multiple plaintiffs seek

injunctive relief, only one needs to establish standing for each claim asserted. Rumsfeld v. Forum

for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006).

       “[P]laintiffs seeking injunctive and declaratory relief can satisfy the redressability

requirement only by demonstrating a continuing injury or threatened future injury” for the self-

evident reason that “injunctive and declaratory relief ‘cannot conceivably remedy any past

wrong.’” Stringer v. Whitley, 942 F.3d 715, 720 (5th Cir. 2019) (quoting Steel Co. v. Citizens for

a Better Env’t, 523 U.S. 83, 108 (1998)).

       To constitute an injury in fact, a threatened future injury must be (1) potentially suffered

by the plaintiff, not someone else; (2) “concrete and particularized,” not abstract; and (3) “actual

or imminent, not ‘conjectural’ or ‘hypothetical.’” Id. at 720–21 (citations omitted). The injury must

be “imminent . . . to ensure that the alleged injury is not too speculative for Article III purposes.”

Id. at 721 (quoting Lujan, 504 U.S. at 564 n.2). For a threatened future injury to satisfy the

imminence requirement, there must be at least a “substantial risk” that the injury will occur.

Stringer, 942 F.3d at 721 (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)).




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                                                                                                  23-50885.301
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              305 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  21 of 53




Nonetheless, “[t]he injury alleged as an Article III injury-in-fact need not be substantial; it need

not measure more than an identifiable trifle.” OCA-Greater Houston v. Texas, 867 F.3d 604, 612

(5th Cir. 2017) (quotations omitted). “This is because the injury in fact requirement under Article

III is qualitative, not quantitative, in nature.” Id. (quotations omitted).

        Juridical entities may establish standing under an associational or organizational theory of

standing. Id. at 610.

        “Associational standing is a three-part test: (1) the association’s members would

independently meet the Article III standing requirements; (2) the interests the association seeks to

protect are germane to the purpose of the organization; and (3) neither the claim asserted, nor the

relief requested requires participation of individual members.” Texas v. Nuclear Regul. Comm’n,

78 F.4th 827, 836–37 (5th Cir. 2023).

        “By contrast, ‘organizational standing’ does not depend on the standing of the

organization’s members. The organization can establish standing in its own name if it ‘meets the

same standing test that applies to individuals.’” OCA-Greater Hous., 867 F.3d at 610 (citations

omitted) (quoting Ass’n of Cmty. Orgs. for Reform Now v. Fowler, 178 F.3d 350, 356 (5th Cir.

1999)). For example, an organization, like any other party, can satisfy the injury-in-fact

requirement by demonstrating financial harm. See, e.g., Lion Health Servs., Inc. v. Sebelius, 635

F.3d 693 (5th Cir. 2011) (hospice care provider had standing to challenge federal regulation

governing calculation of annual Medicare hospice provider cap by demonstrating financial harm

it suffered through use of the regulation). An organization can likewise establish a likely future

injury if it intends “to engage in a course of conduct arguably affected with a constitutional interest,

but proscribed by a statute.” Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979). 16


16
  See also Dep’t of Tex., Veterans of Foreign Wars of U.S. v. Tex. Lottery Comm’n, 760 F.3d 427, 439 (5th Cir. 2014)
(charitable organizations had standing to challenge statute prohibiting their use of bingo proceeds for political


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                                                                                                                23-50885.302
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               306 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   22 of 53




         An organization can also demonstrate the requisite injury with evidence that its “ability to

pursue its mission is ‘perceptibly impaired’ because it has ‘diverted significant resources to

counteract the defendant’s conduct[.]’” Tenth St. Residential Ass’n v. City of Dallas, 968 F.3d 492,

500 (5th Cir. 2020) (quoting N.A.A.C.P. v. City of Kyle, 626 F.3d 233, 238 (5th Cir. 2010)). But

“an organization does not automatically suffer a cognizable injury in fact by diverting resources

in response to a defendant’s conduct.” El Paso Cnty. v. Trump, 982 F.3d 332, 343 (5th Cir. 2020).

“Rather, the Article III injury comes when that diversion of resources concretely and ‘perceptibly

impairs’ the organization’s ability to carry out its purpose. Put differently, the ‘perceptible

impairment’ to an organization’s ability to carry out its mission, not the ‘drain on the organization’s

resources,’ is the ‘concrete and demonstrable injury’ for organizational standing.” La. Fair Hous.

Action Ctr., Inc. v. Azalea Garden Props., L.L.C., 82 F.4th 345, 353 (5th Cir. 2023) (citations and

alteration marks omitted) (quoting Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)).

              2. Analysis

         Based on the summary judgment record, the Court concludes that at least one of the OCA

Plaintiffs, REV-UP, has established associational standing. 17

         With respect to associational standing, it is undisputed that REV-UP is a membership

organization and that it has members in Texas who vote by mail. see ECF No. 611 at 41. 18 It is



advocacy as an unconstitutional burden on their political speech); S. Christian Leadership Conf. v. Sup. Ct. of State of
La., 252 F.3d 781, 878–788 (5th Cir. 2001) (concluding that “at least some” of the plaintiffs—law students and faculty
and community and student organizations—had standing to challenge a Louisiana Supreme Court rule restricting
representation by student-practitioners because “[t]he operations of law-school clinics were directly regulated” and
“[s]everal of the client organizations would be unable to obtain representation by the clinics”); cf. Lujan, 504 U.S. at
561–62 (“When the suit is one challenging the legality of government action or inaction” and “the plaintiff is himself
an object of the action (or forgone action) at issue[,] . . . there is ordinarily little question that the action or inaction
has caused him injury, and that a judgment preventing or requiring the action will redress it.”).
17
   Although only one of the OCA Plaintiffs must establish standing to assert a claim under Section 101, see Rumsfeld,
547 U.S. at 47, 52 n.2, it appears more likely than not that OCA-Greater Houston and LWVTX have standing on the
same bases, see ECF No. 611 at 32–37 (LWVTX); id. at 38–41 (OCA-Greater Houston).
18
   As the Supreme Court recently clarified, the burden of establishing the requirement for “an organization has
identified members and represents them in good faith, our cases do not require further scrutiny into how the


                                                            22

                                                                                                                        23-50885.303
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              307 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  23 of 53




also undisputed that REV-UP members had their ABBMs and/or mail ballots rejected based on

S.B. 1’s number matching requirement and are at risk of having their voting materials rejected

again on the same basis in future elections. See id. at 44–45 (describing Teri Saltzman a legally

blind voter in Travis County whose March 2022 ABBM and mail ballot and November 2022 mail

ballot were rejected based on the number-matching requirement). REV-UP has also presented

undisputed evidence that its members have been deterred from voting by mail out of fear that their

ABBMs or mail ballots will be rejected due to S.B. 1’s matching-number requirement. See id. at

44–45. These are sufficient injuries to confer Article III standing. See, e.g., Common

Cause/Georgia v. Billups, 554 F.3d 1340, 1351–52 (11th Cir. 2009) (“Requiring a registered voter

either to produce photo identification to vote in person or to cast an absentee or provisional ballot

is an injury sufficient for standing,” as is requiring a registered voter to obtain a photo

identification, irrespective of how easy it may be to comply with that requirement); Stringer v.

Hughs, Nos. SA-20-CV-46-OG, SA-16-CV-257-OG, 2020 WL 6875182, at *9 (W.D. Tex. Aug.

28, 2020) (violation of federal statutory right to simultaneously apply for voter registration and

driver’s license constituted injury “regardless of whether the individual plaintiffs have been

registered to vote by alternative means”).

        Thus, these individual members would have independent standing to challenge the number-

matching provisions under Section 101 because they have suffered an injury-in-fact; the harm they

have suffered is fairly traceable to the number-matching provisions of S.B. 1 requiring the rejection

of certain voting materials; and the injunctive relief requested by the OCA Plaintiffs—barring

enforcement of the number-matching requirements—would redress their harm. Spokeo, 578 U.S.

at 338 (2016).


organization operates.” Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 201
(2023).


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                                                                                                                 23-50885.304
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             308 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 24 of 53




       With respect to the second element of associational standing, the interests REV-UP seeks

to protect by challenging S.B. 1’s number matching requirements are undoubtedly germane to its

mission “to empower persons with disabilities through voter registration and assistance, issue

advocacy, mobilization, and organizing.” ECF No. 611 at 41; see La Union del Pueblo Entero v.

Abbott (“LUPE”), 614 F. Supp. 3d 509, 526 (W.D. Tex. 2022).

       Finally, REV-UP’s claims do not require the participation of its members. This “prong of

the associational standing test” focuses on “matters of administrative convenience and efficiency,”

Food & Com. Workers Union Local 751 v. Brown Grp., Inc., 517 U.S. 544, 557 (1996), and is

“solely prudential,” Ass’n of Am. Physicians & Surgeons, Inc. v. Tex. Med. Bd., 627 F.3d 547, 550

(5th Cir. 2010). The OCA Plaintiffs’ claims “can be proven by evidence from representative

injured members, without a fact-intensive-individual inquiry,” Tex. Med. Bd., 627 F.3d at 552, and

there is no question that it is “more administratively convenient and efficient to assert such a

challenge in a representative capacity.” LUPE, 614 F. Supp. 3d at 527.

       The Court concludes that the OCA Plaintiffs have met their initial burden on summary

judgment with respect to REV-UP’s associational standing to assert its Section 101 claim on behalf

of its members. Thus, Defendants must either set forth facts to create a material issue or specifically

demonstrate why, under the undisputed material facts, the OCA Plaintiffs are not entitled to

summary judgment; they cannot simply assert that an issue remains. Celotex, 477 U.S. at 322

(1986) (Rule 56(e) of the Federal Rules of Civil Procedure “requires the nonmoving party to go

beyond the pleadings and by her own affidavits, or by the depositions, answers to interrogatories,

and admissions on file, designate specific facts showing that there is a genuine issue for trial”

(cleaned up)). That burden is not discharged by “mere allegations or denials.” Id. at 322 n.3; FED.

R. CIV. P. 56(e). Defendants have failed to discharge their burden.




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                                                                                                   23-50885.305
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             309 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 25 of 53




       Accordingly, the Court concludes that there is no genuine dispute of material fact as to the

OCA Plaintiffs’ standing to challenge S.B. 1’s number-matching framework under the Materiality

Provision, and turns to the merits of the OCA Plaintiffs’ claims.

       B. Challenges to §§ 5.02, 5.03, 5.08, 5.10, and 5.12–5.14

       Although the OCA Plaintiffs have standing to challenge the number-matching framework

generally, their motion for partial summary judgment as to their Section 101 claim must be denied

to the extent that it challenges Sections 5.02, 5.03, 5.08, 5.10, 5.12, 5.13, and 5.14 of S.B. 1, for

both procedural and substantive reasons.

       Procedurally, the OCA Plaintiffs failed to raise any challenges to Sections 5.08, 5.13, and

5.14 in their Second Amended Complaint. See ECF No. 200 ¶ 646. See Solferini as Tr. of Corradi

S.p.A. v. Corradi USA, Inc., No. 20-40645, 2021 WL 3619905, at *2 (5th Cir. Aug. 13, 2021)

(determining that a movant was precluded from raising a claim at the summary judgment stage

when he failed to plead that claim in his complaint).

       Regardless of any procedural error, the OCA Plaintiffs’ challenges to Sections 5.02, 5.03,

5.08, 5.10, 5.12, and 5.14 of S.B. 1 fail on the merits because none of those provisions require that

mail-in ballot applications or mail-in ballots be rejected on any basis. Rather, those provisions

merely address the procedures for collecting, tracking, and correcting the relevant identification

numbers. See TEC §§ 84.002(a)(1-a), 84.011(a), (a)(3-a), 86.002(g), 86.015(c)(4), 87.0411,

87.0271. The Materiality Provision only prohibits actions that “deny the right of any individual to

vote in any election because of an error or omission on any record or paper[.]” 52 U.S.C. §

10101(a)(2)(B) (emphasis added). It does not, as the State Defendants correctly point out, prevent

Texas from otherwise prescribing the form of ballot materials or collecting and reviewing

information that may be immaterial to voter eligibility. See ECF No. 646 at 47. Indeed, the OCA




                                                 25

                                                                                                 23-50885.306
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              310 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  26 of 53




Plaintiff’s Second Amended Complaint explicitly concedes that “the State may legally request this

information from voters (for example, as an optional data point that would prevent the need for a

signature review).” ECF No. 200 at 45.

        The OCA Plaintiffs nonetheless seek to enjoin these provisions because, even if they do

not require election officials to reject any voting materials, they “contribute to the implementation

and enforcement of SB 1’s matching-number requirement.” ECF No. 665 at 37. But these

provisions cannot violate the materiality provision because they do not require the rejection of any

voting materials. To extent that the OCA Plaintiffs challenge those provisions as unduly

burdensome and confusing to voters, the Court does not dispute that being deterred from voting

by mail is a harm, or even a legally cognizable harm, but because “deterrence” does not constitute

a “denial” based on an “error or omission,” the Materiality Provision is simply not the appropriate

vehicle for such a claim.

III.    Plaintiffs’ Challenges to Sections 5.07 and 5.13

        A. Whether the ID numbers in TEAM are material to voter qualifications

        The Court must determine at the outset whether a voter’s ability to provide the ID number

associated with her voter registration record is material to her qualification to vote in a given

election. It is not.

        The State Defendants tautologically argue that “Texas law deems [ID] numbers material;

therefore, they are material.” ECF No. 646 at 30–33. As the OCA Plaintiffs point out, “[t]his logic

would erase the Materiality Provision from existence, by defining whatever requirements might

be imposed by state law in order to vote, no matter how trivial, as being ‘material in determining

whether such individual is qualified under State law to vote in such election.’” ECF No. 665 at 24

(citing 52 U.S.C. § 10101(a)(2)(B) and United States v. Mississippi, 380 U.S. 128, 137–38 (1965)




                                                 26

                                                                                                 23-50885.307
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             311 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 27 of 53




(phrase “otherwise qualified by law” in Section 10101(a)(1) cannot include invalid statutes;

Congress “obviously” meant “qualifications required of all voters by valid state or federal laws”)).

       To determine whether an error or omission is material, the information required must be

compared to state-law qualifications to vote. See Migliori, 36 F.4th at 162; Martin v. Crittenden,

347 F. Supp. 3d 1302, 1308–09 (N.D. Ga. 2018). Qualifications are substantive voter attributes.

See, e.g., Lassiter v. Northampton Cnty. Bd. of Elections, 360 U.S. 45, 51 (1959) (residence, age,

criminal record); TEC § 11.002(a) (age, citizenship, mental capacity, criminal record, residence,

and prior registration). They are distinct from rules governing the conduct of elections, including

the manner of determining qualifications. See Arizona v. Inter Tribal Council of Ariz., Inc., 570

U.S. 1, 13–17 (2013); see also Harper v. Va. State Bd. of Elections, 383 U.S. 663, 666 (1966)

(distinguishing qualifications and compliance with poll tax).

       It is self-evident that a voter’s ID number is not material to her eligibility to vote under

Texas law. Indeed, by itself, a voter’s DPS number or SSN4 cannot offer any information about a

voter’s substantive eligibility to vote—or even to vote by mail—in the state of Texas because those

numbers are static. For example, a person’s SSN4 does not change when he turns 18, registers to

vote, moves into or out of the state of Texas, is convicted of a felony or judged mentally

incompetent, or even dies, even though all of those factors bear on his eligibility to vote in Texas.

Nor does a person’s SSN4 change when she turns 65, becomes disabled, changes her travel plans,

or suffers a miscarriage, even though all of those factors could impact her eligibility to vote by

mail in Texas.

       Further, the text of S.B. 1 itself acknowledges that even possession of a DPS number or

SSN4 is immaterial to voter eligibility by permitting applicants and voters to represent on their

ABBMs and BBMs that they have “not been issued [such] a number.” See S.B. 1 §§ 5.02, 5.08;




                                                 27

                                                                                                 23-50885.308
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               312 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   28 of 53




TEC § 84.002(a)(1-a). The presumably tiny fraction of Texas residents who fall into this category

are not disqualified from voting on this basis. Nor are the over 90,000 voters registered in Texas

who, regardless of whether they have been issued a DPS number or SSN4, have neither ID number

associated with their TEAM record. See SUF ¶¶ 140–41. Those voters presumably have neither

ID number associated with their TEAM record because they registered to vote before 2004, when

Texas began requiring a DPS number or SSN4 on its voter registration form in compliance with

HAVA. 19

         Not even HAVA’s ID number requirement renders the relevant DPS numbers or SSN4s

“material” to voter qualifications. 20 To begin, HAVA did not direct states to purge all existing

voters from state rolls and force them to re-register in accordance with the new federal

requirements. 21 Indeed, HAVA does not even require states to implement a registration process.

See 52 U.S.C. § 21083(a)(1)(B) (exempting states without voter registration requirements from

HAVA’s ID number and database provisions). 22 And, as with S.B. 1, HAVA does not prohibit

individuals who do not possess a state ID number or SSN4 from registering to vote, but rather

directs states to assign those voters unique identification numbers. As a result, even following

HAVA, thousands of qualified voters have neither a DPS number nor an SSN4 associated with

their TEAM record. SUF ¶ 141 (indicating that, as of January 2023, over 90,000 Texas registered




19
   Given the number of errors in the TEAM database, a voter’s ability to correctly guess the incorrectly recorded
version of their ID number could hardly be considered material to either their eligibility to vote or their identity.
20
   HAVA’s ID requirements apply “notwithstanding any other provision of law,” which avoids any potential conflict
with Section 101. Id. § 21083(a)(5)(A)(i); see also Fla. State Conf. of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1174,
(11th Cir. 2008); 52 U.S.C. § 21145(a) (omitting the Civil Rights Act of 1964 from list of laws not to be superseded
by HAVA).
21
   Such a requirement would almost certainly violate the constitution. See, e.g., Beare v. Smith, 321 F. Supp. 1100,
1103 (S.D. Tex. 1971) (concluding that Texas’s annual voter registration requirement amounted to an unconstitutional
poll tax in violation of the Equal Protection Clause of the Fourteenth Amendment).
22
   See also Browning, 522 F.3d at 1183 n.17 (Barkett, J., dissenting in part) (“The [ID number] information also cannot
be per se material if a state such as North Dakota is allowed to hold federal elections without any registration
requirements.”).


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                                                                                                                   23-50885.309
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              313 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  29 of 53




voters had neither a DPS number nor a SSN4 affiliated with their voter registration record). Thus,

having a DPS number or SSN4 associated with one’s registration record cannot be material to

voter eligibility.

        For the argument that HAVA renders ID numbers per se material to voter eligibility, the

State Defendants rely on the majority opinion in Florida State Conf. of N.A.A.C.P. v. Browning,

which concluded:

        The fact that HAVA section 303(a) requires states to obtain the applicant’s
        identification numbers before accepting a registration application and also to
        “determine whether the information provided . . . is sufficient to meet [that]
        requirement[ ]” indicates that Congress deemed the identification numbers material
        to determining eligibility to register and to vote.

522 F.3d 1153, 1174 (11th Cir. 2008). The Court is neither bound nor persuaded by this reasoning,

which is undermined by the text of HAVA itself.

        As the concurrence in Browning and at least one other court have pointed out, HAVA does

not require states to verify the accuracy of an applicant’s identifying number before registration:

        If a state is not required to verify an applicant’s identifying number, then HAVA
        does not automatically make such information material because an individual in a
        state without a matching scheme could provide her driver’s license or social
        security number and even though she may have transposed two numbers of her
        application, that immaterial error would not prevent her from voting in that state.
        Furthermore, the information cannot be per se material because HAVA provides
        for the assignment of a unique identifying number, which does not have to be
        matched, for those individuals who do not have a driver’s license or social security
        number.

Browning, 522 F.3d at 1183 n.17 (Barkett, J., dissenting in part); see also Wash. Ass’n of Churches,

492 F. Supp. 2d at 1268–69 (“It is clear from the language of the statute and by looking at

legislative history that HAVA’s matching requirement was intended as an administrative safeguard

for ‘storing and managing the official list of registered voters,’ and not as a restriction on voter

eligibility. This is evidenced by the requirement that a person who has no driver’s license or social




                                                 29

                                                                                                 23-50885.310
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               314 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   30 of 53




security number be given a unique identifying number, but not be matched, prior to registering to

vote.”) (citations omitted). Texas’s failure to verify the validity of the ID numbers provided on

voters’ original registration forms is manifest in the thousands of errors in TEAM. As a matter of

common sense, a qualified voter’s ability to correctly guess the incorrect DPS number associated

with her voter registration record in TEAM cannot be material to her eligibility to vote.

         Whatever the force of the Browning panel’s decision with respect to the materiality of

providing (or being assigned) an ID number upon registration, that is not what is at issue in this

case. Voters who seek to vote by mail in Texas have already complied with HAVA and the Texas

Election Code when they registered to vote. SB 1’s matching-number requirement superfluously

duplicates HAVA’s registration-stage requirement to provide an ID number at both the ABBM

and mail ballot stages, and it then also requires the number to match the voter’s file in the TEAM

database, which is riddled with errors.

         The State Defendants assert that the ID number requirement is material to voter eligibility

because it confirms the identity of the voter and that the person casting the ballot is in fact the

registered voter. 23 ECF No. 645 at 15–22. Here again, the State Defendants have confused voters’


23
   The State Defendants suggest that S.B. 1’s number-matching requirement constitutes a “decision to bring mail-in
voting into conformity with requirements already employed for in-person voting: that voters offer proof of
identification by means of a government issued ID.” ECF No. 645 at 5. S.B. 1, they argue ,“requires voters to provide
a number that identifies them in a similar way a photo ID would identify them if they appeared in person because it is
unique to them, and that for reasons unrelated to voting is unlikely in anyone else’s possession.” Id. at 17. The
comparison to in-person voter ID requirements is inapt.
Under Texas law, voters who cast a ballot in person can provide one of seven forms of photo ID. TEC § 63.0101(a)
(enumerating the following acceptable forms of photo IDs: a U.S. military ID card, a U.S. passport book or card, a
U.S. citizenship certificate, and a driver’s license, personal ID card, election ID certificate, or handgun license issued
by the Texas DPS). A voter can provide an expired photo ID, so long as it has not been expired for over four years.
Id. In addition, a voter who does not possess and cannot reasonably obtain an acceptable photo ID can still cast a ballot
by filling out a declaration at the polls and providing one of seven alternative supporting forms of ID. See id. §
63.0101(b) (voter may alternatively provide a current utility bill, bank statement, government check, paycheck, birth
certificate, or any other government document showing the voter’s name and address).
Any of these forms of identification will suffice for in-person voters, regardless of the specific ID number associated
with their TEAM records. S.B. 1, on the other hand, requires absentee voters to recall and produce the very same
identification number(s) they provided on a registration form months or years earlier—assuming that the numbers
were correctly recorded in TEAM. S.B. 1 not only permits voters to provide expired DPS numbers but requires voters


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                                                                                                                      23-50885.311
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               315 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   31 of 53




substantive qualifications with the methodology for identifying voters in order to administer an

election. See 52 U.S.C. §§ 20504(c)(2)(B)(ii), 20508(b)(1) (distinguishing between information

necessary “to enable the appropriate State election official to assess the eligibility of the applicant”

and information needed “to administer voter registration”); see also Tex. Const. art. 6, § 2(a)

(defining “qualified voter”), and “The Times, Places and Manner of holding Elections,” U.S. Const.

art. I, § 4 cl. 1; see also Tex. Const. art. 3, § 27 (permitting regulation of elections by law).

         As a practical matter, the undisputed evidence confirms that election officials do not use

the ID numbers on ABBMs and BBMs to confirm voters’ identities but to reject their voting

materials. While he was serving as the Director of the Elections Division of the Texas SOS, Keith

Ingram acknowledged that “individual eligibility criteria ha[ve] nothing to [d]o with the

number.” 24 SUF ¶ 15. The Travis County Clerk further testified that Travis County is “able to

associate [an ABBM] applicant with their voter even in the absence” of an identification number,

because they “have to look up [the voter’s] file to see if [the voter] ha[s] a number in the first

place.” See ECF No. 611-1, Ex. 18, Charlie Johson Dep. at 28:19–29:2. This is logical—to

compare the DPS number or SSN4 on mail ballot materials with a voter’s registration record, as

S.B. 1 requires, officials must have already discerned the identity of the voter “identified on the

applicant’s application for voter registration” or “the voter’s application for voter registration.” 25

TEC §§ 86.001(f), 87.041(b)(8); SUF ¶¶ 119–20.


to provide an expired DPS number whenever their TEAM record contains an expired number. Cf. SUF ¶ 142 (noting
that roughly 2.4 million Texas voters have only one of their multiple DPS numbers in TEAM).
Thus, the proper analogy in the in-person voting context would be requiring in-person voters to search their closets,
filing cabinets, and couch cushions for the long-expired, possibly misplaced, photo ID that happened to be in their
possession when they registered to vote (perhaps decades earlier) or else be turned away at the polls.
24
   In Migliori, the Third Circuit considered a similar statement from the Pennsylvania Deputy Secretary for Elections
& Commissions that the date on the carrier envelope “[was] not used ‘to determine the eligibility’ (i.e., qualifications)
of a voter.” Migliori, 36 F.4th at 164. “This, without more,” the panel concluded, “slams the door shut on any argument
that this date is material.” Id.
25
   The State Defendants insist that the ID numbers could be used to distinguish between two individuals with similar
names and personal information, such as a “junior” and “senior” living in the same household. See ECF No. 645 at


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                                                                                                                     23-50885.312
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               316 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   32 of 53




         Similarly, even if the Court were to conclude that S.B. 1’s matching-number requirement

does not violate Section 101 at the ABBM stage, the duplicative requirement that a voter who has

successfully obtained a mail ballot by matching the ID number on their ABBM to their voter file

must do so again on the carrier envelope to have their vote counted would still be unlawful. After

all, the provision of the ballot itself indicates that the voter has already been identified and found

qualified by an election official. See Martin, 347 F. Supp. 3d. at 1309 (enjoining requirement that

voters hand-write their birth year on absentee ballot because “the qualifications of the absentee

voters” were “not at issue because [county] elections officials have already confirmed such voters’

eligibility through the absentee ballot application process”); League of Women Voters of Ark. v.

Thurston, No. 5:20-CV-05174, 2021 WL 5312640, at *4 (W.D. Ark. Nov. 15, 2021) (state law

requiring absentee voters to submit duplicative information at mail-ballot stage, after voters had

already correctly provided the information at the application stage, under threat of being

disenfranchised on the basis of a mismatch or omission, gave rise to a materiality violation).

         Once election officials have determined an applicant or voter’s identity, additional

requirements that confirm identity are not material to determining whether the applicant or voter

is qualified to vote or vote by mail and compounds the chance for error and disenfranchisement.

See Schwier v. Cox (Schwier I), 340 F.3d 1284, 1294 (11th Cir. 2003). Section 101 does not permit



17–18. But Plaintiffs do not dispute that the ID numbers can be useful in affirmatively identifying voters. See ECF
No. 200 at 45 (conceding that “the State may legally request this information from voters (for example, as an optional
data point that would prevent the need for a signature review)”). Rather, they challenge S.B. 1’s ability to accurately
and reliably exclude voters as unqualified for failing to satisfy the ID-matching requirement. Furthermore, even after
S.B. 1, election officials continued to rely on other, publicly available information (also provided on the ABBM) to
confirm voters’ identities. For example, Mr. Ingram testified that, under S.B. 1, a county clerk can provide a voter
with her ID number on file so long as the voter validates their identity by providing “information that would be in
their voter record,” like “name, date of birth, [and] address,” all of which were required on ABBMs before S.B. 1.
ECF No. 611-1 at 435–36 (Ex. 20, Ingram Dep. at 104:21–105:10). Likewise, an Election Advisory from the SOS
instructs county officials to “confirm the voter’s identity using publicly available information” in carrying out the cure
processes, i.e., without the use of ID numbers, id. at 1155 (Ex. 70, Election Advisory No. 2022-08). In short, the State
Defendants’ assertion that DPS numbers and SSN4s could be used to help confirm a voter’s identity does not create a
genuine dispute of fact as to whether the ID numbers are required to confirm a voter’s eligibility.


                                                           32

                                                                                                                      23-50885.313
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             317 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 33 of 53




state actors to require voters to recite redundant information that confirms a known identity, even

as a prophylactic against voter impersonation. See Schwier II, 412 F. Supp. 2d at 1276 (rejecting

contention that any information that “could help to prevent voter fraud” is material to

qualifications). Thus, courts have found a wide range of information—such as a driver’s license

number matching state records, Wash. Ass’n of Churches, 492 F. Supp. 2d at 1266, 1270; a social

security number, Schwier v. Cox (Schwier III), 439 F.3d 1285, 1286 (11th Cir. 2006) (mem. op.);

or a birth year on an absentee ballot envelope, Martin, 347 F. Supp. 3d at 1308–09—not to be

material to determining a voter’s qualifications, even though this information could conceivably

confirm a voter’s identity.

       Thus, the Court concludes as a matter of law that a voter’s ability to provide the ID number

associated with her voter registration record on TEAM is not material to her voter qualifications

under Texas law.

       B. Whether Section 101’s protections extend to S.B. 1’s mail-in voting process

       The State Defendants and Intervenor-Defendants maintain that Sections 5.07 and 5.13 do

not even implicate the Materiality Provision because they govern the procedures for requesting

and casting a mail-in ballot rather than voter registration. See ECF No. 608 at 13–23; ECF No. 634

at 15–18; ECF No. 635 at 13–17; ECF No. 645 at 11–12 (incorporating by reference the arguments

in Intervenor-Defendant’s MSJ); ECF No. 646 at 29–30 (same). The Materiality Provision, they

argue, prohibits states from refusing to register voters during the voter-registration process based

on violations of rules that seek information immaterial to assessing state-law voter qualifications.

       Here, Defendants seek to reassert an argument already rejected in the Court’s order denying

the State Defendants’ motion to dismiss the United States’ materiality claim:

       [T]he preparation and submission of an application to vote by mail, as well as the
       preparation and submission of a mail ballot carrier envelope, are actions that voters



                                                33

                                                                                                 23-50885.314
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             318 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 34 of 53




       must take in order to make their votes effective. Section 101, as a result, does not
       only apply when a voter is absolutely prohibited from voting. It also reaches the
       actions contemplated under sections 5.07 and 5.13.

LUPE (USA), 604 F. Supp. 3d at 541.

       Intervenor-Defendants nonetheless argue that their construction is supported by the canon

of ejusdem generis, which provides that “where general words follow an enumeration of specific

items, the general words are read as applying only to other items akin to those specifically

enumerated.” Harrison v. PPG Indus., Inc., 446 U.S. 578, 588 (1980). Intervenor-Defendants

contend that the terms “application” and “registration” relate to an initial qualification

determination, and that the term “other act requisite to voting” must “therefore refer[] only to the

functional equivalents of ‘application’ and ‘registration’—i.e., the initial processes to assess voter

qualifications.” ECF No. 608 at 20. Not so.

       The CRA’s capacious definition of “vote” easily dispenses with the Intervenor-

Defendants’ position that “all evidence indicates . . . that Congress was concerned with registration

when it passed the materiality provision, not other stages of the electoral process.” ECF No. 663

at 19. If Section 101 was intended only to protect qualified voters’ right to register and be added

to the voter rolls and not their right to actually cast a ballot and have it counted, Congress could

have said so. It did just the opposite: the statute protects an individual’s right to vote, broadly

defined to include “all action necessary to make a vote effective including, . . . casting a ballot,

and having such ballot counted and included in the appropriate totals of votes.” 52 U.S.C. §§

10101(a)(2)(B), (a)(3)(A) (emphasis added).

       The text of the Materiality Provision further confirms that the “right to vote” is evaluated

on an election-by-election basis. It protects a qualified individual’s right to vote “in any election”

regardless of paperwork errors that are immaterial to their qualification to vote “in such election.”




                                                 34

                                                                                                  23-50885.315
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               319 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   35 of 53




52 U.S.C. § 10101(a)(2)(B) (emphasis added). In other words, denying the statutory right to vote

based on an error or omission that disqualifies a voter from only a single election violates Section

101. This language cannot reasonably be interpreted to mean Congress forbade denying the right

to vote only for errors that affect whether the voter is qualified “to register,” or to vote “in elections

generally.” Section 101 prohibits denial of the right to vote in a single election just as thoroughly

as it prohibits wholesale refusal to register a voter. Cf. Migliori, 36 F.4th at 163 (“[M]ateriality is

limited to errors or omissions determining qualification ‘to vote in such election,’ not future

elections.”).

         More importantly, canons of construction such as ejusdem generis are applied only to

resolve ambiguity, not create it. See Harrison, 446 U.S. at 588 (citing United States v. Powell, 423

U.S. 87, 91 (1975)). Congress’s use of the phrase “any other” when introducing a broadening

provision is “expansive language” that “offers no indication whatever that Congress intended [a]

limiting construction” of the general phrase constrained by more specific preceding examples.

Harrison, 446 U.S. at 589. 26 And the Supreme Court has counseled that courts should not

“woodenly apply limiting principles every time Congress includes a specific example along with

a general phrase,” In any event, we do not woodenly apply limiting principles every time Congress

includes a specific example along with a general phrase. Ali v. Fed. Bureau of Prisons, 552 U.S.


26
  In Harrison, the Supreme Court declined to apply a narrowing construction to § 307(b)(1) of the Environmental
Protection Act, providing for direct review by a federal court of appeals of administrative actions under several
specifically enumerated provisions of the Act and of “any other final action” of the Administrator. 446 U.S. at 587–
92. The Court declined to apply the canon of ejusdem generis because there was “no uncertainty in the meaning of the
phrase, ‘any other final action’.”
         When Congress amended the provision in 1977, it expanded its ambit to include not simply “other
         final action,” but rather “any other final action.” This expansive language offers no indication
         whatever that Congress intended the limiting construction of § 307(b)(1) that the respondents now
         urge. Accordingly, we think it inappropriate to apply the rule of ejusdem generis in construing §
         307(b)(1). Rather, we agree with the petitioners that the phrase, “any other final action,” in the
         absence of legislative history to the contrary, must be construed to mean exactly what it says,
         namely, any other final action.
Id. at 588–89.



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                                                                                                                23-50885.316
           Case:
            Case 23-50885    Document:
                 5:21-cv-00844-XR      144 821
                                  Document Page:Filed
                                                 320 11/29/23
                                                       Date Filed:
                                                               Page06/19/2024
                                                                     36 of 53




214, 227 (2008). The Court does not find any uncertainty in the phrase “other act requisite to

voting” and concludes that the phrase encompasses the completion of both ABBMs and the carrier

envelopes. An ABBM is an “application” “requisite to voting” for most individuals who seek to

cast a mail ballot. See TEC § 84.001(a); SUF ¶ 36. Similarly, preparation of a carrier envelope 27

is “an act requisite to voting” for individuals who cast a mail ballot. See TEC §§ 86.005(c), 86.006,

101.057, 101.107; SUF ¶¶ 48, 63, 70.

           In support of their position that the Materiality Provision should be limited to the

registration stage, the Intervenor-Defendants rely on statements in two non-binding, non-

precedential opinions. See, e.g., ECF No. 608 at 17 (citing Ritter, 142 S. Ct. at 1825 (Alito, J.,

dissenting from the denial of the application for stay) and Vote.org v. Callanen, 39 F.4th 297 (5th

Cir. 2022) (stay opinion)). The motions panel in Vote.org suggested in a footnote that “[a] plausible

argument can be made that [Section 101] is tied to only voter registration specifically and not to

all acts that constitute casting a ballot.” 39 F.4th at 305 n.6. The panel relied on reasoning in Justice

Alito’s reasoning in dissent, that even after qualifying and registering, a voter who “does not follow

the rules” may be unable to cast a vote for “any number of reasons”:

           A voter may go to the polling place on the wrong day or after the polls have closed.
           A voter may go to the wrong polling place and may not have time to reach the right
           place before it is too late. A voter who casts a mail-in ballot may send it to the
           wrong address.

Ritter, 142 S. Ct. at 1825 (Alto, J., dissenting). Thus, the panel reasoned, “[i]t cannot be that any

requirement that may prohibit an individual from voting if the individual fails to comply denies

the right of that individual to vote under” the Materiality Provision. (5th Cir. 2022). And that is

literally correct: only refusals to count a voter’s ballot for immaterial errors on voting-related

paperwork are actionable under the statute’s plain terms.


27
     Or, with respect to military and overseas voters, a signature sheet.


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                                                                                                     23-50885.317
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              321 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  37 of 53




        It is not clear to the Court how any of the errors cited by the motions panel—going to the

wrong polling place, sending a ballot to the wrong address, or failing to cast an in-person or mail

ballot by the relevant deadline—constitutes an “error or omission” on “any paper or record” that

would fall within the scope of the Materiality Provision. See Democratic Cong. Campaign Comm.

v. Kosinski, 614 F. Supp. 3d 20, 55 (S.D.N.Y. 2022) (distinguishing between errors regarding a

voter’s assigned polling place and errors “on any record or paper”); Friedman v. Snipes, 345 F.

Supp. 2d 1356, 1372–73 (S.D. Fla. 2004) (declining to issue an injunction under Section 101

requiring counting of absentee ballots received after a deadline, noting that this was not an error

or omission “on any record or paper”). fMore importantly, none of those provisions are at issue in

this litigation.

        Finally, at odds with the plain text, Intervenor-Defendants insist that the Materiality

Provision must be limited to voter registration to avoid constitutional problems, because Congress

sought with the Materiality Provision to prevent “racially discriminatory practices in voter

registration.” ECF No. 608 at 15–16; see also id. at 7–8. In enacting Section 101, Congress

considered “the practice of requiring unnecessary information for voter registration”—such as

listing the registrant’s “exact number of months and days in his age”—“with the intent that such

requirements would increase the number of errors or omissions on the application forms, thus

providing an excuse to disqualify potential voters.” ECF No. 608 at 14 (citing Schwier I, 340 F.3d

at 1294). “Such trivial information served no purpose other than as a means of inducing voter-

generated errors that could be used to justify rejecting applicants.” Browning, 522 F.3d at 1173;

see H.R. Rep. No. 88-914, pt. 2, at 5 (1963) (“[R]egistrars [would] overlook minor misspelling

errors or mistakes in age or length of residence of white applicants, while rejecting” an African-

American’s application “for the same or more trivial reasons.”). The Intervenor-Defendants’




                                                37

                                                                                               23-50885.318
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               322 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   38 of 53




argument—that Section 101 is limited to voter registration because Congress considered

discrimination in the registration process—fails, for at least two reasons.

         First, because the language of the Materiality Provisions is unambiguous, neither the canon

of constitutional avoidance nor legislative history can defeat the text. See United States v. Oakland

Cannabis Buyers’ Co-op., 532 U.S. 483, 494 (2001) (“[T]he canon of constitutional avoidance has

no application in the absence of statutory ambiguity.”); Bostock v. Clayton Cnty., Ga., 140 S. Ct.

1731, 1750 (2020) (“[L]egislative history can never defeat unambiguous statutory text[.]”). Even

assuming that Congress intended to limit the Materiality Provision to errors and omissions at the

registration stage, the text simply does not permit that construction. The Supreme Court has

counseled that, “[w]hen the express terms of a statute give us one answer and extratextual

considerations suggest another, it’s no contest. Only the written word is the law, and all persons

are entitled to its benefit.” Bostock, 140 S. Ct. at 1737; see also id. (“Those who adopted the Civil

Rights Act might not have anticipated their work would lead to this particular result. . . . But the

limits of the drafters’ imagination supply no reason to ignore the law’s demands.”). 28 “Ours is a

society of written laws. Judges are not free to overlook plain statutory commands on the strength

of nothing more than suppositions about intentions or guesswork about expectations.” Id. at 1754.

         Second, in addition to its power to regulate federal elections under the Elections Clause,

U.S. Const. art. I, § 4, the Reconstruction Amendments authorize Congress to enact prophylactic

legislation to protect the right to vote in particular, as the Supreme Court has repeatedly confirmed.

E.g., City of Boerne v. Flores, 521 U.S. 507, 518 (1997) (noting the validity of Congress’s

“suspension of literacy tests and similar voting requirements” as well as “other measures protecting


28
   Likewise, with respect to the CRA’s expansive definition of “voting,” the Supreme Court has explained that,
“[w]hen a statute includes an explicit definition of a term, [courts] must follow that definition, even if it varies from a
term’s ordinary meaning.” Van Buren v. United States, 141 S. Ct. 1648, 1657 (2021) (quoting Tanzin v. Tanvir, 141
S. Ct. 486, 490 (2020)) (internal quotation marks omitted).


                                                           38

                                                                                                                       23-50885.319
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               323 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   39 of 53




voting rights” and collecting cases). When legislating pursuant to its Fifteenth Amendment

powers, “Congress may use any rational means to effectuate the constitutional prohibition of racial

discrimination in voting.” South Carolina v. Katzenbach, 383 U.S. 301, 324 (1966).

         While Congress surely intended to prevent abuses in the voter registration process, see,

e.g., Schwier I, 340 F.3d at 1294, nothing in Section 101’s statutory language nor its legislative

purpose indicates that Congress chose to allow them at other stages in the process between voter

registration and completing all legal requirements requisite to voting an effective ballot. 29 Indeed,

a rule protecting voter registration only, but allowing registered voters to still be denied an effective

vote based on irrelevant paperwork errors, would not have accomplished Congress’ broader, well-

documented aim of eradicating all manner of arbitrary and discriminatory denials of the right to

vote. E.g., H.R. Rep. No. 88-914 (1963), reprinted at 1964 U.S.C.C.A.N. 2391, 2394, 2485–87,

2491. Thus, Congress used expansive language in crafting a prophylactic rule that protects “the

right of any individual to vote in any election” and that extends to “all action necessary to make a

vote effective.” 52 U.S.C. §§ 10101(a)(2)(B) & (e). The broad definition of the “right to vote”

further undermines Intervenor-Defendants’ position. It would not make sense for Congress to

capaciously define the right to vote to include all actions necessary to render a vote effective but

limit the application of the statute’s protections to the initial act of registering to vote.

         The “rational means” of combatting racial discrimination in voting is not limited to solving

a problem—disenfranchisement based on immaterial errors on voting paperwork—on a form-by-

form basis. Indeed, Congress’s enactment of a broader rule is entirely rational: after identifying a



29
   In general, courts should not construe statutes based on what Congress failed to say in legislative history. See
Harrison, 446 U.S. at 591–92 (“The respondents also rely on what the Committee and the Congress did not say about
the 1977 amendments to § 307(b)(1). . . . [But] it would be a strange canon of statutory construction that would require
Congress to state in committee reports or elsewhere in its deliberations that which is obvious on the face of a statute.
In ascertaining the meaning of a statute, a court cannot, in the manner of Sherlock Holmes, pursue the theory of the
dog that did not bark.”).


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                                                                                                                    23-50885.320
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             324 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 40 of 53




record of a problem at the registration stage, Congress was not limited to crafting a solution with

an obvious loophole allowing officials to use forms at later stages in the same way, and for the

same purpose. See Katzenbach, 383 U.S. at 309 (describing “voluminous legislative history”

addressing “unremitting and ingenious defiance of the Constitution”); Browning, 522 F.3d at 1173

(“[W]e recognize that Congress in combating specific evils might choose a broader remedy. . . .

The text of the [Materiality Provision], and not the historically motivating examples of intentional

and overt racial discrimination, is thus the appropriate starting point of inquiry in discerning

congressional intent.”). To the extent that the Intervenor-Defendants seek to challenge the wisdom

of the Materiality Provision’s expansive reach as a policy matter, “[that] is an argument to be

addressed to Congress, not to this Court.” Harrison, 446 U.S. at 593.

       In short, the Court concludes that completing an ABBM is an “application” “requisite to

voting” for most individuals who seek to cast a mail ballot. See TEC § 84.001(a); SUF ¶ 36.

Similarly, preparation of a carrier envelope is “an act requisite to voting” for most individuals who

cast a mail ballot. See TEC §§ 86.005(c), 86.006, 101.057, 101.107; SUF ¶¶ 48, 63, 70. Thus, the

Materiality Provision reaches Sections 5.07 and 5.13 of S.B. 1 because failure to satisfy the

number-matching requirements constitutes an “error or omission” on an ABBM or carrier

envelope—a “record or paper”—relating to a voter’s application to vote by mail or mail-in ballot—

an “application, registration, or other act requisite to voting” under Section 101.

       C. Whether Sections 5.07 and 5.13 result in a denial of the right to vote in an election

       Denial of the statutory right to vote under Section 101 is complete when a particular

application or carrier envelope is rejected; an opportunity to cure the rejection, submit another

application, or cancel a mail ballot does not negate the denial of the statutory right to vote. See La

Unión del Pueblo Entero, 604 F. Supp. 3d at 541; see also Vote.org v. Ga. State Election Bd., No.




                                                 40

                                                                                                  23-50885.321
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             325 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 41 of 53




1:22-cv-1734, 2023 WL 2432011, at *7 (N.D. Ga. Mar. 9, 2023) (rejecting the “argument that the

opportunity to cure an error rehabilitates any potential violation”); Sixth Dist. of Afr. Methodist

Episcopal Church v. Kemp, 574 F. Supp. 3d 1260, 1282 (N.D. Ga. 2021) (same).

        Recycling arguments that were already rejected at the motion-to-dismiss stage, the State

Defendants and Intervenor-Defendants insist that Sections 5.07 and 5.13 do not violate the

Materiality Provision because they do not deny the right to vote. See ECF No. 608 at 16–18, ECF

No. 634 at 9–15, ECF No. 635 at 7–13, ECF No. 663 at 8–11, ECF No. 645 at 22–26, ECF No.

646 at 41–50.

        Defendants reassert that the opportunity to cure a rejection or vote in person after a

rejection satisfies their obligation not to deny the statutory right to vote protected by Section 101.

See ECF No. 646 at 20– 23, 41–47; ECF No. 634 at 9–10. But the Court has already recognized

that cure procedures do not absolve an initial violation. See LUPE (USA), 604 F. Supp. 3d at 541.

Indeed, the efficacy of any cure procedure is irrelevant to the question under the Materiality

Provision, which is violated whenever an ABBM or mail ballot is rejected based on an immaterial

error or omission. Section 101 requires paperwork with an immaterial error or omission to be

accepted, not rejected with an invitation to try again. If a qualified voter fails to cure an immaterial

error or omission on her voting materials, she is unable to cast a ballot and have her vote counted—

she was denied the right to vote in that election based on the error or omission.

        Nor does the availability of in-person voting negate S.B. 1’s denial of the statutory right to

vote for failure to satisfy the number-matching requirements. Section 101 protects against rejection

of mail voting materials. See LUPE (USA), 604 F. Supp. 3d at 541 n.20; see also Migliori, 36 F.4th

at 156–57. This is because Section 101 applies to “any individual” participating in “any election”

and to “any record or paper” relating to “any application, registration, or act requisite to voting.”




                                                  41

                                                                                                    23-50885.322
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               326 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   42 of 53




52 U.S.C. § 10101(a)(2)(B) (emphasis added); see also, e.g., United States v. Gonzales, 520 U.S.

1, 5 (1997) (explaining that “the word ‘any’ has an expansive meaning, that is, ‘one or some

indiscriminately of whatever kind’” (quoting Webster’s Third New International Dictionary 97

(1976))). Having made mail ballot voting available, Texas is not permitted to refuse to count mail

ballots solely because of an insignificant paperwork error. See In re Georgia Senate Bill 202, No.

1:21-CV-01259-JPB, 2023 WL 5334582, at *10 (N.D. Ga. Aug. 18, 2023) (“The text of the

Materiality Provision does not distinguish between . . . ‘an act requisite to voting absentee’ and

‘an act requisite to voting in person.’ Instead, the statute prohibits the denial of the right to vote.”).

         S.B. 1 provides that mail ballot materials must be rejected if the materials lack an ID

number matching voter registration records, preventing an applicant from casting a mail ballot or

have that ballot counted. See TEC §§ 86.001(f), 87.041(b)(8); SUF ¶¶ 32–35, 50–51, 63. The

existence of additional, more onerous procedures that voters could use to try to overcome the

rejection does not negate the original denial. Section 101’s plain text does not permit election

officials to reject mail ballot materials based on errors or omissions not material to voter

qualifications unless and until voters successfully provide the requested information or the State

fixes its own database errors or omissions. See 52 U.S.C. § 10101(a)(2)(B); LUPE (USA), 604 F.

Supp. 3d at 541. Ultimately, even with a cure process, the fact remains that S.B. 1 requires rejection

of mail ballot materials if a voter does not submit an identification number that matches voter

registration records. See TEC §§ 86.001(f), 87.041(b)(8); SUF ¶¶ 37, 39, 61, 63, 67–68. That

rejection denies the statutory right to vote. 30


30
   Even assuming that the Court considered the cure procedures to be legally relevant—and it does not—cure
procedures under S.B. 1 do not protect the franchise because some voters cannot effectively use them to ensure their
application is accepted and their valid ballot is counted. Cf. Democratic Exec. Comm. of Fla. v. Detzner, 347 F. Supp.
3d 1017, 1030–31 (N.D. Fla. 2018) (finding cure provisions inadequate to resolve due process concerns when “the
opportunity to cure has proven illusory”); Martin v. Kemp, 341 F. Supp. 3d 1326, 1339 (N.D. Ga. 2014) (same). For
example, to access the online Ballot Tracker, a voter is required by statute to enter their name, SSN4, DPS ID number,
and registration address. See TEC § 86.015(b). This log-in process compares the information entered by the voter


                                                         42

                                                                                                                  23-50885.323
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              327 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  43 of 53




         The number-matching provisions of S.B. 1 require election officials to deny the CRA’s

broadly defined right to vote based on errors or omissions on ABBM’s and carrier envelopes that

are not material to voter qualifications under Texas law. In short, it is difficult to imagine a clearer

violation of the Materiality Provision than S.B. 1’s number-matching requirement. Nonetheless,

in an effort to narrow the scope of the Materiality Provision, the State Defendants and Intervenor-

Defendants advance a number of unpersuasive interpretations of the text, which the Court will

briefly address.

         D. Defendants’ wholly unpersuasive interpretations of the Materiality Provision

               1.    The Materiality Provision reaches “neutral, evenly applied” state law.

         The State Defendants contend that the Materiality Provision does not apply to non-

discriminatory, “neutrally applied” state laws such as Sections 5.07 and 5.13. ECF No. 645 at 9–

11; ECF No. 646 at 27–29. Here, State Defendants rely on language from another provision of

Section 101, arguing that, “[l]ooking at 10101(a)(2) as a whole . . . it becomes apparent that the

Materiality Provision functions as a safeguard against the discriminatory application of state voter

qualification and registration rules.” ECF No. 645 at 9. It is far from “apparent” that the Materiality

Provision applies only to discriminatory applications of state voting rules. Indeed, the exception

that the State Defendants ask the Court to recognize, which appears nowhere on the face of Section

101’s text, would swallow the rule set forth in the Materiality Provision.




against the TEAM database. Accordingly, if a voter is missing either a DPS ID number or SSN4 in TEAM, or if
TEAM has incorrect information for either of those numbers, the voter simply cannot log in to the tracker. The online
Ballot by Mail Tracker is therefore only able to cure an SB 1-related defect in scenarios where the voter (1) is in
possession of a number in their TEAM record, but did not include a number on their ABBM or carrier envelope; or
(2) made a transcription error on their ABBM or carrier envelope.


                                                        43

                                                                                                                 23-50885.324
         Case:
          Case 23-50885    Document:
               5:21-cv-00844-XR      144 821
                                Document Page:Filed
                                               328 11/29/23
                                                     Date Filed:
                                                             Page06/19/2024
                                                                   44 of 53




         In its entirety, Section 10101(a)(2) provides:

                 No person acting under color of law shall –

         (A) in determining whether any individual is qualified under State law or laws to
             vote in any election, apply any standard, practice, or procedure different from
             the standards, practices, or procedures applied under such law or laws to other
             individuals within the same county, parish, or similar political subdivision
             which have been found by State officials to be qualified to vote;

         (B) deny the right of any individual to vote in any election because of an error or
             omission on any record or paper relating to any application, registration, or
             other act requisite to voting, if such error or omission is not material in
             determining whether such individual is qualified under State law to vote in such
             election; or

         (C) employ any literacy test as a qualification for voting in any election unless (i)
             such test is administered to each individual and is conducted wholly in writing,
             and (ii) a certified copy of the test and of the answers given by the individual is
             furnished to him within twenty-five days of the submission of his request made
             within the period of time during which records and papers are required to be
             retained . . . .

52 U.S.C. § 10101(a)(2).

        The State Defendants argue that, because they serve a common function, common tools of

statutory construction require the three provisions of section 10101(a)(2) to be read in pari

materia. 31 ECF No. 645 at 9. As Plaintiffs point out, however, in pari materia is a tool used to

resolve textual ambiguities, not a basis for creating them. ECF No. 670 at 7 (citing Erlenbaugh v.

United States, 409 U.S. 239, 245 (1972)). Indeed, even where two provisions were “both parts of

a comprehensive federal legislative effort” and “enacted by the same legislative body at the same

time,” one provision cannot be leveraged through the in pari materia canon “to introduce an


31
  The State Defendants rely on Broyles v. Texas, 618 F. Supp. 2d 661, 697 (S.D. Tex. 2009), for the proposition that
“only racially motivated deprivations of rights are actionable” under the Materiality Provision. ECF No. 646 at 29.
But Broyles mistakenly cited Kirksey v. City of Jackson, 663 F.2d 659 (5th Cir. 1981)—which involved claims under
Section 2 of the Voting Rights Act—for its conclusion that 42 U.S.C. § 1971 (now 52 U.S.C. § 10101) requires a
showing of racial discrimination. See Broyles, 618 F. Supp. 2d at 697; Kirksey, 663 F.2d at 664–665; see also Vote.org
v. Callanen, No. SA-21-CV-00649-JKP-HJB, 2021 WL 5987152, at *3 (W.D. Tex. Dec. 17, 2021) (rejecting
argument that Materiality Provision claims require showing of racial discrimination and noting that Broyles mistakenly
invoked Kirksey in stating otherwise).


                                                         44

                                                                                                                  23-50885.325
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             329 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 45 of 53




exception to the coverage of the [other] where none is now apparent.” Erlenbaugh, 409 U.S. at

244–45.

       While Subsection (A) and the Materiality Provision may have been enacted to address a

common problem, one should not limit the other where they “play different roles in achieving

these broad, common goals.” Id. Indeed, as a matter of common sense, it is simply incorrect to

assume that tools directed at the same goal must operate by the same means. Umbrellas, goloshes,

and raincoats, for example, all work toward the same purpose—protection from the elements—

but function in completely different ways. To suggest that, because an umbrella works by

“opening,” we should likewise “open” our boots and coats in the face of a storm would be

nonsensical and even—with respect to the raincoats—counterproductive.

       By selectively applying language in Subsection (A) to other provisions, State Defendants

would restrict all three subsections of 52 U.S.C. § 10101(a)(2) to accomplish only the purpose of

Subsection (A), rendering the other provisions fully redundant. Compare 52 U.S.C. §

10101(a)(2)(A) (preventing an official from applying “any standard, practice, or procedure

different from the standards, practices, or procedures applied under such law or laws to other

individuals”) with ECF No. 645 at 10 (suggesting the Materiality Provision is applicable only to

“prevent individuals acting under color of law from applying state laws relating to voting

differently with respect to some citizens than to others so as to deny or abridge the right of all

citizens to vote” (emphasis in original)).

       The State Defendants’ interpretation would violate the “obligation to give effect to every

provision of [a] statute.” Carcieri v. Salazar, 555 U.S. 379, 395 (2009). Congress’s choice not to

include the same disparate treatment requirement of Subsection (A) when drafting the Materiality

Provision must be given effect because “when Congress includes particular language in one section




                                               45

                                                                                              23-50885.326
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              330 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  46 of 53




of a statute but omits it in another section of the same Act, it is generally presumed that Congress

acts intentionally and purposely in the disparate inclusion or exclusion.” Barnhart v. Sigmon Coal

Co., 534 U.S. 438, 452 (2002) (citation and internal quotation marks omitted); Migliori, 36 F.4th

at 162 n.56 (the Materiality Provision “does not mention racial discrimination” and “we cannot

find that Congress intended to limit this statute to either instances of racial discrimination or

registration”).

       While the provisions of Section 101 fall well within the scope of Congress’s broad

legislative power under the Reconstruction Amendments, Katzenbach, 383 U.S. at 324, it is worth

remembering that, in enacting the CRA, Congress also relied on its authority under the Elections

Clause. See Civil Rights Act of 1964, Pub. L. No. 88-352, § 101, 74 Stat. 241, 241 (1964) (applying

Section 101 only to federal elections); Voting Rights Act of 1965, Pub. L. No. 89–110, § 15(a), 79

Stat. 437, 445 (1965) (expanding Section 101 to cover state and local elections). Thus, regardless

of any racial considerations, Congress had the power to require that votes in federal elections be

counted despite immaterial paperwork errors, so long as those errors had nothing to do with voters’

qualifications under state law. “[B]y tying the federal franchise to the state franchise instead of

simply placing it within the unfettered discretion of state legislatures, the Framers avoided

‘render[ing] too dependent on the State governments that branch of the federal government which

ought to be dependent on the people alone.’” Inter Tribal Council of Ariz., 570 U.S. at 17 (quoting

The Federalist No. 52, at 326 (J. Madison)); see also id. (overturning, as inconsistent with the

NVRA, an Arizona law requiring voter-registration officials to “reject” any application for

registration, including a federal form, not accompanied by documentary evidence of citizenship).

In other words, it is entirely possible that Congress sought to vindicate the federal franchise




                                                46

                                                                                                23-50885.327
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             331 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 47 of 53




generally by preventing state officials from rejecting voting materials for minor paperwork errors,

regardless of the racial impact of the officials’ conduct.

       2. The Materiality Provision applies because S.B. 1’s requirements are immaterial

       The Intervenor-Defendants admit what the State Defendants will not: that a DPS number

or SSN4 appearing in state databases is not material to voter qualifications. ECF No. 634 at 15;

ECF No. 608 at 20 (“[T]he United States . . . may point out that the personal identification numbers

on an application or mail ballot are ‘not material’ to determining an individual’s qualifications to

vote. That is entirely correct.” (internal citations omitted)). That should end the inquiry.

Nonetheless, the Intervenor-Defendants suggest, contrary to both the text and purpose of the

Materiality Provision, that that the number-matching provisions of S.B. 1 fall outside of Section

101’s purview because DPS numbers and SSN4s are not used to determine voter qualifications. In

other words, the Intervenor-Defendants assert that Section 101 applies only where the error or

omission is material to a voter’s qualifications under state law. “It is because sections 5.02 [sic]

and 5.08 [sic] do not regulate voter qualification determinations that they fall outside the

materiality provision.” ECF No. 634 at 21.

       A judge in the Northern District to Georgia recently rejected the same argument:

       Contrary to Responding Defendants’ position, the fact that the outer envelope is not
       used to determine voter qualifications merely reinforces the immateriality of the
       Birthdate Requirement. It has never been the law that the Materiality Provision only
       applies to that initial determination of whether a voter is qualified to vote.
       Moreover, interpreting the Materiality Provision in the manner Responding
       Defendants suggest would essentially render the provision meaningless. In other
       words, a state could impose immaterial voting requirements yet escape liability
       each time by arguing that the very immateriality of the requirement takes it outside
       the statute’s reach.

In re Georgia Senate Bill 202, 2023 WL 5334582, at *10. The Court agrees.




                                                 47

                                                                                                23-50885.328
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             332 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 48 of 53




       The Republican Committees suggest that, following successful registration, states and

election officials are free to intentionally reject ballots cast by eligible voters for any reason

whatsoever, so long as it does not disqualify the voter from attempting to vote in future elections.

The interpretation does violence not only to the clear text of the Materiality Provision but to the

civil rights of every qualified voter in the State of Texas and to the fundamental premise of our

democracy.

IV.    Plaintiffs are entitled to permanent injunctive relief

       A party seeking a permanent injunction must prove: (1) that it has succeeded on the merits;

(2) that a failure to grant the injunction will result in irreparable injury; (3) that said injury

outweighs any damage that the injunction will cause the opposing party; and (4) that the injunction

will not disserve the public interest. Valentine v. Collier, 993 F.3d 270, 280 (5th Cir. 2021). The

Court addresses each factor in turn.

       First, for the reasons set forth in this order, the Court concludes that Sections 5.07 and 5.13

of S.B. 1 violate the Materiality Provision. Plaintiffs have thus succeeded on the merits of their

challenge to Sections 5.07 and 5.13 of S.B. 1 under Section 101 of the Civil Rights of 1964, 52

U.S.C. § 10101(a)(2)(B).

       Second, the Court concludes that failure to grant the requested injunction will result in

irreparable injury to voters in Texas. “The denial of the opportunity to cast a vote that a person

may otherwise be entitled to cast—even once—is an irreparable harm.” Jones v. Governor of Fla.,

950 F.3d 795, 828 (11th Cir. 2020). “Courts routinely deem restrictions on fundamental voting

rights irreparable injury.” League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247

(4th Cir. 2014) (collecting cases); see also Purcell v. Gonzalez, 549 U.S. 1, 7 (2006) (recognizing

the “strong interest in exercising the fundamental political right to vote”) (citing Dunn v.




                                                 48

                                                                                                  23-50885.329
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             333 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 49 of 53




Blumstein, 405 U.S. 330, 336 (1972)). Given the text of Sections 5.07 and 5.13 (mandating the

rejection of mail ballot materials for immaterial paperwork errors and omissions), the thousands

of ABBMs and mails ballots that have been rejected thus far, and the persistent ID errors in the

TEAM records, the Court concludes that, without the requested injunctive relief, future denials of

ABBMs and mail-in ballots in violation of the Materiality Provision are not only likely but certain.

       Third, the injury to Plaintiffs and voters in Texas outweighs any damage the injunction will

cause to the State Defendants and election officials. The injury to Plaintiffs and voters in Texas is

great: “No right is more precious in a free country than that of having a voice in the election of

those who make the laws under which, as good citizens, we must live. Other rights, even the most

basic, are illusory if the right to vote is undermined.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964).

On the other hand, enjoining the rejection of otherwise valid voting materials would impose at

most a de minimis burden on the State Defendants and election officials. The State Defendants can

comply with this Order through minor modifications to their election administration practices. Any

injunction would not direct the State Defendants to change the process for applying to vote by

mail or the deadline or eligibility requirements for doing so. Texas election officials could continue

to use the form ABBM and carrier envelopes prescribed by the SOS in administering elections,

and could even follow the same cure process outlined under Texas law (in an effort to correct

outstanding TEAM errors). Rather, the injunction would merely require officials to accept

otherwise valid ABBMs and mail ballots that failed to satisfy S.B. 1’s number matching

requirements.

       Finally, it is clear to the Court that the injunction would not disserve the public interest,

and, to the contrary, will serve the public interest by protecting individuals’ fundamental right to

vote. See Dunn, 405 U.S. at 336 (stating that protecting the right to vote is of particular public




                                                 49

                                                                                                  23-50885.330
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              334 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  50 of 53




importance because it is “preservative of all rights.”) (citing Reynolds v. Sims, 377 U.S. 533, 562

(1964)); see also Wash. Ass’n of Churches, 492 F. Supp. 2d at 1271 (“Given Washington’s most

recent governor’s election, where the winner was decided by just hundreds of votes, the Court

finds that the public interest weighs strongly in favor of letting every eligible resident of

Washington register and cast a vote.”). Moreover, it is the public policy of the State of Texas to

construe any constitutional or statutory provision which restricts the right to vote liberally: “[a]ll

statutes tending to limit the citizen in his exercise of this right should be liberally construed in [the

voter’s] favor.” Owens v. State, 64 Tex. 500, 502 (1885).

        Even recognizing the importance of the fundamental right to vote, a court must weigh any

protective action against the potential for confusion and disruption of the election administration

under the “Purcell principle.” See Benisek v. Lamone, 138 S. Ct. 1942, 1945 (2018). The Purcell

principle provides that, as a general rule, federal courts “should not alter state election laws in the

period close to an election.” Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28

(2020) (Kavanaugh, J., concurring) (upholding Seventh Circuit’s stay of injunction entered six

weeks before the general election)). In Purcell, the Supreme Court reversed a lower court’s order

enjoining the implementation of a proposition, passed by ballot initiative two years earlier, that

required voters to present identification when they voted on election day. Reversing the lower

court, the Court emphasized that the injunction was likely to cause judicially-created voter

confusion in the face of an imminent election. Purcell, 549 U.S. at 2, 6.

        The Supreme Court has recognized that “[c]ourt orders affecting elections, especially

conflicting orders, can themselves result in voter confusion and consequent incentive to remain

away from the polls. As an election draws closer, that risk will increase.” Purcell, 549 U.S. at 4–

5. The Purcell principle’s logic extends only to injunctions that affect the mechanics and




                                                   50

                                                                                                     23-50885.331
        Case:
         Case 23-50885    Document:
              5:21-cv-00844-XR      144 821
                               Document Page:Filed
                                              335 11/29/23
                                                    Date Filed:
                                                            Page06/19/2024
                                                                  51 of 53




procedures of the act of voting. See, e.g., Republican Nat’l Comm. v. Democratic Nat’l Comm.

(“RNC v. DNC”), 140 S. Ct. 1205, 1207 (2020) (extension of absentee ballot deadline); Mi Familia

Vota v. Abbott, 834 F. App’x 860, 863 (5th Cir. 2020) (mask mandate exemption for voters); Tex.

Alliance for Retired Ams. v. Hughs, 976 F.3d 564, 566–67 (5th Cir. 2020) (new ballot type

eliminating straight-ticket voting); Democratic Nat’l Comm. v. Wis. State Leg., 141 S. Ct. at 31

(extension of absentee ballot deadline).

        Plaintiffs’ requested injunction does not affect the procedures for voting by mail from a

voter’s perspective. Enjoining election officials from rejecting ballot materials will not affect the

forms or deadlines that voters have used to apply for and vote by mail since 2022. Accordingly, it

is unlikely that the proposed preliminary injunction would lead to the kind of voter confusion

envisioned by Purcell. To be sure, at least some voters might be confused by the fact that ABBMs

and carrier envelopes continue to solicit ID numbers despite a court order enjoining the ID-number

requirement. But unlike confusion about other voting procedures, such as deadlines, polling

locations, and S.B. 1’s number-matching requirement itself, this “confusion” about the

applicability of the ID-number requirements would not disenfranchise anyone—voters will be able

to apply for and cast mail-in ballots regardless of their ability to provide a matching ID number.

Thus, any voter’s potential, subjective confusion is clearly outweighed by the irreparable harm

that other voters will suffer absent injunctive relief.

        Likewise, the time considerations set forth in Purcell are inapplicable here, given that the

November 2023 general election has already occurred and the 2024 primaries are months away

The Supreme Court has upheld stays of injunctions entered days, weeks, and months before

primary or general elections. See Wis. State Legislature, 141 S. Ct. at 28; Raysor v. DeSantis, 140

S. Ct. 2600 (2020) (upholding Eleventh Circuit’s stay of injunction entered three months before




                                                  51

                                                                                                 23-50885.332
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             336 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 52 of 53




primary election); RNC v. DNC, 140 S. Ct. at 1208 (staying preliminary injunction entered five

days before primary election); Veasey v. Perry, 574 U.S. 951 (2014) (upholding stay of injunction

entered 24 days before general election day).

       Therefore, Plaintiffs’ request for injunctive relief is granted.

                                          CONCLUSION

       For the reasons stated herein, the United States’ motion for summary judgment (ECF No.

609) is GRANTED. The OCA Plaintiffs’ motion for summary judgment (ECF No. 611) is

GRANTED IN PART and DENIED IN PART. The motion is granted with respect to the OCA

Plaintiffs’ challenge to Section 5.07 and 5.13 of S.B. 1 and denied in all other respects.

       The Court concludes as a matter of law that Sections 5.07 and 5.13 of Senate Bill 1, codified

in Sections 86.001(f) and 87.041(b)(8) of the Texas Election Code, require officials to reject mail

ballot applications and mail ballots based on errors or omissions on a record or paper relating to

an act requisite to voting that is not material in determining whether voters are qualified under

Texas law to vote or to cast a mail ballot. Such rejections deny the statutory right to vote protected

by Section 101 of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B).

       The Court therefore DECLARES that Section 5.07 and Section 5.13 of Senate Bill 1

violate Section 101 of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B).

       The Court also finds that a permanent injunction of Sections 5.07 and 5.13 of Senate Bill

1 is warranted.

       It is therefore ORDERED that the State Defendants, the Harris County Elections

Administrator, and the Travis County Clerk, their agents and successors in office, and all persons

acting in concert with them are PERMANENTLY ENJOINED from enforcing the requirements




                                                 52

                                                                                                  23-50885.333
       Case:
        Case 23-50885    Document:
             5:21-cv-00844-XR      144 821
                              Document Page:Filed
                                             337 11/29/23
                                                   Date Filed:
                                                           Page06/19/2024
                                                                 53 of 53




of Section 5.07 and 5.13 of Senate Bill 1 that violate Section 101 of the Civil Rights Act of 1964,

52 U.S.C. § 10101(a)(2)(B).

       The Court finally orders that OCA Plaintiffs are entitled to recover their reasonable

attorney’s fees and expenses, subject to a reduction in recovery for hours expended on these

unsuccessful claims unless the district court finds a “common core of facts” or “related legal

theories.” Fessler v. Porcelana Corona De Mexico, S.A. DE C.V., 23 F.4th 408, 417 (5th Cir. 2022)

(quoting Hensley v. Eckerhart, 461 U.S. 424, 434–35 (1983)).

       The United States, the OCA Plaintiffs, and the State Defendants, are hereby ORDERED

to meet and confer concerning an appropriate remedial plan and, by no later than December 15,

2023, to file a proposed order or a joint advisory indicating points of disagreement.

       It is so ORDERED.

       SIGNED this 29th day of November, 2023.



                                              _________________________________
                                              XAVIER RODRIGUEZ
                                              UNITED STATES DISTRICT JUDGE




                                                53

                                                                                               23-50885.334
     Case: 23-50885    Document: 144       Page: 338     Date Filed: 06/19/2024




                         CERTIFICATE OF SERVICE

     I   hereby    certify   that   on      June   19,     2024,     these    record

excerpts were electronically filed with the Clerk of Court using the

appellate CM/ECF system. Service on counsel for all parties in the

district court has been accomplished via notice filed through the district

court’s CM/ECF system attaching a copy of this filing.


Dated: June 19, 2024                /s/ John M. Gore
                                    John M. Gore
                                    Counsel for Intervenor-Appellants




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